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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

JOSHUA HU, CHARLES ROGERS, RICKEY                     No. 2:18-cv-04363 (JMV)(MF)
EVANS, BRIAN BECKNER, CHAD
MACCANELLI, ELLIS GOLDFRIT, WERNER
ROGMANS, ERIC SANCHEZ, JEFFREY                        CONSOLIDATED CLASS ACTION
PRICE, GARNER RICKMAN, DARSHAN                        COMPLAINT
PATEL, CHARLES CAMPBELL, ALEXANDER
VANDAMME, CHRISTINE GRIFFITH, GENE
QUINT, JACOB BIGGINS, RAZMIR AVIC,
TARRAH PEE, ZIWEN LI, IRVING COHEN,                   JURY TRIAL DEMANDED
ANGELA HUGHES, CARLOS BUENDIA,
WILLIAM BERBAUM, CHARLES CHAPMAN,
MARK MESSINA, JESSE WHITE, SETH
DAVIS, MIGUEL FRAGOSO, TAHANI
IBRAHIM, ION NICOLESCU, MARK SMITH,
TOM HOFFMAN, GARY REISING, JAMES
TURNER, SALOMON CAMPOS, BRIAN
HEMBLING, DEAN WERNER, LUKAS
WILDNER, ALGREDO ARIAS, KYLE KERN,
JOHN SAVIANO, ERICA OLSON, and ERIC
STENGLEIN, individually and on behalf of all
others similarly situated,
                                 Plaintiffs,
v.

BMW OF NORTH AMERICA LLC, a Delaware
corporation; and BAYERISCHE MOTOREN
WERKE AKTIENGESELLSCHAFT (BMW AG),
a corporation organized under the laws of
Germany, ROBERT BOSCH GMBH, a
corporation organized under the laws of Germany;
and ROBERT BOSCH LLC, a Delaware Limited
Liability Company,
                                   Defendants.
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        Plaintiffs, individually and on behalf of all others similarly situated (the “Class”), allege

 the following based upon the investigation of counsel, and the proprietary investigation of

 experts.

                                     I.      INTRODUCTION

        1.      This is what the BMW Group promised when selling the popular BMW X5

 xDrive35d (“X5”) and 335d diesel vehicles: that the vehicles “met emissions standards in all 50

 states”, that “BMW Efficient Dynamics” meant “Less emissions,” and that its engines “protect

 the environment every day,” were “environmentally friendly,” and turned nitric oxides “into

 environmentally compatible nitrogen and water vapor,” and offered “increased power with

 decreased fuel consumption and emissions.” BMW made these statements BMW knew

 emissions and environmental mitigations were material to a reasonable purchaser of a diesel

 vehicle.

        2.      As explained in detail below, this is not what BMW delivered, and BMW’s

 representations were misleading for failure to disclose its emissions manipulations, namely that

 while the vehicles may have passed federal and state emissions testing in a test environment,

 software in the vehicles senses when test conditions are not present, and materially reduces or

 turns off emissions controls in real world driving conditions. In contrast to BMW’s promises,

 scientifically valid emissions testing of the same type used to uncover the VW scandal and by the

 EPA to recently recall 500,000 Fiat Chrysler vehicles for emissions issues, has revealed that the

 2009-2013 X5 and 2009-2011 335d vehicles (“Polluting BMW Vehicles”) emit levels of NOx

 many times higher than (i) their gasoline counterparts; (ii) what a reasonable consumer would

 expect; (iii) what BMW had advertised; (iv) the Environmental Protection Agency’s and certain

 states’ maximum standards; (v) the levels set for the vehicles to obtain a certificate of

 compliance, which allows them to be sold in the United States; and (vi) what gas powered



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 comparable BMW’s produce. Further, the vehicles’ promised power, fuel economy, and

 efficiency are obtained only by turning off or turning down emission controls when the software

 in these vehicles senses that they are not in an emissions testing environment. These software

 manipulations result in emissions that range from an average of 3 times the standard in highway

 conditions and 8.5 times the standard in city driving conditions. Highway emissions can get as

 high as 20 times the standard, and city conditions as high as 27 times the standard.

        3.      In the last two years, there have been major scandals involving diesel vehicles

 made by all of the leading diesel manufacturers, including Volkswagen, Audi, Porsche, GM,

 Mercedes, and Fiat Chrysler Automobiles (FCA). Volkswagen pled guilty to criminal violations

 of the Clean Air Act, Mercedes is under investigation by the Department of Justice, and FCA has

 been sued by the EPA for violating the Clean Air Act for improper emissions in tens of

 thousands of 2014–2016 Dodge Ram 1500 and Jeep Grand Cherokee EcoDiesels. General

 Motors is the subject of a lawsuit with a sustained racketeering claim concerning the emissions

 in its Silverado and Sierra trucks. The diesel vehicles made by all these manufacturers all have a

 common flaw; they evade emissions standards with the help of certain software (all made by

 Bosch) that turns off or turns down emission controls when the vehicles sense that they are not in

 a test environment.

        4.      BMW is no different than the above mentioned cheating manufacturers. BMW’s

 top selling diesel vehicles often emit far more pollution on the road than in the emissions-

 certification testing environment, and more than comparable gas BMWs. These vehicles exceed

 federal and state emission standards and employ “defeat devices” to turn down the emission

 controls when each vehicle senses that it is not in the certification test cycle. As used herein, a

 defeat device means an auxiliary emission control device that reduces the effectiveness of the




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 emission control system under conditions which may reasonably be expected to be encountered

 in normal vehicle operation and use. In modern vehicles with electronic engine controls, defeat

 devices are almost always activated by illegal software in the vehicle’s engine control module

 (ECM)—the computer that controls the operation of the engine and emission control devices.

        5.      How and why did all of these manufacturers cheat? Diesel engines pose a difficult

 challenge to the environment because they have an inherent trade-off between power, fuel

 efficiency, and emissions. Compared to gasoline engines, diesel engines generally produce

 greater torque, low-end power, better drivability, and much higher fuel efficiency. But these

 benefits come at the cost of much dirtier and more harmful emissions.

        6.      One byproduct of diesel combustion is NOx, which generally describes two

 primary compounds comprised of nitrogen and oxygen atoms, nitric oxide, and nitrogen dioxide.

 These compounds are formed in the cylinder of the engine during the high temperature

 combustion process. NOx pollution contributes to nitrogen dioxide, particulate matter in the air,

 and reacts with sunlight in the atmosphere to form ozone. Exposure to these pollutants has been

 linked with serious health dangers, including serious respiratory illnesses and premature death

 due to respiratory-related or cardiovascular-related effects. The U.S. government, through the

 EPA, has passed and enforced laws designed to protect U.S. citizens from these NOx and certain

 other chemicals and agents known to cause disease in humans. NO2, which is the pollutant that

 NOx is converted to in the atmosphere, is one of the seven criteria pollutants that the Clean Air

 Act establishes as “wide-spread pollutants that were considered harmful to the public and

 environment.” The National Ambient Air Quality Standards, which form the backbone of the

 clean air regulations designed to protect human health and the environment from criteria




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 pollutants, regulate these criteria pollutants. Regulation of NOx from diesel engines is one way

 that the EPA controls ambient concentrations of this harmful pollutant.

        7.      Automobile manufacturers must abide by these laws and must adhere to EPA

 rules and regulations. The state claims in this case are not based on these laws but on deception

 aimed at consumers.

        8.      The Energy Independence and Security Act (EISA) of 2007 mandated a 40%

 increase in fuel economy by 2020. Tougher fuel economy standards were set to start for model

 year 2011 vehicles. Likewise, in Europe new stricter standards were also looming. Automobile

 manufacturers began planning to meet these standards. Auto manufacturers saw that the stricter

 standards could be met through electric cars, hybrids, or diesels, and saw a market for tens of

 millions of cars that could be marketed as vehicles that met the new standards. In response to this

 enormous market, almost all of the major automobile manufacturers rushed to develop “clean

 diesel” vehicles and promoted these new diesel vehicles as “environmentally friendly” and

 “clean.” Bosch helped coin and market the phrase “clean diesel” or “clean diesel technologies.”

 All of these manufacturers also marketed the diesel vehicles as having better fuel economy than

 their gasoline counterparts. BMW, Volkswagen, Mercedes, Audi, General Motors, and FCA also

 began marketing diesel cars and trucks as more “powerful” than their gasoline counterparts, but

 also as an environmentally friendly alternative to gasoline vehicles. And the marketing worked,

 as over two million diesel vehicles were purchased between 2007 and 2016 in the United States

 and over ten million in Europe.

        9.      The green bubble with respect to diesel vehicles began to burst on September 18,

 2015, when the EPA issued a Notice of Violation of the Clean Air Act (the “First NOV”) to

 Volkswagen Group of America, Audi AG, and Volkswagen America for installing illegal “defeat




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 devices” in 2009–2015 Volkswagen and Audi diesel vehicles equipped with 2.0-liter diesel

 engines. A defeat device, as defined by the EPA, is any apparatus that unduly reduces the

 effectiveness of emission control systems under conditions a vehicle may reasonably be expected

 to experience on the road. The EPA found that the Volkswagen/Audi defeat devices allowed the

 vehicles to pass emissions testing, while in the real world these vehicles polluted far in excess of

 emissions standards. The California Air Resources Board also announced that it had initiated an

 enforcement investigation of Volkswagen pertaining to the vehicles at issue in the First NOV.

         10.     On September 22, 2015, Volkswagen announced that 11 million diesel vehicles

 worldwide were installed with the same defeat device software that had evaded emissions testing

 by U.S. regulators. Volkswagen pled guilty to criminal charges, paid billions in fines, and settled

 civil class actions for over ten billion dollars. 1

         11.     Volkswagen wasn’t alone—soon, government agencies began to reveal that many

 manufacturers, both in the United States and in Europe, had produced dozens of models that

 were exceeding emissions standards. On December 2, 2016, certain of Plaintiffs’ counsel in this

 case, based on the same type of expert testing and investigation conducted in this case, filed a

 class action alleging that FCA’s Dodge Ram and Jeep Grand Cherokee EcoDiesels were

 exceeding emissions standards and producing emissions beyond that a reasonable consumer

 would expect to be produced by “Eco” vehicles. On January 12, 2017, essentially confirming the

 work of Plaintiffs’ counsel and expert testing, the EPA issued a Notice of Violation to FCA

 because it had cheated on its emissions certificates with respect to its Dodge Ram and Jeep

 Grand Cherokee EcoDiesel vehicles. And on May 23, 2017, the United States filed a civil suit in


     1
      Nathan Bomey, Volkswagen Emission Scandal Widens: 11 Million Cars Polluting, USA
 TODAY (Sept. 22, 2015), http://www.usatoday.com/story/money/cars/2015/09/22/volkswagen-
 emissions-scandal/72605874/.



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 the Eastern District of Michigan against FCA alleging violations of the Clean Air Act (United

 States v. FCA US LLC, No. 17-cv-11633 (E.D. Mich.)). Many of the defeat devices listed in the

 Notice of Violation were identified by Plaintiffs’ counsel ahead of the EPA’s notice. In Europe,

 watchdog groups, NGOs, and government agencies have cited virtually every manufacturer,

 including BMW, for violating the lower European emissions standards.

        12.     To appeal to environmentally emissions conscious consumers, compete with rival

 and top selling vehicles sold by Volkswagen and Audi, and to comply with new emissions

 regulations that became effective in 2010, BMW marketed its diesel vehicles as having “low

 emissions,” and “clean” diesel technology coupled with high fuel economy.

        13.     BMW’s representations are deceptive and false, and BMW sold these vehicles

 while omitting information that would be material to a reasonable consumer, namely, BMW

 failed to disclose that BMW has programmed its Polluting BMW Vehicles to significantly

 reduce the effectiveness of the NOx reduction systems during common real-world driving

 conditions, such that a reasonable consumer would not consider these cars “clean” as advertised.

        14.     Plaintiffs’ on-road PEMS testing has confirmed that BMW’s diesel vehicles

 produce NOx emissions in an amount demonstrating that they are not the “cleanest X5 diesel” or

 vehicles that “meet emission standards”; rather, BMW has programmed the vehicles so that in a

 wide range of common driving conditions, the emissions systems are powered down, producing

 NOx far in excess of emissions standards, and in excess of comparable BMW gas vehicles. A

 reasonable consumer would not expect their BMW diesel vehicle to spew unmitigated NOx in

 this fashion while driving in the city or on the highway, nor would a reasonable consumer expect

 that fuel economy was achieved in part by turning off or derating the emission systems; nor




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 would a reasonable consumer expect that if the emissions were as promised, the advertised fuel

 economy and performance could not be achieved.

        15.     BMW did not act alone. At the heart of the diesel scandal in the United States and

 Europe are Robert Bosch GmbH (“Bosch GmbH”) and Robert Bosch LLC (“Bosch LLC”)

 (sometimes referred together as “Bosch”). In the mid to late 2000s, like the vehicle

 manufacturers, the Bosch entities saw a huge market for diesel vehicles in Europe and the United

 States. Bosch became a critical player in the diesel market in its role as a supplier of emissions

 software for almost all diesel car manufacturers. Bosch GmbH and Bosch LLC were active and

 knowing participants in the scheme to evade U.S. emissions requirements. Bosch GmbH and

 Bosch LLC developed, manufactured, and tested the electronic diesel control (EDC) that allowed

 BMW (and Ford, GM, Volkswagen, Mercedes, and FCA) to implement defeat devices. The

 Bosch EDC17 is a perfect enabler for the used “defeat devices” as it enables the software to

 detect conditions when emission controls can be manipulated—i.e., conditions outside of the

 emissions test cycle. Almost all of the vehicles found or alleged to have been manipulating

 emissions in the United States (including vehicles by Mercedes, FCA, Volkswagen, Audi,

 Porsche, and General Motors) use a Bosch EDC17 device. As part of its efforts to falsely

 promote “clean diesel,” Bosch, as a member of the “Diesel Technology Forum,” helped send out

 dozens of statements to the public and regulators about “clean diesel,” and while secretly

 knowing all of its diesel manufacturing clients were not producing “clean diesel vehicles.”

        16.     Plaintiffs bring this action individually and on behalf of all other current and

 former owners or lessees of the Polluting BMW Vehicles. Plaintiffs seek damages, injunctive

 relief, and equitable relief for Defendants’ misconduct related to the design, manufacture,

 marketing, sale, and lease of the Polluting BMW Vehicles, as alleged in this Complaint.




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                                      II.      JURISDICTION

        17.     This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

 because Plaintiffs’ claims arise under the RICO Act, 18 U.S.C. § 1962. The Court also has

 diversity jurisdiction because Plaintiffs and Defendants reside in different states. The Court has

 supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. § 1367.

        18.     This Court also has original jurisdiction over this lawsuit pursuant to 28 U.S.C.

 § 1332(a)(1), as modified by the Class Action Fairness Act of 2005, because Plaintiffs and

 Defendants are citizens of different states; there are more than 100 members of the Class (as

 defined herein); the aggregate amount in controversy exceeds $5 million, exclusive of attorneys’

 fees, interest, and costs; and Class members reside across the United States. The citizenship of

 each party is described further below in the “Parties” section.

        19.     This Court has personal jurisdiction over each Defendant pursuant to 18 U.S.C.

 § 1965(b) & (d). This Court has personal jurisdiction over Defendants because they have

 minimum contacts with the United States, this judicial district, and this State, and they

 intentionally availed themselves of the laws of the United States and this State by conducting a

 substantial amount of business throughout the State, including the design, manufacture,

 distribution, testing, sale, lease, and/or warranty of BMW vehicles in this State and District. At

 least in part because of Defendants’ misconduct as alleged in this lawsuit, the Polluting BMW

 Vehicles ended up on this State’s roads and in dozens of franchise dealerships.

                                            III.    VENUE

        20.     Venue is proper in this Court under 28 U.S.C. § 1391 because (i) Defendants

 conduct substantial business in this District and have intentionally availed themselves of the laws

 and markets of the United States and this District; and/or (ii) many of the acts and transactions

 giving rise to this action occurred in this District, including, inter alia, BMW’s promotion,



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 marketing, distribution, and sale of the Polluting BMW Vehicles in this District. Defendant

 BMW sells a substantial number of automobiles in this District, has dealerships located

 throughout this District, and the misconduct occurred in part in this District. Venue is also proper

 under 18 U.S.C. § 1965(a) because Defendants are subject to personal jurisdiction in this

 District, as alleged in the preceding paragraph, and Defendants have agents located in this

 District.

                                         IV.     PARTIES

 A.      Plaintiffs

         1.     Alabama Plaintiffs

                a.      Joshua Hu

         21.    Plaintiff Joshua Hu (for the purpose of this paragraph, “Plaintiff”) is an individual

 residing in Vestavia Hills, Alabama. On or around April 13, 2014, Mr. Hu purchased a used

 2011 BMW 335d from Benton Nissan of Bessemer in Bessemer, Alabama. Mr. Hu paid

 approximately $31,000 for the vehicle and paid a diesel premium of at least $1500. Mr. Hu

 purchased and still owns this vehicle. Unknown to him at the time the vehicle was purchased, the

 vehicle only achieved its promised fuel economy and performance because it was equipped with

 an emissions system that, during normal driving conditions, exceeded the allowed level of

 pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Hu out-of-pocket loss in the form of overpayment at the time of purchase of at least

 $1500. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission controls

 during normal driving conditions, but did not disclose such facts or their effects to Mr. Hu, so

 Mr. Hu purchased his vehicle on the reasonable but mistaken belief that his vehicle was a “clean

 diesel” and/or a “low emission diesel,” complied with U.S. emissions standards, was properly



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 EPA-certified, and would retain all of its promised fuel economy and performance throughout its

 useful life. Mr. Hu selected and ultimately purchased his vehicle, in part, because of the diesel

 system, as represented through advertisements and representations made by BMW. Mr. Hu

 recalls that before he purchased the vehicle, he reviewed advertisements on BMW’s website and

 representations from the dealership touting the efficiency, fuel economy, and power and

 performance of the engine. Had BMW or Bosch disclosed this design or the fact that the vehicle

 actually emitted unlawfully high levels of pollutants, Mr. Hu would not have purchased the

 vehicle or would have paid less for it. Mr. Hu and each Class member has suffered an

 ascertainable loss as a result of BMW’s omissions and/or misrepresentations and Defendants’

 operation of a RICO enterprise associated with the BMW diesel engine system, including but not

 limited to a high premium for the BMW 335d engine compared to what they would have paid for

 a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at the time of

 purchase, and future attempted repairs, future additional fuel costs, and decreased performance

 of the vehicles once a repair to the emissions system is made. Neither BMW nor any of its

 agents, dealers, or other representatives, or Bosch informed Mr. Hu or Class members of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the Polluting Vehicles prior to purchase.

                b.      Charles Rogers

        22.     Plaintiff Charles Rogers (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Deatsville, Alabama. On or around June 17, 2016, Mr. Rogers purchased a

 used 2013 BMW X5 Diesel from CarMax of Birmingham in Birmingham, Alabama. Mr. Rogers

 paid approximately $42,333 for the vehicle and paid a diesel premium of at least $1500. Mr.

 Rogers purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was



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 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Rogers out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Rogers, so Mr. Rogers purchased his vehicle on the reasonable but mistaken belief that his

 vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Rogers selected and ultimately purchased his vehicle,

 in part, because of the diesel system, as represented through advertisements and representations

 made by BMW. Mr. Rogers recalls that before he purchased the vehicle, he reviewed

 advertisements on BMW’s website and representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Mr. Rogers would not have purchased the vehicle or would have paid less for it. Mr.

 Rogers and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated

 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 X5 Diesel engine compared to what they would have paid for a gas-powered engine, out-of-

 pocket losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, and decreased performance of the vehicles once a repair to

 the emissions system is made. Neither BMW nor any of its agents, dealers, or other




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 representatives, or Bosch informed Mr. Rogers or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

        2.      Arizona Plaintiff

                a.     Rickey Evans

        23.      Plaintiff Rickey Evans (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Queen Creek, Arizona. On or around March 18, 2017, Mr. Evans

 purchased a used 2011 BMW 335d from Chapman BMW in Chandler, Arizona. Mr. Evans paid

 approximately $18,829.06 for the vehicle and paid a diesel premium of at least $1500. Mr.

 Evans purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it

 was equipped with an emissions system that, during normal driving conditions, exceeded the

 allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the vehicle without proper emission

 controls has caused Mr. Evans out-of-pocket loss in the form of overpayment at the time of

 purchase of at least $1500, and based upon expert work in other diesel cases, expert analysis in

 this case will show overpayment in excess of $5,000. BMW and Bosch knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but

 did not disclose such facts or their effects to Mr. Evans, so Mr. Evans purchased his vehicle on

 the reasonable but mistaken belief that his vehicle was a “clean diesel” and/or a “low emission

 diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would retain

 all of its promised fuel economy and performance throughout its useful life. Mr. Evans selected

 and ultimately purchased his vehicle, in part, because of the diesel system, as represented

 through advertisements and representations made by BMW. Mr. Evans recalls that before he



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 purchased the vehicle, he reviewed advertisements on BMW’s website and representations from

 the dealership touting the efficiency, fuel economy, and power and performance of the engine.

 Had BMW or Bosch disclosed this design or the fact that the vehicle actually emitted

 unlawfully high levels of pollutants, Mr. Evans would not have purchased the vehicle or would

 have paid less for it. Mr. Evans and each Class member has suffered an ascertainable loss as a

 result of BMW’s omissions and/or misrepresentations and Defendants’ operation of a RICO

 enterprise associated with the BMW diesel engine system, including but not limited to a high

 premium for the BMW 335d engine compared to what they would have paid for a gas-powered

 engine, out-of-pocket losses by overpaying for the vehicles at the time of purchase, and future

 attempted repairs, future additional fuel costs, and decreased performance of the vehicles once a

 repair to the emissions system is made. Neither BMW nor any of its agents, dealers, or other

 representatives, or Bosch informed Mr. Evans or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

        3.      California Plaintiffs

                a.     Brian Beckner

        24.     Plaintiff Brian Beckner (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Huntington Beach, California. On or around November 20, 2017, Mr.

 Beckner purchased a used 2010 BMW X5d through a private sale. Mr. Beckner paid

 approximately $13,250.00 for the vehicle and paid a diesel premium of at least $1500. Mr.

 Beckner purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was

 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,



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 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Beckner out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500, and based upon other diesel cases, expert analysis in this case will show

 overpayment in excess of $5,000. BMW and Bosch knew about, or recklessly disregarded, the

 inadequate emission controls during normal driving conditions, but did not disclose such facts or

 their effects to Mr. Beckner, so Mr. Beckner purchased his vehicle on the reasonable but

 mistaken belief that his vehicle was a “clean diesel” and/or a “low emission diesel,” complied

 with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

 fuel economy and performance throughout its useful life. Mr. Beckner selected and ultimately

 purchased his vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by BMW. Mr. Beckner recalls that before he purchased

 the vehicle, he reviewed advertisements on BMW’s website and representations from the

 dealership touting the efficiency, fuel economy, and power and performance of the engine. Had

 BMW or Bosch disclosed this design or the fact that the vehicle actually emitted unlawfully high

 levels of pollutants, Mr. Beckner would not have purchased the vehicle or would have paid less

 for it. Mr. Beckner and each Class member has suffered an ascertainable loss as a result of

 BMW’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the BMW diesel engine system, including but not limited to a high premium for

 the BMW 335d engine compared to what they would have paid for a gas-powered engine, out-of-

 pocket losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, and decreased performance of the vehicles once a repair to

 the emissions system is made. Neither BMW nor any of its agents, dealers, or other

 representatives, or Bosch informed Mr. Beckner or Class members of the existence of the




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 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

                b.      Chad Maccanelli

        25.     Plaintiff Chad Maccanelli (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Winnetka, California. On or around May 20, 2015, Mr. Maccanelli

 purchased a used 2011 BMW 335d from VW of Puente Hills in Puente Hills, California. Mr.

 Maccanelli paid approximately $23,500 for the vehicle and paid a diesel premium of at least

 $1500. Mr. Maccanelli purchased and still owns this vehicle. Unknown to him at the time the

 vehicle was purchased, the vehicle only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving conditions,

 exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive

 conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without proper

 emission controls has caused Mr. Maccanelli out-of-pocket loss in the form of overpayment at

 the time of purchase of at least $1500, and based upon other expert analysis in diesel cases,

 expert analysis in this case will show overpayment in excess of $5,000. BMW and Bosch knew

 about, or recklessly disregarded, the inadequate emission controls during normal driving

 conditions, but did not disclose such facts or their effects to Mr. Maccanelli, so Mr. Maccanelli

 purchased his vehicle on the reasonable but mistaken belief that his vehicle was a “clean diesel”

 and/or a “low emission diesel,” complied with U.S. emissions standards, was properly EPA-

 certified, and would retain all of its promised fuel economy and performance throughout its

 useful life. Mr. Maccanelli selected and ultimately purchased his vehicle, in part, because of the

 diesel system, as represented through advertisements and representations made by BMW. Mr.

 Maccanelli recalls that before he purchased the vehicle, he reviewed advertisements on BMW’s

 website and representations from the dealership touting the efficiency, fuel economy, and power



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 and performance of the engine. Had BMW or Bosch disclosed this design or the fact that the

 vehicle actually emitted unlawfully high levels of pollutants, Mr. Maccanelli would not have

 purchased the vehicle or would have paid less for it. Mr. Maccanelli and each Class member has

 suffered an ascertainable loss as a result of BMW’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the BMW diesel engine system,

 including but not limited to a high premium for the BMW 335d engine compared to what they

 would have paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at

 the time of purchase, and future attempted repairs, future additional fuel costs, and decreased

 performance of the vehicles once a repair to the emissions system is made. Neither BMW nor

 any of its agents, dealers, or other representatives, or Bosch informed Mr. Maccanelli or Class

 members of the existence of the unlawfully high emissions and/or defective nature of the diesel

 engine system of the Polluting Vehicles prior to purchase.

                c.      Ellis Goldfrit

        26.     Plaintiff Ellis Goldfrit (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Santa Cruz, California. On or around October 19, 2011, Mr. Goldfrit

 purchased a new 2011 BMW 335d from Stevens Creek BMW, an authorized BMW dealership in

 San Jose, California. Mr. Goldfrit paid approximately $46,624 for the vehicle and paid a diesel

 premium of at least $1500. Mr. Goldfrit purchased and still owns this vehicle. Unknown to him

 at the time the vehicle was purchased, the vehicle only achieved its promised fuel economy and

 performance because it was equipped with an emissions system that, during normal driving

 conditions, exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and

 deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Mr. Goldfrit out-of-pocket loss in the form of

 overpayment at the time of purchase of at least $1500, and based upon analysis of similar cases



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 overpayment damages will exceed $10,000 at the time of expert disclosures. BMW and Bosch

 knew about, or recklessly disregarded, the inadequate emission controls during normal driving

 conditions, but did not disclose such facts or their effects to Mr. Goldfrit, so Mr. Goldfrit

 purchased his vehicle on the reasonable but mistaken belief that his vehicle was a “clean diesel”

 and/or a “low emission diesel,” complied with U.S. emissions standards, was properly EPA-

 certified, and would retain all of its promised fuel economy and performance throughout its

 useful life. Mr. Goldfrit selected and ultimately purchased his vehicle, in part, because of the

 diesel system, as represented through advertisements and representations made by BMW. Mr.

 Goldfrit recalls that before he purchased the vehicle, he reviewed advertisements on BMW’s

 website and representations from the dealership touting the efficiency, fuel economy, and power

 and performance of the engine. Had BMW or Bosch disclosed this design or the fact that the

 vehicle actually emitted unlawfully high levels of pollutants, Mr. Goldfrit would not have

 purchased the vehicle or would have paid less for it. Mr. Goldfrit and each Class member has

 suffered an ascertainable loss as a result of BMW’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the BMW diesel engine system,

 including but not limited to a high premium for the BMW 335d engine compared to what they

 would have paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at

 the time of purchase, and future attempted repairs, future additional fuel costs, and decreased

 performance of the vehicles once a repair to the emissions system is made. Neither BMW nor

 any of its agents, dealers, or other representatives, or Bosch informed Mr. Goldfrit or Class

 members of the existence of the unlawfully high emissions and/or defective nature of the diesel

 engine system of the Polluting Vehicles prior to purchase.




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                d.      Werner Rogmans

        27.     Plaintiff Werner Rogmans (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in East Palo Alto, California. On or around September 27, 2017, Mr.

 Rogmans purchased a used 2011 BMW X5 Diesel from M Sport Motors, located in Walnut

 Creek, California. Mr. Rogmans paid approximately $19,367 for the vehicle and paid a diesel

 premium of at least $1500. Mr. Rogmans purchased and still owns this vehicle. Unknown to him

 at the time the vehicle was purchased, the vehicle only achieved its promised fuel economy and

 performance because it was equipped with an emissions system that, during normal driving

 conditions, exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and

 deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Mr. Rogmans out-of-pocket loss in the form of

 overpayment at the time of purchase of at least $1500, and based upon other diesel cases expert

 analysis in this case will show overpayment in excess of $5,000. BMW and Bosch knew about,

 or recklessly disregarded, the inadequate emission controls during normal driving conditions, but

 did not disclose such facts or their effects to Mr. Rogmans so Mr. Rogmans purchased his

 vehicle on the reasonable but mistaken belief that his vehicle was a “clean diesel” and/or a “low

 emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and

 would retain all of its promised fuel economy and performance throughout its useful life. Mr.

 Rogmans selected and ultimately purchased his vehicle, in part, because of the diesel system, as

 represented through advertisements and representations made by BMW. Mr. Rogmans recalls

 that he relied on the dealership’s labeling and representations regarding the car’s emissions, fuel

 economy, and power and performance of the engine as part of his purchasing decision, as well as

 doing a significant amount of individual research on BMW vehicles. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of



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 pollutants, Mr. Rogmans would not have purchased the vehicle or would have paid less for it.

 Mr. Rogmans and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated

 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 X5 Diesel engine compared to what they would have paid for a gas-powered engine, out-of-

 pocket losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, and decreased performance of the vehicles once a repair to

 the emissions system is made. Neither BMW nor any of its agents, dealers, or other

 representatives, or Bosch informed Mr. Rogmans or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

                e.      Eric Sanchez

        28.     Plaintiff Eric Sanchez (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in West Covina, California. On or around March 2015, Mr. Sanchez

 purchased a used 2010 BMW X5 Diesel from West Coast Rovers, located in Lake Forest,

 California. Mr. Sanchez paid approximately $21,000 for the vehicle and paid a diesel premium of

 at least $1500. Mr. Sanchez purchased and still owns this vehicle. Unknown to him at the time

 the vehicle was purchased, the vehicle only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving conditions,

 exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive

 conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without proper

 emission controls has caused Mr. Sanchez out-of-pocket loss in the form of overpayment at the

 time of purchase of at least $1500, and based upon other diesel cases expert analysis in this case

 will show overpayment in excess of $5,000. BMW and Bosch knew about, or recklessly



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 disregarded, the inadequate emission controls during normal driving conditions, but did not

 disclose such facts or their effects to Mr. Sanchez so Mr. Sanchez purchased his vehicle on the

 reasonable but mistaken belief that his vehicle was a “clean diesel” and/or a “low emission

 diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would retain

 all of its promised fuel economy and performance throughout its useful life. Mr. Sanchez

 selected and ultimately purchased his vehicle, in part, because of the diesel system, as

 represented through advertisements and representations made by BMW. Mr. Sanchez recalls that

 before he purchased the vehicle, he reviewed representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Mr. Sanchez would not have purchased the vehicle or would have paid less for it. Mr.

 Sanchez and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated

 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 X5 335d engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, and decreased performance of the vehicles once a repair to the emissions

 system is made. Neither BMW nor any of its agents, dealers, or other representatives, or Bosch

 informed Mr. Sanchez or Class members of the existence of the unlawfully high emissions

 and/or defective nature of the diesel engine system of the Polluting Vehicles prior to purchase.

        4.      Colorado Plaintiffs

                a.      Jeffrey Price

        29.     Plaintiff Jeffrey Price (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Ridgway, Colorado. On or around December 20, 2016, Mr. Price



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 purchased a used 2009 BMW X5 Diesel from Autonation in Centennial, Colorado. Mr. Price

 paid approximately $17,000 for the vehicle and paid a diesel premium of at least $1500. Mr.

 Price purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was

 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Price out-of-pocket loss in the form of overpayment at the time of purchase of at least

 $1500, and based upon other diesel cases expert analysis in this case will show overpayment in

 excess of $5,000. BMW and Bosch knew about, or recklessly disregarded, the inadequate

 emission controls during normal driving conditions, but did not disclose such facts or their

 effects to Mr. Price, so Mr. Price purchased his vehicle on the reasonable but mistaken belief that

 his vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Price selected and ultimately purchased his vehicle,

 in part, because of the diesel system, as represented through advertisements and representations

 made by BMW. Mr. Price recalls that before he purchased the vehicle, he reviewed

 advertisements on BMW’s website and representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Mr. Price would not have purchased the vehicle or would have paid less for it. Mr.

 Price and each Class member has suffered an ascertainable loss as a result of BMW’s omissions

 and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the




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 BMW diesel engine system, including but not limited to a high premium for the BMW X5 Diesel

 engine compared to what they would have paid for a gas-powered engine, out-of-pocket losses

 by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles once the repair to the emissions

 system is made. Neither BMW nor any of its agents, dealers, or other representatives, or Bosch

 informed Mr. Price or Class members of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the Polluting Vehicles prior to purchase.

                b.     Garner Rickman

        30.     Plaintiff Garner Rickman (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Hayden, Colorado. On or around May 20, 2015, Mr. Rickman purchased a

 used 2012 BMW X5 Diesel from Schomp BMW, an authorized BMW dealer in Highlands

 Ranch, Colorado. Mr. Rickman paid approximately $43,000 for the vehicle, and paid a diesel

 premium of at least $1,500. Mr. Rickman purchased and still owns this vehicle. Unknown to

 him at the time the vehicle was purchased, the vehicle only achieved its promised fuel economy

 and performance because it was equipped with an emissions system that, during normal driving

 conditions, exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and

 deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Mr. Rickman out-of-pocket loss in the form of

 overpayment at the time of purchase of at least $1500, and based upon analysis of similar cases

 overpayment damages will exceed $10,000 at the time of expert disclosures. BMW and Bosch

 knew about, or recklessly disregarded, the inadequate emission controls during normal driving

 conditions, but did not disclose such facts or their effects to Mr. Rickman, so Mr. Rickman

 purchased his vehicle on the reasonable but mistaken belief that his vehicle was a “clean diesel”

 and/or a “low emission diesel,” complied with U.S. emissions standards, was properly EPA-



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 certified, and would retain all of its promised fuel economy and performance throughout its

 useful life. Mr. Rickman selected and ultimately purchased his vehicle, in part, because of the

 diesel system, as represented through advertisements and representations made by BMW. Mr.

 Rickman recalls that before he purchased the vehicle, he reviewed advertisements on BMW’s

 website and representations from BMW’s authorized dealer touting the efficiency, fuel economy,

 and power and performance of the engine. Had BMW or Bosch disclosed this design or the fact

 that the vehicle actually emitted unlawfully high levels of pollutants, Mr. Rickman would not

 have purchased the vehicle or would have paid less for it, by at least $1,500. Mr. Rickman and

 each Class member has suffered an ascertainable loss as a result of BMW’s omissions and/or

 misrepresentations and Defendants’ operation of a RICO enterprise associated with the BMW

 diesel engine system, including but not limited to a high premium for the BMW X5 Diesel

 engine compared to what they would have paid for a gas-powered engine, out-of-pocket losses

 by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, and decreased performance of the vehicles once a repair to the emissions

 system is made. Neither BMW nor any of its agents, dealers, or other representatives, or Bosch

 informed Mr. Rickman or Class members of the existence of the unlawfully high emissions

 and/or defective nature of the diesel engine system of the Polluting Vehicles prior to purchase.

        5.      Georgia Plaintiffs

                a.     Darshan Patel

        31.     Plaintiff Darshan Patel (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Suwanee, Georgia. On or around April 2013, Mr. Patel purchased a new

 2013 BMW X5 Diesel from Athens BMW, located in Athens, Georgia. Mr. Patel paid

 approximately $62,000 for the vehicle and paid a diesel premium of at least $1500. Mr. Patel

 purchased and still owns this vehicle. Unknown to him at the time the vehicle was purchased, the



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 vehicle only achieved its promised fuel economy and performance because it was equipped with

 an emissions system that, during normal driving conditions, exceeded the allowed level of

 pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Patel out-of-pocket loss in the form of overpayment at the time of purchase of at least

 $1500, and based upon analysis of similar cases overpayment damages will exceed $10,000 at

 the time of expert disclosures. BMW and Bosch knew about, or recklessly disregarded, the

 inadequate emission controls during normal driving conditions, but did not disclose such facts or

 their effects to Mr. Patel so Mr. Patel purchased his vehicle on the reasonable but mistaken belief

 that his vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S.

 emissions standards, was properly EPA-certified, and would retain all of its promised fuel

 economy and performance throughout its useful life. Mr. Patel selected and ultimately purchased

 his vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by BMW. Mr. Patel recalls that before he purchased the vehicle, he

 reviewed representations from the dealership touting the efficiency, fuel economy, and power

 and performance of the engine. Had BMW or Bosch disclosed this design or the fact that the

 vehicle actually emitted unlawfully high levels of pollutants, Mr. Patel would not have purchased

 the vehicle or would have paid less for it. Mr. Patel and each Class member has suffered an

 ascertainable loss as a result of BMW’s omissions and/or misrepresentations and Defendants’

 operation of a RICO enterprise associated with the BMW diesel engine system, including but not

 limited to a high premium for the BMW X5 335d engine compared to what they would have paid

 for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at the time of

 purchase, and future attempted repairs, future additional fuel costs, and decreased performance




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 of the vehicles once a repair to the emissions system is made. Neither BMW nor any of its

 agents, dealers, or other representatives, or Bosch informed Mr. Patel or Class members of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the Polluting Vehicles prior to purchase

                b.     Charles Campbell

        32.     Plaintiffs Charles Campbell (for the purpose of this paragraph, “Plaintiff”) is

 individual residing in Iva, South Carolina. On or around June 2014, Charles Campbell purchased

 a used 2011 BMW X5 Diesel from Atlanta Luxury Motors, located in Atlanta, Georgia. Charles

 Campbell paid approximately $36,000 for the vehicle and paid a diesel premium of at least

 $1500, and based upon other diesel cases expert analysis will show overpayment in excess of

 $5,000. Unknown to Plaintiffs at the time the vehicle was purchased, the vehicle only achieved

 its promised fuel economy and performance because it was equipped with an emissions system

 that, during normal driving conditions, exceeded the allowed level of pollutants such as NOx.

 BMW’s unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling,

 and leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss

 in the form of overpayment at the time of purchase. BMW and Bosch knew about, or recklessly

 disregarded, the inadequate emission controls during normal driving conditions, but did not

 disclose such facts or their effects to Mr. Campbell so Mr. Campbell purchased his vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission

 diesel,” complied with U.S. emissions standards, was properly EPA- certified, and would retain

 all of its promised fuel economy and performance throughout its useful life. Plaintiffs selected

 and ultimately purchased the vehicle, in part, because of the diesel system, as represented

 through advertisements and representations made by BMW. Plaintiffs recalls that before he

 purchased the vehicle, they reviewed representations from the dealership touting the efficiency,



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 fuel economy, and power and performance of the engine. Had BMW or Bosch disclosed this

 design or the fact that the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff

 would not have purchased the vehicle or would have paid less for it. Plaintiff and each Class

 member has suffered an ascertainable loss as a result of BMW’s omissions and/or

 misrepresentations and Defendants’ operation of a RICO enterprise associated with the BMW

 diesel engine system, including but not limited to a high premium for the BMW X5 335d engine

 compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

 overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, and decreased performance of the vehicles once a repair to the emissions

 system is made. Neither BMW nor any of its agents, dealers, or other representatives, or Bosch

 informed Plaintiffs or Class members of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the Polluting Vehicles prior to purchase.

                c.      Dr. Alexander VanDamme

        33.     Plaintiff Dr. Alexander VanDamme (for the purpose of this paragraph, “Plaintiff”)

 is an individual residing in Pittsford, New York. On or around June 7, 2016, Dr. VanDamme

 purchased a used 2013 BMW X5 Diesel from Executive Auto, located in Loganville, Georgia.

 Dr. VanDamme paid approximately $27,737 for the vehicle and paid a diesel premium of at least

 $1500. Dr. VanDamme purchased and still owns this vehicle. Unknown to him at the time the

 vehicle was purchased, the vehicle only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving conditions,

 exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive

 conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without proper

 emission controls has caused Dr. VanDamme out-of-pocket loss in the form of overpayment at

 the time of purchase of at least $1500, and based upon other diesel cases expert analysis will



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 show overpayment in excess of $5,000. BMW and Bosch knew about, or recklessly disregarded,

 the inadequate emission controls during normal driving conditions, but did not disclose such

 facts or their effects to Dr. VanDamme so Dr. VanDamme purchased his vehicle on the

 reasonable but mistaken belief that his vehicle was a “clean diesel” and/or a “low emission

 diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would retain

 all of its promised fuel economy and performance throughout its useful life. Dr. VanDamme

 selected and ultimately purchased his vehicle, in part, because of the diesel system, as

 represented through advertisements and representations made by BMW. Dr. VanDamme recalls

 that before he purchased the vehicle, he reviewed representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Dr. VanDamme would not have purchased the vehicle or would have paid less for it.

 Dr. VanDamme and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated

 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 X5 Diesel engine compared to what they would have paid for a gas-powered engine, out-of-

 pocket losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, and decreased performance of the vehicles once a repair to

 the emissions system is made. Neither BMW nor any of its agents, dealers, or other

 representatives, or Bosch informed Dr. VanDamme or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.




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        6.      Illinois Plaintiffs

                a.      Christine Griffith

        34.     Plaintiff Christine Griffith (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Chicago, Illinois. On or around April 20, 2017, Ms. Griffith purchased a

 used 2011 BMW X5 Diesel from Luxury Automaxx in Chicago, Illinois. Ms. Griffith paid

 approximately $19,500 for the vehicle and paid a diesel premium of at least $1500. Ms. Griffith

 purchased and still owns this vehicle. Unknown to her at the time the vehicle was purchased, the

 vehicle only achieved its promised fuel economy and performance because it was equipped with

 an emissions system that, during normal driving conditions, exceeded the allowed level of

 pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Ms. Griffith out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Ms.

 Griffith, so Ms. Griffith purchased her vehicle on the reasonable but mistaken belief that her

 vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Ms. Griffith selected and ultimately purchased her

 vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by BMW. Ms. Griffith recalls that before she purchased the vehicle, she

 reviewed advertisements on BMW’s website and representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Ms. Griffith would not have purchased the vehicle or would have paid less for it. Ms.



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 Griffith and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated

 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 X5 Diesel engine compared to what they would have paid for a gas-powered engine, out-of-

 pocket losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, and decreased performance of the vehicles once a repair to

 the emissions system is made. Neither BMW nor any of its agents, dealers, or other

 representatives, or Bosch informed Ms. Griffith or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

                b.      Gene Quint

        35.     Plaintiff Charles Rogers (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Deatsville, Alabama. On or around June 17, 2016, Mr. Rogers purchased a

 used 2013 BMW X5 Diesel from CarMax of Birmingham in Birmingham, Alabama. Mr. Rogers

 paid approximately $42,333 for the vehicle and paid a diesel premium of at least $1500. Mr.

 Rogers purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was

 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Rogers out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Rogers, so Mr. Rogers purchased his vehicle on the reasonable but mistaken belief that his



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 vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Rogers selected and ultimately purchased his vehicle,

 in part, because of the diesel system, as represented through advertisements and representations

 made by BMW. Mr. Rogers recalls that before he purchased the vehicle, he reviewed

 advertisements on BMW’s website and representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Mr. Rogers would not have purchased the vehicle or would have paid less for it. Mr.

 Rogers and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated

 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 X5 Diesel engine compared to what they would have paid for a gas-powered engine, out-of-

 pocket losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, and decreased performance of the vehicles once a repair to

 the emissions system is made. Neither BMW nor any of its agents, dealers, or other

 representatives, or Bosch informed Mr. Rogers or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

        7.      Indiana Plaintiff

                a.      Jacob Biggins

        36.     Plaintiff Jacob Biggins (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Fort Wayne, Indiana. On or around January 31, 2017, Mr. Biggins

 purchased a used 2009 BMW 335d from Unlimited Motors in Indianapolis, Indiana. Mr. Biggins



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 paid approximately $15,000 for the vehicle and paid a diesel premium of at least $1500. Mr.

 Biggins purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was

 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Biggins out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Biggins, so Mr. Biggins purchased his vehicle on the reasonable but mistaken belief that his

 vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Biggins selected and ultimately purchased his

 vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by BMW. Mr. Biggins recalls that before he purchased the vehicle, he

 reviewed advertisements on BMW’s website and representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Mr. Biggins would not have purchased the vehicle or would have paid less for it. Mr.

 Biggins and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated

 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 335d engine compared to what they would have paid for a gas-powered engine, out-of-pocket




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 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, and decreased performance of the vehicles once a repair to the emissions

 system is made. Neither BMW nor any of its agents, dealers, or other representatives, or Bosch

 informed Mr. Biggins or Class members of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the Polluting Vehicles prior to purchase.

        8.      Kentucky Plaintiff

                a.      Razmir Avic

        37.     Plaintiff Razmir Avic (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in St. Louis, Missouri. On or around May 11, 2016, Mr. Avic purchased a

 used 2011 BMW X5 Diesel from Volvo of Louisville in Louisville, Kentucky. Mr. Avic paid

 approximately $23,000 for the vehicle and paid a diesel premium of at least $1500. Mr. Avic

 purchased and still owns this vehicle. Unknown to him at the time the vehicle was purchased, the

 vehicle only achieved its promised fuel economy and performance because it was equipped with

 an emissions system that, during normal driving conditions, exceeded the allowed level of

 pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Avic out-of-pocket loss in the form of overpayment at the time of purchase of at least

 $1500. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission controls

 during normal driving conditions, but did not disclose such facts or their effects to Mr. Avic, so

 Mr. Avic purchased his vehicle on the reasonable but mistaken belief that his vehicle was a

 “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions standards, was

 properly EPA-certified, and would retain all of its promised fuel economy and performance

 throughout its useful life. Mr. Avic selected and ultimately purchased his vehicle, in part,

 because of the diesel system, as represented through advertisements and representations made by



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 BMW. Mr. Avic recalls that before he purchased the vehicle, he reviewed advertisements on

 BMW’s website and representations from the dealership touting the efficiency, fuel economy,

 and power and performance of the engine. Had BMW or Bosch disclosed this design or the fact

 that the vehicle actually emitted unlawfully high levels of pollutants, Mr. Avic would not have

 purchased the vehicle or would have paid less for it. Mr. Avic and each Class member has

 suffered an ascertainable loss as a result of BMW’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the BMW diesel engine system,

 including but not limited to a high premium for the BMW X5 Diesel engine compared to what

 they would have paid for a gas-powered engine, out-of-pocket losses by overpaying for the

 vehicles at the time of purchase, and future attempted repairs, future additional fuel costs, and

 decreased performance of the vehicles once a repair to the emissions system is made. Neither

 BMW nor any of its agents, dealers, or other representatives, or Bosch informed Mr. Avic or

 Class members of the existence of the unlawfully high emissions and/or defective nature of the

 diesel engine system of the Polluting Vehicles prior to purchase.

        9.      Louisiana Plaintiff

                a.      Tarrah Pee

        38.     Plaintiff Tarrah Pee (for the purpose of this paragraph, “Plaintiff”) is an individual

 residing in Lake Charles, Louisiana. On or around March 2017, Ms. Pee purchased a used 2011

 BMW X5 Diesel from Herrin-Gear Toyota, 6100 N Frontage Rd # I-55, Jackson, MS 39211. Ms.

 Pee paid approximately $36,760.64 for the vehicle and paid a diesel premium of at least $1500.

 Ms. Pee purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was

 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,



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 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Ms. Pee out-of-pocket loss in the form of overpayment at the time of purchase of at least

 $1500, and based upon other diesel cases expert analysis will show overpayment in excess of

 $5,000. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Ms.

 Pee, so Ms. Pee purchased her vehicle on the reasonable but mistaken belief that his vehicle was

 a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions standards, was

 properly EPA-certified, and would retain all of its promised fuel economy and performance

 throughout its useful life. Ms. Pee selected and ultimately purchased his vehicle, in part, because

 of the diesel system, as represented through advertisements and representations made by BMW.

 Ms. Pee recalls that before she purchased the vehicle, she reviewed advertisements on BMW’s

 website and representations from the dealership touting the efficiency, fuel economy, and power

 and performance of the engine. Had BMW or Bosch disclosed this design or the fact that the

 vehicle actually emitted unlawfully high levels of pollutants, Ms. Pee would not have purchased

 the vehicle or would have paid less for it. Ms. Pee and each Class member has suffered an

 ascertainable loss as a result of BMW’s omissions and/or misrepresentations and Defendants’

 operation of a RICO enterprise associated with the BMW diesel engine system, including but not

 limited to a high premium for the BMW X5 Diesel engine compared to what they would have

 paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at the time of

 purchase, and future attempted repairs, future additional fuel costs, and decreased performance

 of the vehicles once a repair to the emissions system is made. Neither BMW nor any of its

 agents, dealers, or other representatives, or Bosch informed Ms. Pee or Class members of the




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 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the Polluting Vehicles prior to purchase.

        10.     Maryland Plaintiff

                a.      Ziwen Li

        Plaintiff Ziwen Li (for the purpose of this paragraph, “Plaintiff”) is an individual residing

 in Ocala, Florida. On or around April 27, 2015, Mr. Li purchased a used 2011 BMW X5 Diesel

 from Passport BMW, an authorized BMW dealer in Camp Springs, Maryland. Mr. Li paid

 approximately $27,000 for the vehicle and paid a diesel premium of at least $1500. Mr. Li

 purchased and still owns this vehicle. Unknown to him at the time the vehicle was purchased, the

 vehicle only achieved its promised fuel economy and performance because it was equipped with

 an emissions system that, during normal driving conditions, exceeded the allowed level of

 pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Li out-of-pocket loss in the form of overpayment at the time of purchase of at least

 $1500, and based upon other diesel cases expert analysis will show overpayment in excess of

 $5,000. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Li, so Mr. Li purchased his vehicle on the reasonable but mistaken belief that his vehicle was a

 “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions standards, was

 properly EPA-certified, and would retain all of its promised fuel economy and performance

 throughout its useful life. Mr. Li selected and ultimately purchased his vehicle, in part, because

 of the diesel system, as represented through advertisements and representations made by BMW.

 Mr. Li recalls that before he purchased the vehicle, he reviewed advertisements on BMW’s

 website and representations from BMW’s authorized dealer touting the efficiency, fuel economy,



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 and power and performance of the engine. Had BMW or Bosch disclosed this design or the fact

 that the vehicle actually emitted unlawfully high levels of pollutants, Mr. Li would not have

 purchased the vehicle or would have paid less for it. Mr. Li and each Class member has suffered

 an ascertainable loss as a result of BMW’s omissions and/or misrepresentations and Defendants’

 operation of a RICO enterprise associated with the BMW diesel engine system, including but not

 limited to a high premium for the BMW X5 Diesel engine compared to what they would have

 paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at the time of

 purchase, and future attempted repairs, future additional fuel costs, and decreased performance

 of the vehicles once a repair to the emissions system is made. Neither BMW nor any of its

 agents, dealers, or other representatives, or Bosch informed Mr. Li or Class members of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the Polluting Vehicles prior to purchase.

        11.     Minnesota Plaintiff

                a.     Irving Cohen

        39.     Plaintiff Irving Cohen (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Eden Prairie, Minnesota. On or around August 2013, Mr. Cohen purchased

 a 2013 BMW X5 Diesel from Auto Source, Inc., which at that time was located in Eden Prairie,

 Minnesota. Mr. Cohen paid approximately $ 51,000 for the vehicle and paid a diesel premium of

 at least $1500. Mr. Cohen purchased and still owns this vehicle. Unknown to him at the time the

 vehicle was purchased, the vehicle only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving conditions,

 exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive

 conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without proper

 emission controls has caused Mr. Cohen out-of-pocket loss in the form of overpayment at the



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 time of purchase of at least $1500, and based upon analysis of similar cases overpayment

 damages will exceed $10,000 at the time of expert disclosures. BMW and Bosch knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but

 did not disclose such facts or their effects to Mr. Cohen so Mr. Cohen purchased his vehicle on

 the reasonable but mistaken belief that his vehicle was a “clean diesel” and/or a “low emission

 diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would retain

 all of its promised fuel economy and performance throughout its useful life. Mr. Cohen selected

 and ultimately purchased his vehicle, in part, because of the diesel system, as represented

 through advertisements and representations made by BMW. Mr. Cohen recalls that before he

 purchased the vehicle, he reviewed representations from the dealership touting the efficiency,

 fuel economy, and power and performance of the engine. Had BMW or Bosch disclosed this

 design or the fact that the vehicle actually emitted unlawfully high levels of pollutants, Mr.

 Cohen would not have purchased the vehicle or would have paid less for it. Mr. Cohen and each

 Class member has suffered an ascertainable loss as a result of BMW’s omissions and/or

 misrepresentations and Defendants’ operation of a RICO enterprise associated with the BMW

 diesel engine system, including but not limited to a high premium for the BMW X5 Diesel

 engine compared to what they would have paid for a gas-powered engine, out-of-pocket losses

 by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, and decreased performance of the vehicles once a repair to the emissions

 system is made. Neither BMW nor any of its agents, dealers, or other representatives, or Bosch

 informed Mr. Cohen or Class members of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the Polluting Vehicles prior to purchase.




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        12.     Mississippi Plaintiff

                a.     Angela Hughes

        40.     Plaintiff Angela Hughes (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Heidelberg, Mississippi. On or around January 9, 2018, Ms. Hughes

 purchased a used 2012 BMW X5 35d from Specialty Auto in Gulf Coast, Mississippi. Ms.

 Hughes paid approximately $15,595.00 for the vehicle and paid a diesel premium of at least

 $1500. Ms. Hughes purchased and still owns this vehicle. Unknown to him at the time the

 vehicle was purchased, the vehicle only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving conditions,

 exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive

 conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without proper

 emission controls has caused Ms. Hughes out-of-pocket loss in the form of overpayment at the

 time of purchase of at least $1500, and based upon other diesel cases expert analysis will show

 overpayment in excess of $5,000. BMW and Bosch knew about, or recklessly disregarded, the

 inadequate emission controls during normal driving conditions, but did not disclose such facts or

 their effects to Ms. Hughes, so Ms. Hughes purchased her vehicle on the reasonable but mistaken

 belief that his vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S.

 emissions standards, was properly EPA-certified, and would retain all of its promised fuel

 economy and performance throughout its useful life. Ms. Hughes selected and ultimately

 purchased her vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by BMW. Ms. Hughes recalls that before she

 purchased the vehicle, she reviewed advertisements on BMW’s website and representations from

 the dealership touting the efficiency, fuel economy, and power and performance of the engine.

 Had BMW or Bosch disclosed this design or the fact that the vehicle actually emitted unlawfully



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 high levels of pollutants, Ms. Hughes would not have purchased the vehicle or would have paid

 less for it. Ms. Hughes and each Class member has suffered an ascertainable loss as a result of

 BMW’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the BMW diesel engine system, including but not limited to a high premium for

 the BMW X5 35d engine compared to what they would have paid for a gas-powered engine, out-

 of-pocket losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, and decreased performance of the vehicles once a repair to

 the emissions system is made. Neither BMW nor any of its agents, dealers, or other

 representatives, or Bosch informed Ms. Hughes or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

        13.     Montana Plaintiff

                a.      Carlos Buendia

        41.     Plaintiff Carlos Buendia (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Belgrade, Montana. On or around November 2016, Mr. Buendia purchased

 a used 2010 BMW X5 Diesel from Billion Auto Group, in Bozeman, Montana. Mr. Buendia

 paid approximately $17,500 for the vehicle and paid a diesel premium of at least $1500. Mr.

 Buendia purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was

 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Buendia out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500, and based upon other diesel cases expert analysis will show overpayment in excess



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 of $5,000. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Buendia so Mr. Buendia purchased his vehicle on the reasonable but mistaken belief that his

 vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Buendia selected and ultimately purchased his

 vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by BMW. Mr. Buendia recalls that before he purchased the vehicle, he

 reviewed representations from the dealership touting the efficiency, fuel economy, and power

 and performance of the engine. Had BMW or Bosch disclosed this design or the fact that the

 vehicle actually emitted unlawfully high levels of pollutants, Mr. Buendia would not have

 purchased the vehicle or would have paid less for it. Mr. Buendia and each Class member has

 suffered an ascertainable loss as a result of BMW’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the BMW diesel engine system,

 including but not limited to a high premium for the BMW X5 Diesel engine compared to what

 they would have paid for a gas-powered engine, out-of-pocket losses by overpaying for the

 vehicles at the time of purchase, and future attempted repairs, future additional fuel costs, and

 decreased performance of the vehicles once a repair to the emissions system is made. Neither

 BMW nor any of its agents, dealers, or other representatives, or Bosch informed Mr. Buendia or

 Class members of the existence of the unlawfully high emissions and/or defective nature of the

 diesel engine system of the Polluting Vehicles prior to purchase.




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        14.     New Jersey Plaintiffs

                a.      William Berbaum

        42.     Plaintiff William Berbaum (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Bloomfield, New Jersey. On or around May 14, 2013, Mr. Berbaum

 purchased a used 2011 BMW 335d from Crown BMW in Greensboro, North Carolina. Mr.

 Berbaum paid approximately $35,000 for the vehicle and paid a diesel premium of at least

 $1500. On or around May 6, 2016, Mr. Berbaum purchased a used 2010 BMW X5 Diesel from

 John Johnson Dodge LLC in Hackettstown, New Jersey. Mr. Berbaum paid approximately

 $15,000 for the vehicle and paid a diesel premium of at least $1500. Mr. Berbaum purchased

 and still owns these vehicles. Unknown to him at the time these vehicles were purchased, the

 vehicles only achieved their promised fuel economy and performance because they were

 equipped with emissions systems that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing these vehicles without proper emission controls

 has caused Mr. Berbaum out-of-pocket loss in the form of overpayment at the time of purchase

 of at least $1500 for each vehicle, and based upon other diesel cases expert analysis will show

 overpayment in excess of $5,000. BMW and Bosch knew about, or recklessly disregarded, the

 inadequate emission controls during normal driving conditions, but did not disclose such facts or

 their effects to Mr. Berbaum, so Mr. Berbaum purchased his vehicles on the reasonable but

 mistaken belief that his vehicles were “clean diesels” and/or “low emission diesels,” that they

 complied with U.S. emissions standards, they were properly EPA-certified, and would retain all

 of their promised fuel economy and performance throughout their useful lives. Mr. Berbaum

 selected and ultimately purchased his vehicles, in part, because of the diesel system, as

 represented through advertisements and representations made by BMW. Mr. Berbaum recalls



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 that before he purchased the vehicles, he reviewed advertisements on BMW’s website and

 representations from the dealership touting the efficiency, fuel economy, and power and

 performance of the engine. Had BMW or Bosch disclosed this design or the fact that the vehicle

 actually emitted unlawfully high levels of pollutants, Mr. Berbaum would not have purchased the

 vehicles or would have paid less for them. Mr. Berbaum and each Class member has suffered an

 ascertainable loss as a result of BMW’s omissions and/or misrepresentations and Defendants’

 operation of a RICO enterprise associated with the BMW diesel engine system,including but not

 limited to a high premiums for the BMW 335d engine and the BMW X5 Diesel engine compared

 to what they would have paid for a gas-powered engines, out-of-pocket losses by overpaying for

 the vehicles at the time of purchase, and future attempted repairs, future additional fuel costs, and

 decreased performance of the vehicles once a repair to the emissions system is made. Neither

 BMW nor any of its agents, dealers, or other representatives, or Bosch informed Mr. Berbaum or

 Class members of the existence of the unlawfully high emissions and/or defective nature of the

 diesel engine system of the Polluting Vehicles prior to purchase.

                b.      Charles Chapman

        43.     Plaintiff Charles Chapman (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Glen Rock, New Jersey. On or around January 21, 2011, Mr. Chapman

 purchased a used 2010 BMW X5 Diesel from BMW of Roxbury, an authorized BMW dealer in

 Kenvil, New Jersey. Mr. Chapman paid approximately $56,657 for the vehicle and paid a diesel

 premium of at least $1500. Mr. Chapman purchased and still owns this vehicle. Unknown to

 him at the time the vehicle was purchased, the vehicle only achieved its promised fuel economy

 and performance because it was equipped with an emissions system that, during normal driving

 conditions, exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and

 deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle



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 without proper emission controls has caused Mr. Chapman out-of-pocket loss in the form of

 overpayment at the time of purchase of at least $1500, and based upon analysis of similar cases

 overpayment damages will exceed $10,000 at the time of expert disclosures. BMW and Bosch

 knew about, or recklessly disregarded, the inadequate emission controls during normal driving

 conditions, but did not disclose such facts or their effects to Mr. Chapman, so Mr. Chapman

 purchased his vehicle on the reasonable but mistaken belief that his vehicle was a “clean diesel”

 and/or a “low emission diesel,” complied with U.S. emissions standards, was properly EPA-

 certified, and would retain all of its promised fuel economy and performance throughout its

 useful life. Mr. Chapman selected and ultimately purchased his vehicle, in part, because of the

 diesel system, as represented through advertisements and representations made by BMW. As a

 graduate of the School of Environmental Science at Ramapo College of NJ (BS Human Ecology

 - 1982), the “clean diesel” technologies BMW promoted in their marketing played a significant

 role in Mr. Chapman’s decision to purchase the BMW X5 Diesel. Mr. Chapman recalls that

 before he purchased the vehicle, he reviewed advertisements on BMW’s website and

 representations from the dealership touting the efficiency, fuel economy, and power and

 performance of the engine. Mr. Chapman selected his vehicle explicitly because BMW’s

 marketing promoted their “clean diesel” and Blue Performance Technology as “using Diesel

 Exhaust Fluid and a diesel particulates filter to turn nitric oxides into environmentally

 compatible nitrogen and water vapor.” BMW also clearly promoted this engine as having the

 power of a V8 with efficiency of a 4-cylinder engine. Had BMW or Bosch disclosed this design

 or the fact that the vehicle actually emitted unlawfully high levels of pollutants, Mr. Chapman

 would not have purchased the vehicle or would have paid less for it. Mr. Chapman and each

 Class member has suffered an ascertainable loss as a result of BMW’s omissions and/or




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 misrepresentations and Defendants’ operation of a RICO enterprise associated with the BMW

 X5 diesel engine system, including but not limited to a high premium for the BMW X5 Diesel

 engine compared to what they would have paid for a gas-powered engine, out-of-pocket losses

 by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, and decreased performance of the vehicles once a repair to the emissions

 system is made. Neither BMW nor any of its agents, dealers, or other representatives, or Bosch

 informed Mr. Chapman or Class members of the existence of the unlawfully high emissions

 and/or defective nature of the diesel engine system of the Polluting Vehicles prior to purchase.

        15.     New York Plaintiffs

                a.      Mark Messina

        44.     Plaintiff Mark Messina (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Carlsbad, California. On or around August 18, 2014, Mr. Messina

 purchased a used 2011 BMW 335d from a private seller in Staten Island, New York. Mr.

 Messina paid approximately $15,000 for the vehicle and paid a diesel premium of at least $1500.

 Mr. Messina purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was

 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Messina out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Messina, so Mr. Messina purchased his vehicle on the reasonable but mistaken belief that his

 vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions



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 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Messina selected and ultimately purchased his

 vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by BMW. Mr. Messina recalls that before he purchased the vehicle, he

 reviewed advertisements on BMW’s website touting the efficiency, fuel economy, and power

 and performance of the engine. Had BMW or Bosch disclosed this design or the fact that the

 vehicle actually emitted unlawfully high levels of pollutants, Mr. Messina would not have

 purchased the vehicle or would have paid less for it. Mr. Messina and each Class member has

 suffered an ascertainable loss as a result of BMW’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the BMW diesel engine system,

 including but not limited to a high premium for the BMW 335d engine compared to what they

 would have paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at

 the time of purchase, and future attempted repairs, future additional fuel costs, and decreased

 performance of the vehicles once a repair to the emissions system is made. Neither BMW nor

 any of its agents, dealers, or other representatives, or Bosch informed Mr. Messina or Class

 members of the existence of the unlawfully high emissions and/or defective nature of the diesel

 engine system of the Polluting Vehicles prior to purchase.

                b.     Jesse White

        45.     Plaintiff Jesse White (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in White House, Tennessee. On or around September 7, 2016, Mr. White

 purchased a used 2011 BMW 335d from Gault Auto Sport in Endwell, New York. Mr. White

 paid approximately $20,000 for the vehicle and paid a diesel premium of at least $1500. Mr.

 White purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was



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 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. White out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 White, so Mr. White purchased his vehicle on the reasonable but mistaken belief that his vehicle

 was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions standards,

 was properly EPA-certified, and would retain all of its promised fuel economy and performance

 throughout its useful life. Mr. White selected and ultimately purchased his vehicle, in part,

 because of the diesel system, as represented through advertisements and representations made by

 BMW. Mr. White recalls that before he purchased the vehicle, he reviewed advertisements on

 BMW’s website and representations from the dealership touting the efficiency, fuel economy,

 and power and performance of the engine. Had BMW or Bosch disclosed this design or the fact

 that the vehicle actually emitted unlawfully high levels of pollutants, Mr. White would not have

 purchased the vehicle or would have paid less for it. Mr. White and each Class member has

 suffered an ascertainable loss as a result of BMW’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the BMW diesel engine system,

 including but not limited to a high premium for the BMW 335d engine compared to what they

 would have paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at

 the time of purchase, and future attempted repairs, future additional fuel costs, and decreased

 performance of the vehicles once a repair to the emissions system is made. Neither BMW nor

 any of its agents, dealers, or other representatives, or Bosch informed Mr. White or Class




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 members of the existence of the unlawfully high emissions and/or defective nature of the diesel

 engine system of the Polluting Vehicles prior to purchase.

        16.     North Carolina Plaintiffs

                a.      Seth Davis

        46.     Plaintiff Seth Davis (for the purpose of this paragraph, “Plaintiff”) is an individual

 residing in Lexington, North Carolina. On or around March 12, 2017, Mr. Davis purchased a

 used 2011 BMW 335d from Webber Automotive in Lexington, North Carolina. Mr. Davis paid

 approximately $16,000 for the vehicle and paid a diesel premium of at least $1500. Mr. Davis

 purchased and still owns this vehicle. Unknown to him at the time the vehicle was purchased, the

 vehicle only achieved its promised fuel economy and performance because it was equipped with

 an emissions system that, during normal driving conditions, exceeded the allowed level of

 pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Davis out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Davis, so Mr. Davis purchased his vehicle on the reasonable but mistaken belief that his vehicle

 was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions standards,

 was properly EPA-certified, and would retain all of its promised fuel economy and performance

 throughout its useful life. Mr. Davis selected and ultimately purchased his vehicle, in part,

 because of the diesel system, as represented through advertisements and representations made by

 BMW. Mr. Davis recalls that before he purchased the vehicle, he reviewed advertisements on

 BMW’s website and representations from the dealership touting the efficiency, fuel economy,

 and power and performance of the engine. Had BMW or Bosch disclosed this design or the fact



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 that the vehicle actually emitted unlawfully high levels of pollutants, Mr. Davis would not have

 purchased the vehicle or would have paid less for it. Mr. Davis and each Class member has

 suffered an ascertainable loss as a result of BMW’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the BMW diesel engine system,

 including but not limited to a high premium for the BMW 335d engine compared to what they

 would have paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at

 the time of purchase, and future attempted repairs, future additional fuel costs, and decreased

 performance of the vehicles once a repair to the emissions system is made. Neither BMW nor

 any of its agents, dealers, or other representatives, or Bosch informed Mr. Davis or Class

 members of the existence of the unlawfully high emissions and/or defective nature of the diesel

 engine system of the Polluting Vehicles prior to purchase.

                b.     Miguel Fragoso

        47.     Plaintiff Miguel Fragoso (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Apex, North Carolina. On or around February 4, 2013, Mr. Fragoso

 purchased a used 2010 BMW X5 Diesel from Leith BMW in Raleigh, North Carolina. Mr.

 Fragoso paid approximately $45,249 for the vehicle and paid a diesel premium of at least $1500.

 Mr. Fragoso sold this vehicle in May 2014. On or around September 29, 2017, Mr. Fragoso

 purchased a used 2014 BMW 535d from Carvana. Mr. Fragoso paid approximately $31,278 for

 the vehicle and paid a diesel premium of at least $1500. Mr. Fragoso purchased and still owns

 this vehicle. Mr. Fragoso also purchased an extended warranty for the 2014 BMW 535d from

 Leith BMW for $4300. Unknown to him at the time he purchased the 2010 BMW X5 Diesel and

 the 2014 BMW 535d, these vehicles only achieved the promised fuel economy and performance

 because they were equipped with emissions systems that, during normal driving conditions,

 exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive



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 conduct in designing, manufacturing, marketing, selling, and leasing these vehicles without

 proper emission controls has caused Mr. Fragoso out-of-pocket loss in the form of overpayment

 at the time of purchase of at least $1500 for each vehicle. BMW and Bosch knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but

 did not disclose such facts or their effects to Mr. Fragoso, so Mr. Fragoso purchased these

 vehicles on the reasonable but mistaken belief that they were “clean diesels” and/or “low

 emission diesels,” they complied with U.S. emissions standards, were properly EPA-certified,

 and would retain all of their promised fuel economy and performance throughout their useful

 lives. Mr. Fragoso selected and ultimately purchased these vehicles, in part, because of the diesel

 system, as represented through advertisements and representations made by BMW. Mr. Fragoso

 recalls that before he purchased the vehicles, he reviewed advertisements on BMW’s website

 touting the efficiency, fuel economy, and power and performance of their engines. Had BMW or

 Bosch disclosed this design or the fact that the vehicles actually emitted unlawfully high levels

 of pollutants, Mr. Fragoso would not have purchased the vehicles or would have paid less for

 them. Mr. Fragoso and each Class member has suffered an ascertainable loss as a result of

 BMW’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the BMW diesel engine system, including but not limited to a high premium for

 the BMW X5 Diesel and BMW 535d engines compared to what they would have paid for a gas-

 powered engine, out-of-pocket losses by overpaying for the vehicles at the time of purchase, and

 future attempted repairs, future additional fuel costs, and decreased performance of the vehicles

 once a repair to the emissions system is made. Neither BMW nor any of its agents, dealers, or

 other representatives, or Bosch informed Mr. Fragoso or Class members of the existence of the




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 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

        17.     Ohio Plaintiffs

                a.     Tahani Ibrahim

        48.     Plaintiff Tahani Ibrahim (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Rocky River, Ohio. On or around May 2016, Ms. Ibrahim purchased a

 used 2010 BMW X5 35d from Nick Mayer Lincoln Mercury Inc. in Westlake, Ohio. Ms.

 Ibrahim paid approximately $24,000.00 for the vehicle and paid a diesel premium of at least

 $1500. Ms. Ibrahim purchased and still owns this vehicle. Unknown to him at the time the

 vehicle was purchased, the vehicle only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving conditions,

 exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive

 conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without proper

 emission controls has caused Ms. Ibrahim out-of-pocket loss in the form of overpayment at the

 time of purchase of at least $1500, and based upon other diesel cases expert analysis will show

 overpayment in excess of $5,000. BMW and Bosch knew about, or recklessly disregarded, the

 inadequate emission controls during normal driving conditions, but did not disclose such facts or

 their effects to Ms. Ibrahim, so Ms. Ibrahim purchased his vehicle on the reasonable but

 mistaken belief that his vehicle was a “clean diesel” and/or a “low emission diesel,” complied

 with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

 fuel economy and performance throughout its useful life. Ms. Ibrahim selected and ultimately

 purchased his vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by BMW. Ms. Ibrahim recalls that before he purchased

 the vehicle, he reviewed advertisements on BMW’s website and representations from the



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 dealership touting the efficiency, fuel economy, and power and performance of the engine. Had

 BMW or Bosch disclosed this design or the fact that the vehicle actually emitted unlawfully high

 levels of pollutants, Ms. Ibrahim would not have purchased the vehicle or would have paid less

 for it. Ms. Ibrahim and each Class member has suffered an ascertainable loss as a result of

 BMW’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the BMW diesel engine system, including but not limited to a high premium for

 the BMW X5 35d engine compared to what they would have paid for a gas-powered engine, out-

 of-pocket losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, and decreased performance of the vehicles once a repair to

 the emissions system is made. Neither BMW nor any of its agents, dealers, or other

 representatives, or Bosch informed Ms. Ibrahim or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

                b.      Ion Niculescu

        49.     Plaintiff Ion Niculescu (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Parma Heights, Ohio. On or around June 29, 2010, Mr. Niculescu

 purchased a new 2011 BMW 335d from Ganley BMW, an authorized BMW dealer in

 Middleburg Heights, Ohio. Mr. Niculescu paid approximately $55,400 for the vehicle and paid a

 diesel premium of at least $1500. Mr. Niculescu purchased and still owns this vehicle. Unknown

 to him at the time the vehicle was purchased, the vehicle only achieved its promised fuel

 economy and performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. BMW’s unfair,

 unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the

 vehicle without proper emission controls has caused Mr. Niculescu out-of-pocket loss in the



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 form of overpayment at the time of purchase of at least $1500, and based upon analysis of

 similar cases overpayment damages will exceed $10,000 at the time of expert disclosures. BMW

 and Bosch knew about, or recklessly disregarded, the inadequate emission controls during

 normal driving conditions, but did not disclose such facts or their effects to Mr. Niculescu, so

 Mr. Niculescu purchased his vehicle on the reasonable but mistaken belief that his vehicle was a

 “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions standards, was

 properly EPA-certified, and would retain all of its promised fuel economy and performance

 throughout its useful life. Mr. Niculescu selected and ultimately purchased his vehicle, in part,

 because of the diesel system, as represented through advertisements and representations made by

 BMW. Mr. Niculescu recalls that before he purchased the vehicle, he reviewed advertisements

 on BMW’s website and representations from the dealership touting the efficiency, fuel economy,

 and power and performance of the engine. Had BMW or Bosch disclosed this design or the fact

 that the vehicle actually emitted unlawfully high levels of pollutants, Mr. Niculescu would not

 have purchased the vehicle or would have paid less for it. Mr. Niculescu and each Class member

 has suffered an ascertainable loss as a result of BMW’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the BMW diesel engine system,

 including but not limited to a high premium for the BMW 335d engine compared to what they

 would have paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at

 the time of purchase, and future attempted repairs, future additional fuel costs, and decreased

 performance of the vehicles once a repair to the emissions system is made. Neither BMW nor

 any of its agents, dealers, or other representatives, or Bosch informed Mr. Niculescu or Class

 members of the existence of the unlawfully high emissions and/or defective nature of the diesel

 engine system of the Polluting Vehicles prior to purchase.




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                c.     Mark Smith

        Plaintiff Mark Smith (for the purpose of this paragraph, “Plaintiff”) is an individual

 residing in Columbus, Ohio. On or around November 2013, Mr. Smith purchased a new 2012

 BMW X5 35d from Dave Walter, Inc. (now known as BMW of Akron) in Akron, Ohio. Mr.

 Smith paid approximately $49,500.00 for the vehicle and paid a diesel premium of at least

 $1500. Mr. Smith purchased and still owns this vehicle. Unknown to him at the time the vehicle

 was purchased, the vehicle only achieved its promised fuel economy and performance because it

 was equipped with an emissions system that, during normal driving conditions, exceeded the

 allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in

 designing, manufacturing, marketing, selling, and leasing the vehicle without proper emission

 controls has caused Mr. Smith out-of-pocket loss in the form of overpayment at the time of

 purchase of at least $1500, and based upon other diesel cases expert analysis will show

 overpayment in excess of $5,000, and based upon analysis of similar cases overpayment

 damages will exceed $10,000 at the time of expert disclosures. BMW and Bosch knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but

 did not disclose such facts or their effects to Mr. Smith, so Mr. Smith purchased his vehicle on

 the reasonable but mistaken belief that his vehicle was a “clean diesel” and/or a “low emission

 diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would retain

 all of its promised fuel economy and performance throughout its useful life. Mr. Smith selected

 and ultimately purchased his vehicle, in part, because of the diesel system, as represented

 through advertisements and representations made by BMW. Mr. Smith recalls that before he

 purchased the vehicle, he reviewed advertisements on BMW’s website and representations from

 the dealership touting the efficiency, fuel economy, and power and performance of the engine.

 Had BMW or Bosch disclosed this design or the fact that the vehicle actually emitted unlawfully



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 high levels of pollutants, Mr. Smith would not have purchased the vehicle or would have paid

 less for it. Mr. Smith and each Class member has suffered an ascertainable loss as a result of

 BMW’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the BMW diesel engine system, including but not limited to a high premium for

 the BMW X5 35d engine compared to what they would have paid for a gas-powered engine, out-

 of-pocket losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, and decreased performance of the vehicles once a repair to

 the emissions system is made. Neither BMW nor any of its agents, dealers, or other

 representatives, or Bosch informed Mr. Smith or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

        18.     Oregon Plaintiff

                a.      Tom Hoffman

        50.     Plaintiff Tom Hoffman (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Portland, Oregon. On or around July 1, 2016, Mr. Hoffman purchased a

 used 2011 BMW 335d from Toyota of Portland in Portland, Oregon. Mr. Hoffman paid

 approximately $18,500 for the vehicle and paid a diesel premium of at least $1500. Mr.

 Hoffman purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was

 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Hoffman out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission



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 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Hoffman, so Mr. Hoffman purchased his vehicle on the reasonable but mistaken belief that his

 vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Hoffman selected and ultimately purchased his

 vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by BMW. Mr. Hoffman recalls that before he purchased the vehicle, he

 reviewed advertisements on BMW’s website and representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Mr. Hoffman would not have purchased the vehicle or would have paid less for it. Mr.

 Hoffman and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated

 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 335d engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, and decreased performance of the vehicles once a repair to the emissions

 system is made. Neither BMW nor any of its agents, dealers, or other representatives, or Bosch

 informed Mr. Hoffman or Class members of the existence of the unlawfully high emissions

 and/or defective nature of the diesel engine system of the Polluting Vehicles prior to purchase.

        19.     Pennsylvania Plaintiff

                a.      Gary Reising

        51.     Plaintiff Gary Reising (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Chalfont, Pennsylvania. On or around May 28, 2016, Mr. Reising



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 purchased a used 2011 BMW 335d from Philly Auto in Philadelphia, Pennsylvania. Mr. Reising

 paid approximately $26,000 for the vehicle and paid a diesel premium of at least $1500. Mr.

 Reising purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was

 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Reising out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500, and based upon other diesel cases expert analysis will show overpayment in excess

 of $5,000. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Reising, so Mr. Reising purchased his vehicle on the reasonable but mistaken belief that his

 vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Reising selected and ultimately purchased his

 vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by BMW. Mr. Reising recalls that before he purchased the vehicle, he

 reviewed advertisements on BMW’s website and representations from BMW’s authorized dealer

 touting the efficiency, fuel economy, and power and performance of the engine. Had BMW or

 Bosch disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Mr. Reising would not have purchased the vehicle or would have paid less for it. Mr.

 Reising and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated




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 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 335d engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles once a repair to the emissions

 system is made. Neither BMW nor any of its agents, dealers, or other representatives, or Bosch

 informed Mr. Reising or Class members of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the Polluting Vehicles prior to purchase.

        20.     Tennessee Plaintiff

                a.      James Turner

        52.     Plaintiff James Turner (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Franklin, Tennessee. On or around December 2011, Mr. Turner purchased

 a new 2011 BMW 335d from Peoria BMW, in Peoria, Illinois. Mr. Turner paid approximately

 $47,500 for the vehicle and paid a diesel premium of at least $1500. Mr. Turner purchased and

 still owns this vehicle. Unknown to him at the time the vehicle was purchased, the vehicle only

 achieved its promised fuel economy and performance because it was equipped with an emissions

 system that, during normal driving conditions, exceeded the allowed level of pollutants such as

 NOx. BMW’s unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing,

 selling, and leasing the vehicle without proper emission controls has caused Mr. Turner out-of-

 pocket loss in the form of overpayment at the time of purchase of at least $1500, and based upon

 analysis of similar cases overpayment damages will exceed $10,000 at the time of expert

 disclosures. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Turner, so Mr. Turner purchased his vehicle on the reasonable but mistaken belief that his

 vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions



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 standards, was properly EPA- certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Turner selected and ultimately purchased his vehicle,

 in part, because of the diesel system, as represented through advertisements and representations

 made by BMW. Mr. Turner recalls that before he purchased the vehicle, he reviewed

 advertisements on BMW’s website and representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Mr. Turner would not have purchased the vehicle or would have paid less for it. Mr.

 Turner and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated

 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 335d engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, and decreased performance of the vehicles once a repair to the emissions

 system is made. Neither BMW nor any of its agents, dealers, or other representatives, or Bosch

 informed Mr. Turner or Class members of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the Polluting Vehicles prior to purchase.

        21.     Texas Plaintiffs

                a.      Salomon Campos

        53.     Plaintiff Salomon Campos (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Harlingen, Texas. On or around March 2015 Mr. Campos purchased a

 certified pre-owned 2012 BMW X5 Diesel from BMW of Corpus Christi, located in Corpus

 Christi, Texas. Mr. Campos paid approximately $38,000 for the vehicle and paid a diesel

 premium of at least $1500. Mr. Campos purchased and still owns this vehicle. Unknown to him



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 at the time the vehicle was purchased, the vehicle only achieved its promised fuel economy and

 performance because it was equipped with an emissions system that, during normal driving

 conditions, exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and

 deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Mr. Campos out-of-pocket loss in the form of

 overpayment at the time of purchase of at least $1500, and based upon analysis of similar cases

 overpayment damages will exceed $10,000 at the time of expert disclosures. BMW and Bosch

 knew about, or recklessly disregarded, the inadequate emission controls during normal driving

 conditions, but did not disclose such facts or their effects to Mr. Campos so Mr. Campos

 purchased his vehicle on the reasonable but mistaken belief that his vehicle was a “clean diesel”

 and/or a “low emission diesel,” complied with U.S. emissions standards, was properly EPA-

 certified, and would retain all of its promised fuel economy and performance throughout its

 useful life. Mr. Campos selected and ultimately purchased his vehicle, in part, because of the

 diesel system, as represented through advertisements and representations made by BMW. Mr.

 Campos recalls that before he purchased the vehicle, he reviewed representations from the

 dealership touting the efficiency, fuel economy, and power and performance of the engine. Had

 BMW or Bosch disclosed this design or the fact that the vehicle actually emitted unlawfully high

 levels of pollutants, Mr. Campos would not have purchased the vehicle or would have paid less

 for it. Mr. Campos and each Class member has suffered an ascertainable loss as a result of

 BMW’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the BMW diesel engine system, including but not limited to a high premium for

 the BMW X5 Diesel engine compared to what they would have paid for a gas-powered engine,

 out-of- pocket losses by overpaying for the vehicles at the time of purchase, and future attempted




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 repairs, future additional fuel costs, and decreased performance of the vehicles once a repair to

 the emissions system is made. Neither BMW nor any of its agents, dealers, or other

 representatives, or Bosch informed Mr. Campos or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

                b.      Brian Hembling

        54.     Plaintiff Brian Hembling (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in San Antonio, Texas. On or around November 25, 2014, Mr. Hembling

 purchased a used 2011 BMW 335d from Bluebonnet Chrysler Dodge Ram in New Braunfels,

 Texas. Mr. Hembling paid approximately $29,000.0 for the vehicle and paid a diesel premium of

 at least $1500. Mr. Hembling purchased and still owns this vehicle. Unknown to him at the time

 the vehicle was purchased, the vehicle only achieved its promised fuel economy and

 performance because it was equipped with an emissions system that, during normal driving

 conditions, exceeded the allowed level of pollutants such as NOx. BMW’s unfair, unlawful, and

 deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Mr. Hembling out-of-pocket loss in the form of

 overpayment at the time of purchase of at least $1500, and based upon other diesel cases expert

 analysis will show overpayment in excess of $5,000. BMW and Bosch knew about, or recklessly

 disregarded, the inadequate emission controls during normal driving conditions, but did not

 disclose such facts or their effects to Mr. Hembling, so Mr. Hembling purchased his vehicle on

 the reasonable but mistaken belief that his vehicle was a “clean diesel” and/or a “low emission

 diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would retain

 all of its promised fuel economy and performance throughout its useful life. Mr. Hembling

 selected and ultimately purchased his vehicle, in part, because of the diesel system, as



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 represented through advertisements and representations made by BMW. Mr. Hembling recalls

 that before he purchased the vehicle, he reviewed advertisements on BMW’s website and

 representations from the dealership touting the efficiency, fuel economy, and power and

 performance of the engine. Had BMW or Bosch disclosed this design or the fact that the vehicle

 actually emitted unlawfully high levels of pollutants, Mr. Hembling would not have purchased

 the vehicle or would have paid less for it. Mr. Hembling and each Class member has suffered an

 ascertainable loss as a result of BMW’s omissions and/or misrepresentations and Defendants’

 operation of a RICO enterprise associated with the BMW diesel engine system, including but not

 limited to a high premium for the BMW 335d engine compared to what they would have paid for

 a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at the time of

 purchase, and future attempted repairs, future additional fuel costs, and decreased performance

 of the vehicles once a repair to the emissions system is made. Neither BMW nor any of its

 agents, dealers, or other representatives, or Bosch informed Mr. Hembling or Class members of

 the existence of the unlawfully high emissions and/or defective nature of the diesel engine

 system of the Polluting Vehicles prior to purchase.

                c.     Dean Werner

        55.     Plaintiff Dean Werner (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Panhandle, Texas. On or around July 28, 2014, Mr. Werner purchased a

 2011 BMW X5 Diesel from Momentum BMW, located in Houston, Texas. Mr. Werner paid

 approximately $32,900 for the vehicle and paid a diesel premium of at least $1500. Mr. Werner

 purchased and still owns this vehicle. Unknown to him at the time the vehicle was purchased, the

 vehicle only achieved its promised fuel economy and performance because it was equipped with

 an emissions system that, during normal driving conditions, exceeded the allowed level of

 pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,



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 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Werner out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500, and based upon other diesel cases expert analysis will show overpayment in excess

 of $5,000. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Werner so Mr. Werner purchased his vehicle on the reasonable but mistaken belief that his

 vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Werner selected and ultimately purchased his

 vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by BMW. Mr. Werner recalls that before he purchased the vehicle, he

 reviewed advertisements on BMW’s website and representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Mr. Werner would not have purchased the vehicle or would have paid less for it. Mr.

 Werner and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated

 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 X5 Diesel engine compared to what they would have paid for a gas-powered engine, out-of-

 pocket losses by overpaying for the vehicles at the time of purchase, and future attempted

 repairs, future additional fuel costs, and decreased performance of the vehicles once a repair to

 the emissions system is made. Neither BMW nor any of its agents, dealers, or other

 representatives, or Bosch informed Mr. Werner or Class members of the existence of the




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 unlawfully high emissions and/or defective nature of the diesel engine system of the Polluting

 Vehicles prior to purchase.

                d.      Lukas Wildner

        56.     Plaintiff Lukas Wildner (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Palos Hills, Illinois. On or around April 2012, Mr. Wildner purchased a

 used 2011 BMW 335d from Insurance Auto Auctions Inc. in Austin, Texas. Mr. Wildner paid

 approximately $27,000.00 for the vehicle and paid a diesel premium of at least $1500. Mr.

 Wildner purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was

 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Wildner out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500, and based upon other diesel cases expert analysis will show overpayment in excess

 of $5,000. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Wildner, so Mr. Wildner purchased his vehicle on the reasonable but mistaken belief that his

 vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Wildner selected and ultimately purchased his

 vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by BMW. Mr. Wildner recalls that before he purchased the vehicle, he

 reviewed advertisements on BMW’s website and representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch



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 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Mr. Wildner would not have purchased the vehicle or would have paid less for it. Mr.

 Wildner and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated

 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 335d engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, and decreased performance of the vehicles once a repair to the emissions

 system is made. Neither BMW nor any of its agents, dealers, or other representatives, or Bosch

 informed Mr. Wildner or Class members of the existence of the unlawfully high emissions

 and/or defective nature of the diesel engine system of the Polluting Vehicles prior to purchase.

        22.     Virginia Plaintiff

                a.      Alfredo Arias

        57.     Plaintiff Alfredo Arias (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Midlothian, Virginia. On or around May 1, 2015, Mr. Arias

 purchased a certified pre-owned 2012 BMW X5 35d from Richmond BMW in

 Midlothian, Virginia. Mr. Arias paid approximately $38,000.00 for the vehicle and paid a

 diesel premium of at least $1500. Mr. Arias purchased and still owns this vehicle.

 Unknown to him at the time the vehicle was purchased, the vehicle only achieved its

 promised fuel economy and performance because it was equipped with an emissions

 system that, during normal driving conditions, exceeded the allowed level of pollutants,

 such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission



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 controls has caused Mr. Arias out-of-pocket loss in the form of overpayment at the time

 of purchase of at least $1500, and based upon analysis of similar cases overpayment damages

 will exceed $10,000 at the time of expert disclosures. BMW and Bosch knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving

 conditions, but did not disclose such facts or their effects to Mr. Arias, so Mr. Arias

 purchased his vehicle on the reasonable but mistaken belief that his vehicle was a “clean

 diesel” and/or a “low emission diesel,” complied with U.S. emissions standards, was

 properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Arias selected and ultimately purchased his

 vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by BMW. Mr. Arias recalls that before he purchased the vehicle, he

 reviewed advertisements on BMW’s website and representations from the dealership

 touting the efficiency, fuel economy, and power and performance of the engine. Had

 BMW or Bosch disclosed this design or the fact that the vehicle actually emitted

 unlawfully high levels of pollutants, Mr. Arias would not have purchased the vehicle or

 would have paid less for it. Mr. Arias and each Class member has suffered an

 ascertainable loss as a result of BMW’s omissions and/or misrepresentations and

 Defendants’ operation of a RICO enterprise associated with the BMW diesel engine

 system, including but not limited to a high premium for the BMW X5 35d engine

 compared to what they would have paid for a gas-powered engine, out-of-pocket losses

 by overpaying for the vehicles at the time of purchase, and future attempted repairs,

 future additional fuel costs, and decreased performance of the vehicles once a repair to



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 the emissions system is made. Neither BMW nor any of its agents, dealers, or other

 representatives, or Bosch informed Mr. Arias or Class members of the existence of the

 unlawfully high emissions and/or defective nature of the diesel engine system of the

 Polluting Vehicles prior to purchase.

        23.     Washington Plaintiffs

                a.     Kyle Kern

        58.     Plaintiff Kyle Kern (for the purpose of this paragraph, “Plaintiff”) is an individual

 residing in Bonney Lake, Washington. On or around March 2016, Mr. Kern purchased a certified

 pre-owned 2012 BMW X5 Diesel from Definitive Motors, located in Bellevue, Washington. Mr.

 Kern paid approximately $35,000 for the vehicle and paid a diesel premium of at least $1500.

 Mr. Kern purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was

 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,

 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Kern out-of-pocket loss in the form of overpayment at the time of purchase of at least

 $1500, and based upon analysis of similar cases overpayment damages will exceed $10,000 at

 the time of expert disclosures. BMW and Bosch knew about, or recklessly disregarded, the

 inadequate emission controls during normal driving conditions, but did not disclose such facts or

 their effects to Mr. Kern so Mr. Kern purchased his vehicle on the reasonable but mistaken belief

 that his vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S.

 emissions standards, was properly EPA-certified, and would retain all of its promised fuel

 economy and performance throughout its useful life. Mr. Kern selected and ultimately purchased




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 his vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by BMW. Mr. Kern recalls that before he purchased the vehicle, he

 reviewed representations from the dealership touting the efficiency, fuel economy, and power

 and performance of the engine. Had BMW or Bosch disclosed this design or the fact that the

 vehicle actually emitted unlawfully high levels of pollutants, Mr. Kern would not have purchased

 the vehicle or would have paid less for it. Mr. Kern and each Class member has suffered an

 ascertainable loss as a result of BMW’s omissions and/or misrepresentations and Defendants’

 operation of a RICO enterprise associated with the BMW diesel engine system, including but not

 limited to a high premium for the BMW X5 Diesel engine compared to what they would have

 paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at the time of

 purchase, and future attempted repairs, future additional fuel costs, and decreased performance

 of the vehicles once a repair to the emissions system is made. Neither BMW nor any of its

 agents, dealers, or other representatives, or Bosch informed Mr. Kern or Class members of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the Polluting Vehicles prior to purchase.

                b.     John Saviano

        59.     Plaintiff John Saviano (for the purpose of this paragraph, “Plaintiff”) is an

 individual residing in Hermon, Maine. On or around June 30, 2016, Mr. Saviano purchased a

 used 2011 BMW 335d from Roy Robinson Chevrolet in Marysville, Washington. Mr. Saviano

 paid approximately $21,685.00 for the vehicle and paid a diesel premium of at least $1500. Mr.

 Saviano purchased and still owns this vehicle. Unknown to him at the time the vehicle was

 purchased, the vehicle only achieved its promised fuel economy and performance because it was

 equipped with an emissions system that, during normal driving conditions, exceeded the allowed

 level of pollutants such as NOx. BMW’s unfair, unlawful, and deceptive conduct in designing,



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 manufacturing, marketing, selling, and leasing the vehicle without proper emission controls has

 caused Mr. Saviano out-of-pocket loss in the form of overpayment at the time of purchase of at

 least $1500, and based upon other diesel cases expert analysis will show overpayment in excess

 of $5,000. BMW and Bosch knew about, or recklessly disregarded, the inadequate emission

 controls during normal driving conditions, but did not disclose such facts or their effects to Mr.

 Saviano, so Mr. Saviano purchased his vehicle on the reasonable but mistaken belief that his

 vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Mr. Saviano selected and ultimately purchased his

 vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by BMW. Mr. Saviano recalls that before he purchased the vehicle, he

 reviewed advertisements on BMW’s website and representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Mr. Saviano would not have purchased the vehicle or would have paid less for it. Mr.

 Saviano and each Class member has suffered an ascertainable loss as a result of BMW’s

 omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise associated

 with the BMW diesel engine system, including but not limited to a high premium for the BMW

 335d engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, and decreased performance of the vehicles once a repair to the emissions

 system is made. Neither BMW nor any of its agents, dealers, or other representatives, or Bosch




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 informed Mr. Saviano or Class members of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the Polluting Vehicles prior to purchase.

         24.     Wisconsin Plaintiffs

                 a.      Erica Olson and Eric Stenglein

         60.     Plaintiffs Erica Olson and Eric Stenglein (for the purpose of this paragraph,

 “Plaintiffs”) are individuals residing in DeForest, Wisconsin. On or around August 2013, Ms.

 Olson and Mr. Stenglein jointly leased a 2013 BMW X5 Diesel from Zimbrick BMW, located in

 Madison, Wisconsin. Unknown to Plaintiffs at the time the vehicle was leased, the vehicle only

 achieved its promised fuel economy and performance because it was equipped with an emissions

 system that, during normal driving conditions, exceeded the allowed level of pollutants such as

 NOx. BMW’s unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing,

 selling, and leasing the vehicle without proper emission controls has caused Plaintiffs out-of-

 pocket loss in the form of overpayment during the time of the lease. BMW and Bosch knew

 about, or recklessly disregarded, the inadequate emission controls during normal driving

 conditions, but did not disclose such facts or their effects to Plaintiffs so Plaintiffs leased the

 vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

 emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and

 would retain all of its promised fuel economy and performance throughout its useful life.

 Plaintiffs selected and ultimately leased the vehicle, in part, because of the diesel system, as

 represented through advertisements and representations made by BMW. Plaintiffs recall that

 before they leased the vehicle, they reviewed representations from the dealership touting the

 efficiency, fuel economy, and power and performance of the engine. Had BMW or Bosch

 disclosed this design or the fact that the vehicle actually emitted unlawfully high levels of

 pollutants, Plaintiffs would not have leased the vehicle or would have paid less for it, and based



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 upon analysis of similar cases overpayment damages will exceed $10,000 at the time of expert

 disclosures. Plaintiffs and each Class member have suffered an ascertainable loss as a result of

 BMW’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the BMW diesel engine system, including but not limited to a high premium for

 the BMW X5 Diesel engine compared to what they would have paid for a gas-powered engine

 and out-of-pocket losses by overpaying for the vehicles at the time of purchase or lease. Neither

 BMW nor any of its agents, dealers, or other representatives, or Bosch informed Plaintiffs or

 Class members of the existence of the unlawfully high emissions and/or defective nature of the

 diesel engine system of the Polluting Vehicles prior to purchase or lease.

 B.     Defendants

       1.      BMW North America LLC (“BMW USA”)

        61.     BMW USA is a corporation doing business in all 50 states and the District of

 Columbia, and is organized under the laws of the State of Delaware, with its principal place of

 business in Woodcliff Lake, New Jersey.

        62.     At all times relevant to this action, BMW USA manufactured, sold, and warranted

 the Polluting BMW USA Vehicles throughout the United States. BMW USA and BMW AG

 and/or its agents, divisions, or subsidiaries designed, manufactured, and installed the diesel

 engine systems on the Polluting BMW Vehicles. BMW USA also developed and disseminated

 the owner’s manuals, supplements, warranty booklets, advertisements, and other promotional

 materials relating to the Polluting BMW Vehicles. BMW USA, with the consent of BMW AG,

 provided these to its authorized dealers for the express purpose of having these dealers pass such

 materials to potential purchasers at the point of sale. BMW USA and BMW AG also created,

 designed, and disseminated information about the quality of the Polluting BMW Vehicles to




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 various agents of various publications for the express purpose of having that information reach

 potential consumers.

       2.      Bayerische Motoren Werke Aktiengessellschaft

        63.     Bayerische Motoren Werke Aktiengessellschaft (BMW AG), based in Munich,

 Germany, is the parent company of the BMW Group. BMW AG is a German company with its

 principal place of business at Petuelring 130, 80809 Munich, Germany. The general purpose of

 BMW AG is the development, production and sale of engines, engine-equipped vehicles, related

 accessories and products of the machinery and metal-working industry as well as the rendering

 of services related to the aforementioned items. The BMW Group is sub-divided into the

 Automotive, Motorcycles, Financial Services and Other Entities segments (the latter primarily

 comprising holding companies and Group financing companies). The BMW Group operates on a

 global scale and is represented in more than 150 countries worldwide. BMW AG supervised the

 manufacturing and advertisements of BMW polluting vehicles in the USA.

       3.      The Bosch Defendants

        64.     From at least 2005 until 2015, Robert Bosch GmbH, Robert Bosch LLC, and

 currently unnamed Bosch employees (together, “Bosch”) were knowing and active participants

 in the creation, development, marketing, and sale of illegal defeat devices specifically designed

 to evade U.S. emissions requirements in vehicles sold solely in the United States and Europe.

 These vehicles include the BMW vehicles in this case and the Dodge Ram 1500 EcoDiesel and

 Jeep Grand Cherokee EcoDiesel, as well as models made by Volkswagen, Audi, Porsche,

 General Motors, and Mercedes.

        65.     The following is a list, excluding the Polluting BMW Vehicles in this case, of all

 diesel models in the United States with Bosch-supplied software whose emissions exceed federal




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 and California emission standards and whose emissions are beyond what a reasonable consumer

 would expect from vehicles marketed as “clean” or “low emission”:




        66.     The Bosch entities participated not just in the development of the defeat device,

 but also in the scheme to prevent U.S. regulators from uncovering the device’s true functionality.

 Moreover, each Bosch entities’ participation was not limited to engineering the defeat device (in

 a collaboration described as unusually close). Rather, Bosch GmbH and Bosch LLC marketed

 “clean diesel” in the United States and communicated itself or through trade organizations, with

 the public and U.S. regulators about the benefits of “clean diesel,” another highly unusual

 activity for a mere supplier. This promotional activity helped create the demand for diesel




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 vehicles and the premium sum vehicles commanded. These marketing efforts, taken together

 with evidence of each Bosch entities’ actual knowledge that its software could be operated as a

 defeat device and participation in concealing the true functionality of the device from U.S.

 regulators, can be interpreted only one way under U.S. law: each Bosch entity was a knowing

 and active participant in a massive conspiracy with BMW, Volkswagen, Audi, Mercedes, Ford,

 General Motors, and others to defraud U.S. consumers, regulators, and diesel car purchasers or

 lessees. Bosch had a powerful motive in doing so. With new environmental regulations effective

 in 2009, Bosch saw the enormous potential of a Clean Diesel movement in the United States, and

 needed a tool to motivate as many manufacturers as possible to use Bosch as a supplier. Bosch

 was hugely successful. Bosch GmbH and Bosch LLC have enabled approximately two million

 polluting diesel vehicles to be on the road in the United States polluting at levels that exceed

 emissions standards and which use software that manipulate emission controls in a manner not

 expected by a reasonable consumer, and as many as 20 million cars in Europe. Bosch’s

 complicity has contributed to respiratory illness and death.

        67.     Robert Bosch GmbH is a German multinational engineering and electronics

 company headquartered in Gerlingen, Germany. Robert Bosch GmbH is the parent company of

 Robert Bosch LLC. Robert Bosch GmbH, directly and/or through its North American subsidiary,

 Robert Bosch LLC, at all material times, designed, manufactured, and supplied elements of the

 defeat device to BMW for use in the Polluting BMW Vehicles. Bosch GmbH is subject to the

 personal jurisdiction of this Court because it has availed itself of the laws of the United States

 through its management and control over Bosch LLC and over the design, development,

 manufacture, distribution, testing, and sale of hundreds of thousands of the defeat devices

 installed in the Polluting BMW Vehicles sold or leased in the United States. Employees of Bosch




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 GmbH and Bosch LLC have collaborated in the emissions scheme with BMW in this judicial

 district and have been present in this district.

         68.     Robert Bosch LLC is a Delaware limited liability company with its principal

 place of business located at 38000 Hills Tech Drive, Farmington Hills, Michigan. Robert Bosch

 LLC is a wholly owned subsidiary of Robert Bosch GmbH. Robert Bosch LLC, directly and/or

 in conjunction with its parent Robert Bosch GmbH, at all material times, designed,

 manufactured, and supplied elements of the defeat device to BMW for use in the Polluting BMW

 Vehicles.

         69.     Both Bosch GmbH and Bosch LLC (collectively, “Bosch”) operate under the

 umbrella of the Bosch Group, which encompasses some 340 subsidiaries and companies. The

 “Bosch Group” is divided into four business sectors: Mobility Solutions (formerly Automotive

 Technology), Industrial Technology, Consumer Goods, and Energy and Building Technology.

 The Mobility Solutions sector, which supplies parts to the automotive industry, and its Diesel

 Systems division, which develops, manufacturers and applies diesel systems, are particularly at

 issue here and include the relevant individuals at both Bosch GmbH and Bosch LLC. Bosch’s

 sectors and divisions are grouped not by location, but by subject matter. Mobility Solutions

 includes the individuals involved in the RICO enterprise and conspiracy at both Bosch GmbH

 and Bosch LLC. Some individuals worked at both Bosch LLC and Bosch GmbH during the

 course of the RICO conspiracy. The acts of individuals described in this Complaint have been

 associated with Bosch GmbH and Bosch LLC whenever possible. Regardless of whether an

 individual works for Bosch LLC in the United States or Bosch GmbH in Germany, the

 individuals often hold themselves out as working for “Bosch.” This collective identity is

 captured by Bosch’s mission statement: “We are Bosch,” a unifying principle that links each




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 entity and person within the Bosch Group. 2 Bosch documents and press releases often refer to

 the source of the document as “Bosch” without identifying any particular Bosch entity. Thus, the

 identity of which Bosch defendant was the author of such documents and press releases cannot

 be ascertained with certainty until Bosch GmbH and Bosch LLC respond to discovery requests in

 this matter.

           70.       Bosch holds itself out to the world as one entity: “the Bosch Group.” The Diesel

 Systems division, which developed the EDC17, is described as part of the Bosch Group. In the

 case of the Mobility Solutions sector, which oversees the Diesel Systems Group, the Bosch

 Group competes with other large automotive suppliers. 3

           71.       The Bosch publication Bosch in North America represents that “Bosch supplies

 . . . clean-diesel fuel technology for cars and trucks.” Throughout the document describing its

 North American operations, the company refers to itself as “Bosch” or “the Bosch Group.” 4

           72.       The Bosch in North America document proclaims that Automotive Technology is

 “Bosch’s largest business sector in North America.” In this publication, Bosch never describes

 the actions of any separate Bosch legal entity, like Bosch LLC, when describing its business, but

 always holds itself out as “the Bosch Group.” 5




     2
     Bosch 2014 Annual Report, available at http://www.bosch.com/en/
 com/bosch_group/bosch_figures/publications/archive/archive-cg12.php.
     3
     Bosch’s 2016 Annual Report at 23, available at https://assets.bosch.com/
 media/global/bosch_group/our_figures/pdf/bosch-annual-report-2016.pdf.
     4
      Bosch in North America at 2 (May 2007), available at http://www.bosch.us/
 content/language1/downloads/BINA07.pdf.
     5
         Id. at 5.



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        73.    German authorities are now investigating Bosch GmbH and the role in the

 emissions scandal and are focusing on certain Bosch employees: 6

               Three Bosch Managers Targeted as German Diesel Probe
               Expands

               A German probe into whether Robert Bosch GmbH
               helped Volkswagen AG cheat on emissions tests intensified as
               Stuttgart prosecutors said they were focusing on three managers at
               the car-parts maker.

               While Stuttgart prosecutors didn’t identify the employees, the step
               indicates that investigators may have found specific evidence in
               the probe. Previously, prosecutors have said they were looking into
               the role “unidentified” Bosch employees may have played in
               providing software that was used to cheat on emission tests.

               “We have opened a probe against all three on suspicions they aided
               fraud in connection to possible manipulation in emissions
               treatments in VW cars,” Jan Holzner, a spokesman for the agency,
               said in an emailed statement. “All of them are managers with the
               highest in middle management.”

               Bosch, which is also being investigated by the U.S. Department of
               Justice, has been caught up in the VW diesel scandal that emerged
               in 2015 over allegations its employees may have helped rig
               software that helped the carmaker to cheat emission tests. Earlier
               this year, Stuttgart prosecutors opened a similar probe into Bosch’s
               role in connection with emission tests of Daimler cars.

               A spokesman for Bosch said that while he can’t comment on
               individual employees, the company ‘takes the overall allegations in
               diesel cases seriously and has been cooperating fully from the
               beginning of the probes.”

               The Stuttgart probe is running parallel to the central criminal
               investigation in Braunschweig, closer to VW’s headquarters. That
               investigation is targeting nearly 40 people on fraud allegations
               related to diesel-emission software, including former VW Chief
               Executive Officer Martin Winterkorn.

               Prosecutors’ interest extends to multiple units in the VW family --
               including luxury brands Audi and Porsche. In addition, Stuttgart
               prosecutors are also reviewing a third case related to Bosch’s

    6
     Three Bosch Managers Targeted as German Diesel Probe Expands, BLOOMBERG (June 29,
 2007), https://www.bloomberg.com/news/articles/2017-06-29/three-bosch-managers-targeted-as-
 german-diesel-probe-expands.



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                cooperation with Fiat Chrysler Automobiles NV on software for
                diesel engines.

        74.     As reported by Bloomberg on September 16, 2017, U.S. prosecutors are

 examining Bosch’s role in supplying its EDC17 to manufacturers other than Bosch:

                U.S. prosecutors are investigating whether Germany’s Robert
                Bosch GmbH, which provided software to Volkswagen AG,
                conspired with the automaker to engineer diesel cars that would
                cheat U.S. emissions testing, according to two people familiar with
                the matter.

                Among the questions the Justice Department is asking in the
                criminal probe, one of them said, is whether automakers in
                addition to VW used Bosch software to skirt environmental
                standards. Bosch, which is also under US. Civil probe and German
                inquiry, is cooperating in investigations and can’t comment on
                them, said spokesman Rene Ziegler.

                The line of inquiry broadens what is already the costliest scandal in
                US. automaking history. Wolfsburg-based VW faces an industry-
                record $16.5 billion, and counting, in criminal and civil litigation
                fines after admitting last year that its diesel cars were outfitted with
                a “defeat device” that lowered emissions to legal levels only when
                it detected the vehicle was being tested.

                More than a half dozen big manufacturers sell diesel-powered
                vehicles in the U.S. The people familiar with the matter declined to
                say whether specific makers are under scrutiny.

        75.     Recently, researchers from Rohr-Universität in Bochum, Germany, and

 University of California-San Diego uncovered Bosch’s role in connection with the manipulation

 of emission controls in certain Volkswagen and FCA vehicles. The researchers found no

 evidence that Volkswagen and FCA wrote the code that allowed the operation of defeat devices.

 All the code they analyzed was found in documents copyrighted by Robert Bosch GmbH. These

 researchers found that in the “function sheets” were copyrighted by Robert Bosch GmbH, the

 code to cheat the emissions test was labeled as modifying the “acoustic condition” of the engine,

 a label that helped the cheat fly under the radar. Given that BMW vehicles have a Bosch EDC17,




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 as did the cheating Volkswagen, General Motors, Mercedes, Ford, and FCA vehicles, and given

 testing by Plaintiffs’ experts described below that reveals defeat devices in BMW vehicles, it is

 plausible to allege that Bosch was a participant in the scheme to hide the true emissions of BMW

 Polluting Vehicles, and supplied a similar “function sheet” to BMW to enable a similar emission

 deception.

                                 V.   FACTUAL ALLEGATIONS

 A.     The environmental challenges posed by diesel engines and the U.S. regulatory
        response thereto

        76.     The U.S. government, through the EPA, has passed and enforced laws designed to

 protect U.S. citizens from pollution and, in particular, certain chemicals and agents known to

 cause disease in humans. Automobile manufacturers must abide by these laws and must adhere

 to EPA rules and regulations.

        77.     The Clean Air Act has strict emissions standards for vehicles, and it requires

 vehicle manufacturers to certify to the EPA that the vehicles sold in the United States meet

 applicable federal emissions standards to control air pollution. Every vehicle sold in the United

 States must be covered by an EPA-issued certificate of conformity.

        78.     There is a very good reason that these laws and regulations exist, particularly in

 regards to vehicles with diesel engines: in 2012, the World Health Organization declared diesel

 vehicle emissions to be carcinogenic and about as dangerous as asbestos.

        79.     Diesel engines pose a particularly difficult challenge to the environment because

 they have an inherent trade-off between power, fuel efficiency, and NOx emissions—the greater

 the power and fuel efficiency, the dirtier and more harmful the emissions.

        80.     Instead of using a spark plug to combust highly refined fuel with short

 hydrocarbon chains, as gasoline engines do, diesel engines compress a mist of liquid fuel and air




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 to very high temperatures and pressures, which causes the diesel to spontaneously combust. This

 causes a more powerful compression of the pistons, which produces greater engine torque—i.e.,

 more power.

        81.     The diesel engine is able to do this both because it operates at a higher

 compression ratio than a gasoline engine and because diesel fuel contains more energy than

 gasoline.

        82.     But this greater energy and fuel efficiency comes at a cost: diesel produces dirtier

 and more dangerous emissions. One byproduct of diesel combustion is a combination of nitric

 oxide and nitrogen dioxide, collectively called NOx, compounds that form at high temperature in

 the cylinder during combustion.

        83.     NOx pollution contributes to nitrogen dioxide, particulate matter in the air, and

 reacts with sunlight in the atmosphere to form ozone. Exposure to these pollutants has been

 linked with serious health dangers, including asthma attacks and other respiratory illnesses

 serious enough to send people to the hospital. Ozone and particulate matter exposure have been

 associated with premature death due to respiratory-related or cardiovascular-related effects.

 Children, the elderly, and people with pre-existing respiratory illness are at acute risk of health

 effects from these pollutants. As a ground level pollutant, NO2, a common byproduct of NOx

 reduction systems using an oxidation catalyst, is highly toxic in comparison to nitric oxide (NO).

 If overall NOx levels are not sufficiently controlled, then concentrations of NO2 levels at ground

 level can be quite high, where they have adverse acute health effects.

        84.     Though more efficient, diesel engines come with their own set of challenges, as

 emissions from diesel engines can include higher levels of NOx and particulate matter (PM) or

 soot than emissions from gasoline engines due to the differences in fuel combustion and how the




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 resulting emissions are treated following combustion. NOx emissions can be reduced through

 exhaust gas recirculation (EGR), whereby exhaust gases are routed back into the intake of the

 engine and mixed with fresh incoming air. Exhaust gas recirculation lowers NOx by reducing the

 available oxygen, increasing the heat capacity of the exhaust gas mixture, and by reducing

 maximum combustion temperatures; however, EGR can also lead to an increase in PM as well.

 NOx and PM emissions can also be reduced through expensive exhaust gas after-treatment

 devices, primarily catalytic converters, which use catalyzed chemical reactions to transform the

 chemical composition of a vehicle’s NOx and PM emissions into harmless inert gases, such as

 nitrogen gas (N2), water (H2O) and carbon dioxide (CO2).

        85.     Diesel engines thus operate according to this trade-off between price, NOx, and

 PM; and for the EPA to designate a diesel car as a “clean” vehicle, it must produce both low PM

 and low NOx. In 2000, the EPA announced stricter emissions standards requiring all diesel

 models starting in 2007 to produce drastically less NOx and PM than years prior. Before

 introducing affected vehicles into the U.S. stream of commerce (or causing the same), BMW was

 required to first apply for, and obtain, an EPA-administered certificate of conformity (COC)

 certifying that the vehicle comported with the emissions standards for pollutants enumerated in

 40 C.F.R. §§ 86.1811-04, 86.1811-09, and 86.1811-10. The Clean Air Act expressly prohibits

 automakers, like BMW, from introducing a new vehicle into the stream of commerce without a

 valid COC from the EPA. Moreover, vehicles must be accurately described in the COC

 application “in all material respects” to be deemed covered by a valid COC. California’s

 emission standards are even more stringent than those of the EPA. The California Air Resources

 Board (CARB), the State of California’s regulator, requires a similar application from




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 automakers to obtain an Executive Order confirming compliance with California’s emission

 regulations before allowing the vehicle onto California’s roads.

        86.     The United States has two sets of parallel standards that affect fuel economy: (1)

 the corporate average fuel economy (CAFE) standards adopted by the National Highway Traffic

 Safety Administration (NHTSA), an agency within the Department of Transportation (DOT);

 and (2) greenhouse gas (GHG) emissions standards adopted by the EPA. The first CAFE

 standards were adopted in the 1970s in response to the Arab oil embargo. The first GHG

 emission standards became effective in model year 2012.

        87.     The Energy Policy Conservation Act of 1975 established the first CAFE standards

 for light-duty vehicles. Separate sets of standards were adopted for cars and for light trucks. For

 cars, the standards aimed to double the average fuel economy from 13.6 miles per gallon (mpg)

 in 1974 to 27.5 mpg by 1985. Vehicle manufacturers almost met this target, reaching 27.0 mpg

 by 1985. While the CAFE program remained in force for a number of years, its fuel economy

 target for cars stagnated at 27.5 mpg through 2010.

        88.     In 2007, the stage was set for more progressive fuel economy and GHG emission

 regulations. The Energy Independence and Security Act (EISA) of 2007 mandated a 40%

 increase in fuel economy by 2020. Tougher fuel economy standards were to be set starting with

 model year 2011, until the standards achieve a combined average fuel economy of 35 mpg for

 model year 2020.

        89.     In April 2010, NHTSA and EPA finalized new, harmonized CAFE and GHG

 emission rules for model year 2012–2016 light-duty vehicles. These rules have been designed to

 result in an average CAFE fuel economy of 34.1 mpg (6.9 L/100 km) and CO2 emissions of 250

 mg/mile in model year 2016 vehicles.




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        90.     These new model year 2011 rules presented manufacturing with obstacles and

 opportunity. The opportunity was capturing new markets by promoting technology that complied

 with new emission regulations. Manufacturers adopted several strategies, including the

 introduction of electric and diesel models.

 B.     Both the X5 and 335d share a common diesel engine and were promoted by BMW
        as providing a better emissions footprint and fuel economy.

        91.     To meet the EPA emissions requirements applicable to model year 2011 vehicles,

 BMW introduced a diesel X5 and 335D in 2009, an in-line 6-cylinder, 3.0-liter engine with an

 internal designation code “M57.”

        92.     BMW announced the introduction of these vehicles with fanfare, claiming the

 vehicles would meet the “strict exhaust emissions requirements of the North American

 automobile market”:

                BMW X5 xDrive35d and BMW 335d to Make US Debut
                Woodcliff Lake, N.J. – 01/02/2008

                BMW Advanced Diesel with BluePerformance

                Entering a new era in the company’s mission to deliver ultimate
                driving machines that combine superior performance with
                exemplary fuel economy, the BMW Group will debut two vehicle
                models equipped with the BMW Advanced Diesel with
                BluePerformance at the 2008 North American International Auto
                Show (NAIAS) in Detroit – the X5 xDrive35d and the 335d.

                Successfully meeting the strict exhaust emissions requirements of
                the North American automobile market, BMW Advanced Diesel –
                slated to hit US roadways in late 2008 – will be available in all 50
                states. The wide availability of these vehicles marks a significant
                milestone in the BMW EfficientDynamics strategy, which seeks to
                offer customers in automobile markets around the world maximum
                driving pleasure with minimum fuel consumption and emissions.

                BMW Advanced Diesel technology is being introduced into the
                US market in the form of the 3.0-liter inline-six featuring Variable
                Twin Turbo Technology – an engine widely acknowledged as the
                unchallenged benchmark for sporting performance, motoring



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               refinement and superior efficiency in other markets around the
               world. At the 2008 NAIAS, BMW is presenting this 265-hp
               highperformance diesel engine in both the BMW X5 xDrive35d
               and the BMW 335d. To ensure full compliance with the
               demanding emission standards in California and other US states,
               BMW uses SCR technology to reduce nitric oxides (NOX),
               enabling nationwide introduction of BMW Advanced Diesel with
               BluePerformance as a 50-state model (BIN5).

               Leading the way: BMW diesel competence for the US.

               The history of BMW diesel engines began in 1983 when the BMW
               524td was introduced as the fastest diesel in the world. From that
               starting point, BMW has spent 25 years continuously developing
               diesel technology. Today’s BMW Diesels are characterized by
               dramatically improved power and performance, fuel consumption
               and emissions levels – reflecting the principle of BMW
               EfficientDynamics in every respect.

               Through their superior motoring refinement alone, BMW diesel
               engines have helped to significantly eliminate any reservations
               regarding the acoustic properties of a diesel engine. Indeed, great
               demand for BMW diesel engines has helped BMW achieve
               increased market share not just in Europe, but in regions across the
               world. Today no less than 67 percent of all new BMWs delivered
               to customers in Europe are powered by a diesel engine.

               While diesel engines of today represent an impressive standard for
               fuel efficiency and emissions on the whole, BMW Advanced
               Diesel engines take this a step further, setting the standard for
               torque and pulling power that could never be achieved by a similar
               displacement gasoline engine – while consuming 25 percent less
               fuel on average than an equally powerful gasoline engine.

        93.    BMW in its announcement touted its SCR catalyst with “AdBlue injection,” a

 technology BMW claimed allowed a reduction of NOx into “environmentally compatible

 nitrogen and vapor”:

               Most advanced exhaust gas management: SCR catalyst with
               AdBlue injection.

               To optimize emission management, Advanced Diesel with
               BluePerformance incorporates an oxidation catalyst placed just
               downstream of the exhaust manifold, a diesel particulates filter
               housed in the same unit and an SCR catalyst with the urea




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               injection. In addition to filtering out even the smallest particles
               from the flow of exhaust gases, this combination ensures effective
               reduction of nitric oxides (NOX) by way of a chemical reaction
               within the exhaust system initiated by the injection of a small dose
               of urea referred to as AdBlue. The ammonia (NH3) generated in
               this process within the SCR catalyst subsequently converts the
               nitric oxides (NO and, respectively, NO2) in the exhaust gas into
               environmentally compatible nitrogen (N2) and vapor (H2O).

        94.    Both the X5 and 335d shared the use of a two-tank system to allegedly control

 dosing and ultimately emissions:

               To introduce AdBlue technology into the car, BMW has developed
               a two-tank system ensuring convenient use of this new technology
               with all the benefits and ease required by the customer. The
               amount of AdBlue required in each case is injected from the active
               tank (approximately 1.6 gallons in volume) by means of a dosage
               pump. And since the urea solution would freeze at a temperature of
               12.2oF, this active tank, as well as the dosage pipes, are heated.

               The active tank is connected to a second reservoir, referred to as
               the passive tank. With its additional capacity of approximately 4.5
               gallons, this passive tank offers a plentiful supply of the urea
               solution. The average range provided with this supply capacity is
               indeed sufficient to have the tank system replenished only when
               the driver needs to change the engine oil. Hence, the large amount
               of AdBlue stored in the reservoir enables the customer to enjoy
               continuous driving, without having to change his/her service
               intervals. The driver therefore benefits from the advantages of this
               environmentally friendly emission technology throughout the
               entire running life of the car, without any additional service or
               visits to the workshop. Since all BMWs sold in the US benefit
               from The BMW Maintenance Program, the refilling of the AdBlue
               tanks will be a no-charge service for 4 years or 50,000 miles.

               AdBlue from the active tank is delivered to the dosing valve and
               atomize into the exhaust system. Consistent distribution of AdBlue
               within the flow of exhaust is ensured by the SCR mixer. The
               ammonia generated in the hot exhaust flow subsequently acts as a
               reduction agent in the SCR catalyst and converts environmentally
               harmful nitric oxides into nitrogen and water vapor in a process
               referred to as a selective catalytic reaction (SCR). This process
               gives the special SCR catalyst its name.

               The control of the SCR system is masterminded by BMW’s
               powerful engine management computer. A nitric oxide sensor



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                downstream of the SCR catalyst provides feedback on the
                concentration of NOX in the exhaust emissions.

        95.     In the above quoted announcement, BMW called out the fact that its two-tank

 system allowed the driver to change the urea only when an engine oil change is needed. As

 discussed below, this is true only because as part of its deceptive conduct, BMW and Bosch

 programmed the use of less urea to allow for greater emissions outside test conditions.

        96.     The critical emission control components in the BMW engines are as follows:




       1.      Injection timing and in-cylinder controls

        97.     Fuel is metered into the engine during the power stroke using an injector with an

 electronic controller. Fuel can be delivered either before the piston reaches the top of its stroke

 (top dead center, or “TDC”), which is called “advanced timing” at the top of the stroke, or after

 TDC, which is called “retarded timing.” Furthermore, fuel delivered to the cylinder is often

 delivered in distinct pulses rather than a single pulse, with the goal being to reduce emissions and

 improve efficiency. Generally speaking, advanced timing will increase NOx emissions and



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 reduce particulate matter (PM) emissions (but improve fuel economy), while retarded timing will

 reduce NOx emissions and increase PM emissions. In-cylinder controls like injection timing play

 a critical role in the overall NOx emissions performance of the engine, as the emissions coming

 out of the cylinder must be low enough that the other emission control systems aren’t pushed

 beyond their technical limits. If engine-out emissions of NOx are too high, the EGR and SCR

 systems may not be able to reduce NOx sufficiently to meet the standard.

        98.     The fuel system is also capable of injecting fuel very late in the combustion cycle,

 up to 140 degrees after engine top dead center. This late cycle fuel injection allows fuel to leave

 the cylinder unburned so it can react over the DOC to provide hot exhaust for the purpose of

 regenerating the DPF.

       2.      EGR – Exhaust Gas Recirculation

        99.     Exhaust gas recirculation is used to reduce NOx emissions by introducing part of

 the exhaust exiting the engine back into the engine intake. Since oxides of nitrogen form in

 oxygen rich, high temperature environments, introducing exhaust gases back into the intake air

 charge reduces the amount of these compounds that form primarily by reducing the oxygen

 concentration and increasing the overall heat capacity of the combustion gas mixture. EGR

 results in lower peak temperatures during combustion and, in turn, lower NOx concentrations.

 Exhaust gas recirculation is not a new technology and has been regularly used on diesel and

 gasoline engines for many years. Generally, the higher the EGR rate the greater the reduction in

 NOx emissions, though PM emissions are also generally increased, which causes the DPF to “fill

 up” more frequently and complicates the overall emission control strategy.

        100.    The M57 engine employs both high and low pressure EGR strategies for the X5,

 pictured below. In high pressure EGR, exhaust from the manifold is routed through an EGR

 cooler and into the intake manifold. High pressure EGR rate is controlled by an EGR valve



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 downstream of the cooler. Similarly, low pressure EGR is routed from the exit of the DPF

 through a cooler, and into the suction side of the turbo-charger. Low pressure EGR rate is also

 controlled by an EGR valve. The 335d does not use low pressure EGR because of its lower

 weight.




       3.         DOC – Diesel Oxidation Catalyst

           101.   The diesel oxidation catalyst converts hydrocarbons and carbon monoxide into

 water and carbon dioxide through an oxidization reaction. The DOC also converts nitric oxide to

 nitrogen dioxide to generate favorable conditions for the reduction of NOx in the SCR system

 downstream of the DOC. The nitrogen dioxide generated by the DOC is also critical for proper

 function of the DPF, as nitrogen dioxide is used to remove captured PM from the DPF in a

 process called passive regeneration. If insufficient nitrogen dioxide is available for passive




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 regeneration, the engine may be forced to perform an active regeneration, a process that

 negatively impacts fuel economy and performance. Higher nitrogen dioxide levels are also

 important in the SCR system for higher SCR conversion rate.

        102.    Also, the DOC is used to oxidize late cycle injected fuel in order to provide heat

 to assist in active DPF regeneration.

       4.      DPF – Diesel Particulate Filter

        103.    After exiting the DOC, the exhaust travels through the diesel particulate filter

 (DPF), where particulate matter (soot) is trapped and stored. The captured material is cleaned

 through a process known as regeneration, which is divided into two strategies. First, passive

 regeneration occurs any time the vehicle is being operated, provided nitrogen dioxide

 concentrations are relatively high and the exhaust gas temperature is high enough. If those two

 conditions are met, nitrogen dioxide (NO2) will react with captured PM and oxidize it to CO2,

 thus cleaning out the DPF. It is a continuously occurring process, meaning that it occurs any time

 the conditions are met under normal operation, but the rate of regeneration is limited by the

 exhaust temperature and the concentration of NO2. Ideal DPF operation relies almost entirely on

 passive regeneration. Very low NO2 concentrations or very low exhaust temperatures can

 prevent passive regeneration from occurring. Second, active regeneration occurs only when the

 engine senses that the DPF needs to be cleaned as the DPF is approaching maximum capacity

 and generating too much exhaust backpressure (usually as a result of insufficient passive

 regeneration). During this process, the primary injection timing is retarded, which causes higher

 temperature exhaust to leave the cylinder. These higher temperatures then pre-heat the DOC such

 that the late cycle fuel will react and generate sufficient heat for regeneration, approximately

 600°C. This process creates very high temperatures that allow captured PM to oxidize in the

 DPF without the use a catalyst or NO2, thus “cleaning out” the DPF. This process is called



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 “active regeneration.” Active regeneration dramatically reduces fuel economy since fuel is being

 used for purposes other than moving the vehicle. For this reason, it is generally desirable to

 reduce the need for active regeneration and create conditions that are favorable for passive

 regeneration. Higher exhaust temperatures are also detrimental to the SCR catalyst as they can

 cause hydrothermal degradation of the catalyst over time. Thus, it is desirable to have relatively

 high NO2 (and, as a result, high NOx) concentrations entering the DPF to maximize the amount

 of passive regeneration.

       5.      DEF Injector

        104.    Diesel exhaust fluid (DEF) is an integral part of the SCR system, as it provides

 the necessary reactant to allow the SCR system to reduce NOx. DEF is injected upstream of the

 SCR. DEF is composed of 32.5% urea, its active ingredient, distilled water, and a very small

 amount of additives. DEF is required for the selective catalytic reduction process to occur. The

 heat of the exhaust and reactions on the SCR catalyst convert the DEF into ammonia, which in

 turn reacts with NOx in the SCR system. Generally speaking, within the design limits of the SCR

 system, higher DEF injection rates lead to larger reductions in NOx over the SCR system.

       6.      SCR – Selective Catalytic Reduction

        105.    Once DEF is added to the exhaust, it travels through the selective catalytic

 reduction catalyst. Here, oxides of nitrogen (NOx) are converted to nitrogen gas (N2) and water

 (H2O) by means of a reduction reaction. The SCR system significantly reduces NOx emissions

 which allows for more freedom in the calibration of the engine. The drawback of SCR is its

 increased complexity and the need to carry and replenish the DEF.




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       7.      U.S. NOx Emissions Standards

        106.    The purpose of the Clean Air Act and its implementing regulations was-to protect

 human health and the environment by, among other things, reducing emissions of pollutants

 from new motor vehicles, including nitrogen oxides (“NOx”),

        107.    The Clean Air Act requires the U.S. Environmental Protection Agency (“EPA”)

 to promulgate emissions standards for new motor vehicles. The EPA established standards and

 test procedures for light-duty motor vehicles sold in the United States, including emission

 standards for NOx.

        108.    The Clean Air Act prohibits manufacturers of new motor vehicles from selling,

 offering for sale, introducing or delivering for introduction into U.S. commerce, or importing (or

 causing the foregoing with respect to) any new motor vehicle unless the vehicle complied with

 U.S. emissions standards, including NOx emissions standards, and was issued an. EPA

 certificate of conformity.

        109.    To obtain a certificate of conformity, a manufacturer is required to submit an

 application to the EPA for each model year and for each test group of vehicles that it intended to

 sell in the United States. The application is required to be in writing, to be signed by an

 authorized representative of the manufacturer, and to include, among other things, the results of

 testing done pursuant to the published Federal Test Procedures that measure NOx emissions, and

 a description of the engine, emissions control system, and fuel system components, including a

 detailed description of each Auxiliary Emission Control Device (“AECD”) to be installed on the

 vehicle.

        110.    The EPA will not certify motor vehicles equipped with defeat devices.

 Manufacturers could not sell motor vehicles in the United States without a certificate of

 conformity from the EPA.



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           111.   The California Air Resources Board (“CARB”) (together with the EPA, “U.S.

 regulators”) issued its own certificates, called executive orders, for the sale of motor vehicles in

 the State of California. To obtain such a certificate, the manufacturer is required to satisfy the

 standards set forth by the State of California, which were equal to or more stringent than those of

 the EPA.

           112.   As part of the application for a certification process, manufacturers often worked

 in parallel with the EPA and CARB. To obtain a certificate of conformity from the EPA,

 manufacturers are required to demonstrate that the light-duty vehicles were equipped with an on-

 board diagnostic (“OBD”) system capable of monitoring all emissions-related systems or

 components.

           113.   Manufacturers could demonstrate compliance with California OBD standards in

 order to meet federal requirements. CARB reviews applications from manufacturers, including

 BMW, to determine whether their OBD systems were in compliance with California OBD

 standards, and CARB’s conclusion would be included in the application the manufacturer

 submitted to the EPA.

           114.   In 1998, the United States established new federal emissions standards that would

 be implemented in separate steps, or Tiers. Tier II emissions standards, including for NOx

 emissions, were significantly stricter than Tier I. For light-duty vehicles, the regulations required

 manufacturers to begin to phase in compliance with the new, stricter NOx emissions standards in

 2004 and required manufacturers to fully comply with the stricter standards for model year 2007.

 These strict U.S. NOx emissions standards were applicable specifically to vehicles in the United

 States.




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       8.      Test Cycles

        115.    An emissions test cycle defines a protocol that enables repeatable and comparable

 measurements of exhaust emissions to evaluate compliance. The protocol specifies all conditions

 under which the engine is tested, including lab temperature and vehicle conditions. Most

 importantly, the test cycle defines the vehicle speed over time that is used to simulate a typical

 driving scenario. An example of a driving cycle is shown in Figure A. This graph represents the

 FTP-75 (Federal Test Procedure) cycle that has been created by the EPA and is used for emission

 certification and fuel economy testing of passenger vehicles in the United States. The cycle

 simulates an urban route with frequent stops, combined with both a cold- and a hot-start transient

 phase. The cycle lasts 1,877 seconds (about 31 minutes) and covers a distance of 11.04 miles

 (17.77 km) at an average speed of 21.2 mph (34.12 km/h).

                                               Figure A




        116.    To assess conformance, these tests are carried out on a chassis dynamometer, a

 fixture that holds a car in place while allowing its driven wheels to turn with varying resistance

 meant to simulate the actual load on the engine during on-road driving. Emissions are measured




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 during the test and compared to an emissions standard that defines the maximum pollutant levels

 that can be released during such a test. In the United States, emissions standards are managed on

 a national level by the EPA. In addition, California has its own emissions standards that are

 defined and enforced by CARB. California standards are also adopted by a number of other

 states (“Section 177” states). 7 Together with California, these states cover a significant fraction

 of the U.S. market, making them a de facto second national standard.

          117.   The FTP-75 is the primary dynamometer cycle used to certify light- and medium-

 duty passenger cars/trucks. This cycle is primarily a dynamic cycle, with rapid changes in speed

 and acceleration meant to reflect city driving along with some steadier higher speed sections

 meant to account for some highway driving.

          118.   One critically important thing to understand about the FTP-75 is that it’s a “cold

 start” cycle. That means the vehicle starts the cycle with the engine having been off for at least

 eight hours and in a completely cold state. The “cold start” portion of the test is challenging for

 diesel engines like the BMW engine employing SCR because catalysts meant to control

 emissions are not yet at temperatures where they work (i.e., above their “light-off” temperature).

 The FTP-75 also includes a “hot start” phase, which has similar issues resulting from cool down

 of catalysts before this phase begins.

 C.       BMW promoted the X5 and 355d vehicles as clean and environmentally friendly
          because BMW knew the environment and fuel economy are material to a reasonable
          consumer of a diesel car.

          119.   BMW understood that a diesel vehicle’s pollution footprint and fuel economy are

 factors in a reasonable consumer’s decision to purchase a diesel vehicle. The only advantage of a


      7
      Those states are: Connecticut, Maine, Maryland, Massachusetts, New Jersey, New Mexico,
 New York, Oregon, Pennsylvania, Rhode Island, Vermont, Washington, Delaware, Georgia, and
 North Carolina.



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 diesel versus gas car is a better pollution footprint and improved fuel economy. Thus, BMW, in

 press releases, owner’s manuals, and brochures that it intended to reach the eyes of consumers,

 promoted the X5 and 335d engine as delivering reduced NOx or having “reduced NOx

 emissions,” or as a “clean vehicle.” These promotional materials were distributed to BMW

 dealers for distribution to prospective buyers or were disseminated directly to potential

 consumers.

        120.    BMW also understood that fuel economy was material to the average consumer

 and was a material feature for prospective diesel buyers because of claims that diesels obtain

 better mileage than gas cars.

        121.    In 2009, BMW announced the introduction of the BMW “Advanced Diesel

 Models” for the United States that included the 335d model and the X5 xDrive35d model.

 According to a 2009 BMW press release, the models would be “50 state emission compliant”:

                BMW Group Diesel in the U.S.
                Technology and Market situation

                In 2009, the BMW Group presented more proof of its
                EfficientDynamics engineering philosophy with the introduction of
                two BMW Advanced Diesel models for the U.S. The 335d and the
                X5 xDrive35d models feature a 50 state emission complaint
                version of BMW’s award winning sequential-turbo 3.0 liter diesel
                engine. This is the first performance-oriented Advanced Diesel
                engine in BMW’s North American model line and is the basis for
                the most fuel efficient internal-combustion vehicle BMW has ever
                sold in the United States.

        122.    According to the BMW release, the “Advanced Diesels vehicles BluePerformance

 Technology” allowed for dramatically “improved fuel performance,” “fuel consumption,” and

 improved “emissions levels”:

                Leading the way:
                BMW diesel competence for the US




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               Today’s BMW Diesels are characterized by dramatically improved
               power and performance; fuel consumption and emissions levels –
               reflecting the principle of BMW EfficientDynamics in every
               respect.

               Through their refinement alone, BMW diesel engines have helped
               to significantly eliminate reservations regarding the acoustic
               properties of a diesel engine. In fact, great demand for BMW
               diesel engines has helped BMW achieve increased market share
               not just in Europe, but in regions all around the world. In 2009 no
               less than 63 percent of all new BMWs delivered to customers in
               Europe are powered by a diesel engine.

               BMW Advanced Diesel engines take this a step further, setting the
               standard for torque and pulling power that could never be achieved
               by a similar displacement gasoline engine – while consuming 25
               percent less fuel on average than an equally powerful gasoline
               engine.

        123.   BMW also claimed its technology allowed for “minimum emissions” with an

 “environmentally compatible” byproduct:

               New generation of diesel technology:
               Maximum responsiveness, minimum emissions.

               Maximum power, outstanding efficiency: The first BMW
               Advanced Diesel with BluePerformance is particularly well-suited
               to combine the driving dynamics and refinement of a premium
               automobile with the most current and demanding standards for
               preserving resources and reducing emissions. Featuring
               exceptional power and torque, the 3.0 liter inline-six diesel is one
               of the most fuel-efficient engines in its class. (emphasis added.)

               Most advanced exhaust gas management:
               Selective Catalytic Reduction.

               To optimize emission management, Advanced Diesel with
               BluePerformance incorporates an oxidation catalyst placed just
               downstream of the exhaust manifold with a diesel particulate filter
               housed in the same unit and a Selective Catalytic Reduction
               catalyst with urea injection. In addition to filtering out even the
               smallest particles from the flow of exhaust gases, this combination
               ensures effective reduction of nitric oxides (NOX) by way of a
               chemical reaction within the exhaust system initiated by the
               injection of a small dose of urea referred to as Diesel Exhaust
               Fluid. The ammonia (NH3) generated in this process within the




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               SCR catalyst subsequently converts the nitric oxides (NO and,
               respectively, NO2) in the exhaust gas into environmentally
               compatible nitrogen (N2) and water vapor (H2O). (emphasis
               added.)

        124.   In sales literature directed to consumers through BMW dealers, BMW

 emphasized the emissions compliance and emissions characteristics of its diesel vehicles.

 BMW’s promises regarding the emissions performance of BMW diesels is BMW’s

 acknowledgement that low emissions are material to a reasonable consumer of a diesel car.

        125.   Thus, for example, in the brochure for the 2010 X5, BMW promised that the X5

 meets “emissions requirements in all states” and provided more “driving pleasure and less

 emissions”:




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        126.   In the brochure for the 2011 BMW X5, recognizing the materiality of the

 emissions issue, the cover page promises “Less emissions”:




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        127.    And BMW promised that its “Advanced Diesel” was “cleaner, quicker and far

 more efficient that previous generation diesels.” “It’s diesel reinvented.”




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        128.    In its brochures BMW further promised that its diesel was “Environmentally

 Friendly” such that it turned “nitric oxides in the exhaust gas into environmentally compatible

 nitrogen and water vapor,” and that it met emissions requirements in all states.




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        129.    Continuing on the theme of decreased emissions with better fuel economy BMW

 brochures stated:




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       130.   The 2012 brochure on its cover page also promised “less emissions”:




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       131.   Again, BMW promised less emissions:




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        132.   BMW understood the environment was important to consumers and stressed its

 commitment to sustainability and a goal of “emissions free mobility”:




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         133.   In brochures for 2013 and later, BMW promised its emissions system reduced

 NOx to environmentally compatible nitrogen and water vapor and met emissions standards in all

 50 states:




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        134.   BMW promised in its 2013 brochure that its engines helped protect the

 environment with “decreased fuel consumption and emissions”:




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        135.   The same types of representations were on the 2014 brochure showing BMW’s

 belief that environment, emissions, and fuel economy were material to consumers:




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           136.   BMW also offered a diesel option in its 3 Series Sedan, called the 335d. BMW

 promised that its “Advanced Diesel with BluePerformance” met the “emissions standards of all

 50 states”: 8




     8
         2009 Brochure.



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        137.   Like the X5, BMW knew that prospective buyers of the 335d were interested in

 environmental and emissions issues, hence, the 2011 3 Series brochure on its cover focused on

 “Less emissions”:




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       138.   BMW again promised that its 335d met emissions requirements in all states:




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         139.    BMW proclaimed its diesels “have never been cleaner,” comparing its new

 engines to those that “left a trail of toxic pollution”:




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        140.    BMW promised efficiency and low emissions:




 D.     The BMW emission deception = emission manipulation in real world driving
        conditions.

       1.      The diesel test setup.

        141.    Both portable emission measurement system (PEMS) and chassis dynamometer

 testing were conducted on a model year 2012 BMW X5 xDrive35d with approximately 60,000

 miles. This vehicle is representative of the entire population of vehicles presented above. The test

 vehicle underwent a rigorous inspection and check-in process. The vehicle was put on a

 hydraulic rack, the underbody cowlings were removed, and the emission control system was

 inspected to ensure the parts were intact and free from damage. The vehicle was also checked for

 engine faults and maintenance history to ensure the regular scheduled maintenance was

 performed, that the vehicle was free from accidents, and that there was no active malfunction

 indicator lamp indicating a problem with the engine or emission control components. The tire




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 pressure was adjusted to the recommended specification prior to testing. The vehicle was also

 outfitted with a data logger to log engine and emission control system data coming from the

 vehicle’s computer (engine control module, or ECM).

        142.    The testing and analysis was performed by a team of engineers and consultants.

 The lead investigator is a degreed engineer and expert in chassis dynamometer and PEMs testing

 with over 15 years of experience in designing and testing diesel emissions control systems. Many

 Executive Orders have been granted by CARB based on chassis dynamometer testing performed

 by the lead investigator. The co-investigator has a Ph.D. in Mechanical Engineering with 25

 years of experience in diesel emissions control systems and a recipient of the prestigious Haagen

 Smit award from CARB for achievements in clean air technology. According to CARB’s release

 accompanying the award, the co-investigator, “has pioneered important breakthroughs in

 developing advanced technologies to reduce diesel particulates and oxides of nitrogen.”

 Furthermore, he has “earned a reputation as an industry leader helping to deploy the technology

 needed to keep California’s air clean.” Both experts are named on numerous US patents for

 inventions related to diesel emission control systems. These engineers were assisted by other

 qualified professionals with extensive OEM and regulatory experience specific to the field of

 diesel emission control systems.

       2.      PEMS testing is reliable and accurate.

        143.    The vehicle was tested over a variety of conditions using a portable emission

 measurement system (PEMS). PEMS is a collection of measurement devices that allow the

 measurement of gaseous vehicle emissions of oxides of nitrogen, total hydrocarbon, methane,

 carbon monoxide, and carbon dioxide as well as particulate matter (PM) emissions during on-

 road driving of light- and heavy-duty vehicles. The system is essentially a “portable laboratory”




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 that allows measurement of emissions outside of a conventional chassis dynamometer-based

 laboratory setting of the type used for certification testing.

          144.   These systems are highly accurate when compared to conventional chassis

 dynamometer tests used for vehicle emissions certification. In fact, their accuracy is such that

 they are currently integrated into the European vehicle emission certification process to test RDE

 (real driving emissions). Both EPA and CARB employ PEMS as part of the heavy duty in-use

 compliance program to measure emissions against the not to exceed (NTE) standards, where

 procedures have been codified in the code of federal regulations. Furthermore, both CARB and

 EPA make wide use of PEMS to evaluate vehicles for the presence of defeat devices. One such

 study, published by the Center for Alternative Fuels Engines and Emissions (CAFEE) in

 collaboration with CARB, made heavy use of PEMS to discover the presence of defeat devices

 in Volkswagen diesels. 9 The EPA did not uncover the VW scam despite testing VW cars for

 years. 10

          145.   PEMS has been used since the 1990s to measure real-world vehicle emissions

 performance. These systems are manufactured by highly respected and well-established

 emissions measurement equipment suppliers like AVL, Horiba, and Sensors Incorporated. All

 three of these companies are leading suppliers of emissions measurement systems used for

 vehicle and engine certification, and they bring their experience in conventional emissions

 analyzers to bear in designing PEMS. Conventional gas analysis systems are very large and

 complex. Since the years when chassis dynamometer testing was originally introduced, advances

 in analyzer technologies over the past three decades have allowed for the miniaturization of
     9
      Gregory J. Thompson, et. al., “In-Use Emissions Testing of Light-Duty Diesel Vehicles in
 the United States,” CAFEE publication (May 15, 2014).
     10
      See https://www.npr.org/2015/09/24/443053672/How a little lab in West Virginia caught
 Volkswagens big cheat.



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 conventional laboratory analyzers, yielding major size and weight reductions. These

 technological advances made it possible for high-accuracy emissions analyzers to be deployed on

 vehicles while driving on the road outside of the laboratory setting.

           146.   Conventional emissions testing used for certification of vehicles is performed on a

 chassis dynamometer. The dynamometer is a “treadmill” for the driven wheels of a vehicle. The

 driven wheels are placed on rollers attached to one of more flywheels and an electric motor

 capable of simulating the forces on the vehicle during real-world driving on the road. The chassis

 dynamometer simulates inertial forces (i.e., the resistance to acceleration or deceleration from

 the vehicle’s weight), static friction, rolling resistance, and aerodynamic drag. When properly

 calibrated, the chassis dynamometer will simulate real-world driving with a high degree of

 accuracy. A “coastdown” procedure is used to verify that rolling resistance and drag are

 accurately simulated. However, the inertial load simulation requires very rapid and precise

 responses from the electric motor for high accuracy. Slow responding systems can under-load the

 vehicle during acceleration. By contrast, real-world inertial forces on the vehicle are inherent in

 PEMS testing since this testing is conducted on the road in normal driving.

           147.   The analyzers used to measure gaseous emissions in the chassis dynamometer

 setting are accurate to within 1% of the full measurement scale. These analyzers are calibrated

 before and after each emissions test to ensure that they deliver a high level of accuracy and that

 the calibration does not appreciably change (or drift) during the emissions test. Furthermore,

 analyzers undergo monthly 10-point calibrations to ensure their response is accurate throughout

 the measurement range of each analyzer. These measurements are supplemented with high

 precision measurement of ambient temperature and relative humidity. NOx is adjusted for those

 values.




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         148.    PEMS analyzers are subject to the same requirements. In fact, analyzers used by

 the experts have an accuracy of 0.3% of full scale, well within the 1% requirement used for

 chassis dynamometer analyzers. These analyzers are also subject to the same monthly 10-point

 calibration to ensure accuracy throughout the measurement range. The analyzers are also

 calibrated before and after each test to ensure that they are both accurate and free of excessive

 drift. Drift has been shown to be far less than 1%, even after several hours of testing. PEMS also

 employs high accuracy temperature and relative humidity measurements to adjust NOx.

         149.    Put simply, the analyzers used in chassis dynamometer testing and PEMS testing

 have virtually identical levels of accuracy and are subject to the same strict requirements for

 calibration and drift.

         150.    One primary difference between PEMS and chassis dynamometer emissions

 testing is that the latter mixes the raw exhaust with ambient air in a dilution tunnel to simulate

 the effects of vehicle exhaust mixing with ambient air immediately after emission from the

 tailpipe. In the case of PEMS, the raw exhaust emissions are measured. The dilution tunnel has

 the largest effect on particulate matter measurements, where sulfate and hydrocarbon aerosols

 may be formed during the dilution process, thereby increasing particulate matter emissions. In

 modern diesels using low-sulfur fuels, these effects are much less important than in the past,

 where hydrocarbon and sulfate formation was much higher. The effect on gaseous pollutants,

 and in particular NOx, is negligible. Therefore, the raw gas measurement of NOx taken during

 PEMS testing will closely match the diluted exhaust measurement taken in a dilution tunnel.

         151.    A wide variety of studies have been performed over the years to validate the

 accuracy of PEMS. One such study, conducted by experts at Ricardo UK, one of the world’s

 leading vehicle research and development companies, concluded that “NOx emissions agreed




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 within ∼10% across a wide range of values.” 11 When considering that defeat devices result in

 emissions that are often several times, or even orders of magnitude, higher than the relevant

 emissions standards, this level of agreement with chassis dynamometer emissions measurement

 is more than sufficient to identify the presence of defeat devices and to quantify the effects.

         152.   That being said, test conditions are highly controlled in a chassis dynamometer

 laboratory setting. Ambient temperature, wind, and road quality are consistent from test to test.

 Although PEMS measures emissions with a high degree of accuracy, great care must be taken to

 ensure that the driving conditions are representative, consistent, and can be compared to the

 emission standards in a meaningful way. However, a well-designed PEMS test program can

 account for ambient temperature, traffic variability, relative positive acceleration (RPA—i.e., the

 “hardness” or “softness” of the driver’s driving style), road quality, and wind speed. The effect

 of wind speed, in particular, can be averaged out by conducting a large number of tests with

 variable wind conditions. Tests are typically repeated dozens of times, with careful attention paid

 to, among other things, the average cycle speed, ambient temperature, RPA, and road grade.

         153.   It is important to note that, in order to perform chassis dynamometer testing to

 certify a vehicle, on-road data must be collected for each vehicle that is tested to obtain a proper

 model of the vehicle’s rolling resistance and aerodynamic drag (called the vehicle’s “road load

 model”). This procedure is conducted over the road and must be repeated multiple times to

 account for the effects of variable wind speeds and directions. This kind of repetition is no

 different than that required to average out the effects of wind speed during PEMS testing.

         154.   In order for the chassis dynamometer to simulate real-world driving accurately,

 the testing conducted over the road to create the road load model must be generated with great

    11
      Jon Anderson, et. al., “On-Road and Chassis Dynamometer Evaluations of Emissions from
 Two Euro 6 Diesel Vehicles,” SAE 2014-01-2826 (Oct. 2014).



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 care, accounting for effects like tire pressure, drive train resistance, state of maintenance, vehicle

 inertial load, et cetera—the same issues that must be addressed when conducting PEMS tests.

        155.    Furthermore, it is possible to re-create virtually any chassis dynamometer

 certification cycle over the road using a PEMS by simply following the same vehicle speed cycle

 in a carefully controlled setting. Special test software has been developed by experts to allow

 these test cycles to be performed on the road.

        156.    High ambient temperatures can generally not be tested in a chassis dynamometer

 laboratory; the same is true of very low temperatures. During certification testing on the FTP-75

 and HWFET, ambient temperature is controlled to a narrow window between 68°F and 86°F.

 PEMS testing can be conducted at a wide variety of temperatures, which is important because

 many defeat devices are triggered based on changes in ambient temperature.

        157.    Importantly, it is often not possible to test conditions on a chassis dynamometer

 that might be experienced in the real world. As was discovered during the Volkswagen diesel

 scandal, the vehicle’s engine control module can often detect that the vehicle is being tested on a

 chassis dynamometer. In addition to being able to detect that a certification test cycle is being

 run, as with Volkswagen, vehicles can use various sensors to determine the vehicle is on a

 chassis dynamometer. Types of algorithms used to detect a chassis dynamometer include, but are

 not limited to, the following:

                a)      driven wheels are moving but the front wheels are not turning, a condition
                        only experienced on a chassis dynamometer;

                b)      on a 2-wheel drive vehicle, the driven wheels are moving but the non-
                        driven wheels are not, a condition only experience on a chassis
                        dynamometer; and

                c)      on a vehicle equipped with GPS, the vehicle’s wheels are moving while
                        the GPS position is not changing.




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         158.    For this reason, while testing on a chassis dynamometer for defeat devices, it can

 never be ruled out that the vehicle can detect that it is being tested on a chassis dynamometer.

 Therefore, results from chassis dynamometer testing may be dramatically different than those

 measured in real-world driving. In contrast to chassis dynamometer testing, the vehicle cannot

 detect the presence of a PEMS. PEMS is not only accurate for detection and quantification of

 defeat devices. It is essential.

         159.    Plaintiffs’ experts created a special program that is specific to the BMW X5 to

 allow communication with the vehicle’s computer (ECM) in order to extract important

 operational information like exhaust temperatures, EGR rates, NOx concentrations upstream of

 the SCR catalysts, and other information.

         160.    Plaintiffs’ experts also used PEMs testing to identify certain FCA vehicles as

 exceeding emissions standards. Their testing was confirmed by the EPA when it used issued a

 notice of violation for the same vehicles. Plaintiffs’ experts were also the first to identify

 Mercedes diesels as exceeding emissions standards and Mercedes is now under investigation by

 DOJ.

        3.      The test vehicle is representative of all BMW X5 and 335d vehicles.

         161.    Plaintiffs did not test each model year to derive plausible allegations that each

 Polluting Vehicle violates U.S. and CARB emissions standards and produces emissions beyond

 those that a reasonable consumer would have expected when he or she purchased their vehicle.

 Plaintiffs did not need to. The engine architecture is nearly identical for both the X5 and 335d

 with the only difference being that the X5 employs both high- and low-pressure EGR because of

 its higher weight, while the 335d uses high pressure EGR only. All other aspects of the engine

 and aftertreatment architecture are nearly identical. Furthermore, because carry-over applications




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 were used for model years subsequent to 2009, all other model years are identical to the 2009

 model year from an emissions standpoint.

        162.    All variants of the X5 and 335d sold in the United States are well represented by

 both the Plaintiffs’ list of vehicles and Plaintiffs’ test vehicle since BMW did not change the

 engine in any significant way with respect to diesel emissions in these models; all vehicles

 employ the same diesel emissions technology according to BMWs own press releases.

       4.      The Polluting BMW Vehicles emit more than expected and exceed emissions
               standards.

                a.      Highway Testing.

        163.    The vehicle was tested under a wide variety of steady highway conditions, with

 highway speeds ranging 45 to 70 mph, with the vast majority of the testing conducted at a

 conservative 60 mph. Over the course of 2,401 miles of testing, highway emissions were found

 to be on average 149 mg/mile, some 3 times the standard. Maximum emissions found during

 testing were found to be 984 mg/mile, or nearly 20 times the standard.

        164.    The “compliance factor” can be considered a multiple of the emission standard. It

 is the actual emission rate found during testing divided by the certification standard. A vehicle

 that meets the standard will have a compliance factor less than 1. A vehicle with a compliance

 factor of 1 is above the standard. A compliance factor of 2 means the vehicle exceeds the

 standard by a factor of 2.

        165.    The compliance factor for the BMW for all highway conditions is plotted below.




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        166.    The bar chart for a compliance factor of “1” represents the fraction of the total

 miles that are above the standard. The bar for a compliance factor of “2” represents the total

 miles that are twice the standard or more, and so on. What is notable is that the vehicle spends

 82% of its miles traveled above the standard and 53% of its miles at 2 times the standard. That

 means only 18% of the miles traveled in steady highway conditions actually met the standard.

 The vehicle spends 32% of its time at or above 3 times the standard. Finally, we see that the

 vehicle spends 10% of its time at 5 times the standard or more.

        167.    Furthermore, testing found that NOx emission rate is highly dependent on

 ambient temperature. See the plot below. It is important to note that certification testing is

 conducted in a test cell with a controlled ambient temperature. According to the certification

 procedure in the code of federal regulations, the ambient temperature in the test lab must be

 controlled to between 68°F and 86°F in order for the test to meet the standard. The lower limit

 for this temperature window is presented in the plot below as the vertical blue line. At




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 temperatures near 72°F, which is within the certification test window, emissions meet the

 standard (represented by the red horizontal line) with an average emission rate of 27 mg/mile

 NOx.




        168.    When tested below the certification temperature test window, however, emissions

 increased dramatically. In the temperature window between 50 and 60°F, emissions increase to

 119 mg/mile, some 2.4 times the standard and 4.4 times the levels at ambient temperatures in the

 certification test window. Between 45 and 50°F, NOx emissions increase to 200 mg/mile, or 4

 times the standard and 7.4 times the level measured in the certification test window.

        169.    As can be seen in the table below, the effectiveness of the SCR system is reduced

 from the condition in the certification temperature window that meets the standard to lower




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 ambient temperature conditions. For temperatures down to 50°F, the high pressure EGR rate is

 not changed, though the SCR performance is reduced. Below 50°F, both the high pressure EGR

 and SCR systems are de-rated (or reduced in effectiveness) compared to the condition that meets

 the standard. The low pressure EGR system goes from 78% at normal certification temperatures

 to 4.8% at temperatures between 50-60°F; low pressure EGR is turned off in the temperature

 window between 45-50°F.

        170.    Note, the data presented above only covers emissions on flat roads at steady speed

 and for distances greater than 5 miles in order to exclude high emissions that may occur over

 very short distances.

                                                                                Average NOx
                     Average HP        Average LP         Average SCR %          Emissions
 Condition            EGR Rate         EGR Rate             Reduction            (mg/mile)
 72°F                  59.7%             78.0%                 77%                   27
 50-60°F               58.6%              4.8%                 63%                  119
 45-50°F               45.9%              0.1%                 66%                  200

        171.    The impact of turning off or reducing emissions controls at various temperatures

 was not meaningfully disclosed to the EPA CARB or state regulators.

                b.       Highway Testing on Hills.

        172.    The effect of road grade was also studied with PEMS. The results are plotted

 below. In general, emissions increase as the road grade increases, though only modest road

 grades below 4.0% were studied.




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        173.    When the flat road taken above is presented as a whole, the average emission rate

 is 109 mg/mile. As the road grade increases, the emissions increase substantially. See the table

 below. It is clear that both the high and low pressure EGR and SCR systems are de-rated (turned

 down or off) on hills. As the road grade increases, the EGR rate is steadily decreased, as is the

 effectiveness of the SCR system. The result is that emissions increase from 109 mg/mile on flat

 roads to 482 mg/mile for roads with, still quite modest, grades of 3.1% to 3.4% (the steepest

 grade tested). That’s nearly a factor of 5 increase and nearly 10 times the standard. Under no

 circumstance does the vehicle meet the standard on a road grade greater than 0.7%. These very

 modest grades are commonly encountered in highway driving.

                                                                                   Average NOx
  Road          Average HP EGR           Average LP         Average SCR %           Emissions
  Grade               Rate               EGR Rate             Reduction             (mg/mile)
  Flat Road          52.2%                  47.2                 73%                   109




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                                                                                  Average NOx
  Road          Average HP EGR          Average LP          Average SCR %          Emissions
  Grade               Rate              EGR Rate              Reduction            (mg/mile)
  1.1-2.0%           21.9%                 44.6                  69%                  185
  2.1-3.0%           15.3%                 38.3                  74%                  216
  3.1%+              12.6%                 28.7                  59%                  482

                c.      Stop and Go Testing.

        174.    A wide variety of PEMS testing was conducted over the course of 428 miles in

 conditions that closely approximate the certification test cycle, the FTP-75. The tests were

 carefully constructed such that average speed and relative positive acceleration (RPA), a measure

 of how aggressively the vehicle is being driven, were chosen to be closely comparable to the

 FTP-75. In general, the vehicle was driven with low RPA, representative of conservative driving

 with light accelerations.

        175.    Over the course of stop and go testing, emissions were found to be 427 mg/mile

 on average, or 8.5 times the standard. Maximum emissions of 1,365 mg/mile were observed, or

 27.3 times the standard. Similar to the highway data presented above, the compliance factor is

 presented below.




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        176.    The vehicle spends virtually all of its time above the standard, with 99.4% of the

 data with a compliance factor of 1 or more. Fully 75% of the vehicle miles traveled have a

 compliance factor of 4 or more. The vehicle spends 24.5% of the vehicle miles traveled with a

 compliance factor of 10 or more.

                d.      Dynamometer Testing.

        177.    In addition to PEMS testing, the vehicle was tested on a chassis dynamometer.

 Both the FTP-75 and HWFET certification tests were conducted in strict accordance with the

 code of federal regulations, as would be required for certification testing. It should be noted that

 the FTP-75 is comprised of three separate phases, as shown below.

        178.    Phase 1 is what’s called a “cold start” phase, where the vehicle is started from a

 completely cold condition, having been left to “soak” at room temperature for 8 hours or more.

 This portion of the test is the most challenging for diesel engines, as the catalyst temperatures in




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 the exhaust are not yet high enough to promote the necessary NOx reduction reaction required to

 achieve high rates of NOx reduction.

        179.    Phase 2 is started immediately after Phase 1 with no pause between the phases.

 During this “stabilized phase,” the emission control system is up to temperature and emissions

 are relatively low.

        180.    Upon completion of Phase 2, the vehicle is stopped and turned off. After

 approximately 10 minutes with the engine off, the engine is re-started and phase 3 is begun. This

 so-called “hot start” test faces some of the same challenges as the cold start test, in that catalyst

 temperatures have been allowed to decrease with the car turned off. However, the effect is much

 less severe than the cold start, as most of the exhaust heat is retained during the 10- minute shut-

 off period.

        181.    Emissions are measured during each of the 3 phases and weighted roughly 0.43,

 1.0, and 0.57 for Phases 1, 2, and 3, respectively.




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         182.   BMW presented the results of the FTP-75 for the X5 at the 2007 Diesel Engine

 Efficiency and Emissions Research Conference in Detroit. 12 The black and green curves are of

 particular interest here, as they present the concentration of NOx during the FTP-75 as well as

 the efficiency of the SCR system (i.e. the percent of the NOx that is reduced). As previously

 mentioned, NOx concentrations (the black line) are particularly high during the cold start, Phase

 1. This is the first 505 seconds of the plot. During that time, because exhaust temperatures are

 relatively low and the SCR catalyst is not yet active, NOx emissions are high. Upon completion

 of Phase 1, the SCR efficiency (green line) is greater than 99%. This is the case all the way

 through Phase 2 to 1372 seconds, where Phase 2 ends. At about 2000 seconds, Phase 3 begins.

 Again, NOx concentrations temporarily increase while the exhaust catalysts warm up, but the

 effect is relatively minor. As can be seen on the test, once the exhaust system is heated up, the

 SCR system is capable of near 100% reduction in NOx. The vast majority of the NOx from the

 test cycle comes from the cold start, as previously explained. The resulting weighted average

 NOx rate is 43 mg/mile, just under the 50 mg/mile standard.

         183.   In short, BMW’s own technical presentations show that, once the SCR system is

 heated to operating temperature, the SCR system effectiveness is near 100%. In its own training

 documentation, BMW states:

         184.    “Selective catalytic reduction is currently the most effective system for reducing

 nitrogen oxides (NOx). During operation, it achieves an efficiency of almost 100 % and approx.




    12
      Wolfgang Mattes, “The BMW Approach to Tier 2 Bin 5,” DEER Conference, Detroit, MI
 (2007).



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 90 % over the entire vehicle operating range. The difference is attributed to the time the system

 requires until it is fully operative after a cold start.” 13




          185.   Plaintiff’s BMW X5 was tested on the FTP-75 with the following results:

                           Average HP            Average LP     NOx Emissions
 Phase                      EGR Rate             EGR Rate         (mg/mile)               Note
 Phase 1                      52.6                  33.1            200             Cold start
 Phase 2                      63.7                  56.2             23             Stabilized phase
 Phase 3                      63.3                   3.1             87             Hot start
 Composite Result                                                    77

          186.   As expected, emissions are highest during the cold start portion of the test, with

 200 mg/mile. During the stabilized phase, emissions are quite low, as the SCR catalyst is

 working at a high efficiency and the resulting NOx rate is 23 mg/mile. Hot start emissions are 87

 mg/mile. Again, the challenge is maintaining a hot exhaust temperature and high SCR efficiency.

 The composite FTP-75 result is 77 mg/mile, which is quite close to the standard.


     13
      BMW AG, “Technical Training - Product Information. Advanced Diesel with
 BluePerformance, 335d, Xdrive35d” (June 2008).



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        187.    The vehicle is certified to a standard of 50 mg/mile at 50,000 miles and 70

 mg/mile at 120,000 miles (full useful life) to account for some degradation in the catalyst.

 However, certification is performed on a system aged to 4,000 miles. The test vehicle may have

 experienced some slight deterioration in emissions performance at 60,000 miles, but it’s quite

 close to the performance expected at 120,000 miles. In any event, the emissions are quite low in

 circumstances where the catalyst is fully warmed and no hot or cold starts are being tested (i.e.

 phase 2).

        188.    The vehicle was also tested on the HWFET cycle, for which the standard is 70

 mg/mile at 50,000 miles and 90 mg/mile at 120,000 miles. The result for testing over this cycle

 was 30 mg/mile, which meets the standard.

        189.    In short, this vehicle appears to be working as designed on the chassis

 dynamometer.

                e.      Comparison to On-Road FTP-75 – Phase 2.

        190.    Using proprietary software, plaintiffs’ experts conducted the FTP-75 driving cycle

 on a perfectly flat and isolated road, with the emissions measured with PEMS. The vehicle was

 allowed to soak for 8 hours prior to the test, and testing was conducted at a temperature at or near

 68°F. During the stabilized phase, Phase 2, emissions were found to be 9 and 38 mg/mile for the

 two tests conducted, for an average of 24 mg/mile. This result corresponds closely with the result

 found on the dynamometer (23 mg/mile). This result suggests that the vehicle is capable of

 significant emission reductions both on the road and on the dynamometer.

        191.    Testing on the FTP-75 requires following a very specific “trace” of required speed

 for a given time. However, when testing is conducted under conditions that have the same

 average speed and RPA as Phase 2 of the FTP-75—but a different and arbitrary test trace—

 emissions increase dramatically.



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        192.    For tests conducted with the vehicle fully warmed up, and average speeds between

 16 and 20 mph (the average speed of Phase 2 is 16.1 mph), the emissions are 271 mg/mile on

 average. Note that test drive lengths were at least 4 miles, and up to 12.1 miles, to ensure

 statistical significance. Phase 2 is 3.86 miles. RPA values were maintained at or below those

 levels experienced on the FTP. In other words, when the test trace is arbitrarily changed to

 another trace with a similar profile, emissions increase from an average of 24 mg/mile to 298

 mg/mile, or by a factor of 10.

        193.    The vehicle is therefore able to detect the certification test cycle and adjust the

 emissions performance when it “knows” the test cycle is not being run. When tests conducted at

 all stop and go speeds, ranging from 13.5 to 47.1 mph, emissions are approximately 284

 mg/mile. Again, these results only include those tests for which the vehicle was fully warmed up,

 the road was perfectly flat, and the trip distance was greater than 4 miles.

        194.    In all cases, the high pressure EGR rates are relatively consistent from test

 condition to test condition. However, compared to the FTP Phase 2 test, where the SCR NOx

 reduction is 93%, the reduction on a comparable (but arbitrary) test cycle is 58%. The numbers

 are similar when all average cycle speeds are considered. BMW appears to detect the test trace

 and reduce the effectiveness of the SCR system when it detects the FTP-75 test cycle is not being

 run. The amount of low pressure EGR is also reduced from the FTP Phase 2 test cycle from

 53.2% to between 32% and 37% when the test cycle is changed to an arbitrary – but, again,

 parametrically similar – speed trace. Significantly, for cases where the arbitrary cycle was run,

 the SCR reduction is nowhere near the 90% claimed by BMW in its own technical literature and

 demonstrated on the FTP-75. There is no technical justification for this change in SCR

 performance on similar driving cycles.




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                                              Average HP         Average LP        Average SCR
 Test Condition        NOx (mg/mile)           EGR Rate          EGR Rate          % Reduction
 FTP Phase 2                 24                 47.6%              53.2%               93%
 16-20 mph,                 294                 49.8%              36.9%               58%
 arbitrary cycle
 All speeds,                  291                48.4%               32.1%               57%
 arbitrary cycle

                f.      Comparison to On-Road FTP-75 – Cold and Hot Starts.

        195.    Hot and cold start conditions were examined in addition to the stabilized

 emissions described above. A wide variety of cold and hot start conditions were tested, from

 immediate acceleration to highway speeds to normal city driving.

        196.    For cold starts that were followed by city driving, only those cold starts with a

 distance of 3.5 miles or more were considered (the length of the FTP-75 cold start). Only flat

 road tests were considered. Testing showed that, on average, cold start emissions were 667

 mg/mile. That’s 3.3 times the level found during the FTP-75 Phase 1 test on the dynamometer.

 SCR performance is not presented for hot and cold starts because the upstream NOx sensor is not

 active for the entire start-up phase. After engine ignition, there is usually a delay in the NOx

 sensor reading as the NOx sensor heats up to operating temperature and goes through a series of

 start-up checks.

                                                           Average HP               Average LP
 Test Condition                  NOx (mg/mile)              EGR Rate                EGR Rate
 FTP Phase 1 (cold start)             200                    52.6%                    33.1%
 PEMS Cold Starts (stop               667                    42.0%                    12.0%
 and go)

        197.    For hot starts that were followed by city driving, only those hot starts with a

 distance of 3.5 miles or more were considered (the length of the FTP-75 cold start). Only flat

 road tests were considered. Testing showed that, on average, hot start emissions were 468

 mg/mile. That’s 5.4 times the level found during the FTP-75 Phase 1 test on the dynamometer.




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 In most cases, these hot starts were completed with only a few minutes of engine shut-off time.

 The SCR catalysts are well above the light-off temperature in the vast majority of cases, as

 demonstrated by the exhaust temperatures upstream and downstream of the SCR system during

 these events (i.e. greater than 200°C). The SCR systems should therefore be active very soon

 after the engine is started with 90-100% NOx reduction.

                                                           Average HP              Average LP
 Test Condition                    NOx (mg/mile)            EGR Rate               EGR Rate
 FTP Phase 3 (hot start)                 87                  63.3%                    3.1%
 PEMS Hot Starts (stop                  468                  36.4%                   35.7%
 and go)

        198.    For hot starts that were followed by steady highway driving, only those hot starts

 with a distance of 3.5 miles or more were considered (the length of the FTP-75 cold start). Only

 flat road tests were considered. Testing showed that, on average, hot start emissions were 366

 mg/mile. That’s 4.2 times the level found during the FTP-75 Phase 1 test on the dynamometer.

 In most cases, these hot starts were completed with only a few minutes of engine shut-off time.

 That’s particularly remarkable, because the hot temperatures from operation at highway speeds

 should decrease the time to reach light-off temperature. In most cases, exhaust temperatures are

 above or near the light-off temperature prior to testing, so a delay in the effectiveness of the SCR

 system would not be justified.

                                                            Average HP              Average LP
 Test Condition                   NOx (mg/mile)              EGR Rate               EGR Rate
 FTP Phase 3 (hot start)                87                    63.3%                    3.1%
 PEMS Hot Starts                       366                    50.4%                   26.3%
 (highway)

        199.    These results show that BMW is employing an illegal software defeat strategy on

 both cold and hot start tests. Furthermore, these results are consistent with a 2016 study by the




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 European group Transport and Environment in September 2016 titled, “Dieselgate: Who? What?

 How?

           200.   The group finds that BMW engines deploy both “thermal window” (i.e.

 adjustment of emission controls outside the certification ambient temperature window) and hot

 start defeat devices on their Euro 6 diesel cars (a European emission standard that requires

 similar emissions architecture as the US Tier 2 Bin 5 standard).




 E.        The Bosch EDC17.

           201.   All modern engines are integrated with sophisticated computer components to

 manage the vehicle’s operation, such as an electronic diesel control. Bosch GmbH tested,

 manufactured, and sold the EDC system used by Volkswagen, FCA, Mercedes, Ford, and

 General Motors. This system is more formally referred to as the Electronic Diesel Control Unit

 17 (“EDC Unit 17” or “EDC17”). Upon its introduction, EDC Unit 17 was publicly touted by

 Bosch as follows: 14

                  EDC17 . . . controls every parameter that is important for effective,
                  low-emission combustion.




      14
       Bosch Press Release, The brain of diesel injection: New Bosch EDC17 engine management
 system (Feb. 28, 2006), http://www.bosch-presse.de/presseforum/details.htm?txtID
 =2603&locale=en.



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                Because the computing power and functional scope of the new
                EDC17 can be adapted to match particular requirements, it can be
                used very flexibly in any vehicle segment on all the world’s
                markets. In addition to controlling the precise timing and quantity
                of injection, exhaust gas recirculation, and manifold pressure
                regulation, it also offers a large number of options such as the
                control of particulate filters or systems for reducing nitrogen
                oxides. The Bosch EDC17 determines the injection parameters for
                each cylinder, making specific adaptations if necessary. This
                improves the precision of injection throughout the vehicle’s entire
                service life. The system therefore makes an important contribution
                to observing future exhaust gas emission limits.

         202.   Bosch worked with each vehicle manufacturer that utilized EDC Unit 17 to create

 a unique set of specifications and software code to manage the vehicles’ engine operation.

         203.   The software calibrations are an interactive process between Bosch and BMW.

 Bosch employees using email regularly communicated with BMW employees over various

 changes to various code functions such as “T-Eng”, sensor faults, online dosing, and other

 software parameters. Bosch employees regularly communicated with BMW employees

 concerning dosing rates into the SCR catalyst and the impact of such on NOx emissions.

         204.   Bosch employees regularly communicated with BMW employees about

 presentations to the EPA and CARB and about BMW’s ability to meet emissions standards.

         205.   Bosch’s EDC Unit 17 controls emissions by periodically reading sensor values,

 evaluating a control function, and controlling actuators based on the control signal. 15 Sensor

 readings include crankshaft position, air pressure, air temperature, air mass, fuel temperature, oil

 temperature, coolant temperature, vehicle speed, exhaust oxygen content, as well as driver inputs

 such as accelerator pedal position, brake pedal position, cruise control setting, and selected gear.

 Based on sensor input, EDC17 controls and influences the fuel combustion process including, in


    15
     Moritz Contag et al., How They Did It: An Analysis of Emission Defeat Devices in
 Modern Automobiles, p.4 (2017).



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 particular, fuel injection timing, which affects engine power, fuel consumption, and the

 composition of the exhaust gas. 16

          206.   All Bosch ECUs, including the EDC17, run on complex, highly proprietary

 engine management software over which Bosch exerts near-total control. In fact, the software is

 typically locked to prevent customers, like BMW, from making significant changes on their own.

 Accordingly, both the design and implementation are interactive processes, requiring Bosch’s

 close collaboration with the automaker from beginning to end.

          207.   With respect to the Polluting BMW Vehicles, the EDC 17 was used

 surreptitiously to evade emissions regulations. Bosch and BMW worked together to develop and

 implement a specific set of software algorithms for implementation in the Polluting BMW

 Vehicles, including algorithms to adjust fuel levels, exhaust gas recirculation, air pressure levels,

 and urea injection rates in vehicles equipped with SCR systems. 17

          208.   When carmakers test their vehicles against EPA emission standards, they place

 their vehicles on dynamometers (large rollers) and then perform a series of specific maneuvers

 prescribed by federal regulations. Bosch’s EDC Unit 17 gave BMW, Volkswagen, General

 Motors, BMW and other manufacturers the power to detect test scenarios by monitoring vehicle

 speed, acceleration, engine operation, air pressure, and even the position of the steering wheel.

 When the EDC Unit 17’s detection algorithm detected that the vehicle was on a dynamometer

 (and undergoing an emission test), additional software code within the EDC Unit 17 downgraded

 the engine’s power and performance and upgraded the emission control systems’ performance by

 switching to a “dyno calibration” to cause a subsequent reduction in emissions to legal levels.
    16
         Id.
    17
      Engine management, Bosch Auto Parts, http://de.bosch-
 automotive.com/en/parts_and_accessories/motor_and_sytems/diesel/engine_
 management_2/engine_control_unit_1.



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 Once the EDC Unit 17 detected that the emission test was complete, the EDC Unit would then

 enable a different “road calibration” that caused the engine to return to full power while reducing

 the emission control systems’ performance, and consequently caused the vehicle to spew the full

 amount of illegal NOx emissions out on the road in certain conditions. 18 This process is

 illustrated in the following diagram, applicable to BMW as well:




         209.   This workaround was illegal. The Clean Air Act expressly prohibits defeat

 devices, defined as any auxiliary emission control device “that reduces the effectiveness of the

 emission control system under conditions which may reasonably be expected to be encountered

 in normal vehicle operation and use.” 40 C.F.R. § 86.1803-01; see also id. § 86.1809-10 (“No

 new light-duty vehicle, light-duty truck, medium-duty passenger vehicle, or complete heavy-duty

 vehicle shall be equipped with a defeat device.”). Moreover, the Clean Air Act prohibits the sale
    18
        Russell Hotten, Volkswagen: The scandal explained, BBC (Dec. 10, 2015),
 http://www.bbc.com/news/business-34324772.



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 of components used as defeat devices “where the person knows or should know that such part or

 component is being offered for sale or installed for such use or put to such use.” 42 U.S.C.

 § 7522(a)(3). Finally, in order to obtain a certificate of compliance (COC), automakers must

 submit an application that lists all auxiliary emission control devices installed in the vehicle, a

 justification for each, and an explanation of why the control device is not a defeat device.

         210.      Thus, in order to obtain the COCs necessary to sell their vehicles, BMW did not

 fully disclose, and affirmatively concealed from government regulators, the presence of the test-

 detecting and performance-altering software code that it developed with Bosch, and/or the

 effects of this emissions manipulation on actual emissions thus making that software an illegal

 defeat device. In other words, BMW, working closely with Bosch, lied to governmental

 agencies, its customers, its dealers, and the public at large.

         211.      Because the COCs were fraudulently obtained at the time they were submitted,

 and because the Polluting BMW Vehicles did not conform “in all material respects” to the

 specifications provided in the COC applications, the Polluting BMW Vehicles were never

 covered by a valid COC, and thus were never legal for sale, nor were they EPA- and/or CARB-

 compliant as represented at the time of sale. BMW and Bosch hid the true and full facts of the

 emissions output from the EPA, CARB and other regulators, its dealers, and consumers, and it

 continued to sell and lease the Polluting BMW Vehicles to the driving public despite their

 illegality and with the complicity of Bosch.

         212.      To the extent ex post facto and after their sale to class members that BMW may

 have reached a political deal with the EPA regarding the lawfulness of BMWs conduct, does not

 negate the illegality of BMW’s conduct at the time of sale for any sales occurring prior to said

 political deal.




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           213.   BMW’s illegal workaround was enabled by its close partnership with Bosch,

 which enjoyed a sizable portion of its annual revenue from manufacturing parts used in BMW’s

 and other manufacturers’ diesel vehicles. 19 Bosch was well aware that BMW was using its

 emission control components as a defeat device and, in fact, worked with BMW to develop the

 software algorithm specifically tailored for the Polluting BMW Vehicles.

           214.   Because the COCs were fraudulently obtained, the Polluting BMW Vehicles were

 never covered by valid COCs and thus were never offered legally for sale. BMW and Bosch

 jointly hid these facts from the EPA, CARB and other state regulators, and consumers, and it

 continued to sell and lease the Polluting BMW Vehicles despite their illegality and with the

 complicity of Bosch.

 F.        Bosch played a critical role in the defeat device scheme in many diesel vehicles in the
           United States, giving rise to a strong inference that Bosch played a key role in
           implementing the BMW emission strategy.

           215.   Although this case is not about Volkswagen, Bosch’s history with Volkswagen

 provides background and support for the plausibility of its participation in the RICO enterprise

 alleged herein, of which Bosch and BMW were participants. On information and belief,

 Plaintiffs allege that the same level of coordination between Bosch and Volkswagen also

 occurred between Bosch and BMW.

           1.     Volkswagen and Bosch conspire to develop the illegal defeat device.

           216.   Bosch introduced a new generation of diesel ECUs for Volkswagen.




      19
        Approximately 50,000 of Bosch’s 375,000 employees worked in the diesel technology
 operations branch of Bosch, and Volkswagen was the biggest diesel manufacturer in the world.
 Bosch probes whether its staff helped VW’s emissions rigging, AUTOMOTIVE NEWS (Jan. 27,
 2016), http://www.autonews.com/article/20160127/COPY01/301279955/bosch-probes-whether-
 its-staff-helped-vws-emissions-rigging.



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         217.   A February 28, 2006 Bosch press release introduced the “New Bosch EDC17

 engine management system” as the “brain of diesel injection” which “controls every parameter

 that is important for effective, low-emission combustion.” The EDC17 offered “[e]ffective

 control of combustion” and a “[c]oncept tailored for all vehicle classes and markets.” In the press

 release, Bosch touted the EDC17 as follows: 20

                EDC17: Ready for future demands

                Because the computing power and functional scope of the new
                EDC17 can be adapted to match particular requirements, it can be
                used very flexibly in any vehicle segment on all the world’s
                markets. In addition to controlling the precise timing and quantity
                of injection, exhaust gas recirculation, and manifold pressure
                regulation, it also offers a large number of options such as the
                control of particulate filters or systems for reducing nitrogen
                oxides. The Bosch EDC17 determines the injection parameters for
                each cylinder, making specific adaptations if necessary. This
                improves the precision of injection throughout the vehicle’s entire
                service life. The system therefore makes an important contribution
                to observing future exhaust gas emission limits.

         218.   Bosch and Volkswagen worked together closely to modify the software and to

 create specifications for each Volkswagen vehicle model. Indeed, customizing a road-ready ECU

 is an intensive three- to five-year endeavor involving a full-time Bosch presence at an

 automaker’s facility. Such was the case with BMW as well.

         219.   All Bosch ECUs, including the EDC17, run on complex, highly proprietary

 engine management software over which Bosch exerts nearly total control. In fact, the software

 is typically locked to prevent customers, like Volkswagen and BMW, from making significant

 changes on their own.




    20
       Bosch press release, The brain of diesel injection: New Bosch EDC17 engine management
 system (Feb. 28, 2006), http://www.bosch-presse.de/
 presseforum/details.htm?txtID=2603&locale=en.



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         220.   Bosch’s security measures further confirm that its customers cannot make

 significant changes to Bosch software without Bosch involvement. Bosch boasts that its security

 modules protect vehicle systems against unauthorized access in every operating phase, meaning

 that no alteration could have been made without either a breach of that security—and no such

 claims have been advanced—or Bosch’s knowing participation. 21

         221.   Unsurprisingly, then, at least one car company engineer has confirmed that Bosch

 maintains absolute control over its software as part of its regular business practices: 22

                I’ve had many arguments with Bosch, and they certainly own the
                dataset software and let their customers tune the curves. Before
                each dataset is released it goes back to Bosch for its own
                validation.

                Bosch is involved in all the development we ever do. They insist
                on being present at all our physical tests and they log all their own
                data, so someone somewhere at Bosch will have known what was
                going on.

                All software routines have to go through the software verification
                of Bosch, and they have hundreds of milestones of verification,
                that’s the structure . . . .

                The car company is never entitled by Bosch to do something on
                their own.

         222.   Thus, Bosch GmbH and Bosch LLC cannot convincingly argue that the

 development of the Volkswagen defeat device was the work of a small group of rogue engineers.

         223.   In fact, Volkswagen’s and Bosch’s work on the EDC17 reflected a highly unusual

 degree of coordination. It was a massive project that required the work of numerous Bosch



    21
        Reliable Protection for ECUs, ESCRYPT (May 12, 2016),
 https://www.escrypt.com/en/news-events/protection-for-ecus.
    22
       Michael Taylor, EPA Investigating Bosch over VW Diesel Cheater Software, CAR AND
 DRIVER (Nov. 23, 2015), http://blog.caranddriver.com/epa-investigating-bosch-over-vw-diesel-
 cheater-software/.



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 coders for a period of more than ten years, or perhaps more. 23 Although Bosch publicly

 introduced the EDC17 in 2006, it had started to develop the engine management system years

 before. 24

          224.   In fact, Bosch was in on the secret and knew that Volkswagen was using Bosch’s

 software algorithm as an “on/off” switch for emission controls when the vehicles were

 undergoing testing. As noted above, it has been said the decision to cheat was an “open secret” at

 Volkswagen. 25 It was an “open secret” at Bosch as well.

          225.   Volkswagen and Bosch personnel employed code language for the defeat device,

 referring to it as the “acoustic function” (in German, “akustikfunktion”). As described above, the

 roots of the “akustikfunktion”—and likely the cheating—can be traced back to the late 1990s

 when Audi devised software called the “akustikfunktion” that could switch off certain functions

 when the vehicle was in a test mode. 26 The “akustik” term is derived from the function’s ability




     23
        Approximately 50,000 of Bosch’s 375,000 employees worked in the diesel technology
 operations branch of Bosch, and Volkswagen was the biggest diesel manufacturer in the world.
 Bosch Probes Whether Its Staff Helped VW’s Emissions Rigging, AUTOMOTIVE NEWS (Jan. 27,
 2016), http://www.autonews.com/article/20160127/COPY01/301279955/bosch-probes-whether-
 its-staff-helped-vws-emissions-rigging.
     24
       Bosch press release, The brain of diesel injection: New Bosch EDC17 engine management
 system (Feb. 28, 2006), http://www.bosch-presse.de/presseforum/details.htm?txtID=2603&
 locale=en.
     25
       Georgina Prodham, Volkswagen probe finds manipulation was open secret in department,
 REUTERS (Jan. 23, 2016), http://www.reuters.com/article/us-volkswagen-emissions-
 investigation-idUSKCN0V02E7. See also Jay Ramey, VW chairman Poetsch: Company
 ‘tolerated breaches of rules’, AUTOWEEK (Dec. 10, 2015), http://autoweek.com/article/vw-
 diesel-scandal/vw-chairman-poetsch-company-tolerated-breaches-rules (it was necessary for the
 “EA 189 engine to pass U.S. diesel emissions limits within the budget and time frame allotted”).
     26
       Martin Murphy, Dieselgate’s Roots Stretch Back to Audi, HANDELSBLATT GLOBAL (Apr.
 19, 2016), https://global.handelsblatt.com/edition/413/ressort/companies-
 markets/article/dieselgates-roots-stretch-back-to-audi?ref=MTI5ODU1.



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 to modify the noise and vibration produced by the engine. News articles report that, in 2006,

 Volkswagen further developed this “akustikfunktion” for the affected vehicles. 27

         226.   In sum, Bosch GmbH worked hand-in-glove with Volkswagen to develop and

 maintain the akustikfunktion/defeat device. On information and belief, it did so with BMW as

 well.

         2.     Volkswagen and Bosch conspire to conceal the illegal “akustikfunktion.”

         227.   By 2007, and likely earlier, Bosch GmbH was critical not only in developing the

 “akustikfunktion” but also in concealing it.

         228.   Bosch GmbH was concerned about getting caught participating in the defeat

 device fraud. As reported in a German newspaper, Bild am Sonntag, and a French publication, a

 Volkswagen internal inquiry found that in 2007, Bosch GmbH warned Volkswagen by letter that

 using the emissions-altering software in production vehicles would constitute an “offense.” 28

         3.     Volkswagen and Bosch conspire in the United States and Germany to elude
                U.S. regulators who regulated not just Volkswagen diesels but all diesels.

         229.   The purpose of the defeat device was to evade stringent U.S. emissions standards.

 Once Bosch GmbH, Bosch LLC, and Volkswagen perfected the defeat device, therefore, their

    27
        Georgina Prodham, Volkswagen probe finds manipulation was open secret in department,
 REUTERS (Jan. 23, 2016), http://www.reuters.com/article/us-volkswagen-emissions-
 investigation-idUSKCN0V02E7. Volkswagen Group Chairman Hans Dieter Poetsch explained
 that a small group of engineers and managers was involved in the creation of the manipulating
 software. Jay Ramey, VW chairman Poetsch: Company ‘tolerated breaches of rules’, Autoweek
 (Dec. 10, 2015), http://autoweek.com/article/vw-diesel-scandal/vw-chairman-poetsch-company-
 tolerated-breaches-rules. Russell Hotten, Volkswagen: The scandal explained, BBC (Dec. 10,
 2015), http://www.bbc.com/news/business-34324772; Matt Burt, VW emissions scandal: how
 Volkswagen’s ‘defeat device’ works, Autocar (Sept. 23, 2015), http://www.autocar.co.uk/car-
 news/industry/vw-emissions-scandal-how-volkswagens-defeat-device-works.
    28
       Bosch warned VW about illegal software use in diesel cars, report says, AUTOMOTIVE
 NEWS (Sept. 27, 2015), http://www.autonews.com/article/20150927/COPY01/309279989/bosch-
 warned-vw-about-illegal-software-use-in-diesel-cars-report-says; VW Scandal: Company
 Warned over Test Cheating Years Ago, BBC (Sept. 27, 2015), http://www.bbc.com/news/
 business-34373637.



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 attention turned to deceiving U.S. regulators not just for the benefit of Volkswagen but also for

 the benefit of BMW, Mercedes, General Motors, and FCA.

          230.   Bosch’s North American subsidiary, Defendant Robert Bosch LLC, was also part

 of and essential to the fraud. Bosch LLC worked closely with Bosch GmbH and Volkswagen in

 the United States and in Germany to ensure that the non-compliant affected vehicles passed U.S.

 emissions tests. Bosch LLC employees frequently communicated with U.S. regulators and

 actively worked to ensure the affected vehicles were approved by regulators.

          231.   Employees of Bosch LLC, Bosch GmbH, and IAV provided specific information

 to U.S. regulators about how Volkswagen’s vehicles functioned and unambiguously stated that

 the vehicles met emissions standards. Bosch LLC regularly communicated to its colleagues and

 clients in Germany about ways to deflect and diffuse questions from U.S. regulators about the

 affected vehicles—particularly CARB.

          4.     Bosch keeps BMW’s secret safe and pushes “clean” diesel in the United States
                 as a concept applicable to all diesel car manufacturers.

          232.   During the time of its efforts to promote “clean diesel,” Bosch LLC and Bosch

 GmbH were each aware that BMW, General Motors, Volkswagen, Audi, Porsche, FCA, Ford

 and Mercedes could not meet emissions requirements without turning down or derating emission

 controls. Bosch not only kept this dirty secret safe, it went a step further and actively promoted

 “clean diesel” in the United States, including making affected vehicles available for regulators to

 drive.

          233.   As early as 2004, Bosch announced a push to convince U.S. automakers that its

 diesel technology could meet tougher 2007 U.S. emission standards. 29 Its efforts ended up being


    29
        Edmund Chew, Bosch boosts US diesel lobbying, AUTONEWS (Mar. 8, 2004),
 http://www.autonews.com/article/20040308/SUB/403080876/bosch-boosts-us-diesel-lobbying.



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  a multi-year, multi-million dollar effort involving key players from both Robert Bosch GmbH in

  Germany and Bosch LLC in the United States.

          234.   Bosch’s promotion of diesel technology specifically targeted the United States.

  For example, Bosch put on “California Diesel Days” 30 and “SAE World Congress in Detroit.” 31

  In 2008, Bosch LLC and Volkswagen America co-sponsored the “Future Motion Made in

  Germany-Second Symposium on Modern Drive Technologies” at the German Embassy in

  Washington, D.C., with the aim of providing a venue for “stakeholders to gain insight into the

  latest technology trends and engage in a vital dialogue with industry leaders and

  policymakers.” 32

          235.   Bosch LLC hosted multi-day conferences open to many regulators and legislators

  and held private meetings with regulators in which it proclaimed extensive knowledge of the

  specifics of Volkswagen technology, including calibrations necessary for the affected vehicles to

  comply with emissions regulations.

          236.   On October 28, 2008 Bosch North America issued a release entitled:

                 Bosch Powers Audi Clean Diesel Across the U.S. and Around
                 the World

          237.   The October release was much broader than the promotion of Audi. It was a

  promotion of Bosch and its role in “clean diesel” in a broad sense to further the diesel


     30
        Bosch drives clean diesel in California, Bosch, http://www.bosch.us/
  content/language1/html/734_4066.htm?section=28799C0E86C147799E02226E942307F2.
     31
         Bosch Brings Innovation, Green Technology to SAE 2009 World Congress, Bosch,
  http://www.bosch.us/content/language1/html/734_
  7432.htm?section=CDAF31A468D9483198ED8577060384B3.
     32
        Bosch: Clean Diesel is Key Part of Future Technology Mix, Bosch, http://us.bosch-
  press.com/tbwebdb/bosch-usa/en-US/PressText.cfm?
  CFID=60452038&CFTOKEN=9c778a2564be2c9b-56CC21B6-96AB-5F79-
  32445B13EC121DBE&nh=00&Search=0&id=364.



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  conspiracies and Bosch’s objective in falsely promoting “clean diesel.” The irony is glaring

  because Bosch knew the Audi was not clean. Bosch, thus made the following pronouncements:

                 Bosch, the worldwide leader in powertrain development, was
                 selected by Audi to supply the common rail system that includes
                 the electronic control unit (ECU), rail, pump and injectors, the
                 dosing module and control unit for the Denoxtronic system, as well
                 as various sensors for powertrain and exhaust gas aftertreatment in
                 the Q7 3.0 TDI. The Denoxtronic reduction-agent metering system
                 from Bosch permits further reductions in the emissions of diesel
                 engines. It is a central component of the SCR system (Selective
                 Catalytic Reduction).

                 “The Audi Mileage Marathon provides opportunity for people to
                 experience torque, fuel economy and other benefits of today’s
                 clean diesel technology in action,” said Bernd Boisten, regional
                 president, diesel systems North America, Robert Bosch LLC. “We
                 call today’s diesel Good, Clean, Fun. We wish all participants safe
                 journeys and look forward to their reactions to clean diesel’s fuel
                 efficiency, low emissions and exceptional performance.”

                 Clean diesel technology combines clean diesel fuel, advanced
                 engines and effective exhaust control technology into a complete
                 package that is more efficient, environmentally friendly and fun to
                 drive. Today, a clean diesel engine is one of the “greenest”
                 powertrain options on the market.

                 Bosch has been promoting the benefits of clean diesel in
                 anticipation of the new 50-state compliant diesel powered vehicles,
                 such as the Audi Q7 3.0 TDI, coming to market in the U.S.

          238.   In April 2009, Bosch LLC organized and hosted a two-day “California Diesel

  Days” event in Sacramento, California. Bosch invited a roster of lawmakers, journalists,

  executives, regulators, and NGOs 33 with the aim of changing perceptions of diesel from “dirty”

  to “clean.” The event featured affected vehicles as ambassadors of “clean diesel” technology,

  including a 2009 Volkswagen Jetta “green car.” The stated goals were to “build support for light-


     33
         Bosch drives clean diesel in California, Bosch,
  http://www.bosch.us/content/language1/html/734_4066.htm?section=28799C0E
  86C147799E02226E942307F2; California Diesel Days, The U.S. Coalition for Advanced Diesel
  Cars, http://www.californiadieseldays.com/.



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  duty diesel as a viable solution for achieving California’s petroleum and emission reduction

  objectives.”

          239.     In 2009, Bosch also became a founding member of the U.S. Coalition for

  Advanced Diesel Cars. 34 One of this advocacy group’s purposes included “promoting the energy

  efficiency and environmental benefits of advanced clean diesel technology for passenger

  vehicles in the U.S. marketplace.” 35 This group lobbies Congress, U.S. regulators, and CARB in

  connection with rules affecting “clean diesel” technology. 36

          240.     In 2010, Bosch sponsored the Virginia International Raceway with the support of

  the 2010 Volkswagen Jetta TDI Cup Series. This event included TDI vehicles featuring Bosch

  technology. 37

          241.     In 2012, Audi, BMW, Bosch, Daimler, Porsche, and Volkswagen joined to form

  The Clearly Better Diesel initiative. 38 The initiative was announced in Berlin by the German

  Association of the Automotive Industry. Its stated goal was to promote the sale of clean diesel

  vehicles in the United States. The initiative’s slogan was “Clean Diesel. Clearly Better.”


     34
        Chrissie Thompson, New Coalition Aims To Promote Diesel Cars, AUTOMOTIVE NEWS
  (Feb. 2, 2009), http://www.autonews.com/article/20090202/OEM06/302029728/new-coalition-
  aims-to-promote-diesel-cars.
     35
         About the Coalition, The U.S. Coalition for Advanced Diesel Cars,
  http://cleandieseldelivers.com/about/.
     36
        Id. Letter to Chairman Mary Nichols and CARB concerning a statement made about diesel
  technology (Jan. 8, 2016), available at http://cleandieseldelivers.com/media/Mary-Nichols-
  Letter-01082016.pdf.
     37
        Volkswagen Jetta TDI Cup Drivers Take to the Track for the First Time in 2010 at VIR,
  Volkswagen of America, Inc. (April 23, 2010), available at http://www.prnewswire.com/news-
  releases/volkswagen-jetta-tdi-cup-drivers-take-to-the-track-for-the-first-time-in-2010-at-vir-
  91985604.html.
     38
        “Clean Diesel Clearly Better” Campaign for Clean Diesel Cars Welcomed, Diesel
  Technology Forum (Dec. 12, 2012), available at http://www.prnewswire.com/news-
  releases/clean-diesel-clearly-better-campaign-for-clean-diesel-cars-welcomed-183261432.html.



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          242.   In its efforts to promote “clean diesel,” including the affected vehicles, Bosch

  GmbH acted on behalf of its global group.

          5.     Bosch is a recidivist cheater: Bosch also made the EDC17 found in FCA
                 vehicles that pollute excessively.

          243.   To appeal to environmentally conscious consumers, FCA vigorously markets its

  “EcoDiesel” vehicles as “clean diesel” with ultra-low emissions, high fuel economy, and

  powerful torque and towing capacity. FCA calls its EcoDiesel “ultra clean,” “emissions

  compliant,” and claims that “no NOx” exits the tailpipe. FCA charges a premium for EcoDiesel-

  equipped vehicles. For example, selecting the 3.0-liter EcoDiesel engine for the 2016 Dodge

  Ram 1500 Laramie adds $4,770 to the purchase price. And the 2016 Jeep Grand Cherokee

  Overland EcoDiesel costs $4,500 more than its gasoline counterpart.

          244.   These representations are deceptive and false. FCA programmed its EcoDiesel

  vehicles to significantly reduce the effectiveness of the NOx reduction systems during real-world

  driving conditions. The EPA has determined that the affected vehicles contain defeat devices.

  After a lawsuit had already been filed by Plaintiffs’ counsel in this case, on January 12, 2017, the

  EPA issued a Notice of Violation against FCA because FCA “failed to disclose Auxiliary

  Emission Control Devices (AECDs)” in the affected vehicles. 39 The EPA identified eight

  specific devices that cause the vehicle to perform effectively when being tested for compliance

  and then reduce the effectiveness of the emission control system during normal operation and

  use.




     39
         EPA’s January 12, 2017 Notice of Violation to FCA, available at
  https://www.epa.gov/sites/production/files/2017-01/documents/fca-caa-nov-2017-01-12.pdf.



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          245.   “Once again,” said CARB Chair Mary D. Nichols about FCA’s cheating, “a major

  automaker made the business decision to skirt the rules and got caught.” 40

          246.   The same experts that tested the X5’s performance did on-road testing of the FCA

  vehicles and confirmed that FCA’s so-called EcoDiesel vehicles produced NOx emissions at an

  average of 222 mg/mile in city driving (four times the FTP standard of 50 mg/mile) and 353

  mg/mile in highway driving (five times higher than the U.S. highway standard of 70 mg/mile). In

  many instances, NOx values were in excess of 1,600 mg/mile, more than 20 times the standards.

  This testing uncovered many of the defeat devices listed in the EPA notice of violation ahead of

  EPA’s announcement.

          247.   Bosch made the EDC17 for the polluting FCA vehicles.

          6.     Bosch is a recidivist cheater: Bosch GmbH also made the EDC17 found in
                 polluting Mercedes diesels.

          248.   Plaintiffs’ experts in this case tested the Mercedes diesel vehicles and made the

  first public disclosure of Mercedes’ unlawful conduct through certain of the counsel in this case

  in a civil suit filed in the District of New Jersey. Reportedly as a result of that lawsuit, Mercedes

  is under investigation by the Department of Justice and German authorities with respect to its

  BlueTEC diesel vehicles. Over 14 Mercedes diesel models are alleged to produce emissions 8.1

  to 19.7 times relevant standards. Bosch GmbH supplied the EDC17 in the polluting Mercedes

  vehicles.




     40
        EPA News Release, EPA Notifies Fiat Chrysler of Clean Air Act Violations (Jan.12, 2017),
  available at https://www.epa.gov/newsreleases/epa-notifies-fiat-chrysler-clean-air-act-violations.



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        7.      Bosch is a recidivist cheater: Bosch GmbH and Bosch LLC also made the
                EDC17 found in 700,000 polluting General Motors trucks.

         249.    Bosch made the EDC17 found in the 2011–2016 General Motors Sierra 2500 and

  3500 HD trucks and Chevrolet Silverado HD trucks. These trucks are competitors with BMW’s

  X5 trucks.

         250.    Bosch supplied the software and function sheets for these vehicles and enabled

  the vehicles to have three different cheat devices.

         251.    GM Defeat Device No. 1 reduces or derates the emissions system when

  temperatures are above the emissions certification test range (86°F). GM Defeat Device No. 2

  operates to reduce emission control when temperatures are below the emissions certification low

  temperature range (68°F). Testing reveals that at temperatures below 68°F (the lower limit of the

  certification test temperature), stop-and-go emissions are 2.1 times the emissions standard at

  428 mg/mile (the standard is 200 mg/mile). At temperatures above 86°F, stop-and-go emissions

  are an average of 2.4 times the standard, with some emissions as high as 5.8 times the standard.

  Based on temperatures in the top 30 metropolitan areas, these vehicles are operating with the

  emissions systems derated a material amount of their vehicle miles travelled. But the emission

  scheme is a step more nefarious: enter GM Defeat Device No. 3, which reduces the level of

  emission controls after 200–500 seconds of steady speed operation in all temperature windows,

  causing emissions to increase on average of a factor of 4.5. Based on a study of temperatures in

  30 major metropolitan areas as well as the demographics of Silverado and Sierra sales, Plaintiffs’

  experts estimate that due to just the temperature-triggered defeat devices, the vehicles operate at

  65–70% of their miles driven with emissions that are 2.1 to 5.8 times the standard.

         252.    Increased sales and thus increased profits drove General Motors to use at least

  these three defeat devices in its Duramax diesel engines. By reversing the traditional order of the




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  exhaust treatment components and putting the Selective Catalytic Reduction (SCR) in front of

  the Diesel Particulate Filter (DPF), General Motors could obtain and market higher power and

  fuel efficiency from its engines while still passing the cold-start emissions certification tests.

  This made the trucks more appealing and competitive in the marketplace, driving up sales and

  profits. But the reordering would have also drastically increased the need to employ Active

  Regeneration (i.e., burning off collected soot at a high temperature) and other power- and

  efficiency-sapping exhaust treatment measures, reversing the very advantage gained. General

  Motors’ solution, with the participation of Defendants Robert Bosch GmbH and Robert Bosch

  LLC, was to install defeat devices to purposefully reduce SCR dosing, increase NOx emissions,

  and thus decrease Active Regeneration. The defeat devices allowed General Motors to have its

  cake and it eat too. It could gain the advantage of hot exhaust going into the SCR system needed

  to pass cold-start tests, while avoiding the fuel- and power-robbing Active Regeneration

  procedure that the DPF filter requires when the SCR treatment comes first. General Motors

  turned a blind eye to the twofold to fivefold increase in deadly NOx emissions its scheme

  caused—all to drive up its sales and profits.

        8.      Bosch is a recidivist cheater: Bosch also made the EDC17 found in 500,000
                polluting Ford Trucks.

         253.      Bosch made the EDC17 found in Ford’s top selling F-250 and 350 “Super Duty”

  Diesel Trucks.

         254.      Bosch supplied the software and function sheets for these vehicles and enabled

  the vehicles to use defeat devices to turn down or off emissions controls.

         255.      Plaintiffs’ on-road testing has confirmed that Ford’s Super Duty vehicles produce

  NOx emissions in an amount demonstrating that they are not the “cleanest Super Duty diesel”

  vehicles that meet emission standards; rather, Ford has programmed the vehicles so that in a




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  wide range of common driving conditions, the emissions systems are powered down, producing

  NOx far in excess of emissions standards. A reasonable consumer would not expect their Super

  Duty vehicle to spew unmitigated NOx in this fashion while driving in the city or on the

  highway, nor would a reasonable consumer expect that fuel economy was achieved in part by

  turning off or derating the emission systems; nor would a reasonable consumer expect that if the

  emissions were as-promised, the advertised fuel economy and performance could not be

  achieved.

         256.    In stop-and-go conditions, including those identical to the FTP-75 certification

  cycle, emissions are routinely as high as five times the standard. In certain common driving

  conditions, such as modest uphill road grades, or with the use of a trailer that adds weight,

  emissions exceed the standard by 30 to 50 times. Ford advertised these vehicles as having “best-

  in-class towing capabilities” and expected Super Duty trucks to pull significant loads. Ford failed

  to disclose that “best-in-class towing” came with a byproduct of high NOx emissions, sometimes

  exceeding legal standards by 30 to 50 times. In stop-and-go driving, testing reveals that the

  vehicles operate 69% of the time above the emissions standard, 45% of the time at twice the

  standard, and 9% of the time at five times the standard. These vehicles should more properly

  have been called “Super Dirty.”

  G.     Bosch has previously violated U.S. law.

         257.    On March 31, 2015, Robert Bosch GmbH pled guilty and agreed to pay a $57.8

  million criminal fine for its role in a conspiracy to fix prices and rig bids for spark plugs, oxygen

  sensors and starter motors sold to automobile and internal engine combustion manufacturers in

  the United States.




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  H.     Bosch also played a critical role in falsely promoting clean diesel technology via the
         “Diesel Technology Forum.”

         258.    It’s not unheard of for manufacturers of dangerous products to use trade

  associations to cover up the danger of their products. Tobacco companies created several trade

  associations to promote phony science claiming tobacco use was neither harmful nor addictive.

  The opioid manufacturers did the same as did Bosch with respect to promotion of clean diesel.

  Bosch was a member of the Diesel Technology Forum (“DTF”) a “non-profit” dedicated “to

  raising awareness about the importance of diesel engines.” The DTF was formed in 2000, and its

  members include Bosch, Daimler, GM, and FCA. Bosch was aware that cars made by BMW,

  GM, FCA, and Mercedes used cheat devices to meet emissions requirements and were not the

  “clean diesel” as claimed. Despite this knowledge, Bosch, as a member of the DTF, and as part

  of its complicit conduct in promoting illegal diesels, authorized a steady stream of

  announcements about “clean diesel technology”, as described below.

         259.    So for example, the DTF on December 12, 2012, issued a press release

  proclaiming “Clean Diesel. Clearly Better” and highlighted new diesel models coming to the

  U.S. The release noted that the new “Clean Diesel” campaign was announced jointly by Audi,

  BMW, Bosch, Daimler, Porsche, and Volkswagen.




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  https://www.dieselforum.org/news/clean-diesel-clearly-better-campaign-for-clean-diesel-cars-
  welcomed

         260.   As part of the continuing and false clean diesel promise, DTF posted on its

  website after the VW scandal that the new diesel technology enables emissions control systems

  that met “near zero” emissions standards.




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         261.   The DTF posted on its website information about “Clean Diesel” proclaiming

  “near zero emissions.”




         262.   The DTF website claimed the clean diesels resulted in “Clean Diesel and Clean

  Air,” and that the manufacturers had “Effective Emissions Controls”:




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           263.   A document entitled “Diesel: Fueling the Future in a Green Economy,” by Hart

  Energy Consulting, prepared for the Diesel Technology Forum, October 13, 2010, 41 was posted

  on the DTF website and proclaimed that:



     41
          http://www.dieselforum.org/files/dmfile/Diesel-FuelingtheFutureinaGreenEconomy.pdf



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              P. 3 - “Introduction of advanced diesel technology in 2007 that
              relied on ultra low sulfur clean diesel fuel has today reduced
              emissions of particulate matter and nitrogen oxides—an ozone
              precursor— by more than 98% in heavy-duty truck applications
              compared to 2000 models. It has enabled introduction of high
              performance diesel cars, trucks and SUVs that are cleaner, quieter
              and safer than ever.”

              P. 9 - “Fuel economy advantages of 20% to 35% for diesel
              fuel/engines over gasoline vehicles will also provide options for
              meeting low carbon fuel objectives and reducing GHG
              emissions. California has initiated a low carbon fuel initiative and
              the U.S. EPA has promulgated its first GHG control requirements
              in the form of vehicle CO2 reduction regulations. Congress
              continues to debate on climate change and related GHG
              initiatives.”

              P. 10 - “These new levels of near-zero emissions are being met
              through advancements in the engine fuel and air management
              systems that dramatically improve combustion efficiency, and
              the use of ultra-low sulfur diesel fuel that enables the use of
              high efficiency exhaust control. As a result, new trucks and buses
              are more than 98% cleaner than 2000-era models (Figure 3). In
              fact, results from the first phases of joint government and industry
              research (Advanced Collaborative Emissions Study, ACES) have
              demonstrated that the emissions reductions from these
              technologies have actually exceeded requirements, providing
              substantially greater performance and benefits than anticipated.”

              P. 11 - “While new engines are now on a path to near-zero
              emissions, the widespread availability of cleaner diesel fuel has
              created new and substantial efforts to modernize and upgrade
              emissions performance of existing engines and equipment. A
              2009 Report to Congress by U.S. EPA on results of the first year of
              a federal program to fund diesel retrofits (Diesel Emissions
              Reduction Program) found it to be among the most cost effective
              clean air programs, yielding over $13 in environmental and public
              health benefits for each $1 invested.”

              P. 27 - “The diesel industry is in the midst of implementing
              advanced engine and emissions control technology that will
              lower emissions from on-road vehicles and non-road machines
              and equipment by more than 98% relative to 2000 era
              technology. Continued investments and research to further
              increase fuel efficiency while lowering emissions will keep
              diesel engines for light duty vehicles competitive with other
              technologies.”



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  I.     The damage from excessive NOx.

        1.      Environmental harm.

         264.    Plaintiffs do not seek damage for the harm to the environment they have

  unwittingly caused. However, it is important to understand why (1) NOx is regulated and (2)

  why a reasonable consumer would not want his or her vehicle to dump NOx into the air.

         265.    NOx contributes to ground-level ozone and fine particulate matter. According to

  the EPA, “[e]xposure to these pollutants has been linked with a range of serious health effects,

  including increased asthma attacks and other respiratory illnesses that can be serious enough to

  send people to the hospital. Exposure to ozone and particulate matter has also been associated

  with premature death due to respiratory-related or cardiovascular-related effects. Children, the

  elderly, and people with pre-existing respiratory disease are particularly at risk for health effects

  of these pollutants.”

         266.    The EPA describes the danger of NOx as follows:




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         267.    A recent study published in NATURE estimates that there are 38,000 deaths

  worldwide due to excess NOx emissions. And recently a study commissioned by the Federal

  Office for the Environment (Germany) concluded that 6,000 people died prematurely in 2014

  from illnesses known to be caused or aggravated by NOx exposure. Plaintiffs here do not seek

  damages to the injury to the environment, but plaintiffs did not intend to drive cars whose

  emissions manipulation would deliberately injure the environment.

        2.      Economic harm specifically alleged here.

         268.    As a result of BMW’s unfair, deceptive, and/or fraudulent business practices, and

  its failure to disclose that under normal operating conditions the Polluting BMW Vehicles are not

  “clean” diesels, emit more pollutants than do gasoline-powered vehicles, and emit more

  pollutants than permitted under federal and state laws, owners and/or lessees of the Polluting

  BMW Vehicles have suffered losses in money and/or property. Had Plaintiffs and Class

  members known of the higher emissions at the time they purchased or leased their Polluting

  BMW Vehicles, or had they known of the effects on fuel economy if the emissions were not

  manipulated, they would not have purchased or leased those vehicles, or would have paid

  substantially less for the vehicles than they did, in an amount of at least $1,500 and based on

  analysis of other emissions cases more likely in the range of $5,000 to $20,000 per vehicle. .

  Further, without improvements in fuel economy and emissions over gasoline vehicles, there is no

  reason for a consumer to purchase a diesel car over a gas powered car. Thus, Plaintiffs would not

  have purchased their vehicles if Defendants had told the truth, and are damaged in the amount of

  the full purchase price. In addition, Plaintiffs could not have lawfully purchased these vehicles

  because without the scheme these vehicles could not have been sold. Hence, Plaintiffs’ damage

  is the entire purchase price less some amount for use of the vehicle.




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            269.   Plaintiffs have also been harmed and injured by the fact that they unwittingly

  drove vehicles that were not legally on the road and unwittingly drove vehicles that were

  polluting in volumes and manners a reasonable consumer would not expect. This harm can be

  measured and precisely monetized through conjoint and economic analysis.

  J.        The BMW scheme is just the latest in a worldwide diesel emissions cheating scandal
            that adds plausibility to the allegations here as virtually all diesel manufacturers are
            falsely advertising their vehicles.

            270.   As noted, the world was shocked to learn that Volkswagen had manufactured over

  11 million vehicles that were on the road in violation of European emissions standards, and over

  480,000 vehicles were operating in the United States in violation of EPA and state standards. But

  Volkswagen was not the only manufacturer of vehicles that exceeded emissions standards.

            271.   In the wake of the major scandal involving Volkswagen and Audi diesel vehicles

  evading emissions standards with the help of certain software that manipulates emission controls

  (called “defeat devices”), 42 scientific literature and reports and testing indicate that most of the

  diesel vehicle manufactures of so-called “clean diesel” vehicles emit far more pollution on the

  road than in lab tests. The EPA has widened its probe of auto emissions to include, for example,

  the Mercedes BlueTEC diesels and FCA’s Jeep Cherokees and Dodge Rams. The results of the

  studies enhance the plausibility of the allegations here as it is unlikely only BMW would have

  been capable of emissions technology that did not cheat for the model years at issue.


       42
         EPA’s Sept. 18, 2015 Notice of Violation to Volkswagen Group of America, Inc.,
  available at https://www.epa.gov/sites/production/files/2015-10/documents/vw-nov-caa-09-18-
  15.pdf. As detailed in the Notice of Violation, software in Volkswagen and Audi diesel vehicles
  detects when the vehicle is undergoing official emissions testing and turns full emissions
  controls on only during the test. But otherwise, while the vehicle is running, the emissions
  controls are suppressed. This results in cars that meet emissions standards in the laboratory or at
  the state testing station, but during normal operation they emit NOx at up to 40 times the
  standard allowed under U.S. laws and regulations. Volkswagen has admitted to installing a
  defeat device in its diesel vehicles.



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           272.   In May 2015, a study conducted on behalf of the Dutch Ministry of Infrastructure

  and the Environment found that all sixteen vehicles made by a variety of manufacturers, when

  tested, emitted significantly more NOx on real-world trips while they passed laboratory tests.

  The report concluded that “[i]n most circumstances arising in normal situations on the road, the

  system scarcely succeeded in any effective reduction of NOx emissions.” 43

           273.   The report further remarked: 44

                  It is remarkable that the NOx emission under real-world conditions
                  exceeds the type approval value by [so much]. It demonstrates that
                  the settings of the engine, the EGR and the SCR during a real-
                  world test trip are such that they do not result in low NOx
                  emissions in practice. In other words: In most circumstances
                  arising in normal situations on the road, the systems scarcely
                  succeed in any effective reduction of NOx emissions.

  The lack of any “effective reduction of NOx emissions” is a complete contradiction of BMW’s

  claim that its vehicles are clean.

           274.   Other organizations reached similar conclusions. The Transportation and

  Environment (T&E) organization, a European group aimed at promoting sustainable

  transportation, compiled data from “respected testing authorities around Europe.” T&E stated in

  September 2015 that real-world emissions testing showed drastic differences from laboratory

  tests such that models tested emitted more pollutants on the road than in their laboratory tests.

  “For virtually every new model that comes onto the market the gap between test and real-world

  performance leaps,” the report asserts. 45


     43
        Detailed investigations and real-world emission performance of Euro 6 diesel passenger
  cars, TNO (May 18, 2015), http://publications.tno.nl/publication/34616868/a1Ug1a/TNO-2015-
  R10702.pdf.
     44
          Id. at 6 (emphasis added).
     45
         VW’s cheating is just the tip of the iceberg, Transport & Environment (Sept. 21, 2015),
  http://www.transportenvironment.org/publications/vw%E2%80%99s-cheating-just-tip-iceberg.



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           275.   In a summary report, T&E graphically depicted the widespread failure of most

  manufacturers including BMW: 46




           276.   The T&E report found that the current system for testing vehicles in a laboratory

  produces “meaningless results.” 47

           277.   Emissions Analytics is a U.K. company which says that it was formed to

  “overcome the challenge of finding accurate fuel consumption and emissions figures for road

  vehicles.” With regard to its recent on-road emissions testing, the company explains: 48

     46
       Five facts about diesel the car industry would rather not tell you, Transport &
  Environment (Sept. 2015), http://www.transportenvironment.org/sites/te/files/publications/
  2015_09_Five_facts_about_diesel_FINAL.pdf.
     47
          Id.



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                   [I]n the European market, we have found that real-world emissions
                   of the regulated nitrogen oxides are four times above the official
                   level, determined in the laboratory. Real-world emissions of
                   carbon dioxide are almost one-third above that suggested by
                   official figures. For car buyers, this means that fuel economy on
                   average is one quarter worse than advertised. This matters, even if
                   no illegal activity is found.

            278.   In June 2016, T&E issued a new report identifying the thirty most polluting

  vehicles in Europe, comparing road testing to the Euro 6 Standard (lower than the United States).

  The T&E “Dirty 30” included two BMW models, which exceed the lower than the U.S. Euro 6

  Standard. These BMW models employed a thermal window and hot restart defect devices.

            279.   In September 2017, the International Council on Clean Transportation authored a

  report analyzing the real world versus lab testing emissions of many manufacturers’ vehicles.

  Though better than other manufacturers, the BMW 3 Series was found to emit 3 times the Euro 5

  standard and the BMW X3 was polluting 12 times the Euro 6 standard. 49

                     VI.    TOLLING OF THE STATUTE OF LIMITATIONS

  A.        Discovery rule tolling

            280.   Class members had no way of knowing about BMW’s deception with respect to

  the comparatively and unlawfully high emissions of its BMW clean diesel engine system in the

  Polluting BMW Vehicles. To be sure, BMW continues to market the Polluting BMW Vehicles as

  “clean” diesels that have lower emissions than gasoline vehicles and also continues to claim that

  the Polluting BMW Vehicles comply with EPA emissions standards.

            281.   Within the period of any applicable statutes of limitation, Plaintiffs and members

  of the proposed Classes could not have discovered through the exercise of reasonable diligence

       48
       Emissions Analytics Press Release (Sept. 28, 2015), available at http://www.abvwc.com/
  home/emissions-analytics.
       49
       ICCT 2017 White Paper. Road Tested Comparative Overview of Real-World versus Type
  Approval NOx and CO2 Emissions from Diesel Cars in Europe.



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  that BMW was concealing the conduct complained of herein and misrepresenting the company’s

  true position with respect to the emission qualities of the Polluting BMW Vehicles.

          282.    Plaintiffs and the other Class members did not discover, and did not know of,

  facts that would have caused a reasonable person to suspect that BMW did not report

  information within its knowledge to federal and state authorities, its dealerships, or consumers;

  nor would a reasonable and diligent investigation have disclosed that BMW had concealed

  information about the true emissions of the Polluting BMW Vehicles, which was discovered by

  Plaintiffs only shortly before this action was filed. Nor in any event would such an investigation

  on the part of Plaintiffs and other Class members have disclosed that BMW valued profits over

  truthful marketing and compliance with the law.

          283.    For these reasons, all applicable statutes of limitation have been tolled by

  operation of the discovery rule with respect to claims as to the Polluting BMW Vehicles.

  B.      Fraudulent concealment tolling.

          284.    All applicable statutes of limitation have also been tolled by BMW’s knowing and

  active fraudulent concealment and denial of the facts alleged herein throughout the period

  relevant to this action.

          285.    Instead of disclosing its emissions scheme, or that the quality and quantity of

  emissions from the Polluting BMW Vehicles were far worse than represented, and of its

  disregard of the law, BMW falsely represented that the Polluting BMW Vehicles had emissions

  cleaner than their gasoline-powered counterparts, complied with federal and state emissions

  standards, that the diesel engines were “clean,” and that it was a reputable manufacturer whose

  representations could be trusted. Further, BMW and Bosch have continued to conceal the

  emissions manipulation in the face of questions being raised by authorities on the issue of who

  else besides Volkswagen was cheating.



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  C.      Estoppel.

          286.    BMW was under a continuous duty to disclose to Plaintiffs and the other Class

  members the true character, quality, and nature of emissions from the Polluting BMW Vehicles

  and of those vehicles’ emissions systems.

          287.    BMW knowingly, affirmatively, and actively concealed or recklessly disregarded

  the true nature, quality, and character of the emissions systems, and the emissions, of the

  Polluting BMW Vehicles, and continues to do so. For example, in its 2016 Annual Report,

  BMW acknowledges the Volkswagen emissions scandal but makes no disclosure of the

  emissions irregularities in its Polluting BMW Vehicles.

          288.    Based on the foregoing, BMW and Bosch are estopped from relying on any

  statutes of limitations in defense of this action.

                                   VII.    CLASS ALLEGATIONS

          289.    Plaintiffs bring this action on behalf of themselves and as a class action, pursuant

  to the provisions of Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, on behalf of

  the following class (collectively, the “Class”):

                  All persons who purchased or leased a model year 2009–2013
                  BMW X5 or 2009–2011 BMW 335d vehicles.

          290.    Excluded from the Class are individuals who have personal injury claims

  resulting from the high emissions in the Polluting BMW Vehicles. Also excluded from the Class

  are BMW and its subsidiaries and affiliates; all persons who make a timely election to be

  excluded from the Class; governmental entities; the judge to whom this case is assigned and

  his/her immediate family; and Plaintiffs’ counsel. Plaintiffs reserve the right to revise the Class

  definition based upon information learned through discovery.




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         291.    Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

  Plaintiffs can prove the elements of their claims on a class-wide basis using the same evidence as

  would be used to prove those elements in individual actions alleging the same claim.

         292.    This action has been brought and may be properly maintained on behalf of the

  Class proposed herein under Federal Rule of Civil Procedure 23.

         293.    Numerosity. Federal Rule of Civil Procedure 23(a)(1): The members of the Class

  are so numerous and geographically dispersed that individual joinder of all Class members is

  impracticable. For purposes of this complaint, Plaintiffs allege that there are in excess of an

  estimated 100,000 or more vehicles in the Class. The precise number of Class members is

  unknown to Plaintiffs but may be ascertained from BMW’s books and records. Class members

  may be notified of the pendency of this action by recognized, Court-approved notice

  dissemination methods, which may include U.S. Mail, electronic mail, Internet postings, and/or

  published notice.

         294.    Commonality and Predominance: Federal Rule of Civil Procedure 23(a)(2) and

  23(b)(3): This action involves common questions of law and fact, which predominate over any

  questions affecting individual Class members, including, without limitation:

                 a)      Whether BMW and Bosch engaged in the conduct alleged herein;

                 b)      Whether BMW designed, advertised, marketed, distributed, leased, sold,
                         or otherwise placed Polluting BMW Vehicles into the stream of commerce
                         in the United States;

                 c)      Whether the BMW engine system in the Polluting BMW Vehicles emits
                         pollutants at levels that do not make them “clean” diesels;

                 d)      Whether BMW and Bosch omitted material facts about emissions, fuel
                         economy, and towing capacity;

                 e)      Whether BMW and Bosch knew about the comparatively high emissions
                         and, if so, how long BMW and Bosch have known;




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                 f)      Whether BMW and Bosch designed, manufactured, marketed, and
                         distributed Polluting BMW Vehicles with defective or otherwise
                         inadequate emission controls;

                 g)      Whether BMW and Bosch’s conduct violates RICO and consumer
                         protection statutes, and constitutes breach of contract and fraudulent
                         concealment, as asserted herein;

                 h)      Whether there is an Enterprise;

                 i)      Whether Bosch participated in the Enterprise;

                 j)      Whether BMW omitted and failed to disclose material facts;

                 k)      Whether Plaintiffs and the other Class members overpaid for their vehicles
                         at the point of sale; and

                 l)      Whether Plaintiffs and the other Class members are entitled to damages
                         and other monetary relief and, if so, in what amount.

         295.    Typicality: Federal Rule of Civil Procedure 23(a)(3): Plaintiffs’ claims are typical

  of the other Class members’ claims because, among other things, all Class members were

  comparably injured through BMW’s wrongful conduct as described above.

         296.    Adequacy: Federal Rule of Civil Procedure 23(a)(4): Plaintiffs are adequate Class

  representatives because their interests do not conflict with the interests of the other members of

  the Classes they seek to represent; Plaintiffs have retained counsel competent and experienced in

  complex class action litigation; and Plaintiffs intend to prosecute this action vigorously.

  Plaintiffs’ counsel have been pioneers in uncovering emissions misconduct, including doing so

  in the Mercedes, General Motors, and FCA emissions cases. Plaintiffs’ counsel conducted a

  pioneering investigation in this case spanning over eight months. The Classes’ interests will be

  fairly and adequately protected by Plaintiffs and their counsel.

         297.    Superiority: Federal Rule of Civil Procedure 23(b)(3): A class action is superior

  to any other available means for the fair and efficient adjudication of this controversy, and no




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  unusual difficulties are likely to be encountered in the management of this class action. The

  damages or other financial detriment suffered by Plaintiffs and the other Class members are

  relatively small compared to the burden and expense that would be required to individually

  litigate their claims against BMW, so it would be impracticable for the members of the Classes

  to individually seek redress for BMW’s wrongful conduct. Even if Class members could afford

  individual litigation, the court system could not. Individualized litigation creates a potential for

  inconsistent or contradictory judgments and increases the delay and expense to all parties and the

  court system. By contrast, the class action device presents far fewer management difficulties and

  provides the benefits of single adjudication, economy of scale, and comprehensive supervision

  by a single court.

                                            VIII. CLAIMS

  A.     Claims brought on behalf of the Nationwide RICO Class.

                                               COUNT 1

                       VIOLATIONS OF RACKETEER INFLUENCED AND
                          CORRUPT ORGANIZATIONS ACT (RICO)
                            VIOLATION OF 18 U.S.C. § 1962(C), (D)

         298.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

  though fully set forth herein.

         299.    Plaintiffs bring this Count individually and on behalf of the Nationwide RICO

  Class against Defendants BMW USA and BMW AG, Robert Bosch GmbH, and Robert Bosch

  LLC (collectively, “RICO Defendants”).

         300.    The RICO Defendants are all “persons” under 18 U.S.C. § 1961(3) because they

  are capable of holding, and do hold, “a legal or beneficial interest in property.”

         301.    Section 1962(c) makes it “unlawful for any person employed by or associated

  with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,



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  to conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through

  a pattern of racketeering activity.” Section 1962(d), in turn, makes it unlawful for “any person to

  conspire to violate.”

         302.    For many years now, the RICO Defendants have aggressively sought to increase

  the sales of Polluting BMW Vehicles in an effort to bolster revenue, augment profits, and

  increase BMW’s share of the diesel truck market. Finding it impossible to achieve their goals

  lawfully, however, the RICO Defendants resorted instead to orchestrating a fraudulent scheme

  and conspiracy. In particular, the RICO Defendants, along with other entities and individuals,

  created and/or participated in the affairs of an illegal enterprise (“BMW Diesel Fraud

  Enterprise”) whose direct purpose was to deceive the both regulators and potential consumers

  into believing the Polluting BMW Vehicles were “clean” and “environmentally friendly.” As

  explained in greater detail below, the RICO Defendants’ acts in furtherance of the BMW Diesel

  Fraud Enterprise violate Sections 1962(c) and (d).

        1.      The members of the BMW Diesel Fraud Enterprise

         303.    Upon information and belief, the BMW Diesel Fraud Enterprise consisted of at

  least the following entities and individuals: BMW USA, BMW AG, Robert Bosch GmbH, and

  Robert Bosch LLC.

         304.    Robert Bosch GmbH and Robert Bosch LLC tested, manufactured, and sold the

  electronic control module (ECM) that managed the emission control system used by BMW in the

  Polluting BMW Vehicles. This particular ECM is more formally referred to as the Electronic

  Diesel Control (EDC) Unit 17.

         305.    Defendant Bosch GmbH is a multinational engineering and electronics company

  headquartered in Gerlingen, Germany, which has hundreds of subsidiaries and companies. It

  wholly owns defendant Bosch LLC, a Delaware limited liability company headquartered in



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  Farmington Hills, Michigan. As explained above, Bosch’s sectors and divisions are grouped by

  subject matter, not location. Mobility Solutions (formerly Automotive Technology) is the Bosch

  sector at issue, particularly its Diesel Services division, and it encompasses employees of Bosch

  GmbH and Bosch LLC. These individuals were responsible for the design, manufacture,

  development, customization, and supply of the defeat device to BMW for use in the Polluting

  BMW Vehicles.

          306.   Bosch worked with BMW, Volkswagen, Mercedes, Ford, General Motors, and

  FCA to develop and implement a specific and unique set of software algorithms to

  surreptitiously evade emissions regulations. Bosch customized their EDC Unit 17s for

  installation in the Polluting BMW Vehicles with unique software code to detect when it was

  undergoing emissions testing, as described above, and did so for other vehicles with defeat

  devices in BMW, Volkswagen, Mercedes, FCA, and GM vehicles. 50

          307.   Bosch’s conduct with respect to Volkswagen and the other manufacturers adds

  plausibility to its participation in the enterprise described herein. For example, Bosch was well

  aware that the EDC Unit 17 would be used by automobile manufacturers, including VW and

  BMW, to cheat on emissions testing. Bosch was also critical to the concealment of the defeat

  device in communications with U.S. and state regulators, and went even further to actively lobby

  U.S. and state lawmakers on behalf of diesel manufacturers and to market “clean diesel”

  vehicles. Bosch used the Diesel Technology forum as a means to further falsely promote “clean

  diesel.”




     50
        Michael Taylor, EPA Investigating Bosch over VW Diesel Cheater Software, CAR AND
  DRIVER (Nov. 23, 2015), http://blog.caranddriver.com/epa-investigating-bosch-over-vw-diesel-
  cheater-software/.



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          308.   EDC Unit 17 could not effectively lower NOx emissions to legal levels during

  normal operating conditions. In order to pass the emissions test, then, EDC Unit 17 is equipped

  with a “defeat device,” which is software that allows the vehicle to determine whether it is being

  operated under normal conditions or testing conditions.

          309.   The EDC Unit 17 ECU was manufactured by Bosch GmbH and sold to BMW.

  Bosch built the ECU hardware and developed the software running in the ECU. Bosch developed

  a “function sheet” that documents the functional behavior of a particular release of the ECU

  firmware. All function sheets used in the BMW EDC, on information and belief, bear a “Robert

  Bosch GmbH” copyright.

          310.   As was publicly reported, the Bosch defendants, seeking to conceal their

  involvement in the unlawful Volkswagen Diesels, sent a letter to Volkswagen AG in 2007

  stating that Volkswagen Diesels could not be lawfully operated if the LNT or SCR after-

  treatment system was disabled. 51 The same logic applies to the BMW Polluting BMW

  Vehicles—i.e., they could not be lawfully operated with the defeat device.

          311.   Indeed, notwithstanding their knowledge that the Volkswagen Diesels could not

  be lawfully operated if the emissions system was disabled, the Bosch defendants, driven to

  cement their position as a leading supplier of diesel emissions equipment, went on to sell

  approximately eleven million EDC Unit 17s to Volkswagen over an eight-year period, and sold




     51
       Stef Shrader, Feds Are Now Investigating Volkswagen Supplier Bosch Over Dieselgate,
  JALOPNIK (Nov. 19, 2015), http://jalopnik.com/feds-are-now-investigating-volkswagen-supplier-
  bosch-ov-1743624448.



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  hundreds of thousands of EDC units to BMW for use in Polluting BMW Vehicles, as well as

  hundreds of thousands of units to Mercedes and FCA. 52

          312.   The persons and entities described in the preceding section are members of and

  constitute an “association-in-fact” enterprise.

          313.   At all relevant times, the BMW Diesel Fraud Enterprise: (a) had an existence

  separate and distinct from each Defendant; (b) was separate and distinct from the pattern of

  racketeering in which the RICO Defendants engaged; and (c) was an ongoing organization

  consisting of legal entities, including BMW, the Bosch defendants, and other entities and

  individuals associated for the common purpose of designing, manufacturing, distributing, testing,

  and selling the Polluting BMW Vehicles through fraudulent and/or misleading COCs and EOs,

  false emissions tests, deceptive and misleading marketing and materials, and deriving profits and

  revenues from those activities. Each member of the BMW Diesel Fraud Enterprise shared in the

  bounty generated by the enterprise—i.e., by sharing the benefit derived from increased sales

  revenue generated by the scheme to defraud consumers and franchise dealers alike nationwide.

          314.   The BMW Diesel Fraud Enterprise functioned by selling vehicles and component

  parts to the consuming public. Many of these products are legitimate, including vehicles that do

  not contain defeat devices and software capable of allowing the engine to manipulate the

  software such that the emissions system is turned on or off at certain times. However, the RICO

  Defendants and their co-conspirators, through their illegal Enterprise, engaged in a pattern of

  racketeering activity, which involves a fraudulent scheme to increase revenue for Defendants and




     52
        Michael Taylor, EPA Investigating Bosch over VW Diesel Cheater Software, CAR AND
  DRIVER (Nov. 23, 2015), http://blog.caranddriver.com/epa-investigating-bosch-over-vw-diesel-
  cheater-software/.



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  the other entities and individuals associated in fact with the Enterprise’s activities through the

  illegal scheme to sell the Polluting BMW Vehicles.

         315.    The BMW Diesel Fraud Enterprise engaged in and its activities affected interstate

  and foreign commerce because it involved commercial activities across state boundaries, such as

  the marketing, promotion, advertisement, and sale or lease of the Polluting BMW Vehicles

  throughout the country and the receipt of monies from the sale of the same.

         316.    Within the BMW Diesel Fraud Enterprise, there was a common communication

  network by which co-conspirators shared information on a regular basis. The BMW Diesel Fraud

  Enterprise used this common communication network for the purpose of manufacturing,

  marketing, testing, and selling the Polluting BMW Vehicles to the general public nationwide. As

  part of this communication system, Bosch and BMW employees conferred by wire and mail on

  the key software inputs that controlled the emissions software and on what disclosures would be

  made to CARB and the EPA.

         317.    Each participant in the BMW Diesel Fraud Enterprise had a systematic linkage to

  each of the other participants through corporate ties, contractual relationships, financial ties, and

  continuing coordination of activities. Through the BMW Diesel Fraud Enterprise, the RICO

  Defendants functioned as a continuing unit with the purpose of furthering the illegal scheme and

  their common purposes of increasing their revenues and market share, and minimizing losses.

         318.    The RICO Defendants participated in the operation and management of the BMW

  Diesel Fraud Enterprise by directing its affairs, as described herein. While the RICO Defendants

  participated in, and are members of, the enterprise, they have a separate existence from the

  enterprise, including distinct legal statuses, different offices and roles, bank accounts, officers,

  directors, employees, individual personhood, reporting requirements, and financial statements.




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         319.   BMW USA and BMW AG exerted substantial control and participated in the

  affairs of the BMW Diesel Fraud Enterprise by:

                a.     Designing, in conjunction with Robert Bosch GmbH, the
                       emissions system in the Polluting BMW Vehicles with
                       defeat devices;

                b.     Failing to correct or disable the defeat devices;

                c.     Manufacturing, distributing, and selling the Polluting
                       BMW Vehicles that emitted greater pollution than
                       allowable under the applicable regulations;

                d.     Misrepresenting and omitting (or causing such
                       misrepresentations and omissions to be made) vehicle
                       specifications on COC and EO applications;

                e.     Introducing the Polluting BMW Vehicles into the stream of
                       U.S. commerce without a valid COC and/or EO;

                f.     Concealing the existence of the defeat devices and the
                       unlawfully high emissions from regulators and consumers;

                g.     Misleading government regulators as to the nature of the
                       defeat devices and the defects in the Polluting BMW
                       Vehicles;

                h.     Misleading consumers as to the nature of the defeat devices
                       and the defects in the Polluting BMW Vehicles;

                i.     Designing and distributing marketing materials that
                       misrepresented and concealed the defects and true
                       emissions and fuel economy in the vehicles;

                j.     Otherwise misrepresenting or concealing the defective
                       nature of the Polluting BMW Vehicles from consumers and
                       regulators; and

                k.     Illegally selling and/or distributing the Polluting BMW
                       Vehicles; collecting revenues and profits from the sale of
                       such products; and ensuring that the other RICO
                       Defendants and unnamed co-conspirators complied with
                       the fraudulent scheme.




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         320.    Bosch also participated in, operated, and/or directed the BMW Diesel Fraud

  Enterprise. Bosch participated in the fraudulent scheme by manufacturing, installing, testing,

  modifying, and supplying the EDC Unit 17 which operated as a “defeat device” and/or turned off

  or down emissions controls in the Polluting BMW Vehicles. Bosch exercised tight control over

  the coding and other aspects of the emissions software and closely collaborated with BMW to

  develop, customize, and calibrate the emissions software. Additionally, Bosch continuously

  cooperated with BMW to ensure that the EDC Unit 17 was fully integrated into the Polluting

  BMW Vehicles. Bosch also participated in the affairs of the Enterprise by concealing the true

  operation and effects of the emissions software in documentation and in communications with

  U.S. regulators. Bosch collected tens of millions of dollars in revenues and profits from the

  hidden defeat devices installed in the Polluting BMW Vehicles.

         321.    Without the RICO Defendants’ willing participation, including Bosch’s active

  involvement in developing and supplying the critical defeat devices for the Polluting BMW

  Vehicles, the BMW Diesel Fraud Enterprise’s scheme and common course of conduct would not

  have been successful.

         322.    The RICO Defendants directed and controlled the ongoing organization necessary

  to implement the scheme at meetings and through communications of which Plaintiffs cannot

  fully know at present because such information lies in the Defendants’ and others’ hands.

         323.    The members of the BMW Diesel Fraud Enterprise all served a common purpose;

  namely, to promote the market for diesel vehicles and for BMW diesel vehicles and to increase

  their revenues through the sale of as many Polluting BMW Vehicles (including the emissions

  components made and sold by Bosch) as possible. Each member of the BMW Diesel Fraud

  Enterprise shared the bounty generated by the enterprise—i.e., by sharing the benefit derived




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  from increased sales revenue generated by the scheme to defraud. BMW sold more Polluting

  BMW Vehicles by utilizing an emission control system that was cheaper to install and allowed

  for generous performance and efficiency tuning, all while charging consumers a premium for

  purportedly “clean” and “fuel efficient” Polluting BMW Vehicles. The Bosch defendants, in

  turn, sold more EDC Units because BMW manufactured and sold more Polluting BMW

  Vehicles. The RICO Defendants achieved their common purpose by repeatedly misrepresenting

  and concealing the nature of the Polluting BMW Vehicles and the ability of the emission control

  systems (including the Bosch-supplied parts) to effectively reduce toxic emissions during normal

  operating conditions.

        2.      The predicate acts

         324.    To carry out, or attempt to carry out, the scheme to defraud, the RICO Defendants

  conducted or participated in the conduct of the affairs of the BMW Diesel Fraud Enterprise

  through a pattern of racketeering activity that employed the use of mail and wire facilities, in

  violation of 18 U.S.C. §§ 1341 (mail fraud) and 1343 (wire fraud).

         325.    Specifically, the RICO Defendants participated in the scheme to defraud by using

  mail, telephone, and the Internet to transmit writings travelling in interstate or foreign commerce.

         326.    The RICO Defendants’ use of the mails and wires include but are not limited to

  the transmission, delivery, or shipment of the following by the RICO Defendants or third parties

  that were foreseeably caused to be sent as a result of Defendants’ illegal scheme:

                 a.       Application for certificates submitted to the EPA and
                          CARB;

                 b.       The Polluting BMW Vehicles themselves;

                 c.       Component parts for the defeat devices;

                 d.       Essential hardware for the Polluting BMW Vehicles;




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                 e.     Falsified emission tests;

                 f.     Fraudulently or misleadingly obtained COCs and EOs;

                 g.     Vehicle registrations and plates as a result of the
                        fraudulently-obtained COCs and EOs;

                 h.     Documents and communications that facilitated the
                        falsified emission tests;

                 i.     False or misleading communications intended to lull the
                        public and regulators from discovering the defeat devices
                        and/or other auxiliary devices;

                 j.     Sales and marketing materials, including advertising,
                        websites, product packaging, brochures, and labeling,
                        which misrepresented and concealed the true nature of the
                        Polluting BMW Vehicles;

                 k.     Emails between Bosch and BMW regarding emissions
                        testing and software modification;

                 l.     Documents intended to facilitate the manufacture and sale
                        of the Polluting BMW Vehicles, including bills of lading,
                        invoices, shipping records, reports and correspondence;

                 m.     Documents to process and receive payment for the
                        Polluting BMW Vehicles by unsuspecting franchise
                        dealers, including invoices and receipts;

                 n.     Payments to Bosch;

                 o.     Deposits of proceeds; and

                 p.     Other documents and things, including electronic
                        communications.

         327.    The RICO Defendants, in furtherance of their scheme, used the wires and mails to

  apply for, or submit revisions to, certificates of compliance with the Clean Air Act of 1990. The

  RICO Defendants used the mails on at least the following dates for this purpose on at least

  August 31, 2009, September 25, 2009, March 8, 2011, August 27, 2009, September 11, 2009,

  June 30, 2009, July 3, 2009, June 30, 2009, July 3, 2009, June 30, 2009, July 3, 2009, March 1,

  2011, March 16, 2011, March 28, 2011, September 6, 2011, March 8, 2012, and March 23, 2012.



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         328.    As part of the operation of the Enterprise, BMW received from the EPA through

  the U.S. Mail, Certificates of Conformity with the Clean Air Act of 1990.

         329.    Although many of the documents described in the two paragraphs above were

  sent by BMW, not Bosch, Bosch was aware that such documentation was required for the BMW

  diesels to receive certificates of compliance. On information and belief, Bosch personnel

  obtained copies of many of these documents, including applications for certificates and COCs.

         330.    The RICO Defendants utilized the interstate and international mail and wires for

  the purpose of obtaining money or property by means of the omissions, false pretense, and

  misrepresentations described therein.

         331.    The RICO Defendants also used the Internet and other electronic facilities to carry

  out the scheme and conceal the ongoing fraudulent activities. Specifically, BMW made

  misrepresentations about the Polluting BMW Vehicles on BMW websites, YouTube, and

  through online ads, all of which were intended to mislead regulators and consumers about the

  fuel efficiency, emissions standards, and other performance metrics.

         332.    The scheme had two intended targets, each one was a necessary target.

  Consumers were a primary target and a common objective of the scheme. BMW and Bosch

  understood that consumers had to be convinced that the BMW diesels were “clean.” And

  likewise the regulators had to be convinced the vehicles met emissions standards.

         333.    The RICO Defendants also communicated by U.S. Mail, by interstate facsimile,

  and by interstate electronic mail with various other affiliates, regional offices, divisions,

  dealerships, and other third-party entities in furtherance of the scheme.

         334.    The mail and wire transmissions described herein were made in furtherance of the

  RICO Defendants’ scheme and common course of conduct to deceive regulators and consumers




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  and lure consumers into purchasing the Polluting BMW Vehicles, which the RICO Defendants

  knew or recklessly disregarded as emitting illegal amounts of pollution, despite their advertising

  campaign that the Polluting BMW Vehicles were “clean” diesel vehicles or vehicles with a

  “remarkable reduction in emission.”

         335.    Many of the precise dates of the fraudulent uses of U.S. Mail and interstate wire

  facilities have been deliberately hidden and cannot be alleged without access to the RICO

  Defendants’ books and records. However, Plaintiffs have described the types of, and in some

  instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They include

  thousands of communications to perpetuate and maintain the scheme, including the things and

  documents described in the preceding paragraphs.

         336.    The RICO Defendants have not undertaken the practices described herein in

  isolation, but as part of a common scheme and conspiracy. In violation of 18 U.S.C. § 1962(d),

  the RICO Defendants conspired to violate 18 U.S.C. § 1962(c), as described herein. Various

  other persons, firms, and corporations, including third-party entities and individuals not named

  as defendants in this Complaint, have participated as co-conspirators with the RICO Defendants

  in these offenses and have performed acts in furtherance of the conspiracy to increase or

  maintain revenues, increase market share, and/or minimize losses for the RICO Defendants and

  their unnamed co-conspirators throughout the illegal scheme and common course of conduct.

         337.    The RICO Defendants aided and abetted others in the violations of the above

  laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

  offenses.

         338.    To achieve their common goals, the RICO Defendants hid from the general public

  the unlawfulness and emission dangers of the Polluting BMW Vehicles and obfuscated the true




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  nature of the emissions systems even after regulators raised concerns. The RICO Defendants

  suppressed and/or ignored warnings from third parties, whistleblowers, and governmental

  entities about the discrepancies in emissions testing and the defeat devices present in the

  Polluting BMW Vehicles.

         339.    The RICO Defendants and each member of the conspiracy, with knowledge and

  intent, have agreed to the overall objectives of the conspiracy and participated in the common

  course of conduct to commit acts of fraud and indecency in designing, manufacturing,

  distributing, marketing, testing, and/or selling the Polluting BMW Vehicles (and the defeat

  devices contained therein).

         340.    Indeed, for the conspiracy to succeed, each of the RICO Defendants and their co-

  conspirators had to agree to implement and use the similar devices and fraudulent tactics—

  specifically, complete secrecy about the defeat devices in the Polluting BMW Vehicles.

         341.    The RICO Defendants knew and intended that government regulators, as well as

  Plaintiffs and Class members, would rely on the material misrepresentations and omissions made

  by them about the Polluting BMW Vehicles. The RICO Defendants knew and intended that

  Plaintiffs and the Class would incur costs and damages as a result. As fully alleged herein,

  Plaintiffs and the Class relied upon Defendants’ representations and omissions that were made or

  caused by them. Plaintiffs’ reliance is made obvious by the fact that: (1) they purchased over a

  hundred thousand BMWs that never should have been introduced into the U.S. stream of

  commerce and whose worth is far less than what was paid. In addition, the EPA, CARB, and

  other regulators relied on the misrepresentations and material omissions made or caused to be

  made by the RICO Defendants; otherwise, BMW could not have obtained valid COCs and EOs

  to sell the Polluting BMW Vehicles, at the time they were obtained.




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         342.    The RICO Defendants’ conduct in furtherance of this scheme was intentional.

  Plaintiffs and the Class were harmed as a result of the RICO Defendants’ intentional conduct.

  Plaintiffs, the Class, regulators, and consumers, among others, relied on the RICO Defendants’

  material misrepresentations and omissions.

         342.    As described herein, the RICO Defendants engaged in a pattern of related and

  continuous predicate acts for many years. The predicate acts constituted a variety of unlawful

  activities, each conducted with the common purpose of defrauding Plaintiffs and other Class

  members and obtaining significant monies and revenues from them and through them while

  providing Polluting BMW Vehicles worth significantly less than the invoice price paid. The

  predicate acts also had the same or similar results, participants, victims, and methods of

  commission. The predicate acts were related and not isolated events.

         343.    The predicate acts all had the purpose of generating significant revenue and

  profits for the RICO Defendants at the expense of Plaintiffs, the Class, and consumers. The

  predicate acts were committed or caused to be committed by the RICO Defendants through their

  participation in the BMW Diesel Fraud Enterprise and in furtherance of its fraudulent scheme,

  and were interrelated in that they involved obtaining Plaintiffs’ and Class members’ funds,

  artificially inflating the brand and dealership goodwill values, and avoiding the expenses

  associated with remediating the Polluting BMW Vehicles.

         344.    During the design, manufacture, testing, marketing, and sale of the Polluting

  BMW Vehicles, the RICO Defendants shared technical, marketing, and financial information

  that plainly revealed the emission control systems in the Polluting BMW Vehicles as the

  ineffective, illegal, and fraudulent piece of technology they were and are. Nevertheless, the




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  RICO Defendants shared and disseminated information that deliberately represented Polluting

  BMW Vehicles as “environmentally friendly” and emissions compliant in “all 50 states.”

         345.    By reason of and as a direct and proximate result of the conduct of the RICO

  Defendants, and in particular its pattern of racketeering activity, Plaintiffs and the Class have

  been injured in multiple ways, including but not limited to:

                 a.      Overpayment for Polluting BMW Vehicles, in that Plaintiffs and the Class

                         at the time of purchase overpaid for their vehicles. Plaintiffs would not

                         have purchased their vehicles because they would not have done so if

                         BMW and Bosch truthfully disclosed the vehicles were unlawfully on the

                         road, or contained a software program that turned off or down emissions

                         controls in real driving conditions and delivered fuel performance only as

                         a result of emissions manipulations. Expert disclosures will demonstrate

                         that each Plaintiff overpaid by many thousands of dollars. Alternately,

                         certain Plaintiffs would not have paid a diesel premium of up to $1,500 or

                         more if proper disclosures had been made, and at a proper time,. expert

                         disclosures will demonstrate that each Plaintiff overpaid by many

                         thousands of dollars. Plaintiffs have also been injured because they have

                         been unwittingly driving cars whose emissions systems from the outset are

                         not what a reasonable consumer would expect. This form of injury can be

                         monetized by expert testimony using a conjoint analysis.

                 b.      Plaintiffs have been wrongfully deprived of their property in that the price

                         for their vehicles was artificially inflated by many thousands of dollars by




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                         the deliberate acts of false statements, omissions, and concealment and by

                         the RICO Defendants’ acts of racketeering.

          346.   The RICO Defendants’ violations of 18 U.S.C. § 1962(c) and (d) have directly

  and proximately caused injuries and damages to Plaintiffs and the Class, and Plaintiffs and the

  Class are entitled to bring this action for three times their actual damages, as well as

  injunctive/equitable relief, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c).

  Each of the RICO Defendants knew, understood, and intended for members of the Class to

  purchase the Polluting BMW Vehicles, and knew, understood, and foresaw that revelation of the

  truth would injure members of the Class.

  B.      State law claims.

                                               COUNT 2

          VIOLATION OF THE ALABAMA DECEPTIVE TRADE PRACTICES ACT
                          (ALA. CODE § 8-19-1 ET SEQ.)

          347.   Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          348.   Plaintiffs Joshua Hu and Charles Rogers (“Plaintiffs” for the purposes of this

  section) bring this claim on behalf of Alabama purchasers who are members of the Class.

          349.   The Alabama Deceptive Trade Practices Act (Alabama DTPA) declares several

  specific actions to be unlawful, including: “engaging in any other unconscionable, false,

  misleading, or deceptive act or practice in the conduct of trade or commerce.” ALA. CODE § 8-

  19-5.

          350.   Plaintiffs and Alabama Class members are “consumers” within the meaning of

  ALA. CODE. § 8-19-3(2).




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         351.    Plaintiffs, Alabama Class members, BMW USA, BMW AG, and Bosch are

  “persons” within the meaning of ALA. CODE § 8-19-3(3).

         352.    Defendants were and are engaged in “trade or commerce” within the meaning of

  ALA. CODE § 8-19-3(8). In the course of their business, Defendants concealed and suppressed

  material facts concerning the Polluting BMW Vehicles. Defendants accomplished this by

  installing emission control devices in the Polluting BMW Vehicles that were concealed from

  regulators and consumers alike.

         353.    The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         354.    Pursuant to ALABAMA CODE § 8-19-10, Plaintiffs seek monetary relief against

  Defendants measured as the greater of (a) actual damages in an amount to be determined at trial

  and (b) statutory damages in the amount of $100 for each plaintiff.

         355.    Plaintiffs also seek an order enjoining Defendants’ unfair, unlawful, and/or

  deceptive practices, attorneys’ fees, and any other just and proper relief available under ALA.

  CODE. § 8-19-1 et seq.

         356.    On March 21, 2018, and May 4, 2018, Plaintiffs sent letters complying with ALA.

  CODE § 8-19-10(e) to Defendants.




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                                              COUNT 3

                                FRAUDULENT CONCEALMENT
                                 (BASED ON ALABAMA LAW)

         357.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

         358.    This claim is brought by Plaintiffs on behalf of Alabama purchasers who are

  members of the Class.

         359.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         360.    BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         361.    BMW knew these representations were false when made.

         362.    The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of




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  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         363.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         364.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         365.     The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiffs and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.




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           366.   Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.

           367.   BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           368.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           369.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had




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  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         370.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.




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          371.   BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

          372.   Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

          373.   Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.




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         374.    Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

         375.    Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                              COUNT 4

                 VIOLATION OF THE ARIZONA CONSUMER FRAUD ACT
                         (ARIZ. REV. STAT. § 44-1521 ET SEQ.)

         376.    Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         377.    Plaintiff Rickey Evans (“Plaintiff” for the purposes of this section) brings this

  claim on behalf of Arizona purchasers who are members of the Class.

         378.    The Arizona Consumer Fraud Act (Arizona CFA) provides that “[t]he act, use or

  employment by any person of any deception, deceptive act or practice, fraud . . . ,

  misrepresentation, or concealment, suppression or omission of any material fact with intent that

  others rely upon such concealment, suppression or omission, in connection with the sale . . . of

  any merchandise whether or not any person has in fact been misled, deceived or damaged

  thereby, is declared to be an unlawful practice.” ARIZ. REV. STAT. § 44-1522(A). Defendants

  failed to disclose (1) that the X5 vehicles turn off or down emissions systems during common

  driving decisions, (2) that the emissions systems are configured to turn emissions controls off or

  down in real world driving, conditions, (3) as a result the vehicles pollute far more than

  comparable gas cars, (3) that absent the emissions manipulation these vehicles would not have




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  passed emissions tests, (4) that fuel economy and towing capacity was achieved by turning down

  or off emissions systems; and (5) that emissions and fuel economy were far worse than a

  reasonable consumer would expect given the premium paid for these vehicles over a comparable

  gas powered vehicle.

         379.    BMW USA, BMW AG, Bosch, Plaintiffs, and Class members are “persons”

  within the meaning of the Arizona CFA, ARIZ. REV. STAT. § 44-1521(6). Each Polluting BMW

  Vehicle at issue is “merchandise” within the meaning of ARIZ. REV. STAT. § 44-1521(5).

         380.    Defendants’ conduct, as set forth above, occurred in the conduct of trade or

  commerce. In the course of their business, Defendants concealed and suppressed material facts

  concerning the Polluting BMW Vehicles. Defendants accomplished this by installing emission

  control devices in the Polluting BMW Vehicles that were concealed from regulators and

  consumers alike.

         381.    The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         382.    Pursuant to the Arizona CFA, Plaintiffs seek monetary relief against Defendants

  in an amount to be determined at trial. Plaintiffs also seek punitive damages because Defendants

  engaged in aggravated and outrageous conduct with an evil mind.




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         383.    Plaintiffs also seek an order enjoining Defendants’ unfair, unlawful, and/or

  deceptive practices, attorneys’ fees, and any other just and proper relief available under the

  Arizona CFA.

                                              COUNT 5

                                FRAUDULENT CONCEALMENT
                                 (BASED ON ARIZONA LAW)

         384.    Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

         385.    This claim is brought by Plaintiff on behalf of Arizona purchasers who are

  members of the Class.

         386.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         387.    BMW further affirmatively misrepresented to Plaintiff in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         388.    BMW knew these representations were false when made.




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         389.     The Polluting BMW Vehicles purchased or leased by Plaintiff and the other Class

  members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         390.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         391.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         392.     The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions




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  requirements was known only to Defendants; Plaintiff and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

           393.   Plaintiff and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiff and Class members by concealing

  the true facts about the Polluting BMW Vehicle emissions.

           394.   BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiff and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           395.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiff and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.




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         396.    Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiff or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiff and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiff and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiff and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         397.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean




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  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiff and Class members.

         398.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiff and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         399.    Plaintiff and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiff’s and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiff, or Class members.

         400.    Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiff and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higer than a reasonable consumer would expect. Had Plaintiff and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiff and Class members who purchased or leased new or certified previously




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  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          401.   Accordingly, Defendants are liable to Plaintiff and Class members for damages in

  an amount to be proven at trial.

          402.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiff’s and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                              COUNT 6

                      VIOLATIONS OF THE CALIFORNIA CONSUMER
                               LEGAL REMEDIES ACT
                            (CAL. CIV. CODE § 1750 ET SEQ.)

          403.   Plaintiffs incorporate by reference the allegations contained in the preceding

  paragraphs of this complaint.

          404.   Plaintiffs Brian Beckner, Chad Maccanelli, Ellis Goldfrit, Werner Rogmans, and

  Eric Sanchez (“Plaintiffs” for the purposes of this section) bring this claim on behalf of

  California purchasers who are members of the Class.

          405.   California’s Consumers Legal Remedies Act (“CLRA”), CAL. CIV. CODE § 1750

  et seq., proscribes “unfair methods of competition and unfair or deceptive acts or practices

  undertaken by any person in a transaction intended to result or which results in the sale or lease

  of goods or services to any consumer.”

          406.   The Polluting Vehicles are “goods” as defined in CAL. CIV. CODE § 1761(a).




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         407.   Plaintiffs and the other California Class members are “consumers” as defined in

  CAL. CIV. CODE § 1761(d), and Plaintiffs, the other California Class members, and Defendants

  are “persons” as defined in CAL. CIV. CODE § 1761(c).

         408.   As alleged above, Defendants made representations concerning the benefits,

  efficiency, performance and durability of the Polluting Vehicles that were misleading.

         409.   In purchasing or leasing the Polluting BMW Vehicles, Plaintiffs and the other

  California Class members were deceived by Defendants’ failure to disclose that the NOx

  reduction system in the Polluting BMW Vehicles turns off or is limited during normal driving

  conditions, that these Polluting BMW Vehicles were defective, employed a “Defeat Device,” and

  emitted pollutants at a much higher rate than gasoline powered vehicles, and that the emissions

  far exceeded those expected by a reasonable consumer, were non-EPA-compliant and unreliable.

         410.   Defendants’ conduct, as described hereinabove, was and is in violation of the

  CLRA. Defendants’ conduct violates at least the following enumerated CLRA provisions:


                i.      CAL. CIV. CODE § 1770(a)(2): Misrepresenting the approval or
                        certification of goods.

                ii.     CAL. CIV. CODE § 1770(a)(3): Misrepresenting the certification by

                        another.

                iii.    CAL. CIV. CODE § 1770(a)(5): Representing that goods have sponsorship,

                        approval, characteristics, uses, benefits, or quantities which they do not

                        have.

                iv.     CAL. CIV. CODE § 1770(a)(7): Representing that goods are of a particular

                        standard, quality, or grade, if they are of another;

                v.      CAL. CIV. CODE § 1770(a)(9): Advertising goods with intent not to sell

                        them as advertised; and




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                 vi.     CAL. CIV. CODE § 1770(a)(16): Representing that goods have been

                         supplied in accordance with a previous representation when they have not.


         411.    Plaintiffs and the other California Class members were injured and suffered

  ascertainable loss, injury-in-fact, and/or actual damage as a proximate result of Defendants’

  conduct in that Plaintiffs and the other California Class members overpaid for their Polluting

  BMW Vehicles and did not receive the benefit of their bargain. These injuries are the direct and

  natural consequence of Defendants’ misrepresentations and omissions.

         412.    Defendants knew, should have known, that these Polluting BMW Vehicles were

  defective, employed a “Defeat Device,” and emitted pollutants at a much higher rate than

  gasoline powered vehicles, that the emissions far exceeded those expected by a reasonable

  consumer, were non-EPA-compliant and unreliable, and that the Polluting BMW Vehicles were

  not suitable for their intended use.

         413.    The facts concealed and omitted by Defendants to Plaintiffs and the other

  California Class members are material in that a reasonable consumer would have considered

  them to be important in deciding whether to purchase or lease the Polluting BMW Vehicles or

  pay a lower price. Had Plaintiffs and the other California Class members known about the

  defective nature of the Polluting BMW Vehicles, and their non-compliance with EPA

  requirements, they would not have purchased or leased the Polluting BMW Vehicles or would

  not have paid the prices they paid.

         414.

         415.    Plaintiffs’ and the other California Class members’ injuries were proximately

  caused by Defendants’ unlawful and deceptive business practices.




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         416.    In accordance with CAL. CIV. CODE § 1780(a), Plaintiffs and the California Class

  seek injunctive relief for Defendants’ violations of the CLRA.

         417.    Pursuant to Cal. Civ. Code § 1780(a), Plaintiffs and the California Class seek an

  order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages,

  punitive damages, and any other just and proper relief available under the CLRA. Under Cal Civ.

  Code § 1780(b), Plaintiffs seek an additional award against Defendants of up to $5,000 for each

  California Class member who qualifies as a “senior citizen” or a “disabled person” under the

  CLRA. Defendant knew or should have known that their conduct was directed to one or more

  California Class members who are senior citizens or disabled persons. Defendants’ conduct

  caused one or more of these senior citizens or disabled persons to suffer a substantial loss of

  property set aside for retirement or for personal or family care and maintenance, or assets

  essential to the health or welfare of the senior citizen or disabled person. One or more California

  Class member who are senior citizens or disabled persons are substantially more vulnerable to

  Defendants’ conduct because of age, poor health or infirmity, impaired understanding, restricted

  mobility, or disability, and each of them suffered substantial physical, emotional, or economic

  damage resulting from Defendants’ conduct.

         418.    Plaintiffs have provided Defendants with notice of its violations of the CLRA

  pursuant to Cal. Civ. Code § 1782(a). The notice was transmitted to Defendants on March 21,

  2018, and on May 4, 2018. Because Defendants failed to remedy their unlawful conduct within

  the requisite time period, Plaintiffs seek all damages and relief to which Plaintiffs and the

  California Class are entitled.




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                                               COUNT 7

                             VIOLATIONS OF THE CALIFORNIA
                                UNFAIR COMPETITION LAW
                          (CAL. BUS. & PROF. CODE § 17200 ET SEQ.)

         419.     Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

         420.     This claim is brought by Plaintiffs on behalf of California purchasers who are

  members of the Class.

         421.     California’s Unfair Competition Law (UCL), CAL. BUS. & PROF. CODE § 17200 et

  seq., proscribes acts of unfair competition, including “any unlawful, unfair or fraudulent business

  act or practice and unfair, deceptive, untrue or misleading advertising.”

         422.     Defendants’ conduct, as described herein, was and is in violation of the UCL.

  Defendants’ conduct violates the UCL in at least the following ways:

                  i.      By failing to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions;

                  ii.     By selling and leasing Polluting BMW Vehicles that suffer from a

  defective emission control system and that emit high levels of pollutants under normal driving

  conditions;

                  iv.     By failing to disclose that fuel economy and towing capacity are achieved

  with manipulation of the emissions system;

                  v.      By marketing Polluting BMW Vehicles as reduced emissions vehicles

  possessing functional and defect-free, CARB-compliant diesel engine systems; and

                  vi.     By violating other California laws, including California consumer

  protection laws and California laws governing vehicle emissions and emission testing

  requirements.




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         423.     Defendants intentionally and knowingly misrepresented material facts regarding

  the Polluting BMW Vehicles with an intent to mislead Plaintiffs and the Class.

         424.     In purchasing or leasing the Polluting BMW Vehicles, Plaintiffs and the other

  Class members were deceived by BMW’s failure to disclose that the NOx reduction system in

  the Polluting BMW Vehicles turns off or is limited during normal driving conditions, that the

  emission controls were defective, and that the Polluting BMW Vehicles emitted unlawfully high

  levels of pollutants, including NOx, as described above.

         425.     Plaintiffs were also deceived in that Defendants failed to disclose (1) that the

  BMW diesel vehicles turn off or down emissions systems during common driving conditions

  resulting in massive amounts of NOx as compared to federal and state standards, (2) that the

  emissions systems are configured to turn emissions controls off or down in real world driving,

  conditions, (3) as a result the vehicles pollute far more than comparable gas cars, (3) that absent

  the emissions manipulation these vehicles would not have passed emissions tests, (4) that fuel

  economy and towing capacity was achieved by turning down or off emissions systems; and (5)

  that emissions and fuel economy were far worse than a reasonable consumer would expect given

  the premium paid for these vehicles over a comparable gas powered vehicle.

         426.     Plaintiffs and Class members reasonably relied upon Defendants’ false

  misrepresentations. They had no way of knowing that Defendants’ representations were false and

  gravely misleading. As alleged herein, Defendants engaged in extremely sophisticated methods

  of deception. Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own.

         427.     Defendants knew or should have known their conduct violated the UCL.




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          428.   Defendants owed Plaintiffs and the Class a duty to disclose the truth about its

  emissions systems manipulation because Defendants:

                 a.        Possessed exclusive knowledge that it manipulated the emissions system

  in the Polluting BMW Vehicles to turn off or limit effectiveness in normal driving conditions;

                 b.        Intentionally concealed the foregoing from Plaintiffs and the Class; and/or

                 c.        Made incomplete representations that it manipulated the emissions system

  in the Polluting BMW Vehicles to turn off or limit effectiveness in normal driving conditions,

  while purposefully withholding material facts from Plaintiffs and the Class that contradicted

  these representations.

          429.   Defendants’ conduct proximately caused injuries to Plaintiffs and the other Class

  members.

          430.   Plaintiffs and the other Class members were injured and suffered ascertainable

  loss, injury-in-fact, and/or actual damage as a proximate result of Defendants’ conduct in that

  Plaintiffs and the other Class members overpaid for their Polluting BMW Vehicles. These

  injuries are the direct and natural consequence of Defendants’ misrepresentations and omissions.

          431.   Defendants’ violations present a continuing risk to Plaintiffs as well as to the

  general public. Defendants’ unlawful acts and practices complained of herein affect the public

  interest.

          432.   Defendants’ misrepresentations and omissions alleged herein caused Plaintiffs

  and the other Class members to make their purchases or leases of their Polluting BMW Vehicles,

  and to overpay. Absent those misrepresentations and omissions, Plaintiffs and the other Class

  members would not have purchased or leased these vehicles, would not have purchased or leased

  these Polluting BMW Vehicles at the prices they paid, and/or would have purchased or leased




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  less expensive alternative vehicles that did not contain defective BMW Clean Diesel engine

  systems that failed to comply with EPA and California emissions standards.

          433.    Accordingly, Plaintiffs and the other Class members have suffered injury in fact,

  including lost money or property, as a result of Defendants’ misrepresentations and omissions.

          434.    Plaintiffs request that this Court enter such orders or judgments as may be

  necessary to restore to Plaintiffs and members of the Class any money it acquired by unfair

  competition, including restitution and/or restitutionary disgorgement, as provided in CAL. BUS. &

  PROF. CODE § 17203 and CAL. CIV. CODE § 3345; and for such other relief as may be

  appropriate.

                                                 COUNT 8

             VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW
                     (CAL. BUS. & PROF. CODE § 17500 ET SEQ.)

          435.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

          436.    This claim is brought by Plaintiffs on behalf of California purchasers who are

  members of the Class.

          437.    CAL. BUS. & PROF. CODE § 17500 states: “It is unlawful for any . . . corporation

  . . . with intent directly or indirectly to dispose of real or personal property . . . to induce the

  public to enter into any obligation relating thereto, to make or disseminate or cause to be made or

  disseminated . . . from this state before the public in any state, in any newspaper or other

  publication, or any advertising device, . . . or in any other manner or means whatever, including

  over the Internet, any statement . . . which is untrue or misleading, and which is known, or which

  by the exercise of reasonable care should be known, to be untrue or misleading.” Defendants

  failed to disclose (1) that the X5 vehicles turn off or down emissions systems during common

  driving conditions resulting in massive amounts of NOx as compared to federal and state




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  standards, (2) that absent the emissions manipulation these vehicles would not have passed

  emissions tests, (3) that fuel economy and towing capacity was achieved by turning down or off

  emissions systems; and (4) that emissions and fuel economy were far worse than a reasonable

  consumer would expect given the premium paid for these vehicles over a comparable gas

  powered vehicle.

         438.    Defendants caused to be made or disseminated through California and the United

  States, through advertising, marketing and other publications, statements that were untrue or

  misleading, and which were known, or which by the exercise of reasonable care should have

  been known to Defendants, to be untrue and misleading to consumers, including Plaintiffs and

  the other Class members.

         439.    Defendants have violated § 17500 because the misrepresentations and omissions

  regarding the functionality, reliability, environmental-friendliness, and lawfulness of Polluting

  BMW Vehicles as set forth in this Complaint were material and likely to deceive a reasonable

  consumer.

         440.    Plaintiffs and the other Class members have suffered an injury in fact, including

  the loss of money or property, as a result of Defendants’ unfair, unlawful, and/or deceptive

  practices. In purchasing or leasing their Polluting BMW Vehicles, Plaintiffs and the other Class

  members relied on the misrepresentations and/or omissions of Defendants with respect to the

  functionality, reliability, environmental-friendliness, and lawfulness of the Polluting BMW

  Vehicles. Defendants’ representations turned out not to be true because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions

  and the Polluting BMW Vehicles are distributed with BMW Clean Diesel engine systems that

  include defective emission controls and a “Defeat Device.” Had Plaintiffs and the other Class




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  members known this, they would not have purchased or leased their Polluting BMW Vehicles

  and/or paid as much for them. Accordingly, Plaintiffs and the other Class members overpaid for

  their Polluting BMW Vehicles.

         441.    All of the wrongful conduct alleged herein occurred, and continues to occur, in

  the conduct of Defendants’ business. Defendants’ wrongful conduct is part of a pattern or

  generalized course of conduct that is still perpetuated and repeated, both in the State of

  California and nationwide.

         442.    The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         443.    Plaintiffs’ and the other Class members’ injuries were proximately caused by

  BMW’s fraudulent and deceptive business practices.

         444.    Therefore, Plaintiffs and the other Class members are entitled to equitable and

  monetary relief under the CLRA.

         445.    Plaintiffs have provided BMW with notice of its violations of the CLRA pursuant

  to CAL. CIV. CODE § 1782(a). The notice was transmitted to BMW on March 21, 2018, and on

  May 4, 2018. Because Defendants failed to remedy their unlawful conduct within the requisite

  time period, Plaintiffs and the other Class members seek an order enjoining Defendants’ unfair

  and/or deceptive acts or practices, and seek an order awarding damages, punitive damages, and

  any other just and proper relief available under the CLRA.




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                                              COUNT 9

                                FRAUDULENT CONCEALMENT
                                (BASED ON CALIFORNIA LAW)

         446.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

         447.    This claim is brought by Plaintiffs on behalf of California purchasers who are

  members of the Class.

         448.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with CARB emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         449.    BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         450.    BMW knew these representations were false when made.

         451.    The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of




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  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         452.    Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-CARB-compliant and unreliable, because

  Plaintiffs and the other Class members relied on Defendants’ material representations or

  omissions of fact that the Class Vehicles they were purchasing were reduced emission vehicles,

  efficient, and free from defects.

         453.    As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         454.    The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiffs and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.




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           455.   Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.

           456.   BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           457.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           458.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had




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  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         459.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.




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          460.   BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

          461.   Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

          462.   Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.




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            463.   Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

            464.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                               COUNT 10

                                VIOLATION OF THE COLORADO
                                 CONSUMER PROTECTION ACT
                              (COLO. REV. STAT. § 6-1-101 ET SEQ.)

            465.   Plaintiffs hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.

            466.   Plaintiffs Jeffrey Price and Garner Rickman (for the purposes of this section,

  “Plaintiffs”) bring this action on behalf of themselves and Colorado purchasers who are members

  of the Class.

            467.   The Colorado Consumer Protection Act (Colorado CPA) prohibits deceptive

  practices in the course of a person’s business, including but not limited to “fail[ing] to disclose

  material information concerning goods, services, or property which information was known at

  the time of an advertisement or sale if such failure to disclose such information was intended to

  induce the consumer to enter into a transaction.” COLO. REV. STAT. § 6-1-105.

            468.   BMW USA, BMW AG, and Bosch are “persons” under COLO. REV. STAT. § 6-1-

  102(6).

            469.   Plaintiffs and Colorado Class members are “consumers” for purposes of COL.

  REV. STAT § 6-1-113(1)(a).



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         470.    Defendants’ conduct, as set forth above, occurred in the conduct of trade or

  commerce. In the course of their business, Defendants concealed and suppressed material facts

  concerning the Polluting BMW Vehicles. Defendants accomplished this by installing emission

  control devices in the Polluting BMW Vehicles that were concealed from regulators and

  consumers alike.

         471.    Defendants’ scheme and concealment of the true characteristics of the diesel X5

  and 335d emission control system were material to Plaintiffs and the Colorado Class, as

  Defendants intended. Had they known the truth, Plaintiffs and the Colorado Class would not

  have purchased or leased the Polluting BMW Vehicles, or—if the Polluting BMW Vehicles’ true

  nature had been disclosed and mitigated, and the vehicles rendered legal to sell—would have

  paid significantly less for them.

         472.    Plaintiffs and Colorado Class members had no way of discerning that Defendants’

  representations were false and misleading, or otherwise learning the facts that Defendants had

  concealed or failed to disclose, because Defendants’ emission control software was extremely

  sophisticated technology. Plaintiffs and Colorado Class members did not and could not unravel

  Defendants’ deception on their own.

         473.    Defendants had an ongoing duty to Plaintiffs and the Colorado Class to refrain

  from unfair and deceptive practices under the Colorado CPA in the course of their business.

  Specifically, Defendants owed Plaintiffs and the Colorado Class members a duty to disclose all

  the material facts concerning the diesel X5 and 335d emission control system because they

  possessed exclusive knowledge, they intentionally concealed it from Plaintiffs and the Colorado

  Class, and/or they made misrepresentations that were rendered misleading because they were

  contradicted by withheld facts.




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          474.    Plaintiffs and the Colorado Class suffered ascertainable loss and actual damages

  as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or failure to

  disclose material information.

          475.    Defendants’ violations present a continuing risk to Plaintiffs and the Colorado

  Class, as well as to the general public. Defendants’ unlawful acts and practices complained of

  herein affect the public interest.

          476.    Pursuant to COLO. REV. STAT. § 6-1-113, Plaintiffs and the Colorado Class seek

  monetary relief against Defendants measured as the greater of (a) actual damages in an amount

  to be determined at trial and discretionary trebling of such damages, or (b) statutory damages in

  the amount of $500 for each plaintiff or class member.

          477.    Plaintiffs and the Colorado Class also seek an order enjoining Defendants’ unfair,

  unlawful, or deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper

  remedy under the Colorado CPA.

                                              COUNT 11

                                 FRAUDULENT CONCEALMENT
                                  (BASED ON COLORADO LAW)

          478.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

          479.    This claim is brought by Plaintiffs on behalf of Colorado purchasers who are

  members of the Class.

          480.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants




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  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         481.     BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         482.     BMW knew these representations were false when made.

         483.     The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         484.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.




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         485.    As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         486.    The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiffs and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiff and Class members.

         487.    Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.

         488.    BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious




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  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           489.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           490.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or




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  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         491.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.

         492.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         493.    Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.




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          494.   Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          495.   Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

          496.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                             COUNT 12

            VIOLATION OF THE GEORGIA FAIR BUSINESS PRACTICES ACT
                       (GA. CODE ANN. § 10-1-390 ET SEQ.)

          497.   Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.




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          498.    Plaintiffs Darshan Patel, Charles Campbell, and Dr. Alexander VanDamme

  (“Plaintiffs” for the purposes of this section) brings this claim on behalf of Georgia purchasers

  who are members of the Class.

          499.    The Georgia Fair Business Practices Act (Georgia FBPA) declares “[u]nfair or

  deceptive acts or practices in the conduct of consumer transactions and consumer acts or

  practices in trade or commerce” to be unlawful, GA. CODE ANN. § 101-393(b), including but not

  limited to “representing that goods or services have sponsorship, approval, characteristics,

  ingredients, uses, benefits, or quantities that they do not have”; “[r]epresenting that goods or

  services are of a particular standard, quality, or grade . . . if they are of another”; and

  “[a]dvertising goods or services with intent not to sell them as advertised.” GA. CODE ANN. § 10-

  1-393(b).

          500.    Plaintiffs and Georgia Class members are “consumers” within the meaning of GA.

  CODE ANN. § 10-1-393(b).

          501.    BMW USA, BMW AG, and Bosch engaged in “trade or commerce” within the

  meaning of GA. CODE. ANN. § 10-1-393(b).

          502.    Pursuant to GA. CODE ANN. § 10-1-399, Plaintiffs and the Georgia Class seek an

  order enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding damages,

  treble damages, and any other just and proper relief available under the Georgia FBPA.

          503.    On March 21, 2018, and May 4, 2018, Plaintiffs sent letters complying with GA.

  CODE ANN. § 10-1-399(b) to BMW. Because Defendants failed to remedy their unlawful conduct

  within the requisite time period, Plaintiffs seek all damages and relief to which Plaintiff and the

  Georgia Class are entitled.




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                                               COUNT 13

   VIOLATION OF THE GEORGIA UNIFORM DECEPTIVE TRADE PRACTICES ACT
                     (GA. CODE ANN § 10-1-370 ET SEQ.)

          504.    Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          505.    This claim is brought by Plaintiffs on behalf of Georgia purchasers who are

  members of the Class.

          506.    Georgia’s Uniform Deceptive Trade Practices Act (Georgia UDTPA) prohibits

  “deceptive trade practices,” which include “representing that goods or services have sponsorship,

  approval, characteristics, ingredients, uses, benefits, or quantities that they do not have”;

  “[r]epresenting that goods or services are of a particular standard, quality, or grade . . . if they are

  of another”; and “[a]dvertising goods or services with intent not to sell them as advertised.” GA.

  CODE ANN. § 10-1-393(b).

          507.    BMW USA, BMW AG, Bosch, Plaintiffs, and Georgia Class members are

  “persons” within the meaning of GA. CODE ANN. § 10-1-371(5).

          508.    The Plaintiffs seek an order enjoining Defendants’ unfair, unlawful, and/or

  deceptive practices, attorneys’ fees, and any other just and proper relief available under GA.

  CODE ANN. § 10-1-373.

                                               COUNT 14

                                 FRAUDULENT CONCEALMENT
                                  (BASED ON GEORGIA LAW)

          509.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

          510.    This claim is brought by Plaintiffs on behalf of Georgia purchasers who are

  members of the Class.




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         511.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         512.    BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         513.    BMW knew these representations were false when made.

         514.    The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         515.    Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those




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  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         516.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         517.     The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiffs and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

         518.     Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.

         519.     BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above




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  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           520.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           521.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws




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  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         522.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.

         523.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         524.    Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily




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  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

          525.   Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          526.   Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

          527.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.




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                                             COUNT 15

                   VIOLATION OF THE ILLINOIS CONSUMER FRAUD AND
                          DECEPTIVE BUSINESS PRACTICES ACT
                       (815 ILCS 505/1, ET SEQ. AND 720 ILCS 295/1A)

         528.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

         529.    Plaintiffs Christine Griffith and Gene Quint (“Plaintiffs” for the purposes of this

  section) bring this claim on behalf of Illinois purchasers who are members of the Class.

         530.    BMW USA, BMW AG, and Bosch are “persons” as that term is defined in 815

  ILCS 505/1(c).

         531.    Plaintiffs and the Class members are “consumers” as that term is defined in 815

  ILCS 505/1(e).

         532.    The Illinois Consumer Fraud and Deceptive Business Practices Act (“Illinois

  CFA”) prohibits “unfair or deceptive acts or practices, including but not limited to the use or

  employment of any deception, fraud, false pretense, false promise, misrepresentation or the

  concealment, suppression or omission of any material fact, with intent that others rely upon the

  concealment, suppression or omission of such material fact … in the conduct of trade or

  commerce … whether any person has in fact been misled, deceived or damaged thereby.” 815

  ILCS 505/2.

         533.    In the course of Defendants’ business, Defendants willfully failed to disclose and

  actively concealed that the NOx reduction system in the Polluting BMW Vehicles turns off or is

  limited during normal driving conditions, that the Polluting BMW Vehicles emitted far more

  pollutants than gasoline powered vehicles, that the Polluting BMW Vehicles emit far more

  pollution than a reasonable consumer would expect in light of BMW’s advertising campaign, and

  that the Polluting BMW Vehicles emitted unlawfully high levels of pollutants, including NOx, as

  described above. Accordingly, Defendants engaged in unfair or deceptive acts or practices,



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  including but not limited to the use or employment of any deception, fraud, false pretense, false

  promise, misrepresentation or the concealment, suppression or omission of any material fact,

  with intent that others rely upon the concealment, suppression or omission of such material fact

  in the conduct of trade or commerce as prohibited by the Illinois CFA.

         534.     In purchasing or leasing the Polluting BMW Vehicles, Plaintiffs and the other

  Class members were deceived by Defendants’ failure to disclose that the NOx reduction system

  in the Polluting BMW Vehicles turns off or is limited during normal driving conditions, that the

  emission controls were defective, and that the Polluting BMW Vehicles emitted unlawfully high

  levels of pollutants, including NOx, as described above.

         535.     Plaintiffs and Class members reasonably relied upon Defendants’ false

  misrepresentations. They had no way of knowing that Defendants’ representations were false and

  gravely misleading. As alleged herein, Defendants engaged in extremely sophisticated methods

  of deception. Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own.

         536.     Defendants’ actions as set forth above occurred in the conduct of trade or

  commerce.

         537.     Defendants’ unfair or deceptive acts or practices were likely to and did in fact

  deceive reasonable consumers.

         538.     Defendants intentionally and knowingly misrepresented material facts regarding

  the Polluting BMW Vehicles with an intent to mislead Plaintiffs and the Class.

         539.     Defendants knew or should have known that its conduct violated the Illinois CFA.

         540.     Defendants owed Plaintiffs and the Class a duty to disclose the truth about its

  emissions systems manipulation because Defendants:




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                 a.      Possessed exclusive knowledge that it manipulated the emissions system
                         in the Polluting BMW Vehicles to turn off or limit effectiveness in normal
                         driving conditions;

                 b.      Intentionally concealed the foregoing from Plaintiffs and the Class; and/or

                 c.      Made incomplete representations that it manipulated the emissions system
                         in the Polluting BMW Vehicles to turn off or limit effectiveness in normal
                         driving conditions, while purposefully withholding material facts from
                         Plaintiffs and the Class that contradicted these representations.

          541.   Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” and emitted pollutants at a much

  higher rate than gasoline powered vehicles, and that the emissions far exceeded those expected

  by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs and the

  other Class members relied on BMW’s material representations that the Polluting BMW

  Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

          542.   Defendants’ conduct proximately caused injuries to Plaintiffs and the other Class

  members.

          543.   Plaintiffs and the other Class members were injured and suffered ascertainable

  loss, injury-in-fact, and/or actual damage as a proximate result of Defendants’ conduct in that

  Plaintiffs and the other Class members overpaid for their Polluting BMW Vehicles and did not

  receive the benefit of their bargain. These injuries are the direct and natural consequence of

  Defendants’ misrepresentations and omissions.

          544.   Defendants’ violations present a continuing risk to Plaintiffs as well as to the

  general public. Defendants’ unlawful acts and practices complained of herein affect the public

  interest.




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         545.    Pursuant to 815 ILCS 505/10a(a), Plaintiffs and the Class members seek monetary

  relief against Defendants in the amount of actual damages, as well as punitive damages because

  Defendants acted with fraud and/or malice and/or were grossly negligent.

         546.    Plaintiffs also seek punitive damages, attorneys’ fees, and any other just and

  proper relief available under 815 ILCS § 505/1, et seq. A copy of this Complaint has been mailed

  to the Attorney General of the State of Illinois in accordance with 815 ILCS 505/10a(d).

                                             COUNT 16

                                FRAUDULENT CONCEALMENT
                                  (BASED ON ILLINOIS LAW)

         547.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

         548.    This claim is brought by Plaintiffs on behalf of Illinois purchasers who are

  members of the Class.

         549.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         550.    BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission




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  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         551.     BMW knew these representations were false when made.

         552.     The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         553.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         554.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable




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  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

           555.   The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiffs and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

           556.   Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.

           557.   BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           558.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its




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  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

         559.    Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced




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  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         560.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.

         561.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         562.    Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

         563.    Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels




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  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          564.   Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

          565.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                              COUNT 17

                         VIOLATION OF THE INDIANA DECEPTIVE
                                CONSUMER SALES ACT
                                (IND. CODE § 24-5-0.5-3)

          566.   Plaintiff hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.

          567.   Plaintiff Jacob Biggins (“Plaintiff” for the purposes of this section) brings this

  claim on behalf of Indiana purchasers who are members of the Class.

          568.   Indiana’s Deceptive Consumer Sales Act (Indiana DCSA) prohibits a person from

  engaging in a “deceptive business practice[s]” or acts, including but not limited to “(1) That such

  subject of a consumer transaction has sponsorship, approval, performance, characteristics,

  accessories, uses, or benefits that they do not have, or that a person has a sponsorship, approval,



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  status, affiliation, or connection it does not have; (2) That such subject of a consumer transaction

  is of a particular standard, quality, grade, style or model, if it is not and if the supplier knows or

  should reasonably know that it is not; . . . (7) That the supplier has a sponsorship, approval or

  affiliation in such consumer transaction that the supplier does not have, and which the supplier

  knows or should reasonably know that the supplier does not have; . . . (b) Any representations on

  or within a product or its packaging or in advertising or promotional materials which would

  constitute a deceptive act shall be the deceptive act both of the supplier who places such a

  representation thereon or therein, or who authored such materials, and such suppliers who shall

  state orally or in writing that such representation is true if such other supplier shall know or have

  reason to know that such representation was false.”

          569.    BMW USA, BMW AG, and Bosch are “persons” within the meaning of IND.

  CODE § 25-5-0.5-2(a)(2) and “suppliers” within the meaning of IND. CODE § 24-5-0.5-2(a)(3).

          570.    Plaintiffs’ vehicle purchases are “consumer transactions” within the meaning of

  IND. CODE § 24-5-0.5-2(a)(3).

          571.    Defendants’ conduct, as set forth above, occurred in the conduct of trade or

  commerce. In the course of their business, Defendants concealed and suppressed material facts

  concerning the Polluting BMW Vehicles. Defendants accomplished this by installing emission

  control devices in the Polluting BMW Vehicles that were concealed from regulators and

  consumers alike.

          572.    The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased




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  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         573.    Pursuant to IND. CODE § 24-5-0.5-4, Plaintiffs will monetary relief against

  Defendants measured as the greater of (a) actual damages in an amount to be determined at trial

  and (b) statutory damages in the amount of $500 for each plaintiff, including treble damages up

  to $1,000 for Defendants’ willfully deceptive acts.

         574.    Plaintiffs also seek punitive damages based on the outrageousness and

  recklessness of Defendants’ conduct and an order enjoining Defendants’ unfair, unlawful, and/or

  deceptive practices, attorneys’ fees, and any other just and proper relief available under the

  Indiana DSCA.

         575.    On March 21, 2018, and May 4, 2018, Plaintiffs sent letters complying with IND.

  CODE § 24-5-0.5-5(a) to Defendants. Because Defendants failed to remedy its unlawful conduct

  within the requisite time period, Plaintiffs seek all damages and relief to which Plaintiff and the

  Indiana Class are entitled.

                                              COUNT 18

                                FRAUDULENT CONCEALMENT
                                  (BASED ON INDIANA LAW)

         576.    Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

         577.    This claim is brought by Plaintiff on behalf of Indiana purchasers who are

  members of the Class.

         578.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of




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  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         579.     BMW further affirmatively misrepresented to Plaintiff in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         580.     BMW knew these representations were false when made.

         581.     The Polluting BMW Vehicles purchased or leased by Plaintiff and the other Class

  members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         582.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.




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         583.    As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         584.    The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiff and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

         585.    Plaintiff and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiff and Class members by concealing

  the true facts about the Polluting BMW Vehicle emissions.

         586.    BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiff and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious




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  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           587.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiff and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           588.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiff or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiff and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or




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  leased by Plaintiff and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiff and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         589.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiff and Class members.

         590.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiff and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         591.    Plaintiff and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiff’s and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiff, or Class members.




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          592.   Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiff and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higer than a reasonable consumer would expect. Had Plaintiff and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiff and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          593.   Accordingly, Defendants are liable to Plaintiff and Class members for damages in

  an amount to be proven at trial.

          594.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiff’s and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                             COUNT 19

                              VIOLATIONS OF THE KENTUCKY
                                CONSUMER PROTECTION ACT
                              (KY. REV. STAT. § 367.110 ET SEQ.).

          595.   Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

          596.   Plaintiff Razmir Avic (“Plaintiff” for the purposes of this section) brings this

  Count on behalf of the Kentucky Class members.



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         597.    BMW USA, BMW AG, Bosch, Plaintiff, and the Kentucky Class are “persons”

  within the meaning of the KY. REV. STAT. § 367.110(1).

         598.    Defendants engaged in “trade” or “commerce” within the meaning of KY. REV.

  STAT. § 367.110(2).

         599.    The Kentucky Consumer Protection Act (“Kentucky CPA”) makes unlawful

  “[u]nfair, false, misleading, or deceptive acts or practices in the conduct of any trade or

  commerce ….” KY. REV. STAT. § 367.170(1). In the course of their business, Defendants

  willfully failed to disclose and actively concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles emitted far more pollutants than gasoline powered vehicles, that the Polluting BMW

  Vehicles emit far more pollution than a reasonable consumer would expect in light of BMW’s

  advertising campaign, and that the Polluting BMW Vehicles emitted unlawfully high levels of

  pollutants, including NOx, as described above. Accordingly, Defendants engaged in deceptive

  business practices prohibited by the Kentucky CPA.

         600.    In purchasing or leasing the Polluting BMW Vehicles, Plaintiff and the other

  Class members were deceived by Defendants’ failure to disclose that the NOx reduction system

  in the Polluting BMW Vehicles turns off or is limited during normal driving conditions, that the

  emission controls were defective, and that the Polluting BMW Vehicles emitted unlawfully high

  levels of pollutants, including NOx, as described above.

         601.    Plaintiff and Class members reasonably relied upon Defendants’ false

  misrepresentations. They had no way of knowing that Defendants’ representations were false and

  gravely misleading. As alleged herein, Defendants engaged in extremely sophisticated methods




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  of deception. Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own.

         602.     Defendants’ actions as set forth above occurred in the conduct of trade or

  commerce.

         603.     Defendants’ unfair or deceptive acts or practices were likely to and did in fact

  deceive reasonable consumers.

         604.     Defendants intentionally and knowingly misrepresented material facts regarding

  the Polluting BMW Vehicles with an intent to mislead Plaintiff and the Class.

         605.     Defendants knew or should have known that its conduct violated the Kentucky

  CPA.

         606.     Defendants owed Plaintiff and the Class a duty to disclose the truth about its

  emissions systems manipulation because Defendants:

                  a.     Possessed exclusive knowledge that it manipulated the emissions system
                         in the Polluting BMW Vehicles to turn off or limit effectiveness in normal
                         driving conditions;

                  b.     Intentionally concealed the foregoing from Plaintiff and the Class; and/or

                  c.     Made incomplete representations that it manipulated the emissions system
                         in the Polluting BMW Vehicles to turn off or limit effectiveness in normal
                         driving conditions, while purposefully withholding material facts from
                         Plaintiff and the Class that contradicted these representations.

         607.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” and emitted pollutants at a much

  higher rate than gasoline powered vehicles, and that the emissions far exceeded those expected

  by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff and the




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  other Class members relied on BMW’s material representations that the Polluting BMW

  Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

          608.   Defendants’ conduct proximately caused injuries to Plaintiff and the other Class

  members.

          609.   Plaintiff and the other Class members were injured and suffered ascertainable

  loss, injury-in-fact, and/or actual damage as a proximate result of Defendants’ conduct in that

  Plaintiff and the other Class members overpaid for their Polluting BMW Vehicles and did not

  receive the benefit of their bargain. These injuries are the direct and natural consequence of

  Defendants’ misrepresentations and omissions.

          610.   Defendants’ violations present a continuing risk to Plaintiff as well as to the

  general public. Defendants’ unlawful acts and practices complained of herein affect the public

  interest.

          611.   Pursuant to KY. REV. STAT. ANN. § 367.220, Plaintiff and the Class seek an order

  enjoining Defendants’ unfair and/or deceptive acts or practices; awarding damages; declaratory

  relief; attorneys’ fees; and any other just and proper relief available under KY. REV. STAT. ANN.

  § 367.220.

                                             COUNT 20

                                FRAUDULENT CONCEALMENT
                                 (BASED ON KENTUCKY LAW)

          612.   Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

          613.   This claim is brought by Plaintiff on behalf of Kentucky purchasers who are

  members of the Class.

          614.   Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW




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  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         615.    BMW further affirmatively misrepresented to Plaintiff in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         616.    BMW knew these representations were false when made.

         617.    The Polluting BMW Vehicles purchased or leased by Plaintiff and the other Class

  members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         618.    Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff

  and the other Class members relied on Defendants’ material representations or omissions of fact




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  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         619.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         620.     The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiff and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

         621.     Plaintiff and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiff and Class members by concealing

  the true facts about the Polluting BMW Vehicle emissions.

         622.     BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that




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  Plaintiff and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           623.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiff and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           624.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiff or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiff and Class members, BMW had the duty to




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  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiff and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiff and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         625.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiff and Class members.

         626.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiff and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         627.    Plaintiff and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiff’s and Class members’ actions were justified. Defendants were in




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  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiff, or Class members.

          628.   Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiff and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higer than a reasonable consumer would expect. Had Plaintiff and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiff and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          629.   Accordingly, Defendants are liable to Plaintiff and Class members for damages in

  an amount to be proven at trial.

          630.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiff’s and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.




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                                              COUNT 21

   VIOLATION OF THE LOUISIANA UNFAIR TRADE PRACTICES AND CONSUMER
                            PROTECTION LAW
                     (LA. REV. STAT. § 51:1401 ET SEQ.)

         631.     Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

  forth herein.

         632.     Plaintiff Tarah Pee (“Plaintiff” for the purposes of this section) brings this claim

  on behalf of Louisiana purchasers who are members of the Class.

         633.     BMW USA, BMW AG, Bosch, Plaintiff, and the Louisiana Class members are

  “persons” within the meaning of LA. REV. STAT. § 51:1402(8).

         634.     Plaintiff and Louisiana Class members are “consumers” within the meaning of

  LA. REV. STAT. § 51:1402(1).

         635.     Defendants engaged in “trade” or “commerce” within the meaning of LA. REV.

  STAT. § 51:1402(9).

         636.     The Louisiana Unfair Trade Practices and Consumer Protection Law (“Louisiana

  CPL”) makes unlawful “deceptive acts or practices in the conduct of any trade or commerce.”

  LA. REV. STAT. § 51:1405(A). Defendants participated in misleading, false, or deceptive acts that

  violated the Louisiana CPL.

         637.     Defendants also engaged in unlawful trade practices by employing deception,

  deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or omission of

  any material fact with intent that others rely upon such concealment, suppression or omission, in

  connection with the sale of Polluting BMW Vehicles.

         638.     Defendants’ unfair or deceptive acts or practices were likely to and did in fact

  deceive reasonable consumers.




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         639.    Defendants intentionally and knowingly misrepresented material facts regarding

  the Polluting BMW Vehicles with intent to mislead Plaintiff and the Louisiana Class.

         640.    Defendants knew or should have known that its conduct violated the Louisiana

  CPL.

         641.    Defendants owed Plaintiff a duty to disclose the emissions in the Polluting BMW

  Vehicles, because Defendants:

                  a.      Possessed exclusive knowledge;

                  b.      Intentionally concealed the foregoing from
                          Plaintiffs; and/or

                  c.      Made incomplete representations about the emissions
                          and performance of the Polluting BMW Vehicles, while
                          purposefully withholding material facts from Plaintiffs
                          that contradicted these representations.

         642.    Plaintiff and the Louisiana Class suffered ascertainable loss caused by

  Defendants’ misrepresentations and its concealment of and failure to disclose material

  information.

         643.    As a direct and proximate result of Defendants’ violations of the Louisiana CPL,

  Plaintiff and the Louisiana Class have suffered injury-in-fact and/or actual damage.

         644.    Pursuant to LA. REV. STAT. § 51:1409, Plaintiff and the Louisiana Class seek to

  recover actual damages in an amount to be determined at trial; treble damages for Defendants’

  knowing violations of the Louisiana CPL; an order enjoining Defendants’ unfair, unlawful,

  and/or deceptive practices; declaratory relief; attorneys’ fees; and any other just and proper relief

  available under LA. REV. STAT. § 51:1409.




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                                             COUNT 22

                                FRAUDULENT CONCEALMENT
                                 (BASED ON LOUISIANA LAW)

         645.    Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

         646.    This claim is brought by Plaintiff on behalf of Louisiana purchasers who are

  members of the Class.

         647.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         648.    BMW further affirmatively misrepresented to Plaintiff in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         649.    BMW knew these representations were false when made.

         650.    The Polluting BMW Vehicles purchased or leased by Plaintiff and the other Class

  members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of




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  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         651.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         652.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         653.     The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiff and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.




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           654.   Plaintiff and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiff and Class members by concealing

  the true facts about the Polluting BMW Vehicle emissions.

           655.   BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiff and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           656.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiff and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           657.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had




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  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiff or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiff and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiff and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiff and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         658.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiff and Class members.




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          659.   BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiff and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

          660.   Plaintiff and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiff’s and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiff, or Class members.

          661.   Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiff and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higer than a reasonable consumer would expect. Had Plaintiff and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiff and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.




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         662.    Accordingly, Defendants are liable to Plaintiff and Class members for damages in

  an amount to be proven at trial.

         663.    Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiff’s and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                              COUNT 23

                              VIOLATION OF THE MARYLAND
                               CONSUMER PROTECTION ACT
                        (MD. CODE ANN., COM. LAW § 13-101 ET SEQ.)

         664.    Plaintiff hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.

         665.    Plaintiff Ziwen Li (for purposes of this section, “Plaintiff”) brings this action on

  behalf of himself and Maryland purchasers who are members of the Class.

         666.    The Maryland Consumer Protection Act (Maryland CPA) provides that a person

  may not engage in any unfair or deceptive trade practice in the sale or lease of any consumer

  good, including “failure to state a material fact if the failure deceives or tends to deceive” and

  “[d]eception, fraud, false pretense, false premise, misrepresentation, or knowing concealment,

  suppression, or omission of any material fact with the intent that a consumer rely on the same,”

  MD. CODE ANN., COM. LAW § 13-301, regardless of whether the consumer is actually deceived

  or damaged, MD. CODE ANN., COM. LAW § 13-302.

         667.    BMW USA, BMW AG, Bosch, Plaintiff, and Maryland Class members are

  “persons” within the meaning of MD. CODE ANN., COM. LAW § 13-101(h).




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         668.    The Maryland CPA provides that a person may not engage in any unfair or

  deceptive trade practice in that sale of any consume good. MD. CODE ANN., COM. LAW § 13-303.

         669.    In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         670.    Defendants’ scheme and concealment of the true characteristics of the diesel X5

  and 335d emission control system were material to Plaintiff and the Maryland Class, as

  Defendants intended. Had they known the truth, Plaintiff and the Maryland Class would not have

  purchased or leased the Polluting BMW Vehicles, or—if the Polluting BMW Vehicles’ true

  nature had been disclosed and mitigated, and the vehicles rendered legal to sell—would have

  paid significantly less for them.

         671.    Plaintiff and Maryland Class members had no way of discerning that Defendants’

  representations were false and misleading, or otherwise learning the facts that Defendants had

  concealed or failed to disclose, because Defendants’ emission control software was extremely

  sophisticated technology. Plaintiff and Maryland Class members did not and could not unravel

  Defendants’ deception on their own.

         672.    Defendants had an ongoing duty to Plaintiff and the Maryland Class to refrain

  from unfair and deceptive practices under the Maryland CPA in the course of their business.

  Specifically, Defendants owed Plaintiff and the Maryland Class members a duty to disclose all

  the material facts concerning the diesel X5 and 335d emission control system because they

  possessed exclusive knowledge, they intentionally concealed it from Plaintiff and the Maryland




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  Class, and/or they made misrepresentations that were rendered misleading because they were

  contradicted by withheld facts.

          673.    Plaintiff and the Maryland Class suffered ascertainable loss and actual damages as

  a direct and proximate result of Defendants’ concealment, misrepresentations, and/or failure to

  disclose material information.

          674.    Defendants’ violations present a continuing risk to Plaintiff and the Maryland

  Class, as well as to the general public. Defendants’ unlawful acts and practices complained of

  herein affect the public interest.

          675.    Pursuant to MD. CODE ANN., COM. LAW § 13-408, Plaintiff and the Maryland

  Class seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and

  awarding damages, punitive damages, attorneys’ fees, and any other just and proper relief

  available under the Maryland CPA.

                                              COUNT 24

                                 FRAUDULENT CONCEALMENT
                                  (BASED ON MARYLAND LAW)

          676.    Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

          677.    This claim is brought by Plaintiff on behalf of Maryland purchasers who are

  members of the Class.

          678.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted




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  with reckless disregard for the truth and denied Plaintiff and the other Class members

  information that is highly relevant to their purchasing decision.

         679.     BMW further affirmatively misrepresented to Plaintiff in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         680.     BMW knew these representations were false when made.

         681.     The Polluting BMW Vehicles purchased or leased by Plaintiff and the other Class

  members were, in fact, defective, emitting pollutants at a much higher rate than gasoline

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         682.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         683.     As alleged in this Complaint, at all relevant times, BMW has held out the

  Polluting BMW Vehicles to be reduced emissions, EPA-compliant vehicles. BMW disclosed




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  certain details about the BMW Clean Diesel engine, but nonetheless, BMW intentionally failed

  to disclose the important facts that the NOx reduction system in the Polluting BMW Vehicles

  turns off or is limited during normal driving conditions, and that the Polluting BMW Vehicles

  had defective emission controls, deploy a “Defeat Device,” emitted higher levels of pollutants

  than expected by a reasonable consumer, emitted unlawfully high levels of pollutants, and were

  non-compliant with EPA emissions requirements, making other disclosures about the emission

  system deceptive.

         684.    The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiff and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiff and Class members.

         685.    Plaintiff and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiff and Class members by concealing

  the true facts about the Polluting BMW Vehicle emissions.

         686.    BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiff and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious




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  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           687.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiff and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           688.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiff or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiff and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or




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  leased by Plaintiff and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiff and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         689.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiff and Class members.

         690.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiff and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         691.    Plaintiff and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiff’s and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiff, or Class members.




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          692.   Plaintiff and the other Class members were injured and suffered ascertainable

  loss, injury-in-fact, and/or actual damages as a proximate result of Defendants’ conduct in that

  Plaintiff and the other Class members overpaid for their Polluting BMW Vehicles and did not

  receive the benefit of their bargain. These injuries are the direct and natural consequence of

  Defendants’ misrepresentations and omissions. Had Plaintiffs and the other Class members been

  aware of the true emissions facts with regard to the Polluting BMW Vehicles, and Defendants’

  disregard for the truth and compliance with applicable federal and state law and regulations,

  Plaintiff and the other Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          693.   Defendants’ violations present a continuing risk to Plaintiff as well as to the

  general public. Defendants’ unlawful acts and practices complained of herein affect the public

  interest.

          694.   Accordingly, Defendants are liable to Plaintiff and Class members for damages in

  an amount to be proven at trial.

          695.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiff’s and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.




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                                              COUNT 25

                    VIOLATION OF THE MINNESOTA PREVENTION OF
                               CONSUMER FRAUD ACT
                            (MINN. STAT. § 325F.68 ET SEQ.)

         696.     Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         697.     Plaintiff Irving Cohen (“Plaintiff” for the purposes of this section) brings this

  claim on behalf of Minnesota purchasers who are members of the Class.

         698.     The Minnesota Prevention of Consumer Fraud Act (Minnesota CFA) prohibits

  “[t]he act, use, or employment by any person of any fraud, false pretense, false promise,

  misrepresentation, misleading statement or deceptive practice, with the intent that others rely

  thereon in connection with the sale of any merchandise, whether or not any person has in fact

  been misled, deceived, or damaged thereby.” MINN. STAT. § 325F.69(1).

         699.     Each purchase or lease of a Polluting Vehicle constitutes “merchandise” within

  the meaning of MINN. STAT. § 325F.68(2).

         700.     In purchasing or leasing the Polluting BMW Vehicles, Plaintiff and the other

  Class members were deceived by Defendants’ failure to disclose that the NOx reduction system

  in the Polluting BMW Vehicles turns off or is limited during normal driving conditions, that the

  emission controls were defective, and that the Polluting BMW Vehicles emitted unlawfully high

  levels of pollutants, including NOx, as described above.

         701.     Plaintiff and Class members reasonably relied upon Defendants’ false

  misrepresentations. They had no way of knowing that Defendants’ representations were false and

  gravely misleading. As alleged herein, Defendants engaged in extremely sophisticated methods

  of deception. Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own.



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         702.   Defendants’ actions as set forth above occurred in the conduct of trade or

  commerce.

         703.   Defendants’ unfair or deceptive acts or practices were likely to and did in fact

  deceive reasonable consumers.

         704.   Defendants intentionally and knowingly misrepresented material facts regarding

  the Polluting BMW Vehicles with an intent to mislead Plaintiff and the Class.

         705.   Defendants knew or should have known that its conduct violated the Minnesota

  CFA.

         706.   Defendants owed Plaintiff and the Class a duty to disclose the truth about its

  emissions systems manipulation because Defendants:

                  a.     Possessed exclusive knowledge that it manipulated the emissions
                         system in the Polluting BMW Vehicles to turn off or limit effectiveness
                         in normal driving conditions;

                  b.     Intentionally concealed the foregoing from Plaintiff and the Class;
                         and/or
                  c.     Made incomplete representations that it manipulated the emissions
                         system in the Polluting BMW Vehicles to turn off or limit effectiveness
                         in normal driving conditions, while purposefully withholding material
                         facts from Plaintiff and the Class that contradicted these representations.

         707.   Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” and emitted pollutants at a much

  higher rate than gasoline powered vehicles, and that the emissions far exceeded those expected

  by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff and the

  other Class members relied on BMW’s material representations that the Polluting BMW

  Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.




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            708.   Defendants’ conduct proximately caused injuries to Plaintiff and the other Class

  members.

            709.   Plaintiff and the other Class members were injured and suffered ascertainable

  loss, injury-in-fact, and/or actual damage as a proximate result of Defendants’ conduct in that

  Plaintiff and the other Class members overpaid for their Polluting BMW Vehicles and did not

  receive the benefit of their bargain. These injuries are the direct and natural consequence of

  Defendants’ misrepresentations and omissions.

            710.   Defendants’ violations present a continuing risk to Plaintiff as well as to the

  general public. Defendants’ unlawful acts and practices complained of herein affect the public

  interest.

            711.   Pursuant to MINN. STAT. § 8.31(3a), Plaintiff seek an order enjoining Defendants’

  unfair and/or deceptive acts or practices, awarding damages, attorneys’ fees, and any other just

  and proper relief available under the Minnesota CFA.

            712.   Plaintiff also seek punitive damages under MINN. STAT. § 549.20(1)(a) given the

  clear and convincing evidence that Defendants’ acts show deliberate disregard for the rights of

  others.


                                               COUNT 26

        VIOLATION OF THE MINNESOTA DECEPTIVE TRADE PRACTICES ACT
                       (MINN. STAT. § 325D.43-48 ET SEQ.)

            713.   Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

            714.   The Minnesota Deceptive Trade Practices Act (Minnesota DTPA) prohibits

  deceptive trade practices, which include “[t]he act, use, or employment by any person of any

  fraud, false pretense, false promise, misrepresentation, misleading statement or deceptive



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  practice, with the intent that others rely thereon in connection with the sale of any merchandise,

  whether or not any person has in fact been misled, deceived, or damaged thereby.” MINN.

  STAT.§ 325F.69(1).

            715.   In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

            716.   The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

            717.   Pursuant to MINN. STAT. § 8.31(3a), Plaintiff seeks an order enjoining

  Defendants’ unfair and/or deceptive acts or practices, awarding damages, attorneys’ fees, and any

  other just and proper relief available under the Minnesota CFA.

            718.   Plaintiff also seeks punitive damages under MINN. STAT. § 549.20(1)(a) given the

  clear and convincing evidence that Defendants’ acts show deliberate disregard for the rights of

  others.

                                               COUNT 27

                                  FRAUDULENT CONCEALMENT
                                  (BASED ON MINNESOTA LAW)

            719.   Plaintiff incorporates by reference all paragraphs as though fully set forth herein.




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         720.    This claim is brought by Plaintiff on behalf of Minnesota purchasers who are

  members of the Class.

         721.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         722.    BMW further affirmatively misrepresented to Plaintiff in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         723.    BMW knew these representations were false when made.

         724.    The Polluting BMW Vehicles purchased or leased by Plaintiff and the other Class

  members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         725.    Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting




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  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         726.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         727.     The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiff and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

         728.     Plaintiff and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiff and Class members by concealing

  the true facts about the Polluting BMW Vehicle emissions.




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           729.   BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiff and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           730.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiff and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           731.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiff or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without




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  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiff and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiff and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiff and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         732.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiff and Class members.

         733.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiff and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         734.    Plaintiff and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed




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  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiff’s and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiff, or Class members.

          735.   Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiff and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higer than a reasonable consumer would expect. Had Plaintiff and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiff and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          736.   Accordingly, Defendants are liable to Plaintiff and Class members for damages in

  an amount to be proven at trial.

          737.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiff’s and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct




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  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                             COUNT 28

           VIOLATION OF THE MISSISSIPPI CONSUMER PROTECTION ACT
                      (MISS. CODE ANN. § 75-24-1 ET SEQ.)

         738.    Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         739.    Plaintiff Angela Hughes (“Plaintiff” for the purposes of this section) brings this

  claim on behalf of Mississippi purchasers who are members of the Class.

         740.    The Mississippi Consumer Protection Act (Mississippi CPA) prohibits “unfair or

  deceptive trade practices in or affecting commerce.” MISS. CODE ANN. § 75-24-5(1). Unfair or

  deceptive practices include but are not limited to “(e) Representing that goods or services have

  sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that they do not

  have or that a person has a sponsorship, approval, status, affiliation, or connection that he does

  not have”; “(g) Representing that goods or services are of a particular standard, quality, or grade,

  or that goods are of a particular style or model, if they are of another”; and “(i) Advertising

  goods or services with intent not to sell them as advertised.” MISS. CODE ANN. § 75-24-5(2).

         741.    In purchasing or leasing the Polluting BMW Vehicles, Plaintiff and the other

  Class members were deceived by Defendants’ failure to disclose that the NOx reduction system

  in the Polluting BMW Vehicles turns off or is limited during normal driving conditions, that the

  emission controls were defective, and that the Polluting BMW Vehicles emitted unlawfully high

  levels of pollutants, including NOx, as described above.

         742.    Plaintiff and Class members reasonably relied upon Defendants’ false

  misrepresentations. They had no way of knowing that Defendants’ representations were false and




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  gravely misleading. As alleged herein, Defendants engaged in extremely sophisticated methods

  of deception. Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own.

         743.      Defendants’ actions as set forth above occurred in the conduct of trade or

  commerce.

         744.      Defendants’ unfair or deceptive acts or practices were likely to and did in fact

  deceive reasonable consumers.

         745.      Defendants intentionally and knowingly misrepresented material facts regarding

  the Polluting BMW Vehicles with an intent to mislead Plaintiff and the Class.

         746.      Defendants knew or should have known that its conduct violated the Minnesota

  CFA.

         747.      Defendants owed Plaintiff and the Class a duty to disclose the truth about its

  emissions systems manipulation because Defendants:

              a.      Possessed exclusive knowledge that it manipulated the emissions system in
                      the Polluting BMW Vehicles to turn off or limit effectiveness in normal
                      driving conditions;

              b.      Intentionally concealed the foregoing from Plaintiff and the Class; and/or
              c.      Made incomplete representations that it manipulated the emissions system in
                      the Polluting BMW Vehicles to turn off or limit effectiveness in normal
                      driving conditions, while purposefully withholding material facts from
                      Plaintiff and the Class that contradicted these representations.

         748.      Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” and emitted pollutants at a much

  higher rate than gasoline powered vehicles, and that the emissions far exceeded those expected

  by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff and the




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  other Class members relied on BMW’s material representations that the Polluting BMW

  Vehicles they were purchasing were reduced emission vehicles, efficient, and free from defects.

         749.    Defendants’ conduct proximately caused injuries to Plaintiff and the other Class

  members.

         750.    Plaintiff and the other Class members were injured and suffered ascertainable

  loss, injury-in-fact, and/or actual damage as a proximate result of Defendants’ conduct in that

  Plaintiff and the other Class members overpaid for their Polluting BMW Vehicles and did not

  receive the benefit of their bargain. These injuries are the direct and natural consequence of

  Defendants’ misrepresentations and omissions.

         751.    Plaintiff seeks an order enjoining Defendants’ unfair and/or deceptive acts or

  practices and awarding damages, including restitution, and any other just and proper relief

  available under the Mississippi CPA.

                                             COUNT 29

                                FRAUDULENT CONCEALMENT
                                 (BASED ON MISSISSIPPI LAW)

         752.    Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

         753.    This claim is brought by Plaintiff on behalf of Mississippi purchasers who are

  members of the Class.

         754.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted




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  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         755.     BMW further affirmatively misrepresented to Plaintiff in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         756.     BMW knew these representations were false when made.

         757.     The Polluting BMW Vehicles purchased or leased by Plaintiff and the other Class

  members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         758.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         759.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the




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  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

           760.   The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiff and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

           761.   Plaintiff and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiff and Class members by concealing

  the true facts about the Polluting BMW Vehicle emissions.

           762.   BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiff and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.




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         763.    BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiff and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

         764.    Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiff or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiff and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiff and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells




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  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiff and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         765.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiff and Class members.

         766.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiff and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         767.    Plaintiff and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiff’s and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiff, or Class members.

         768.    Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,




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  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiff and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higer than a reasonable consumer would expect. Had Plaintiff and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiff and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          769.   Accordingly, Defendants are liable to Plaintiff and Class members for damages in

  an amount to be proven at trial.

          770.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiff’s and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                             COUNT 30

   VIOLATION OF THE MONTANA UNFAIR TRADE PRACTICES AND CONSUMER
                       PROTECTION ACT OF 1973
                  (MONT. CODE ANN. § 30-14-101 ET SEQ.)

          771.   Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          772.   Plaintiff Carlos Buendia (“Plaintiff” for the purposes of this section) brings this

  claim on behalf of Montana purchasers who are members of the Class.




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         773.    The Montana Unfair Trade Practices and Consumer Protection Act (Montana

  CPA) makes unlawful any “unfair methods of competition and unfair or deceptive acts or

  practices in the conduct of any trade or commerce.” MONT. CODE ANN. § 30-14-103.

         774.    BMW USA, BMW AG, Bosch, Plaintiff, and Montana Class members are

  “persons” within the meaning of MONT. CODE ANN. § 30-14-102(6).

         775.    Plaintiff and Montana Class members are “consumer[s]” under MONT. CODE ANN.

  § 30-14-102(1).

         776.    The sale or lease of each Polluting Vehicle at issue occurred within “trade and

  commerce” within the meaning of MONT. CODE ANN. § 30-14-102(8), and Defendants

  committed deceptive and unfair acts in the conduct of “trade and commerce” as defined in that

  statutory section.

         777.    In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         778.    The facts concealed and omitted by Defendants from Plaintiff and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiff and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.




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         779.    Because Defendants’ unlawful methods, acts, and practices have caused Plaintiff

  to suffer an ascertainable loss of money and property, Plaintiff seeks from Defendants: the

  greater of actual damages or $500; discretionary treble damages; and reasonable attorneys’ fees.

         780.    Plaintiff additionally seeks an order enjoining Defendants’ unfair, unlawful,

  and/or deceptive practices, and any other relief the Court considers necessary or proper, under

  MONT. CODE ANN. § 30-14-133.

                                             COUNT 31

                                FRAUDULENT CONCEALMENT
                                 (BASED ON MONTANA LAW)

         781.    Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

         782.    This claim is brought by Plaintiff on behalf of Montana purchasers who are

  members of the Class.

         783.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         784.    BMW further affirmatively misrepresented to Plaintiff in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission




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  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         785.     BMW knew these representations were false when made.

         786.     The Polluting BMW Vehicles purchased or leased by Plaintiff and the other Class

  members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         787.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         788.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable




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  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

           789.   The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiff and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

           790.   Plaintiff and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiff and Class members by concealing

  the true facts about the Polluting BMW Vehicle emissions.

           791.   BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiff and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           792.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its




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  customers, including Plaintiff and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

         793.    Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiff or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiff and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiff and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiff and Class members that they were purchasing or leasing reduced




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  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         794.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiff and Class members.

         795.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiff and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         796.    Plaintiff and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiff’s and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiff, or Class members.

         797.    Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiff and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels




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  dramatically higer than a reasonable consumer would expect. Had Plaintiff and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiff and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          798.    Accordingly, Defendants are liable to Plaintiff and Class members for damages in

  an amount to be proven at trial.

          799.    Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiff’s and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                              COUNT 32

                 VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT
                           (N.J. STAT. ANN. § 56:8-1 ET SEQ.)

          800.    Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          801.    Plaintiffs William Berbaum and Charles Chapman (“Plaintiffs” for purposes of

  this section) bring this claim on behalf of New Jersey purchasers who are members of the Class.

          802.    The New Jersey Consumer Fraud Act (New Jersey CFA) makes unlawful “[t]he

  act, use or employment by any person of any unconscionable commercial practice, deception,

  fraud, false pretense, false promise, misrepresentation, or the knowing concealment, suppression

  or omission of any material fact with the intent that others rely upon such concealment,




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  suppression or omission, in connection with the sale or advertisement of any merchandise or real

  estate, or with the subsequent performance of such person as aforesaid, whether or not any

  person has in fact been misled, deceived or damaged thereby.” N.J. STAT. ANN. § 56:8-2.

  Defendants failed to disclose that the Polluting BMW Vehicles (1) turn off or down emissions

  systems during common driving conditions resulting in massive amounts of NOx as compared to

  federal and state standards, (2) that absent the emissions manipulation these vehicles would not

  have passed emissions tests, (3) that fuel economy and towing capacity was achieved by turning

  down or off emissions systems; and (4) that emissions and fuel economy were far worse than a

  reasonable consumer would expect given the premium paid for these vehicles over a comparable

  gas powered vehicle.

         803.    BMW USA, BMW AG, Bosch, Plaintiffs, and New Jersey Class members are

  “persons” within the meaning of N.J. STAT. ANN. § 56:8-1(d).

         804.    Defendants engaged in “sales” of “merchandise” within the meaning of N.J. STAT.

  ANN. § 56:8-1(c), (d).

         805.    In the course of Defendants’ business, Defendants willfully failed to disclose and

  actively concealed that the NOx reduction system in the Polluting BMW Vehicles turns off or is

  limited during normal driving conditions, that the Polluting BMW Vehicles emitted far more

  pollutants than gasoline powered vehicles, that the Polluting BMW Vehicles emit far more

  pollution than a reasonable consumer would expect in light of BMW’s advertising campaign, and

  that the Polluting BMW Vehicles emitted unlawfully high levels of pollutants, including NOx, as

  described above. Accordingly, Defendants engaged in unfair or deceptive acts or practices,

  including but not limited to the use or employment of any deception, fraud, false pretense, false

  promise, misrepresentation or the concealment, suppression or omission of any material fact,




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  with intent that others rely upon the concealment, suppression or omission of such material fact

  in the conduct of trade or commerce as prohibited by the New Jersey CFA.

         806.    In purchasing or leasing the Polluting Vehicles, Plaintiffs and the other Class

  members were deceived by Defendants’ failure to disclose that the NOx reduction system in the

  Polluting BMW Vehicles turns off or is limited during normal driving conditions, that the

  emission controls were defective, and that the Polluting BMW Vehicles emitted unlawfully high

  levels of pollutants, including NOx, as described above.

         807.    Plaintiffs and the other Class members reasonably relied upon Defendants’ false

  misrepresentations. They had no way of knowing that Defendants’ representations were false and

  gravely misleading. As alleged herein, Defendants engaged in extremely sophisticated methods

  of deception. Plaintiffs and the other Class members did not, and could not, unravel Defendants’

  deception on their own.

         808.    Defendants’ actions as set forth above occurred in the conduct of trade or

  commerce.

         809.    Defendants’ unfair or deceptive acts or practices were likely to and did in fact

  deceive reasonable consumers.

         810.    Defendants intentionally and knowingly misrepresented material facts regarding

  the Polluting Vehicles with an intent to mislead Plaintiffs and the Class.

         811.    Defendants knew or should have known that its conduct violated the New Jersey

  CFA.

         812.    Defendants owed Plaintiffs and the Class a duty to disclose the truth about its

  emissions systems manipulation because Defendants:




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                 a.     Possessed exclusive knowledge that it manipulated the emissions system
                        in the Polluting Vehicles to turn off or limit effectiveness in normal
                        driving conditions;

                 b.     Intentionally concealed the foregoing from Plaintiffs and the Class; and/or

                 c.     Made incomplete representations that it manipulated the emissions system
                        in the Polluting Vehicles to turn off or limit effectiveness in normal
                        driving conditions, while purposefully withholding material facts from
                        Plaintiffs and the Class that contradicted these representations.

          813.   Defendants had a duty to disclose that the NOx reduction system in the Polluting

  Vehicles turns off or is limited during normal driving conditions, that these Polluting Vehicles

  were defective, employed a “Defeat Device,” and emitted pollutants at a much higher rate than

  gasoline powered vehicles, and that the emissions far exceeded those expected by a reasonable

  consumer, were non-EPA-compliant and unreliable, because Plaintiffs and the other Class

  members relied on Defendants’ material representations that the Polluting Vehicles they were

  purchasing were reduced emission vehicles, efficient, and free from defects.

          814.   Defendants conduct proximately caused injuries to Plaintiffs and the other Class

  members.

          815.   Plaintiffs and the other Class members were injured and suffered ascertainable

  loss, injury-in-fact, and/or actual damage as a proximate result of Defendants’ conduct in that

  Plaintiffs and the other Class members overpaid for their Polluting Vehicles and did not receive

  the benefit of their bargain. These injuries are the direct and natural consequence of Defendants’

  misrepresentations and omissions.

          816.   Defendants’ violations present a continuing risk to Plaintiffs as well as to the

  general public. Defendants’ unlawful acts and practices complained of herein affect the public

  interest.




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         817.    Plaintiffs are entitled to recover legal and/or equitable relief, including an order

  enjoining Defendants’ unlawful conduct, treble damages, costs, and reasonable attorneys’ fees

  pursuant to N.J. STAT. ANN. § 56:8-19, and any other just and appropriate relief.

                                              COUNT 33

                                FRAUDULENT CONCEALMENT
                                (BASED ON NEW JERSEY LAW)

         818.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

         819.    This claim is brought by Plaintiffs on behalf of New Jersey purchasers who are

  members of the Class.

         820.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         821.    BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         822.    BMW knew these representations were false when made.




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         823.     The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         824.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         825.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         826.     The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions




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  requirements was known only to Defendants; Plaintiffs and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

           827.   Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.

           828.   BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           829.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.




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         830.    Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         831.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean




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  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.

         832.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         833.    Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

         834.    Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously




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  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          835.    Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

          836.    Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                              COUNT 34

                 VIOLATION OF THE NEW YORK GENERAL BUSINESS LAW
                            (N.Y. GEN. BUS. LAW §§ 349–350)

          837.    Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          838.    Plaintiffs Mark Messina and Jesse White (“Plaintiffs” for purposes of this section)

  bring this claim on behalf of New York purchasers who are members of the Class.

          839.    The New York General Business Law (New York GBL) makes unlawful

  “[d]eceptive acts or practices in the conduct of any business, trade or commerce.” N.Y. GEN.

  BUS. LAW § 349.

          840.    Plaintiffs and New York Class members are “persons” within the meaning of

  N.Y. GEN. BUS. LAW § 349(h).

          841.    BMW USA, BMW AG, and Bosch are a “person,” “firm,” “corporation,” or

  “association” within the meaning of N.Y. GEN. BUS. LAW § 349.




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         842.    In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         843.    The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         844.    Defendants’ deceptive acts and practices, which were intended to mislead

  consumers who purchased or leased a Polluting BMW Vehicle, was conduct directed at

  consumers.

         845.    Because Defendants’ willful and knowing conduct caused injury to Plaintiffs,

  Plaintiffs seek recovery of actual damages or $50, whichever is greater; discretionary treble

  damages up to $1,000; punitive damages; reasonable attorneys’ fees and costs; an order

  enjoining Defendants’ deceptive conduct; and any other just and proper relief available under

  N.Y. GEN. BUS. LAW § 349.

                                             COUNT 35

                                FRAUDULENT CONCEALMENT
                                 (BASED ON NEW YORK LAW)

         846.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

         847.    This claim is brought by Plaintiffs on behalf of New York purchasers who are

  members of the Class.




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         848.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         849.    BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         850.    BMW knew these representations were false when made.

         851.    The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         852.    Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those




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  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         853.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         854.     The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiffs and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

         855.     Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.

         856.     BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above




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  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           857.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           858.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws




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  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         859.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.

         860.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         861.    Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily




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  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

          862.   Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          863.   Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

          864.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.




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                                             COUNT 36

    VIOLATION OF THE NORTH CAROLINA UNFAIR AND DECEPTIVE ACTS AND
                              PRACTICES ACT
                      (N.C. GEN. STAT. § 75-1.1 ET SEQ.)

         865.    Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         866.    Plaintiffs Seth Davis and Miguel Fragoso (“Plaintiffs” for purposes of this

  section) bring this claim on behalf of North Carolina purchasers who are members of the Class

         867.    North Carolina’s Unfair and Deceptive Acts and Practices Act (the North

  Carolina Act) broadly prohibits “unfair or deceptive acts or practices in or affecting commerce.”

  N.C. GEN. STAT. § 75-1.1(a).

         868.    BMW USA, BMW AG, and Bosch engaged in “commerce” within the meaning

  of N.C. GEN. STAT. § 75-1.1(b).

         869.    In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         870.    The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.




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         871.    Plaintiffs seek an order for treble their actual damages, an order enjoining

  Defendants’ unlawful acts, costs of Court, attorney’s fees, and any other just and proper relief

  available under the North Carolina Act, N.C. GEN. STAT. § 75-16.

                                             COUNT 37

                                 FRAUDULENT CONCEALMENT
                              (BASED ON NORTH CAROLINA LAW)

         872.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

         873.    This claim is brought by Plaintiffs on behalf of North Carolina purchasers who

  are members of the Class.

         874.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         875.    BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         876.    BMW knew these representations were false when made.




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         877.     The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         878.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         879.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         880.     The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions




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  requirements was known only to Defendants; Plaintiffs and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

           881.   Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.

           882.   BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           883.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.




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         884.    Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         885.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean




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  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.

         886.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         887.    Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

         888.    Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously




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  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          889.   Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

          890.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                              COUNT 38

             VIOLATION OF THE OHIO CONSUMER SALES PRACTICES ACT
                     (OHIO REV. CODE ANN. § 1345.01 ET SEQ.)

          891.   Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          892.   Plaintiffs Tahani Ibrahim and Ion Niculescu (“Plaintiffs” for the purposes of this

  section) bring this claim on behalf of Ohio purchasers who are members of the Class.

          893.   Ohio Consumer Sales Practices Act (Ohio CSPA), OHIO REV. CODE ANN.

  § 1345.02, broadly prohibits unfair or deceptive acts or practices in connection with a consumer

  transaction. Specifically, and without limitation of the broad prohibition, the Act prohibits (1)

  representing that Polluting BMW Vehicles have characteristics, uses, benefits, and qualities

  which they do not have, (2) representing that Polluting BMW Vehicles are of a particular

  standard, quality, and grade when they are not, (3) advertising Polluting BMW Vehicles with the

  intent not to sell them as advertised, and (4) engaging in acts or practices which are otherwise

  unfair, misleading, false, or deceptive to the consumer. OHIO REV. CODE ANN. § 1345.02.




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         894.    The Ohio Attorney General has made available for public inspection prior state

  court decisions which have held that the acts and omissions of Defendants in this Complaint,

  including but not limited to the failure to honor both implied warranties and express warranties,

  the making and distribution of false, deceptive, and/or misleading representations, and the

  concealment and/or non-disclosure of a dangerous defect, constitute deceptive sales practices in

  violation of the OCSPA. These cases include, but are not limited to, the following:


                 a.     Mason v. Mercedes Benz USA, LLC (OPIF #10002382);

                 b.     State ex rel. Betty D. Montgomery v. Volkswagen Motor Co. (OPIF
                        #10002123);

                 c.     State ex rel. Betty D. Montgomery v. Bridgestone/Firestone, Inc. (OPIF
                        #10002025);

                 d.     Bellinger v. Hewlett-Packard Co., No. 20744, 2002 Ohio App. LEXIS
                        1573 (Ohio Ct. App. Apr. 10, 2002) (OPIF #10002077);

                 e.     Borror v. MarineMax of Ohio, No. OT-06-010, 2007 Ohio App. LEXIS
                        525 (Ohio Ct. App. Feb. 9, 2007) (OPIF #10002388);

                 f.     State ex rel. Jim Petro v. Craftmatic Organization, Inc. (OPIF
                        #10002347);

                 g.     Mark J. Craw Volkswagen, et al. v. Joseph Airport Toyota, Inc. (OPIF
                        #10001586);

                 h.     State ex rel. William J. Brown v. Harold Lyons, et al. (OPIF #10000304);

                 i.     Brinkman v. Mazda Motor of America, Inc. (OPIF #10001427);

                 j.     Khouri v. Don Lewis (OPIF #100001995);

                 k.     Mosley v. Performance Mitsubishi aka Automanage (OPIF #10001326);

                 l.     Walls v. Harry Williams dba Butch’s Auto Sales (OPIF #10001524); and

                 m.     Brown v. Spears (OPIF #10000403).

         895.    BMW USA, BMW AG, and Bosch are “suppliers” as that term is defined in OHIO

  REV. CODE ANN. § 1345.01(C).




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         896.    Plaintiffs and the other Ohio Class members are “consumers” as that term is

  defined in OHIO REV. CODE ANN. § 1345.01(D), and their purchase or lease of one or more

  Polluting BMW Vehicles is a “consumer transaction” within the meaning of OHIO REV. CODE

  ANN. § 1345.01(A).

         897.    In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         898.    The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         899.    As a result of the foregoing wrongful conduct, Plaintiffs have been damaged in an

  amount to be proven at trial and seek all just and proper remedies, including but not limited to

  actual and statutory damages, an order enjoining Defendants’ deceptive and unfair conduct,

  treble damages, court costs, and reasonable attorneys’ fees, pursuant to OHIO REV. CODE ANN.

  § 1345.09 et seq.

                                             COUNT 39

                                FRAUDULENT CONCEALMENT
                                   (BASED ON OHIO LAW)

         900.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.




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         901.     This claim is brought by Plaintiffs on behalf of Ohio purchasers who are members

  of the Class.

         902.     Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         903.     BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         904.     BMW knew these representations were false when made.

         905.     The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         906.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting




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  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         907.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         908.     The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiff and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

         909.     Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.




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           910.   BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           911.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           912.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without




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  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         913.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.

         914.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         915.    Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed




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  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

          916.   Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          917.   Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

          918.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct




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  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                        COUNT 40
                          VIOLATION OF THE OREGON UNLAWFUL
                                  TRADE PRACTICES ACT
                             (OR. REV. STAT. § 646.605 ET SEQ.)

         919.    Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         920.    Plaintiff Tom Hoffman (“Plaintiff” for the purposes of this section) brings this

  claim on behalf of Oregon purchasers who are members of the Class.

         921.    The Oregon Unfair Trade Practices Act (Oregon UTPA) prohibits a person from,

  in the course of the person’s business, doing any of the following: representing that goods have

  characteristics uses, benefits, or qualities that they do not have; representing that goods are of a

  particular standard or quality if they are of another; advertising goods or services with intent not

  to provide them as advertised; and engaging in any other unfair or deceptive conduct in trade or

  commerce. OR. REV. STAT. § 646.608(1).

         922.    BMW USA, BMW AG, and Bosch are persons within the meaning of OR. REV.

  STAT. § 646.605(4).

         923.    Each Polluting BMW Vehicle is a “good” obtained primarily for personal family

  or household purposes within the meaning of OR. REV. STAT. § 646.605(6).

         924.    In the course of their business, Defendants failed to disclose that the Polluting

  BMW Vehicles (1) turn off or down emissions systems during common driving conditions

  resulting in massive amounts of NOx as compared to federal and state standards, (2) that absent

  the emissions manipulation these vehicles would not have passed emissions tests, (3) that fuel

  economy and towing capacity was achieved by turning down or off emissions systems; and (4)




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  that emissions and fuel economy were far worse than a reasonable consumer would expect given

  the premium paid for these vehicles over a comparable gas powered vehicle.

         925.    The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         926.    Plaintiffs seek an order enjoining Defendants’ unfair and/or deceptive acts or

  practices, and awarding damages. Plaintiffs are entitled to recover the greater of actual damages

  or $200 pursuant to OR. REV. STAT. § 646.638(1). Plaintiffs are also entitled to punitive damages

  because Defendants engaged in conduct amounting to a particularly aggravated, deliberate

  disregard of the rights of others.

                                             COUNT 41

                                 FRAUDULENT CONCEALMENT
                                   (BASED ON OREGON LAW)

         927.    Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

         928.    This claim is brought by Plaintiff on behalf of Oregon purchasers who are

  members of the Class.

         929.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants




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  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         930.     BMW further affirmatively misrepresented to Plaintiff in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         931.     BMW knew these representations were false when made.

         932.     The Polluting BMW Vehicles purchased or leased by Plaintiff and the other Class

  members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         933.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.




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         934.    As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         935.    The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiff and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

         936.    Plaintiff and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiff and Class members by concealing

  the true facts about the Polluting BMW Vehicle emissions.

         937.    BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiff and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious




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  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           938.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiff and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           939.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiff or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiff and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or




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  leased by Plaintiff and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiff and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         940.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiff and Class members.

         941.    BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiff and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         942.    Plaintiff and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiff’s and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiff, or Class members.




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          943.   Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiff and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higer than a reasonable consumer would expect. Had Plaintiff and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiff and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          944.   Accordingly, Defendants are liable to Plaintiff and Class members for damages in

  an amount to be proven at trial.

          945.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiff’s and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                             COUNT 42

                            VIOLATION OF THE PENNSYLVANIA
                                 UNFAIR TRADE PRACTICES
                            AND CONSUMER PROTECTION LAW
                             (73 PA. CONS. STAT. § 201-1 ET SEQ.)

          946.   Plaintiff hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.




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          947.   Plaintiff Gary Reising (for the purposes of this section, “Plaintiff”) brings this

  action on behalf of himself and Pennsylvania purchasers who are members of the Class.

          948.   The Pennsylvania Unfair Trade Practices Act (Pennsylvania UTPA) prohibits

  unfair or deceptive acts or practices, including representing that goods or services have

  characteristics, benefits or qualities that they do not have; representing that goods or services are

  of a particular standard, quality or grade if they are of another; advertising goods or services with

  intent not to sell them as advertised; and engaging in any other fraudulent or deceptive conduct

  which creates a likelihood of confusion or misunderstanding. 73 PA. CONS. STAT. § 201-2.

          949.   BMW USA, BMW AG, Bosch, Plaintiff, and Pennsylvania Class members are

  “persons” within the meaning of 73 PA. CONS. STAT. § 201-2(2).

          950.   All of the acts complained of herein were perpetrated by BMW USA, BMW AG,

  and Bosch in the course of trade or commerce within the meaning of 73 PA. CONS. STAT. § 201-

  2(3).

          951.   Defendants’ conduct, as set forth above, occurred in the conduct of trade or

  commerce. In the course of their business, Defendants concealed and suppressed material facts

  concerning the Polluting BMW Vehicles. Defendants accomplished this by installing emission

  control devices in the Polluting BMW Vehicles that were concealed from regulators and

  consumers alike.

          952.   Defendants’ scheme and concealment of the true characteristics of the diesel X5

  and 335d emission control system were material to Plaintiff and the Pennsylvania Class, as

  Defendants intended. Had they known the truth, Plaintiff and the Pennsylvania Class would not

  have purchased or leased the Polluting BMW Vehicles, or—if the Polluting BMW Vehicles’ true




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  nature had been disclosed and mitigated, and the vehicles rendered legal to sell—would have

  paid significantly less for them.

          953.    Plaintiff and Pennsylvania Class members had no way of discerning that

  Defendants’ representations were false and misleading, or otherwise learning the facts that

  Defendants had concealed or failed to disclose, because Defendants’ emission control software

  was extremely sophisticated technology. Plaintiff and Pennsylvania Class members did not and

  could not unravel Defendants’ deception on their own.

          954.    Defendants had an ongoing duty to Plaintiff and the Pennsylvania Class to refrain

  from unfair and deceptive practices under the Pennsylvania UTPA CPA in the course of their

  business. Specifically, Defendants owed Plaintiff and the Pennsylvania Class members a duty to

  disclose all the material facts concerning the diesel X5 and 335d emission control system

  because they possessed exclusive knowledge, they intentionally concealed it from Plaintiff and

  the Pennsylvania Class, and/or they made misrepresentations that were rendered misleading

  because they were contradicted by withheld facts.

          955.    Plaintiff and the Pennsylvania Class suffered ascertainable loss and actual

  damages as a direct and proximate result of Defendants’ concealment, misrepresentations, and/or

  failure to disclose material information.

          956.    Defendants’ violations present a continuing risk to Plaintiff and the Pennsylvania

  Class, as well as to the general public. Defendants’ unlawful acts and practices complained of

  herein affect the public interest.

          957.    BMW is liable to Plaintiff for treble their actual damages or $100, whichever is

  greater, and attorneys’ fees and costs. 73 PA. CONS. STAT. § 201-9.2(a). Plaintiff and the

  Pennsylvania Class also seek an order enjoining Defendants’ unfair and/or deceptive acts or




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  practices, and awarding punitive damages given that BMW’s conduct was malicious, wanton,

  willful, oppressive, or exhibited a reckless indifference to the rights of others.

                                               COUNT 43

                                 FRAUDULENT CONCEALMENT
                               (BASED ON PENNSYLVANIA LAW)

         958.    Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

         959.    This claim is brought by Plaintiff on behalf of Pennsylvania purchasers who are

  members of the Class.

         960.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiff and the other Class members

  information that is highly relevant to their purchasing decision.

         961.    BMW further affirmatively misrepresented to Plaintiff in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         962.    BMW knew these representations were false when made.

         963.    The Polluting BMW Vehicles purchased or leased by Plaintiff and the other Class

  members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-




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  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         964.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         965.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         966.     The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiff and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.




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           967.   Plaintiff and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiff and Class members by concealing

  the true facts about the Polluting BMW Vehicle emissions.

           968.   BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiff and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           969.   BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiff and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           970.   Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had




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  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiff or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiff and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiff and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiff and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         971.    BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiff and Class members.




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          972.   BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiff and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

          973.   Plaintiff and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiff’s and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiff, or Class members.

          974.   Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiff and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiff and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiff and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.




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            975.   Accordingly, Defendants are liable to Plaintiff and Class members for damages in

  an amount to be proven at trial.

            976.   Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiff’s and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                               COUNT 44

             VIOLATION OF THE TENNESSEE CONSUMER PROTECTION ACT
                       (TENN. CODE ANN. § 47-18-101 ET SEQ.)

            977.   Plaintiff hereby incorporates by reference the allegations contained in the

  preceding paragraphs of this complaint.

            978.   Plaintiff James Turner (“Plaintiff” for the purposes of this section) brings this

  claim on behalf of Tennessee purchasers who are members of the Class.

            979.   Defendants are “persons” within the meaning of TENN. CODE ANN. § 47-18-

  103(2).

            980.   Defendants’ conduct complained of herein affected “trade,” “commerce” or

  “consumer transactions” within the meaning of TENN. CODE ANN. § 47-18-103(19).

            981.   The Tennessee Consumer Protection Act (“Tennessee CPA”) prohibits “[u]nfair

  or deceptive acts or practices affecting the conduct of any trade or commerce,” including but not

  limited to: “Representing that goods or services have … characteristics, [or] … benefits … that

  they do not have…;” “Representing that goods or services are of a particular standard, quality or

  grade … if they are of another;” “Advertising goods or services with intent not to sell them as

  advertised;” and “Engaging in any other act or practice which is deceptive to the consumer or




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  any other person.” TENN. CODE ANN. § 47-18-104. In the course of Defendants’ business,

  Defendants willfully failed to disclose and actively concealed that the NOx reduction system in

  the Polluting BMW Vehicles turns off or is limited during normal driving conditions, that the

  Polluting BMW Vehicles emitted far more pollutants than gasoline-powered vehicles, that the

  Polluting BMW Vehicles emit far more pollution than a reasonable consumer would expect in

  light of Defendants’ advertising campaign, and that the Polluting BMW Vehicles emitted

  unlawfully high levels of pollutants, including NOx, as described above. Accordingly,

  Defendants violated the Tennessee CPA by engaging in unfair or deceptive acts, including

  representing that the Polluting BMW Vehicles have characteristics or benefits that they did not

  have; representing that the Polluting BMW Vehicles are of a particular standard, quality, or grade

  when they are of another; advertising the Polluting BMW Vehicles with intent not to sell them as

  advertised; and engaging in acts or practices that are deceptive to consumers.

         982.    Defendants intentionally and knowingly misrepresented material facts regarding

  the Polluting BMW Vehicles with intent to mislead Plaintiffs and the other Class members.

         983.    Defendants knew or should have known that their conduct violated the Tennessee

  CPA.

         984.    Defendants owed Plaintiff and the other Class members a duty to disclose the

  truth about its emissions systems manipulation because Defendants:

                 a.     Possessed exclusive knowledge that it manipulated the emissions system

                        in the Polluting BMW Vehicles to turn off or limit effectiveness in

                        normal driving conditions;

                 b.     Intentionally concealed the foregoing from Plaintiffs and the other

                        Class members; and/or




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                 c.      Made incomplete representations that it manipulated the emissions

                         system in the Polluting BMW Vehicles to turn off or limit effectiveness

                         in normal driving conditions, while purposefully withholding material

                         facts from Plaintiff and the other Class members that contradicted these

                         representations.

          985.   Defendant had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that the Polluting

  BMW Vehicles were defective, employed a “Defeat device,” emitted pollutants at a much higher

  rate than gasoline-powered vehicles, had emissions that far exceeded those expected by a

  reasonable consumer, and were non-EPA-compliant and unreliable, because Plaintiff and the

  other Class members relied on Defendants’ material representations that the Polluting BMW

  Vehicles they were purchasing were reduced-emission vehicles, efficient, and free from defects.

          986.   Defendants’ conduct proximately caused injuries to Plaintiffs and the other Class

  members.

          987.   Plaintiff and the other Class members were injured and suffered ascertainable

  loss, injury in fact, and/or actual damage as a proximate result of Defendants’ conduct in that

  Plaintiff and the other Class members overpaid for their Polluting BMW Vehicles and did not

  receive the benefit of their bargain. These injuries are the direct and natural consequence of

  Defendants’ misrepresentations and omissions.

          988.   Defendants’ violations present a continuing risk to Plaintiff as well as to the

  general public. Defendants’ unlawful acts and practices complained of herein affect the public

  interest.




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         989.    Pursuant to TENN. CODE ANN. § 47-18-109(a), Plaintiff and the Tennessee Class

  seek monetary relief against Defendants measured as actual damages in an amount to be

  determined at trial, treble damages as a result of Defendants’ willful or knowing violations, and

  any other just and proper relief available under the Tennessee CPA.


                                             COUNT 45

                                FRAUDULENT CONCEALMENT
                                 (BASED ON TENNESSEE LAW)

         990.    Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

         991.    This claim is brought by Plaintiff on behalf of Tennessee purchasers who are

  members of the Class.

         992.    Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         993.    BMW further affirmatively misrepresented to Plaintiff in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         994.    BMW knew these representations were false when made.



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         995.     The Polluting BMW Vehicles purchased or leased by Plaintiff and the other Class

  members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         996.     Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiff

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         997.     As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         998.     The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions




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  requirements was known only to Defendants; Plaintiff and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

           999.   Plaintiff and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiff and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiff and Class members by concealing

  the true facts about the Polluting BMW Vehicle emissions.

           1000. BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiff and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           1001. BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiff and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.




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         1002. Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiff or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiff and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiff and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiff and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         1003. BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean




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  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiff and Class members.

         1004. BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiff and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         1005. Plaintiff and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiff’s and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiff, or Class members.

         1006. Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiff and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higer than a reasonable consumer would expect. Had Plaintiff and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiff and Class members who purchased or leased new or certified previously




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  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          1007. Accordingly, Defendants are liable to Plaintiff and Class members for damages in

  an amount to be proven at trial.

          1008. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiff’s and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                               COUNT 46

   VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES AND CONSUMER
                             PROTECTION ACT
                   (TEX. BUS. & COM. CODE § 17.4 ET SEQ.)

          1009. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          1010. Plaintiffs Salomon Campos, Brian Hembling, Lukas Wildner, and Dean Werner

  (“Plaintiffs” for the purposes of this section) bring this claim on behalf of Texas purchasers who

  are members of the Class.

          1011. Plaintiffs and the Texas Class members are individuals with assets of less than

  $25 million (or are controlled by corporations or entities with less than $25 million in assets). See

  TEX. BUS. & COM. CODE § 17.41.

          1012. The Texas Deceptive Trade Practices-Consumer Protection Act (“Texas DTPA”)

  provides a private right of action to a consumer where the consumer suffers economic damage as

  the result of either (i) the use of false, misleading, or deceptive act or practice specifically

  enumerated in TEX. BUS. & COM. CODE § 17.46(b); or (ii) “an unconscionable action or course of



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  action by any person.” TEX. BUS. & COM. CODE § 17.50(a)(2) & (3). The Texas DTPA declares

  several specific actions to be unlawful, including: “(5) Representing that goods or services have

  sponsorship, approval, characteristics, ingredients, uses, benefits, or qualities that they do not

  have”; “(7) Representing that goods or services are of a particular standard, quality, or grade, or

  that goods are of a particular style or model, if they are of another”; and “(9) advertising goods

  or services with intent not to sell them as advertised.” An “unconscionable action or course of

  action” means “an act or practice which, to a consumer’s detriment, takes advantage of the lack

  of knowledge, ability, experience, or capacity of the consumer to a grossly unfair degree.” TEX.

  BUS. & COM. CODE § 17.45(5). As detailed herein, Defendants have engaged in an

  unconscionable action or course of action and thereby caused economic damages to the Texas

  Class.

           1013. In the course of business, Defendants willfully failed to disclose and actively

  concealed the conduct discussed herein and otherwise engaged in activities with a tendency or

  capacity to deceive. Defendants also engaged in unlawful trade practices by employing

  deception, deceptive acts or practices, fraud, misrepresentations, or concealment, suppression, or

  omission of any material fact with intent that others rely upon such concealment, suppression, or

  omission, in connection with the sale of Polluting BMW Vehicles.

           1014. Defendants’ unfair or deceptive acts or practices were likely to and did in fact

  deceive reasonable consumers, including Plaintiffs and the other Texas Class members, about the

  true performance of the Polluting BMW Vehicles, the devaluing of the environmental impacts of

  its vehicles at BMW, and the true value of the Polluting BMW Vehicles.

           1015. Defendants intentionally and knowingly misrepresented material facts regarding

  the Polluting BMW Vehicles with intent to mislead Plaintiffs and the Texas Class.




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          1016. Defendants knew or should have known that their conduct violated the Texas

  DTPA.

          1017. Defendants owed Plaintiffs and Texas Class members a duty to disclose the true

  environmental impact, performance, fuel mileage, and reliability of the Polluting BMW

  Vehicles, because Defendants:

                 a.      Possessed exclusive knowledge that they were selling
                         and distributing Polluting BMW Vehicles throughout the
                         United States that did not perform as advertised;

                 b.      Intentionally concealed the foregoing from Plaintiffs
                         and the Texas Class; and/or

                 c.      Made incomplete representations about the environmental
                         friendliness, fuel mileage, towing capacity, and
                         performance of the Polluting BMW Vehicles while
                         purposefully withholding material facts from Plaintiffs
                         and the Texas Class that contradicted these
                         representations.

          1018. Defendants’ omissions and/or misrepresentations about the emissions treatment

  system of the Polluting BMW Vehicles were material to Plaintiffs and the Texas Class.

          1019. Plaintiffs and the Texas Class suffered ascertainable loss caused by Defendants’

  misrepresentations and their concealment of and failure to disclose material information. Class

  members who purchased the Polluting BMW Vehicles either would have paid less for their

  vehicles or would not have purchased or leased them at all but for Defendants’ violations of the

  Texas DTPA.

          1020. Defendants had an ongoing duty to all BMW customers to refrain from unfair and

  deceptive practices under the Texas DTPA.

          1021. Defendants’ violations present a continuing risk to Plaintiffs as well as to the

  general public. Defendants’ unlawful acts and practices complained of herein affect the public

  interest.



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         1022. As a direct and proximate result of Defendants’ violations of the Texas DTPA,

  Plaintiffs and the Texas Class have suffered injury-in-fact and/or actual damage.

         1023. Plaintiffs seek monetary relief against BMW measured as actual damages in an

  amount to be determined at trial, treble damages for BMW’s knowing violations of the Texas

  DTPA, and any other just and proper relief available under the Texas DTPA.

         1024. On March 21, 2018, and May 4, 2018, Plaintiffs sent letters complying with TEX.

  BUS. & COM. CODE ANN. § 17.505 to Defendants. Because Defendants failed to remedy their

  unlawful conduct within the requisite time period, Plaintiffs seek all damages and relief to ehich

  Plaintiffs and the Texas Class are entitled.

                                                 COUNT 47

                                 FRAUDULENT CONCEALMENT
                                   (BASED ON TEXAS LAW)

         1025. Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

         1026. This claim is brought by Plaintiffs on behalf of Texas purchasers who are

  members of the Class.

         1027. Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-complant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.




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         1028. BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         1029. BMW knew these representations were false when made.

         1030. The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         1031. Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         1032. As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during




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  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

           1033. The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiffs and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

           1034. Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.

           1035. BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           1036. BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable




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  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

         1037. Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.




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  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         1038. BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.

         1039. BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         1040. Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

         1041. Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage




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  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          1042. Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

          1043. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                             COUNT 48

             VIOLATION OF THE VIRGINIA CONSUMER PROTECTION ACT
                        (VA. CODE ANN. § 59.1-196 ET SEQ.)

          1044. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          1045. This claim is brought by Plaintiff Alfredo Arias (“Plaintiff” for the purposes of

  this section) on behalf of Virginia purchasers who are members of the Class.

          1046. The Virginia Consumer Protection Act (Virginia CPA) lists prohibited

  “practices,” which include “[u]sing any other deception, fraud, false pretense, false promise, or

  misrepresentation in connection with a consumer transaction.” VA. CODE ANN. § 59.1-200.




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         1047. BMW USA, BMW AG, and Bosch are “suppliers” under VA. CODE ANN. § 59.1-

  198.

         1048. Each sale and lease of a Polluting Vehicle was a “consumer transaction” within

  the meaning of VA. CODE ANN. § 59.1-198.

         1049. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1050. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1051. Pursuant to VA. CODE ANN. § 59.1-204, Plaintiffs seek monetary relief against

  Defendants measured as the greater of (a) actual damages in an amount to be determined at trial

  and (b) statutory damages in the amount of $500 for each Plaintiff. Because Defendants’ conduct

  was committed willfully and knowingly, Plaintiffs are entitled to recover, for each plaintiff, the

  greater of (a) three times actual damages or (b) $1,000.

         1052. Plaintiffs also seek an order enjoining Defendants’ unfair and/or deceptive acts or

  practices, punitive damages, and attorneys’ fees, and any other just and proper relief available

  under VA. CODE ANN. § 59.1-204 et seq.




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                                             COUNT 49

                                FRAUDULENT CONCEALMENT
                                 (BASED ON VIRGINIA LAW)

         1053. Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

         1054. This claim is brought by Plaintiffs on behalf of Virginia purchasers who are

  members of the Class.

         1055. Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         1056. BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         1057. BMW knew these representations were false when made.

         1058. The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of




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  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         1059. Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         1060. As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         1061. The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiffs and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.




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           1062. Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.

           1063. BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           1064. BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           1065. Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had




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  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         1066. BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.




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          1067. BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

          1068. Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

          1069. Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.




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         1070. Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

         1071. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                             COUNT 50

          VIOLATION OF THE WASHINGTON CONSUMER PROTECTION ACT
                   (WASH. REV. CODE ANN. § 19.86.010 ET SEQ.)

         1072. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1073. This claim is brought by Plaintiffs Kyle Kern and John Saviano (“Plaintiffs” for

  the purposes of this section) on behalf of Washington purchasers who are members of the Class.

         1074. The Washington Consumer Protection Act (Washington CPA) broadly prohibits

  “[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct of any

  trade or commerce.” WASH. REV. CODE. ANN. § 19.96.010.

         1075. Defendants committed the acts complained of herein in the course of “trade” or

  “commerce” within the meaning of WASH. REV. CODE. ANN. § 19.96.010.

         1076. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.




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         1077. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1078. Defendants are liable to Plaintiffs for damages in amounts to be proven at trial,

  including attorneys’ fees, costs, and treble damages, as well as any other remedies the Court may

  deem appropriate under WASH. REV. CODE. ANN. § 19.86.090.

                                             COUNT 51

                                FRAUDULENT CONCEALMENT
                               (BASED ON WASHINGTON LAW)

         1079. Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

         1080. This claim is brought by Plaintiffs on behalf of Washington purchasers who are

  members of the Class.

         1081. Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.




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         1082. BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         1083. BMW knew these representations were false when made.

         1084. The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         1085. Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting

  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         1086. As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during




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  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

           1087. The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiffs and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

           1088. Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.

           1089. BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           1090. BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable




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  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

         1091. Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without

  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.




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  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         1092. BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.

         1093. BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         1094. Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed

  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

         1095. Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage




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  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          1096. Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

          1097. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct

  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

                                             COUNT 52

        VIOLATION OF THE WISCONSIN DECEPTIVE TRADE PRACTICES ACT
                            (WIS. STAT. § 110.18)

          1098. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          1099. This claim is brought by Plaintiffs Erica Olson and Eric Stenglein (“Plaintiffs” for

  the purposes of this section) on behalf of Wisconsin purchasers who are members of the Class.

          1100. The Wisconsin Deceptive Trade Practices Act (Wisconsin DTPA) prohibits a

  “representation or statement of fact which is untrue, deceptive or misleading.” WIS. STAT.

  § 100.18(1).




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         1101. BMW USA, BMW AG, and Bosch are each a “person, firm, corporation or

  association” within the meaning of WIS. STAT. § 100.18(1).

         1102. Plaintiffs and Wisconsin Class members are members of “the public” within the

  meaning of WIS. STAT. § 100.18(1). Plaintiffs purchased or leased one or more Polluting BMW

  Vehicles.

         1103. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1104. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1105. Plaintiffs are entitled to damages and other relief provided for under WIS. STAT.

  § 100.18(11)(b)(2). Because Defendants’ conduct was committed knowingly and/or

  intentionally, Plaintiffs are entitled to treble damages.

         1106. Plaintiffs also seek court costs and attorneys’ fees under WIS. STAT.

  § 110.18(11)(b)(2).

                                               COUNT 53

                                 FRAUDULENT CONCEALMENT
                                  (BASED ON WISCONSIN LAW)

         1107. Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.




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         1108. This claim is brought by Plaintiffs on behalf of Wisconsin purchasers who are

  members of the Class.

         1109. Defendants intentionally concealed that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions, that the Polluting BMW

  Vehicles had defective emission controls, emitted pollutants at a higher level than gasoline-

  powered vehicles, emitted pollutants higher than a reasonable consumer would expect in light of

  BMW’s advertising campaign and the premium paid for the car, emitted high levels of pollutants

  such as NOx, and were non-compliant with EPA emission requirements, or Defendants acted

  with reckless disregard for the truth and denied Plaintiffs and the other Class members

  information that is highly relevant to their purchasing decision.

         1110. BMW further affirmatively misrepresented to Plaintiffs in advertising and other

  forms of communication, including standard and uniform material provided with each car, that

  the Polluting BMW Vehicles it was selling had no significant defects, were low emission

  vehicles, complied with EPA regulations, and would perform and operate properly when driven

  in normal usage.

         1111. BMW knew these representations were false when made.

         1112. The Polluting BMW Vehicles purchased or leased by Plaintiffs and the other

  Class members were, in fact, defective, emitting pollutants at a much higher rate than gasoline-

  powered vehicles and at a much higher rate than a reasonable consumer would expect in light of

  BMW’s advertising campaign, non-EPA-compliant, and unreliable because the NOx reduction

  system in the Polluting BMW Vehicles turns off or is limited during normal driving conditions.

         1113. Defendants had a duty to disclose that the NOx reduction system in the Polluting

  BMW Vehicles turns off or is limited during normal driving conditions and that these Polluting




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  BMW Vehicles were defective, employed a “Defeat Device,” emitted pollutants at a much

  higher rate than similar gasoline-powered vehicles, that the emissions far exceeded those

  expected by a reasonable consumer, were non-EPA-compliant and unreliable, because Plaintiffs

  and the other Class members relied on Defendants’ material representations or omissions of fact

  that the Class Vehicles they were purchasing were reduced emission vehicles, efficient, and free

  from defects.

         1114. As alleged in this Complaint, at all relevant times, BMW has held out the Class

  Vehicles to be reduced emissions and EPA-compliant. BMW disclosed certain details about the

  BMW Clean Diesel engine, but nonetheless, BMW intentionally failed to disclose the important

  facts that the NOx reduction system in the Polluting BMW Vehicles turns off or is limited during

  normal driving conditions and that the Polluting BMW Vehicles had defective emission controls,

  deploy a “Defeat Device,” emitted higher levels of pollutants than expected by a reasonable

  consumer, emitted high levels of pollutants, and were non-compliant with EPA emissions

  requirements, making other disclosures about the emission system deceptive.

         1115. The truth about the defective emission controls and Defendants’ manipulations of

  those controls, high emissions, the “Defeat Device,” and non-compliance with EPA emissions

  requirements was known only to Defendants; Plaintiffs and the Class members did not know of

  these facts and Defendants actively concealed these facts from Plaintiffs and Class members.

         1116. Plaintiffs and Class members reasonably relied upon Defendants’ deception. They

  had no way of knowing that BMW’s representations were false and/or misleading. As

  consumers, Plaintiffs and Class members did not, and could not, unravel Defendants’ deception

  on their own. Rather, Defendants intended to deceive Plaintiffs and Class members by

  concealing the true facts about the Polluting BMW Vehicle emissions.




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           1117. BMW also concealed and suppressed material facts concerning what is evidently

  the true culture of BMW—one characterized by an emphasis on profits and sales above

  compliance with federal and state clean air laws and emissions regulations that are meant to

  protect the public and consumers. It also emphasized profits and sales above the trust that

  Plaintiffs and Class members placed in its representations. Consumers buy diesel vehicles from

  BMW because they feel they are clean diesel vehicles. They do not want to be spewing noxious

  gases into the environment. And yet, that is precisely what the Polluting BMW Vehicles are

  doing.

           1118. BMW’s false representations were material to consumers, because they concerned

  the quality of the Polluting BMW Vehicles, because they concerned compliance with applicable

  federal and state law and regulations regarding clean air and emissions, and also because the

  representations played a significant role in the value of the vehicles. As BMW well knew, its

  customers, including Plaintiffs and Class members, highly valued that the vehicles they were

  purchasing or leasing were fuel efficient, clean diesel vehicles with reduced emissions, and they

  paid accordingly.

           1119. Defendants had a duty to disclose the emissions defect, defective design of the

  emission controls, and violations with respect to the Polluting BMW Vehicles because details of

  the true facts were known and/or accessible only to Defendants, because Defendants had

  exclusive knowledge as to such facts, and because Defendants knew these facts were not known

  to or reasonably discoverable by Plaintiffs or Class members. BMW also had a duty to disclose

  because it made general affirmative representations about the qualities of its vehicles with

  respect to emissions, starting with references to them as reduced emissions diesel vehicles and as

  compliant with all laws in each state, which were misleading, deceptive, and incomplete without




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  the disclosure of the additional facts set forth above regarding the actual emissions of its

  vehicles, its actual philosophy with respect to compliance with federal and state clean air laws

  and emissions regulations, and its actual practices with respect to the vehicles at issue. Having

  volunteered to provide information to Plaintiffs and Class members, BMW had the duty to

  disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

  material because they directly impact the value of the Polluting BMW Vehicles purchased or

  leased by Plaintiffs and Class members. Whether a manufacturer’s products pollute, comply with

  federal and state clean air laws and emissions regulations, and whether that manufacturer tells

  the truth with respect to such compliance or non-compliance are material concerns to a

  consumer, including with respect to the emissions certifications testing their vehicles must pass.

  BMW represented to Plaintiffs and Class members that they were purchasing or leasing reduced

  emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

  vehicles.

         1120. BMW actively concealed and/or suppressed these material facts, in whole or in

  part, to pad and protect its profits and to avoid the perception that its vehicles were not clean

  diesel vehicles and did not or could not comply with federal and state laws governing clean air

  and emissions, which perception would hurt the brand’s image and cost BMW money, and it did

  so at the expense of Plaintiffs and Class members.

         1121. BMW has still not made full and adequate disclosures, and continues to defraud

  Plaintiffs and Class members by concealing material information regarding the emissions

  qualities of its referenced vehicles.

         1122. Plaintiffs and Class members were unaware of the omitted material facts

  referenced herein, and they would not have acted as they did if they had known of the concealed




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  and/or suppressed facts, in that they would not have purchased purportedly reduced emissions

  diesel vehicles manufactured by BMW, and/or would not have continued to drive their heavily

  polluting vehicles, or would have taken other affirmative steps in light of the information

  concealed from them. Plaintiffs’ and Class members’ actions were justified. Defendants were in

  exclusive control of the material facts, and such facts were not generally known to the public,

  Plaintiffs, or Class members.

          1123. Because of the concealment and/or suppression of the facts and Defendants’

  failure to timely disclose the defect or defective design of the BMW Clean Diesel engine system,

  the actual emissions qualities and quantities of BMW-branded vehicles, and the serious issues

  engendered by BMW’s corporate policies, Plaintiffs and Class members have sustained damage

  because they paid a premium for a “clean diesel” vehicle which actually polluted at levels

  dramatically higher than a reasonable consumer would expect. Had Plaintiffs and Class members

  been aware of the true emissions facts with regard to the Polluting BMW Vehicles, and

  Defendants’ disregard for the truth and compliance with applicable federal and state law and

  regulations, Plaintiffs and Class members who purchased or leased new or certified previously

  owned vehicles would have paid less for their vehicles or would not have purchased or leased

  them at all.

          1124. Accordingly, Defendants are liable to Plaintiffs and Class members for damages

  in an amount to be proven at trial.

          1125. Defendants’ acts were done wantonly, maliciously, oppressively, deliberately,

  with intent to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and the

  representations that BMW made to them in order to enrich Defendants. Defendants’ conduct




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  warrants an assessment of punitive damages in an amount sufficient to deter such conduct in the

  future, which amount is to be determined according to proof.

  C.     Claims brought on behalf of the other state classes by the named Plaintiffs.

                                             COUNT 54

               VIOLATION OF THE ALASKA UNFAIR TRADE PRACTICES
                        AND CONSUMER PROTECTION ACT
                      (ALASKA STAT. ANN. § 45.50.471 ET SEQ.)

         1126. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1127. This claim is included here for notice purposes only. Once the statutory notice

  period has expired, Plaintiffs will amend their complaint to bring this claim on behalf of Alaska

  purchasers who are members of the Class.

         1128. The Alaska Unfair Trade Practices and Consumer Protection Act (Alaska CPA)

  declared unfair methods of competition and unfair or deceptive acts or practices in the conduct of

  trade or commerce unlawful, including “using or employing deception, fraud, false pretense,

  false promise, misrepresentation, or knowingly concealing, suppressing, or omitting a material

  fact with intent that others rely upon the concealment, suppression or omission in connection

  with the sale or advertisement of goods or services whether or not a person has in fact been

  misled, deceived or damaged.” ALASKA STAT. ANN. § 45.50.471.

         1129. Pursuant to ALASKA STAT. ANN. § 45.50.531, Plaintiffs will amend their

  Complaint to seek monetary relief against Defendants measured as the greater of (a) three times

  the actual damages in an amount to be determined at trial or (b) $500 for each plaintiff.

         1130. Plaintiffs also will amend to seek an order enjoining Defendants’ unfair, unlawful,

  and/or deceptive practices pursuant to ALASKA STAT. ANN. § 45.50.535(b)(1), attorneys’ fees,

  and any other just and proper relief available under the Alaska CPA.



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         1131. On March 21, 2018, and May 4, 2018, Plaintiffs sent letters complying with

  ALASKA STAT. ANN. § 45.50.535(b)(1) to Defendants.

                                             COUNT 55

        VIOLATION OF THE ARKANSAS DECEPTIVE TRADE PRACTICES ACT
                      (ARK. CODE ANN. § 4-88-101 ET SEQ.)

         1132. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1133. This claim is brought by Plaintiffs on behalf of Arkansas purchasers who are

  members of the class.

         1134. The Arkansas Deceptive Trade Practices Act (Arkansas DTPA) prohibits

  “[d]eceptive and unconscionable trade practices,” which include but are not limited to

  “[e]ngaging in any . . . unconscionable false, or deceptive act or practice in business, commerce,

  or trade.” ARK. CODE ANN. § 4-88-107(a)(10). The Arkansas DTPA also prohibits, in connection

  with the sale or advertisement of any goods, “(1) the act, use, or employment by any person of

  any deception, fraud, or pretense; or (2) the concealment, suppression, or omission of any

  material fact with intent that other rely upon the concealment, suppression, or omission.” ARK.

  CODE ANN. § 4-88-108. Defendants failed to disclose (1) that the X5 vehicles turn off or down

  emissions systems during common driving conditions resulting in massive amounts of NOx as

  compared to federal and state standards, (2) that absent the emissions manipulation these

  vehicles would not have passed emissions tests, (3) that fuel economy and towing capacity was

  achieved by turning down or off emissions systems; and (4) that emissions and fuel economy

  were far worse than a reasonable consumer would expect given the premium paid for these

  vehicles over a comparable gas powered vehicle.




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         1135. BMW USA, BMW AG, Bosch, Plaintiffs, and Class members are “persons”

  within the meaning of ARK. CODE ANN. § 4-88-102(5).

         1136. Each Polluting BMW Vehicle at issue constitutes “goods” within the meaning of

  ARK. CODE ANN. § 4-88-102(4).

         1137. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1138. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1139. Plaintiffs seek monetary relief against Defendants in an amount to be determined

  at trial. Plaintiffs also seek punitive damages because Defendants acted wantonly in causing

  Plaintiffs’ and Class members’ injuries, or with such a conscious indifference to the

  consequences that malice may be inferred.

         1140. Plaintiffs also seek an order enjoining Defendants’ unfair, unlawful, and/or

  deceptive practices, attorneys’ fees, and any other just and proper relief available under the

  Arkansas DTPA.




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                                             COUNT 56

        VIOLATION OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT
                     (CONN. GEN. STAT. § 42-110A ET SEQ.)

         1141. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1142. This claim is brought by Plaintiffs on behalf of Connecticut purchasers who are

  members of the Class.

         1143. The Connecticut Unfair Trade Practices Act (Connecticut UTPA) provides: “No

  person shall engage in unfair methods of competition and unfair or deceptive acts or practices in

  the conduct of any trade or commerce.” CONN. GEN. STAT. § 42-110b(a).

         1144. Plaintiffs, Connecticut Class members, BMW USA, BMW AG, and Bosch are

  each a “person” within the meaning of CONN. GEN. STAT. § 42-110a(3).

         1145. Defendants’ challenged conduct, as set forth above, occurred in the conduct of

  “trade” or “commerce” within the meaning of CONN. GEN. STAT. § 42-110a(4). In the course of

  their business, Defendants concealed and suppressed material facts concerning the Polluting

  BMW Vehicles. Defendants accomplished this by installing emission control devices in the

  Polluting BMW Vehicles that were concealed from regulators and consumers alike.

         1146. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.




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         1147. Plaintiffs and Connecticut Class members are entitled to recover their actual

  damages, punitive damages, and attorneys’ fees pursuant to CONN. GEN. STAT. § 42-110g.

         1148. Defendants acted with reckless indifference to another’s rights, or wanton or

  intentional violation of another’s rights, and otherwise engaged in conduct amounting to a

  particularly aggravated, deliberate disregard for the rights of others. Therefore, punitive damages

  are warranted.

                                             COUNT 57

               VIOLATION OF THE DELAWARE CONSUMER FRAUD ACT
                        (DEL. CODE TIT. 6, § 2513 ET SEQ.)

         1149. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1150. This claim is brought by Plaintiffs on behalf of Delaware purchasers who are

  members of the Class.

         1151. The Delaware Consumer Fraud Act (Delaware CFA) prohibits the “act, use, or

  employment by any person of any deception, fraud, false pretense, false promise,

  misrepresentation, or the concealment, suppression, or omission of any material fact with intent

  that others rely upon such concealment, suppression, or omission, in connection with the sale,

  lease or advertisement of any merchandise, whether or nor any person has in fact been misled,

  deceived, or damaged thereby.” DEL. CODE TIT. 6, § 2513(a).

         1152. BMW USA, BMW AG, and Bosch are “persons” within the meaning of DEL.

  CODE TIT. 6, § 2511(7).

         1153. Defendants’ actions, as set forth above, occurred in the conduct of trade or

  commerce. In the course of their business, Defendants concealed and suppressed material facts

  concerning the Polluting BMW Vehicles. Defendants accomplished this by installing emission




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  control devices in the Polluting BMW Vehicles that were concealed from regulators and

  consumers alike.

         1154. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1155. Plaintiffs seek damages under the Delaware CFA for injury resulting from the

  direct and natural consequences of Defendants’ unlawful conduct. See, e.g., Stephenson v.

  Capano Dev., Inc., 462 A.2d 1069, 1077 (Del. 1980). Plaintiffs also seek an order enjoining

  Defendants’ unfair, unlawful, and/or deceptive practices, declaratory relief, attorneys’ fees, and

  any other just and proper relief available under the Delaware CFA.

         1156. Defendant engaged in gross, oppressive, or aggravated conduct justifying the

  imposition of punitive damages.

                                             COUNT 58

               VIOLATION OF FLORIDA UNFAIR AND DECEPTIVE TRADE
                                 PRACTICES ACT
                           (FLA. STAT. § 501.201 ET SEQ.)

         1157. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1158. This claim is brought by Plaintiffs on behalf of Florida purchasers who are

  members of the Class.

         1159. Plaintiffs and other Class members are “consumers” within the meaning of

  Florida Unfair and Deceptive Trade Practices Act (“Florida UDTPA”), FLA. STAT. § 501.203(7).



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          1160. Defendants engaged in “trade or commerce” within the meaning of FLA. STAT.

  § 501.203(8).

          1161. Florida’s Deceptive and Unfair Trade Practices Act prohibits “[u]nfair methods of

  competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

  conduct of any trade or commerce.” FLA. STAT. § 501.204(1). Defendant participated in unfair

  and deceptive trade practices that violated the Florida UDTPA as described herein. In the course

  of their business, Defendants concealed and suppressed material facts concerning the Polluting

  BMW Vehicles. Defendants accomplished this by installing emission control devices in the

  Polluting BMW Vehicles that were concealed from regulators and consumers alike.

          1162. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

          1163. Plaintiffs and the other Class members were injured and suffered ascertainable

  loss, injury in fact, and/or actual damage as a proximate result of Defendants’ conduct in that

  Plaintiffs and the other Class members overpaid for their Polluting BMW Vehicles and did not

  receive the benefit of their bargain. These injuries are the direct and natural consequence of

  Defendants’ misrepresentations and omissions.

          1164. Defendants’ violations present a continuing risk to Plaintiffs as well as to the

  general public. Defendant’s unlawful acts and practices complained of herein affect the public

  interest.




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         1165. Accordingly, Defendants are liable to Plaintiffs and other Class members for

  damages in an amount to be proven at trial.

                                            COUNT 59

                          VIOLATION OF THE HAWAII ACT § 480-2(A)
                              (HAW. REV. STAT. § 480 ET SEQ.)

         1166. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1167. This claim is brought by Plaintiffs on behalf of Hawaii purchasers who are

  members of the Class.

         1168. HAW. REV. STAT. § 480-2(a) prohibits “unfair methods of competition and unfair

  or deceptive acts or practices in the conduct of any trade or commerce.”

         1169. BMW USA, BMW AG, and Bosch are “persons” under HAW. REV. STAT. § 480-

  1.

         1170. Plaintiffs and Hawaii Class members are “consumer[s]” as defined by HAW. REV.

  STAT. § 480-1, who purchased or leased the Polluting BMW Vehicles at issue.

         1171. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1172. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased




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  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1173. Pursuant to HAW. REV. STAT. § 480-13, Plaintiffs seek monetary relief against

  Defendants measured as the greater of (a) $1,000 and (b) threefold actual damages in an amount

  to be determined at trial.

         1174. Under HAW. REV. STAT. § 480-13.5, Plaintiffs seek an additional award against

  Defendants of up to $10,000 for each violation directed at a Hawaii elder. Defendants knew or

  should have known that its conduct was directed to one or more Plaintiffs who are elders.

  Defendants’ conduct caused one or more of these elders to suffer a substantial loss of property

  set aside for retirement or for personal or family care and maintenance, or assets essential to the

  health or welfare of the elder. Plaintiffs who are elders are substantially more vulnerable to

  Defendants’ conduct because of age, poor health or infirmity, impaired understanding, restricted

  mobility, or disability, and each of them suffered a substantial physical, emotional, or economic

  damage resulting from Defendants’ conduct.

                                              COUNT 60

               VIOLATION OF THE IDAHO CONSUMER PROTECTION ACT
                        (IDAHO CODE ANN. § 48-601 ET SEQ.)

         1175. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1176. This claim is brought by Plaintiffs on behalf of Idaho purchasers who are

  members of the Class.

         1177. The Idaho Consumer Protection Act (Idaho CPA) prohibits deceptive business

  practices, including but not limited to (1) representing that the Polluting BMW Vehicles have

  characteristics, uses, and benefits which they do not have; (2) representing that the Polluting




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  BMW Vehicles are of a particular standard, quality, and grade when they are not; (3) advertising

  the Polluting BMW Vehicles with the intent not to sell them as advertised; (4) engaging in acts

  or practices which are otherwise misleading, false, or deceptive to the consumer; and (5)

  engaging in any unconscionable method, act or practice in the conduct of trade or commerce. See

  IDAHO CODE ANN. § 48-603.

            1178. BMW USA, BMW AG, and Bosch are “persons” under IDAHO CODE ANN. § 48-

  602(1).

            1179. Defendants’ acts or practices as set forth above occurred in the conduct of “trade”

  or “commerce” under IDAHO CODE ANN. § 48-602(2).

            1180. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

            1181. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

            1182. Pursuant to IDAHO CODE ANN. § 48-608, Plaintiffs seek monetary relief against

  Defendants measured as the greater of (a) actual damages in an amount to be determined at trial

  and (b) statutory damages in the amount of $1,000 for each plaintiff.




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         1183. Plaintiffs also seek an order enjoining Defendants’ unfair, unlawful, and/or

  deceptive practices, attorneys’ fees, and any other just and proper relief available under the Idaho

  CPA.

         1184. Plaintiffs also seek punitive damages against Defendants because Defendants’

  conduct evidences an extreme deviation from reasonable standards. Defendants’ unlawful

  conduct constitutes malice, oppression, and fraud warranting punitive damages.

                                              COUNT 61

                         VIOLATION OF THE IOWA PRIVATE RIGHT
                         OF ACTION FOR CONSUMER FRAUDS ACT
                              (IOWA CODE § 714H.1 ET SEQ.)

         1185. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1186. This claim is brought by Plaintiffs on behalf of Iowa purchasers who are members

  of the Class.

         1187. The Iowa Private Right of Action for Consumer Frauds Act (Iowa CFA) prohibits

  any “practice or act the person knows or reasonably should know is an unfair practice, deception,

  fraud, false pretense, or false promise, or the misrepresentation, concealment, suppression, or

  omission of a material fact, with the intent that others rely upon the unfair practice, deception,

  fraud, false pretense, false promise, misrepresentation, concealment, suppression or omission in

  connection with the advertisement, sale, or lease of consumer merchandise.” IOWA CODE

  § 714H.3.

         1188. BMW USA, BMW AG, and Bosch are “persons” under IOWA CODE § 714H.2(7).

         1189. Plaintiffs and Iowa Class members are “consumers” as defined by IOWA CODE

  § 714H.2(3) who purchased or leased one or more Polluting BMW Vehicles.




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         1190. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1191. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1192. Pursuant to IOWA CODE § 714H.5, Plaintiffs seek an order enjoining BMW’s

  unfair and/or deceptive acts or practices, actual damages, statutory damages up to three times the

  amount of actual damages awarded as a result of BMW’s willful and wanton disregard for the

  rights of others, attorneys’ fees, and other such equitable relief as the court deems necessary to

  protect the public from further violations of the Iowa CFA.

                                              COUNT 62

              VIOLATION OF THE KANSAS CONSUMER PROTECTION ACT
                        (KAN. STAT. ANN. § 50-623 ET SEQ.)

         1193. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1194. This claim is brought by Plaintiffs on behalf of Kansas purchasers who are

  members of the Class.

         1195. The Kansas Consumer Protection Act (Kansas CPA) states “[n]o supplier shall

  engage in any deceptive act or practice in connection with a consumer transaction.” KAN. STAT.




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  ANN. § 50-626(a). Deceptive acts or practices include but are not limited to “the willful use, in

  any oral or written representation, of exaggeration, falsehood, innuendo or ambiguity as to a

  material fact” and “the willful failure to state a material fact, or the willful concealment,

  suppression or omission of a material fact.” KAN. STAT. ANN. § 50-626.

         1196. Plaintiffs and Kansas Class members are “consumers” within the meaning of

  KAN. STAT. ANN. § 50-624(b) who purchased or leased one or more Polluting BMW Vehicles.

         1197. Each sale or lease of a Polluting Vehicle to Plaintiffs was a “consumer

  transaction” within the meaning of KAN. STAT. ANN. § 50-624(c).

         1198. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1199. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1200. Pursuant to KAN. STAT. ANN. § 50-634, Plaintiffs seek monetary relief against

  Defendants measured as the greater of (a) actual damages in an amount to be determined at trial

  and (b) statutory damages in the amount of $10,000 for each plaintiff.




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         1201. Plaintiffs also seek an order enjoining Defendants’ unfair, unlawful, and/or

  deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper relief

  available under KAN. STAT. ANN. § 50-623 et seq.



                                              COUNT 63

              VIOLATION OF THE MAINE UNFAIR TRADE PRACTICES ACT
                    (ME. REV. STAT. ANN. TIT. 5, § 205-A ET SEQ.)

         1202. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1203. This claim is brought by Plaintiffs on behalf of Maine purchasers who are

  members of the Class.

         1204. The Maine Unfair Trade Practices Act (Maine UTPA) makes unlawful “[u]nfair

  methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

  commerce.” ME. REV. STAT. ANN. TIT. 5, § 207.

         1205. BMW USA, BMW AG, Bosch, Plaintiffs, and Maine Class members are

  “persons” within the meaning of ME. REV. STAT. ANN. TIT. § 5, 206(2).

         1206. Defendants are engaged in “trade” or “commerce” within the meaning of ME.

  REV. STAT. ANN. TIT. § 5, 206(3).

         1207. Pursuant to ME. REV. STAT. ANN. TIT. 5, § 213, Plaintiffs seek an order enjoining

  Defendants’ unfair and/or deceptive acts or practices, and awarding damages, punitive damages,

  and any other just and proper relied available under the Maine UTPA.

         1208. On March 21, 2018, and May 4, 2018, Plaintiffs sent letters complying with ME.

  REV. STAT. ANN. TIT. 5, § 213(1-A) to Defendants. Because Defendants failed to remedy their




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  unlawful conduct within the requisite time period, the Maine Class members seek all damages

  and relief to which they are entitled.

                                             COUNT 64

       VIOLATION OF THE MASSACHUSETTS GENERAL LAW CHAPTER 93(A)
                    (MASS. GEN. LAWS CH. 93A, § 1 ET SEQ.)

         1209. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1210. Defendants and the Massachusetts Class members are “persons” within the

  meaning of MASS. GEN. LAWS ch. 93A, § 1(a).

         1211. Defendants are engaged in “trade” or “commerce” within the meaning of MASS.

  GEN. LAWS ch. 93A, § 1(b).

         1212. The Massachusetts consumer protection law (“Massachusetts Act”) prohibits

  “unfair or deceptive acts or practices in the conduct of any trade or commerce.” MASS. GEN.

  LAWS ch. 93A, § 2.

         1213. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1214. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.




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          1215. Plaintiff and the Massachusetts State Class seek an order pursuant to MASS. GEN.

  LAWS ch. 93A, § 9 enjoining Defendants’ unfair and/or deceptive acts or practices, and awarding

  damages, punitive damages, and any other just and proper relief available under the

  Massachusetts Act.

          1216. On March 21, 2018, and May 4, 2018, Plaintiffs sent letters complying with

  MASS. GEN. LAWS CH. 93A, § 9(3) to Defendants. Because Defendants failed to remedy their

  unlawful conduct within the requisite time period, Plaintiffs seek all damages and relief to which

  Plaintiffs and the Massachusetts Class are entitled.

                                               COUNT 65

                                VIOLATION OF THE MICHIGAN
                                CONSUMER PROTECTION ACT
                             (MICH. COMP. LAWS § 445.903 ET SEQ.)

          1217. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          1218. This claim is brought by Plaintiffs on behalf of Michigan purchasers who are

  members of the Class.

          1219. The Michigan Consumer Protection Act (Michigan CPA) prohibits “[u]nfair,

  unconscionable, or deceptive methods, acts, or practices in the conduct of trade or commerce,”

  including “[f]ailing to reveal a material fact, the omission of which tends to mislead or deceive

  the consumer, and which fact could not reasonably be known by the consumer”; “[m]aking a

  representation of fact or statement of fact material to the transaction such that a person

  reasonably believes the represented or suggested state of affairs to be other than it actually is”; or

  “[f]ailing to reveal facts that are material to the transaction in light of representations of fact

  made in a positive manner.” MICH. COMP. LAWS § 445.903(1). Defendants failed to disclose (1)

  that the X5 vehicles turn off or down emissions systems during common driving conditions



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  resulting in massive amounts of NOx as compared to federal and state standards, (2) that absent

  the emissions manipulation these vehicles would not have passed emissions tests, (3) that fuel

  economy and towing capacity was achieved by turning down or off emissions systems; and (4)

  that emissions and fuel economy were far worse than a reasonable consumer would expect given

  the premium paid for these vehicles over a comparable gas powered vehicle.

         1220. Plaintiffs and Michigan Class members are “person[s]” within the meaning of the

  MICH. COMP. LAWS § 445.902(1)(d).

         1221. BMW USA, BMW AG, and Bosch are “person[s]” engaged in “trade or

  commerce” within the meaning of the MICH. COMP. LAWS § 445.902(1)(d) and (g).

         1222. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1223. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1224. Plaintiffs seek injunctive relief to enjoin Defendants from continuing their unfair

  and deceptive acts; monetary relief against Defendants measured as the greater of (a) actual

  damages in an amount to be determined at trial and (b) statutory damages in the amount of $250




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  for each plaintiff; reasonable attorneys’ fees; and any other just and proper relief available under

  MICH. COMP. LAWS § 445.911.

         1225. Plaintiffs also seek punitive damages because Defendants carried out despicable

  conduct with willful and conscious disregard of the rights of others. Defendants’ conduct

  constitutes malice, oppression, and fraud warranting punitive damages.

                                              COUNT 66

                                VIOLATION OF THE MISSOURI
                              MERCHANDISING PRACTICES ACT
                              (MO. REV. STAT. § 407.010, ET SEQ.)

         1226. Plaintiff (for purposes of all Missouri Class Counts) incorporates by reference all

  paragraphs as though fully set forth herein.

         1227. This claim is brought by Plaintiffs on behalf of Missouri purchasers who are

  members of the Class.

         1228. Defendants, Plaintiffs and the Missouri Class are “persons” within the meaning of

  MO. REV. STAT. § 407.010(5).

         1229. Defendants engaged in “trade” or “commerce” in the State of Missouri within the

  meaning of MO. REV. STAT. § 407.010(7).

         1230. The Missouri Merchandising Practices Act (“Missouri MPA”) makes unlawful

  the “act, use or employment by any person of any deception, fraud, false pretense,

  misrepresentation, unfair practice, or the concealment, suppression, or omission of any material

  fact in connection with the sale or advertisement of any merchandise.” MO. REV. STAT.

  § 407.020. In the course of Defendants’ business, it willfully failed to disclose and actively

  concealed that the NOx reduction system in the Affected Vehicles turns off or is limited during

  normal driving conditions, that the Affected Vehicles emitted far more pollutants than gasoline

  powered vehicles, that the Affected Vehicles emit far more pollution than a reasonable consumer



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  would expect in light of Defendants’ advertising campaign, and that the Affected Vehicles

  emitted unlawfully high levels of pollutants, including NOx, as described above. Accordingly,

  Defendants used or employed deception, fraud, false pretense, false promise, misrepresentation,

  unfair practice or the concealment, suppression, or omission of any material fact in connection

  with the sale or advertisement of any merchandise in trade or commerce, in violation of the

  Missouri MPA. Defendants’ conduct offends public policy; is unethical, oppressive, or

  unscrupulous; and presents a risk of, or causes, substantial injury to consumers.

         1231. In purchasing or leasing the Affected Vehicles, Plaintiffs and the other Class

  members were deceived by Defendants’ failure to disclose that the NOx reduction system in the

  Affected Vehicles turns off or is limited during normal driving conditions, that the emissions

  controls were defective, and that the Affected Vehicles emitted unlawfully high levels of

  pollutants, including NOx, as described above.

         1232. Plaintiffs and the other Class members reasonably relied upon Defendants’ false

  misrepresentations. They had no way of knowing that Defendants’ representations were false

  and gravely misleading. As alleged herein, Defendants engaged in extremely sophisticated

  methods of deception. Plaintiffs and the other Class members did not, and could not, unravel

  Defendants’ deception on their own.

         1233. Defendants’ actions as set forth above occurred in the conduct of trade or

  commerce.

         1234. Defendants’ unfair or deceptive acts or practices were likely to and did in fact

  deceive reasonable consumers.

         1235. Defendants intentionally and knowingly misrepresented material facts regarding

  the Affected Vehicles with an intent to mislead Plaintiffs and the Class.




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         1236. Defendants knew or should have known that its conduct violated the Missouri

  MPA.

         1237. Defendants owed Plaintiffs and the Class a duty to disclose the truth about its

  emissions systems manipulation because Defendants:

                 a.     Possessed exclusive knowledge that it manipulated the emissions system
                        in the Affected Vehicles to turn off or limit effectiveness in normal driving
                        conditions;

                 b.     Intentionally concealed the foregoing from Plaintiffs and the Class; and/or

                 c.     Made incomplete representations that it manipulated the emissions system
                        in the Affected Vehicles to turn off or limit effectiveness in normal driving
                        conditions, while purposefully withholding material facts from Plaintiffs
                        and the Class that contradicted these representations.

         1238. Defendants had a duty to disclose that the NOx reduction system in the Affected

  Vehicles turns off or is limited during normal driving conditions, that these Affected Vehicles

  were defective, employed a “Defeat Device,” and emitted pollutants at a much higher rate than

  gasoline powered vehicles, and that the emissions far exceeded those expected by a reasonable

  consumer, were non-EPA-compliant and unreliable, because Plaintiffs and the other Class

  members relied on Defendants’ material representations that the Affected Vehicles they were

  purchasing were reduced emission vehicles, efficient, and free from defects.

         1239. Defendants’ conduct proximately caused injuries to Plaintiff sand the other Class

  members.

         1240. Plaintiff sand the other Class members were injured and suffered ascertainable

  loss, injury-in-fact, and/or actual damage as a proximate result of Defendants’ conduct in that

  Plaintiffs and the other Class members overpaid for their Affected Vehicles and did not receive

  the benefit of their bargain. These injuries are the direct and natural consequence of Defendants’

  misrepresentations and omissions.




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          1241. Defendants’ violations present a continuing risk to Plaintiffs as well as to the

  general public. Defendants’ unlawful acts and practices complained of herein affect the public

  interest.

          1242. Defendants are liable to Plaintiffs and the Missouri Class for damages in amounts

  to be proven at trial, including attorneys’ fees, costs, and punitive damages, and any other just

  and proper relief under MO. REV. STAT. § 407.025.

                                              COUNT 67

                               VIOLATION OF THE NEBRASKA
                                CONSUMER PROTECTION ACT
                              (NEB. REV. STAT. § 59-1601 ET SEQ.)

          1243. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          1244. This claim is brought by Plaintiffs on behalf of Nebraska purchasers who are

  members of the Class.

          1245. The Nebraska Consumer Protection Act (Nebraska CPA) prohibits “unfair or

  deceptive acts or practices in the conduct of any trade or commerce.” NEB. REV. STAT. § 59-

  1602.

          1246. BMW USA, BMW AG, Bosch, Plaintiffs, and Nebraska Class members are

  “person[s]” under NEB. REV. STAT. § 59-1601(1).

          1247. Defendants actions as set forth herein occurred in the conduct of trade or

  commerce as defined under NEB. REV. STAT. § 59-1601(2).

          1248. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.



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          1249. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

          1250. Because Defendants’ conduct caused injury to Plaintiffs’ property through

  violations of the Nebraska CPA, Plaintiffs seek recovery of actual damages as well as enhanced

  damages up to $1,000, an order enjoining Defendants’ unfair or deceptive acts and practices,

  costs of Court, reasonable attorneys’ fees, and any other just and proper relief available under

  NEB. REV. STAT. § 59-1609.

                                               COUNT 68

                          VIOLATION OF THE NEVADA DECEPTIVE
                                 TRADE PRACTICES ACT
                            (NEV. REV. STAT. § 598.0903 ET SEQ.)

          1251. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          1252. This claim is brought by Plaintiffs on behalf of Nevada purchasers who are

  members of the Class.

          1253. The Nevada Deceptive Trade Practices Act (Nevada DTPA) prohibits deceptive

  trade practices. NEV. REV. STAT. § 598.0915 provides that a person engages in a “deceptive trade

  practice” if, in the course of business or occupation, the person “[k]nowingly makes a false

  representation as to the characteristics, ingredients, uses, benefits, alterations or quantities of

  goods or services for sale or lease or a false representation as to the sponsorship, approval, status,

  affiliation or connection of a person therewith”; “[r]epresents that goods or services for sale or



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  lease are of a particular standard, quality or grade, or that such goods are of a particular style or

  model, if he or she knows or should know that they are of another standard, quality, grade, style

  or model”; “[a]dvertises goods or services with intent not to sell or lease them as advertised”; or

  “[k]nowingly makes any other false representation in a transaction.” NEV. REV. STAT.

  §§ 598.0915–598.0925. Defendants failed to disclose that the Polluting BMW Vehicles (1) turn

  off or down emissions systems during common driving conditions resulting in massive amounts

  of NOx as compared to federal and state standards, (2) that absent the emissions manipulation

  these vehicles would not have passed emissions tests, (3) that fuel economy and towing capacity

  was achieved by turning down or off emissions systems; and (4) that emissions and fuel

  economy were far worse than a reasonable consumer would expect given the premium paid for

  these vehicles over a comparable gas powered vehicle.

         1254. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1255. Accordingly, Plaintiffs seek their actual damages, punitive damages, an order

  enjoining Defendants’ deceptive acts or practices, costs of Court, attorney’s fees, and all other

  appropriate and available remedies under the Nevada DTPA. NEV. REV. STAT. § 41.600.




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                                                COUNT 69

                             VIOLATION OF THE NEW HAMPSHIRE
                                CONSUMER PROTECTION ACT
                            (N.H. REV. STAT. ANN. § 358-A:1 ET SEQ.)

          1256. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          1257. This claim is brought by Plaintiffs on behalf of New Hampshire purchasers who

  are members of the Class.

          1258. The New Hampshire Consumer Protection Act (New Hampshire CPA) prohibits a

  person, in the conduct of any trade or commerce, from “using any unfair or deceptive act or

  practice,” including “but . . . not limited to, the following: . . . [r]epresenting that goods or

  services have . . . characteristics, . . . uses, benefits, or quantities that they do not have”;

  “[r]epresenting that goods or services are of a particular standard, quality, or grade, . . . if they

  are of another”; and “[a]dvertising goods or services with intent not to sell them as advertised.”

  N.H. REV. STAT. ANN. § 358-A:2.

          1259. BMW USA, BMW AG, Bosch, Plaintiffs, and New Hampshire Class members

  are “persons” under N.H. REV. STAT. ANN. § 358-A:1.

          1260. Defendants’ actions as set forth herein occurred in the conduct of trade or

  commerce as defined under N.H. REV. STAT. ANN. § 358-A:1. In the course of their business,

  Defendants concealed and suppressed material facts concerning the Polluting BMW Vehicles.

  Defendants accomplished this by installing emission control devices in the Polluting BMW

  Vehicles that were concealed from regulators and consumers alike.

          1261. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had



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  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1262. Because Defendants’ willful conduct caused injury to Plaintiffs’ property through

  violations of the New Hampshire CPA, Plaintiffs seek recovery of actual damages or $1,000,

  whichever is greater; treble damages; costs and reasonable attorneys’ fees; an order enjoining

  Defendants’ unfair and/or deceptive acts and practices; and any other just and proper relief under

  N.H. REV. STAT. ANN. § 358-A:10.

                                             COUNT 70

         VIOLATION OF THE NEW MEXICO UNFAIR TRADE PRACTICES ACT
                       (N.M. STAT. ANN. § 57-12-1 ET SEQ.)

         1263. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1264. This claim is brought by Plaintiffs on behalf of New Mexico purchasers who are

  members of the Class.

         1265. The New Mexico Unfair Trade Practices Act (New Mexico UTPA) makes

  unlawful “a false or misleading oral or written statement, visual description or other

  representation of any kind knowingly made in connection with the sale, lease, rental or loan of

  goods or services . . . by a person in the regular course of the person’s trade or commerce, that

  may, tends to or does deceive or mislead any person,” including but not limited to “failing to

  state a material fact if doing so deceives or tends to deceive.” N.M. STAT. ANN. § 57-12-2(D).

  Defendants failed to disclose that the Polluting BMW Vehicles (1) turn off or down emissions

  systems during common driving conditions resulting in massive amounts of NOx as compared to

  federal and state standards, (2) that absent the emissions manipulation these vehicles would not




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  have passed emissions tests, (3) that fuel economy and towing capacity was achieved by turning

  down or off emissions systems; and (4) that emissions and fuel economy were far worse than a

  reasonable consumer would expect given the premium paid for these vehicles over a comparable

  gas powered vehicle.

         1266. BMW USA, BMW AG, Bosch, Plaintiffs, and New Mexico Class members are

  “person[s]” under N.M. STAT. ANN. § 57-12-2.

         1267. Defendants’ actions as set forth herein occurred in the conduct of trade or

  commerce as defined under N.M. STAT. ANN. § 57-12-2.

         1268. Plaintiffs also seek an order enjoining Defendants’ unfair and/or deceptive acts or

  practices.

         1269. Because Defendants’ unconscionable, willful conduct caused actual harm to

  Plaintiffs, Plaintiffs seek recovery of actual damages or $100, whichever is greater; discretionary

  treble damages; punitive damages; and reasonable attorneys’ fees and costs, as well as all other

  proper and just relief available under N.M. STAT. ANN. § 57-12-10.

                                             COUNT 71

               VIOLATION OF THE NORTH DAKOTA CONSUMER FRAUD ACT
                             (N.D. CENT. CODE § 51-15-02)

         1270. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1271. This claim is brought by Plaintiffs on behalf of North Dakota purchasers who are

  members of the Class.

         1272. The North Dakota Consumer Fraud Act (North Dakota CFA) makes unlawful

  “[t]he act, use, or employment by any person of any deceptive act or practice, fraud, false




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  pretense, false promise, or misrepresentation, with the intent that others rely thereon in

  connection with the sale or advertisement of any merchandise.” N.D. CENT. CODE § 51-15-02.

         1273. BMW USA, BMW AG, Bosch, Plaintiffs, and North Dakota Class members are

  “persons” within the meaning of N.D. CENT. CODE § 51-15-02(4).

         1274. BMW USA, BMW AG, and Bosch engaged in the “sale” of “merchandise” within

  the meaning of N.D. CENT. CODE § 51-15-02(3), (5).

         1275. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1276. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1277. Defendants knowingly committed the conduct described above and therefore,

  under N.D. CENT. CODE § 51-15-09, Defendants are liable to Plaintiffs for treble damages in

  amounts to be proven at trial, as well as attorneys’ fees, costs, and disbursements. Plaintiffs

  further seek an order enjoining Defendants’ unfair and/or deceptive acts or practices, and other

  just and proper available relief under the North Dakota CFA.




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                                              COUNT 72

                        VIOLATION OF THE OKLAHOMA CONSUMER
                                   PROTECTION ACT
                            (OKLA. STAT. TIT. 15, § 751 ET SEQ.)

           1278. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

           1279. This claim is brought by Plaintiffs on behalf of Oklahoma purchasers who are

  members of the Class.

           1280. The Oklahoma Consumer Protection Act (Oklahoma CPA) declares unlawful,

  inter alia, the following acts or practices when committed in the course of business: making a

  “misrepresentation, omission or other practice that has deceived or could reasonably be expected

  to deceive or mislead a person to the detriment of that person” and “any practice which offends

  established public policy or if the practice is immoral, unethical, oppressive, unscrupulous or

  substantially injurious to consumers.” OKLA. STAT. TIT. 15, §§ 752–753.

           1281. Plaintiffs and Oklahoma Class members are “persons” under OKLA. STAT. TIT. 15,

  § 752.

           1282. BMW USA, BMW AG, and Bosch are a “person,” “corporation,” or

  “association” within the meaning of OKLA. STAT. TIT. 15, § 15-751(1).

           1283. The sale or lease of a Polluting Vehicle to Plaintiffs was a “consumer transaction”

  within the meaning of OKLA. STAT. TIT. 15, § 752 and Defendants’ actions as set forth herein

  occurred in the conduct of trade or commerce.

           1284. Defendants’ acts were made knowingly, intentionally, and with malice.

  Defendants demonstrated a complete lack of care and were in reckless disregard for the rights of

  Plaintiffs and the other Class members. Plaintiffs and the other Class members are therefore

  entitled to an award of punitive damages to the extent permitted under applicable law.



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         1285. Defendants’ conduct as alleged herein was unconscionable because

  (1) Defendants, knowingly or having reason to know, took advantage of consumers reasonably

  unable to protect their interests because of their ignorance of Defendants’ fraudulent omissions

  and representations; (2) at the time the consumer transaction was entered into, BMW knew or

  had reason to know that price the consumers were charged grossly exceeded the price at which

  they would have paid if they had known of the Defendants’ scheme; and (3) BMW knew or had

  reason to know that the transaction it induced the consumers to enter into was excessively one-

  sided in favor of BMW.

         1286. Because Defendants’ unconscionable conduct caused injury to Plaintiffs,

  Plaintiffs seek recovery of actual damages, discretionary penalties up to $2,000 per violation, and

  reasonable attorneys’ fees, under OKLA. STAT. TIT. 15, § 761.1. Plaintiffs further seek an order

  enjoining Defendants’ unfair and/or deceptive acts or practices, and any other just and proper

  relief available under the Oklahoma CPA.

                                             COUNT 73

                            VIOLATION OF THE RHODE ISLAND
                                UNFAIR TRADE PRACTICES
                            AND CONSUMER PROTECTION ACT
                              (R.I. GEN. LAWS § 6-13.1 ET SEQ.)

         1287. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1288. This claim is brought by Plaintiffs on behalf of Rhode Island purchasers who are

  members of the Class.

         1289. Rhode Island’s Unfair Trade Practices and Consumer Protection Act (Rhode

  Island CPA) prohibits “unfair or deceptive acts or practices in the conduct of any trade or

  commerce,” including “[e]ngaging in any act or practice that is unfair or deceptive to the




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  consumer” and “[u]sing any other methods, acts or practices which mislead or deceive members

  of the public in a material respect.” R.I. GEN. LAWS § 6-13.1-1(6).

         1290. BMW USA, BMW AG, Bosch, Plaintiffs, and Rhode Island Class members are

  “persons” within the meaning of R.I. GEN. LAWS § 6-13.1-1(3).

         1291. BMW USA, BMW AG, and Bosch were engaged in “trade” and “commerce”

  within the meaning of R.I. GEN. LAWS § 6-13.1-1(5).

         1292. Plaintiffs purchased or leased Polluting BMW Vehicles primarily for personal,

  family, or household purposes within the meaning of R.I. GEN. LAWS § 6-13.1-5.2(a).

         1293. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1294. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1295. Plaintiffs seek an order enjoining Defendants’ unfair and/or deceptive acts or

  practices, and awarding damages. Plaintiffs are entitled to recover the greater of actual damages

  or $200 pursuant to R.I. GEN. LAWS § 6-13.1-5.2(a). Plaintiffs also seek punitive damages at the

  discretion of the Court.




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                                             COUNT 74

        VIOLATION OF THE SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT
                        (S.C. CODE ANN. § 39-5-10 ET SEQ.)

          1296. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          1297. This claim is brought by Plaintiffs on behalf of South Carolina purchasers who

  are members of the Class.

          1298. The South Carolina Unfair Trade Practices Act (South Carolina UTPA) prohibits

  “unfair or deceptive acts or practices in the conduct of any trade or commerce.” S.C. CODE ANN.

  § 39-5-20(a).

          1299. BMW USA, BMW AG, and Bosch are “persons” under S.C. CODE ANN. § 39-5-

  10.

          1300. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

          1301. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

          1302. Plaintiffs further allege that Defendants’ malicious and deliberate conduct

  warrants an assessment of punitive damages because it carried out despicable conduct with




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  willful and conscious disregard of the rights of others. Defendants’ unlawful conduct constitutes

  malice, oppression, and fraud warranting punitive damages.

         1303. Pursuant to S.C. CODE ANN. § 39-5-140(a), Plaintiffs seek monetary relief to

  recover their economic losses. Because Defendants’ actions were willful and knowing, Plaintiffs’

  damages should be trebled. Plaintiffs further seek an order enjoining Defendants’ unfair or

  deceptive acts or practices.

                                              COUNT 75

                     VIOLATION OF THE SOUTH DAKOTA DECEPTIVE
                                   TRADE PRACTICES
                          AND CONSUMER PROTECTION LAW
                            (S.D. CODIFIED LAWS § 37-24-6)

         1304. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1305. This claim is brought by Plaintiffs on behalf of South Dakota purchasers who are

  members of the Class.

         1306. The South Dakota Deceptive Trade Practices and Consumer Protection Law

  (South Dakota CPL) prohibits deceptive acts or practices, which include “[k]nowingly act[ing],

  us[ing], or employ[ing] any deceptive act or practice, fraud, false pretense, false promises, or

  misrepresentation or to conceal, suppress, or omit any material fact in connection with the sale or

  advertisement of any merchandise, regardless of whether any person has in fact been misled,

  deceived, or damaged thereby.” S.D. CODIFIED LAWS §§ 37-24-6(1), 37-24-31.

         1307. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.




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          1308. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

          1309. Pursuant to S.D. CODIFIED LAWS § 37-24-31, Plaintiffs seek an order enjoining

  Defendants’ unfair and/or deceptive acts or practices, and awarding damages, punitive damages,

  and any other just and proper relief available under the South Dakota CPA.

                                               COUNT 76

             VIOLATION OF THE UTAH CONSUMER SALE PRACTICES ACT
                       (UTAH CODE ANN. § 13-11-1 ET SEQ.)

          1310. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          1311. This claim is brought by Plaintiffs on behalf of Utah purchasers who are members

  of the Class.

          1312. The Utah Consumer Sales Practices Act (Utah CSPA) makes unlawful any

  “deceptive act or practice by a supplier in connection with a consumer transaction,” including

  but not limited to indicating that the subject of a consumer transaction has sponsorship, approval,

  performance characteristics, accessories, uses, or benefits, if it has not; indicating that the subject

  of a consumer transaction is of a particular standard, quality, grade, style, or model, if it is not;

  and “indicat[ing] that a specific price advantage exists, if it does not.” UTAH CODE ANN. § 13-11-

  4.




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         1313. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1314. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1315. Defendants knew, or had reason to know, that consumers would rely on their

  failure to disclose the defects in its emissions system. Defendants therefore engaged in an

  unconscionable act within the meaning of UTAH CODE ANN. § 13-11-5.

         1316. Pursuant to UTAH CODE ANN. § 13-11-4, Plaintiffs seek monetary relief measured

  as the greater of (a) actual damages in an amount to be determined at trial and (b) statutory

  damages in the amount of $2,000 for each Plaintiff; reasonable attorneys’ fees; and any other just

  and proper relief available under the Utah CSPA.

                                             COUNT 77

                VIOLATION OF THE VERMONT CONSUMER FRAUD ACT
                       (VT. STAT. ANN. TIT. 9, § 2451 ET SEQ.)

         1317. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

         1318. This claim is brought by Plaintiffs on behalf of Vermont purchasers who are

  members of the Class.




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         1319. The Vermont Consumer Fraud Act (Vermont CFA) makes unlawful “[u]nfair

  methods of competition in commerce, and unfair or deceptive acts or practices in commerce.”

  VT. STAT. ANN. TIT. 9, § 2453(a).

         1320. BMW USA, BMW AG, and Bosch were sellers within the meaning of VT. STAT.

  ANN. TIT. 9, § 2451(a)(c).

         1321. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1322. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1323. Plaintiffs are entitled to recover “appropriate equitable relief” and “the amount of

  [their] damages, or the consideration or the value of the consideration given by [them],

  reasonable attorney’s fees, and exemplary damages not exceeding three times the value of the

  consideration given by [them],” pursuant to VT. STAT. ANN. TIT. 9, § 2461(b).

                                             COUNT 78

               VIOLATION OF THE WEST VIRGINIA CONSUMER CREDIT
                             AND PROTECTION ACT
                        (W. VA. CODE § 46A-1-101 ET SEQ.)

         1324. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.



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            1325. This claim is included here for notice purposes only. Once the statutory notice

  period has expired, Plaintiffs will amend their complaint to bring this claim on behalf of West

  Virginia purchasers who are members of the Class.

            1326. BMW USA, BMW AG, and Bosch are “persons” under W. VA. CODE § 46A-1-

  102(31).

            1327. Plaintiffs and West Virginia Class members are “consumers” as defined by W.

  VA. CODE §§ 46A-1-102(12) and 46A-6-102(2), who purchased or leased one or more Polluting

  BMW Vehicles.

            1328. Defendants engaged in trade or commerce as defined by W. VA. CODE § 46A-6-

  102(6).

            1329. The West Virginia Consumer Credit and Protection Act (West Virginia CCPA)

  prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce.” W. VA.

  CODE § 46A-6-104. Without limitation, “unfair or deceptive” acts or practices include:

                   (I) Advertising goods or services with intent not to sell them as
                   advertised; . . .

                   (L) Engaging in any other conduct which similarly creates a
                   likelihood of confusion or of misunderstanding;

                   (M) The act, use or employment by any person of any deception,
                   fraud, false pretense, false promise or misrepresentation, or the
                   concealment, suppression or omission of any material fact with
                   intent that others rely upon such concealment, suppression or
                   omission, in connection with the sale or advertisement of any
                   goods or services, whether or not any person has in fact been
                   misled, deceived or damaged thereby; [and]

                   (N) Advertising, printing, displaying, publishing, distributing or
                   broadcasting, or causing to be advertised, printed, displayed,
                   published, distributed or broadcast in any manner, any statement or
                   representation with regard to the sale of goods or the extension of
                   consumer credit including the rates, terms or conditions for the sale
                   of such goods or the extension of such credit, which is false,
                   misleading or deceptive or which omits to state material



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                    information which is necessary to make the statements therein not
                    false, misleading or deceptive.

  W. VA. CODE § 46A-6-102(7).

          1330. Pursuant to W. VA. CODE § 46A-6-106, Plaintiffs seek monetary relief against

  Defendants measured as the greater of (a) actual damages in an amount to be determined at trial

  and (b) statutory damages in the amount of $200 per violation of the West Virginia CCPA for

  each Plaintiff.

          1331. Plaintiffs also seek punitive damages against Defendants because it carried out

  despicable conduct with willful and conscious disregard of the rights of others, subjecting

  Plaintiffs to cruel and unjust hardship as a result.

          1332. Plaintiffs further seek an order enjoining Defendants’ unfair or deceptive acts or

  practices, restitution, punitive damages, costs of Court, attorney’s fees under W. VA. CODE

  § 46A-5-101 et seq., and any other just and proper relief available under the West Virginia

  CCPA.

          1333. On March 21, 2018, and May 4, 2018, Plaintiffs sent letters complying with W.

  VA. CODE § 46A-6-106(b) to Defendants. Because Defendants failed to remedy their unlawful

  conduct within the requisite time period, Plaintiffs seek all damages and relief to which Plaintiff

  and the West Virginia Class are entitled.

                                               COUNT 79

            VIOLATION OF THE WYOMING CONSUMER PROTECTION ACT
                        (WYO. STAT. § 40-12-105 ET SEQ.)

          1334. Plaintiffs hereby incorporate by reference the allegations contained in the

  preceding paragraphs of this complaint.

          1335. Defendants and the Wyoming Class members are “persons” within the meaning

  of Wyo. Stat. § 40-12-102(a)(i).



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         1336. The Polluting Vehicles are “merchandise” pursuant to Wyo. Stat. § 40-12-

  102(a)(vi).

         1337. Each sale or lease of a Polluting Vehicle to a Wyoming Class member was a

  “consumer transaction” as defined by Wyo. Stat. § 40-12-1-2(a)(ii). These consumer transactions

  occurred “in the course of [Defendants’] business” under Wyo. Stat. § 40-12-105(a).

         1338. The Wyoming Consumer Protection Act (“Wyoming CPA”) prohibits deceptive

  trade practices. Wyo. Stat. § 40-12-105(a).

         1339. In the course of their business, Defendants concealed and suppressed material

  facts concerning the Polluting BMW Vehicles. Defendants accomplished this by installing

  emission control devices in the Polluting BMW Vehicles that were concealed from regulators

  and consumers alike.

         1340. The facts concealed and omitted by Defendants from Plaintiffs and the other Class

  members are material in that a reasonable consumer would have considered them to be important

  in deciding whether to purchase or lease the Polluting BMW Vehicles or pay a lower price. Had

  Plaintiffs and the other Class members known of the higher emissions at the time they purchased

  or leased their Polluting BMW Vehicles, they would not have purchased or leased those vehicles,

  or would have paid substantially less for the vehicles than they did.

         1341. Pursuant to WYO. STAT. § 40-12-108(a), Plaintiffs seek monetary relief against

  Defendants measured as actual damages in an amount to be determined at trial, in addition to any

  other just and proper relief available under the Wyoming Consumer Protection Act, WYO. STAT.

  § 45-12-105 et seq. Plaintiffs also seek an order enjoining Defendants’ unfair, unlawful, and/or

  deceptive practices, attorneys’ fees, and any other just and proper relief available under the

  Wyoming CPA.




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         1342. On March 21, 2018, and May 4, 2018, Plaintiffs sent letters complying with WYO.

  STAT. § 45-12-109 to Defendants. Because Defendants failed to remedy their unlawful conduct

  within the requisite time period, Plaintiffs seek all damages and relief to which Plaintiffs and the

  Wyoming Class are entitled.

                                      REQUEST FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of members of the Nationwide

  RICO Class and State Classes, respectfully request that the Court enter judgment in their favor

  and against Defendants, as follows:

         A.      Certification of the proposed Nationwide RICO Class and State Classes, including

  appointment of Plaintiffs’ counsel as Class Counsel;

         B.      An order temporarily and permanently enjoining BMW USA, BMW AG, and

  Bosch from continuing the unlawful, deceptive, fraudulent, and unfair business practices alleged

  in this Complaint;

         C.      Injunctive relief in the form of a recall or free replacement program;

         D.      Restitution, including at the election of Class members, recovery of the purchase

  price of their Polluting BMW Vehicles, or the overpayment for their Polluting BMW Vehicles;

         E.      Damages, including punitive damages, costs, and disgorgement in an amount to

  be determined at trial, except that monetary relief under certain consumer protection statutes, as

  stated above, shall be limited prior to completion of the applicable notice requirements;

         F.      An order requiring Defendants to pay both pre- and post-judgment interest on any

  amounts awarded;

         G.      An award of costs and attorneys’ fees; and

         H.      Such other or further relief as may be appropriate.




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                                  DEMAND FOR JURY TRIAL

        Plaintiffs hereby demand a jury trial for all claims so triable.

  DATED: August 3, 2018                        Respectfully Submitted,

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